Exhibit 1
                                              The Cincinnati Casualty Company
                                                              A Stock Insurance Company

                                            Headquarters: 6200 S. Gilmore Road, Fairfield, OH 45014-5141
                                            Mailing address: P.O. Box 145496, Cincinnati, OH 45250-5496
                                                           www.cinfin.com n 513-870-2000

                                                          NEW
                                                                     Previous Policy Number
                                 CinciPak™
                           FOR SERVICE INDUSTRY
                        COMMON POLICY DECLARATIONS
                                                 Billing Method: DIRECT BILL
                                              ECP 050 41 58 / EBA 050 41 58
                                       POLICY NUMBER
 NAMED INSURED STUDIO 417, INC DBA STUDIO 417 SALON; 417 BLOW DRY BAR
                   2144 E REPUBLIC RD
 ADDRESS           A104
 (Number & Street, SPRINGFIELD, MO 65804-4623
 Town, County,
 State & Zip Code)


 Policy Period:   At 12:01 A.M., STANDARD TIME AT YOUR MAILING ADDRESS SHOWN ABOVE

 All coverages except Automobile and / or Garage
    Policy number: ECP 050 41 58                FROM: 09-08-2018            TO: 09-08-2021
 Automobile and / or Garage
    Policy number: EBA 050 41 58                  FROM: 09-08-2018          TO: 09-08-2019
 Agency     OLLIS/AKERS/ARNEY 24-019
 City       SPRINGFIELD, MO

 Legal Entity / Business Description
 ORGANIZATION (ANY OTHER)
 IN RETURN FOR THE PAYMENT OF THE PREMIUM, AND SUBJECT TO ALL THE TERMS OF THIS
 POLICY, WE AGREE WITH YOU TO PROVIDE THE INSURANCE AS STATED IN THIS POLICY.

FORMS APPLICABLE TO ALL COVERAGE PARTS:
IL0017       11/98    COMMON POLICY CONDITIONS
ICP101       05/11    CINCIPAK™ SUMMARY OF PREMIUMS CHARGED
IA904        04/04    SCHEDULE OF LOCATIONS
IA4236       01/15    POLICYHOLDER NOTICE TERRORISM INSURANCE COVERAGE
IA4427       02/13    NOTICE OF LOSS CONTROL SERVICES
IP446        08/01    NOTICE TO POLICYHOLDERS
IA4006       07/10    SPECIAL PER OCCURRENCE DEDUCTIBLE ENDORSEMENT
IA4116MO     06/16    MISSOURI CHANGES - CANCELLATION AND NONRENEWAL
IA4215MO     02/14    MISSOURI CHANGES
IA4238       01/15    CAP ON LOSSES FROM CERTIFIED ACTS OF TERRORISM
IA4338       05/11    SIGNATURE ENDORSEMENT
IA4457MO     06/16    ACKNOWLEDGEMENT OF DEFENSE COSTS INCLUDED WITHIN THE LIMITS OF
                      INSURANCE - MISSOURI
IP412        12/92    IMPORTANT INFORMATION TO POLICYHOLDERS
FMQ502       07/08    COMMERCIAL PROPERTY COVERAGE PART DECLARATIONS
GAQ532       07/08    COMMERCIAL GENERAL LIABILITY COVERAGE PART DECLARATIONS
GAQ531MO     07/08    CLAIMS MADE EMPLOYMENT PRACTICES LIABILITY COVERAGE FORM
                      DECLARATIONS
MAQ573       06/07    ELECTRONIC DATA PROCESSING EQUIPMENT COVERAGE FORM DECLARATIONS

ICPQ518 07 11                                                                                 Page 1 of   2
                                                                    ECP 050 41 58 / EBA 050 41 58
FORMS APPLICABLE TO ALL COVERAGE PARTS:
CAQ516      03/09 CRIME AND FIDELITY COVERAGE PART DECLARATIONS (COMMERCIAL
                  ENTITIES)
PAQ540      12/10 COSMETOLOGISTS AND BARBERS PROFESSIONAL LIABILITY COVERAGE PART
                  DECLARATIONS
AAQ505      03/06 BUSINESS AUTO COVERAGE PART DECLARATIONS
USQ513      05/10 COMMERCIAL UMBRELLA LIABILITY COVERAGE PART DECLARATIONS
HC502       01/18 CINCINNATI DATA DEFENDER™ COVERAGE PART DECLARATIONS



09-17-2018 13:42
Countersigned                             By
                             (Date)                       (Authorized Representative)




ICPQ518 07 11                                                            Page 2 of      2
                                                     ECP 050 41 58 / EBA 050 41 58
                          COMMON POLICY CONDITIONS
All Coverage Parts included in this policy are subject to the following conditions.
A.   Cancellation                                                       b.   Give you reports on the conditions
                                                                             we find; and
     1.   The first Named Insured shown in the
          Declarations may cancel this policy by                        c.   Recommend changes.
          mailing or delivering to us advance writ-
          ten notice of cancellation.                              2.   We are not obligated to make any in-
                                                                        spections, surveys, reports or recom-
     2.   We may cancel this policy by mailing or                       mendations and any such actions we do
          delivering to the first Named Insured                         undertake relate only to insurability and
          written notice of cancellation at least:                      the premiums to be charged. We do not
                                                                        make safety inspections. We do not un-
          a.   10 days before the effective date of                     dertake to perform the duty of any person
               cancellation if we cancel for non-                       or organization to provide for the health
               payment of premium; or                                   or safety of workers or the public. And
          b.   30 days before the effective date of                     we do not warrant that conditions:
               cancellation if we cancel for any                        a.   Are safe or healthful; or
               other reason.
                                                                        b.   Comply with laws, regulations, codes
     3.   We will mail or deliver our notice to the                          or standards.
          first Named Insured's last mailing address
          known to us.                                             3.   Paragraphs 1. and 2. of this condition
                                                                        apply not only to us, but also to any rat-
     4.   Notice of cancellation will state the effec-                  ing, advisory, rate service or similar or-
          tive date of cancellation. The policy pe-                     ganization which makes insurance in-
          riod will end on that date.                                   spections, surveys, reports or recom-
     5.   If this policy is cancelled, we will send the                 mendations.
          first Named Insured any premium refund                   4.   Paragraph 2. of this condition does not
          due. If we cancel, the refund will be pro                     apply to any inspections, surveys, reports
          rata. If the first Named Insured cancels,                     or recommendations we may make rela-
          the refund may be less than pro rata.                         tive to certification, under state or munici-
          The cancellation will be effective even if                    pal statutes, ordinances or regulations, of
          we have not made or offered a refund.                         boilers, pressure vessels or elevators.
     6.   If notice is mailed, proof of mailing will be       E.   Premiums
          sufficient proof of notice.
                                                                   The first Named Insured shown in the Decla-
B.   Changes                                                       rations:
     This policy contains all the agreements be-                   1.   Is responsible for the payment of all pre-
     tween you and us concerning the insurance                          miums; and
     afforded. The first Named Insured shown in
     the Declarations is authorized to make                        2.   Will be the payee for any return premi-
     changes in the terms of this policy with our                       ums we pay.
     consent. This policy's terms can be amended
     or waived only by endorsement issued by us               F.   Transfer of Your Rights and Duties Under
     and made a part of this policy.                               this Policy

C.   Examination of Your Books and Records                         Your rights and duties under this policy may
                                                                   not be transferred without our written consent
     We may examine and audit your books and                       except in the case of death of an individual
     records as they relate to this policy at any                  named insured.
     time during the policy period and up to three
     years afterward.                                              If you die, your rights and duties will be
                                                                   transferred to your legal representative but
D.   Inspections and Surveys                                       only while acting within the scope of duties as
                                                                   your legal representative. Until your legal rep-
     1.   We have the right to:                                    resentative is appointed, anyone having
          a.   Make inspections and surveys at any                 proper temporary custody of your property will
               time;                                               have your rights and duties but only with re-
                                                                   spect to that property.



IL 00 17 11 98                    Copyright, Insurance Services Office, Inc., 1998
    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                       SCHEDULE OF LOCATIONS
LOC. STREET ADDRESS     CITY   STATE   ZIP CODE
1     2144 E REPUBLIC RD
      A104
      SPRINGFIELD, MO 65804-4623

2     444 W MCDANIEL ST
      SPRINGFIELD, MO 65806-2030


3     4303 S NATIONAL AVE
      SPRINGFIELD, MO 65810-2607




IA 904 04 04
     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

     SPECIAL PER OCCURRENCE DEDUCTIBLE ENDORSEMENT
This endorsement modifies insurance provided under the following:
     COMMERCIAL PROPERTY COVERAGE PART
     COMMERCIAL INLAND MARINE COVERAGE PART
     CRIME AND FIDELITY COVERAGE PART
A.   Special Per Occurrence Deductible
     1.   If an "occurrence" happens to Covered Property under the Commercial Property Coverage Part and
          to Covered Property under at least one of the following:
          a.   The Commercial Inland Marine Coverage Part, and
          b.   The Crime and Fidelity Coverage Part;
          the most we will deduct from any loss or damage in any one "occurrence" is the deductible indicated
          on the COMMERCIAL PROPERTY COVERAGE PART DECLARATIONS.
     2.   This endorsement does not apply to any of the forms listed in Paragraphs a. and b.:
          a.   * Electronic Data Processing Coverage Form, Section III, 2. Deductible, a.(2) Specified
                 Losses Deductible
               * Water Backup from Sewers, Drains, Septic Systems or Sump Pumps Endorsement
               Windstorm or Hail Percentage Deductible Form
               Earthquake and Volcanic Eruption Endorsement
               Earthquake and Volcanic Eruption Endorsement (Sub-Limit Form)
               Flood Coverage Endorsement
               Equipment Breakdown Coverage (Including Production Equipment)
               Equipment Breakdown Coverage (Excluding Production Equipment)
               * Temperature Change Coverage Form
               Commercial Crime Coverage Form, A. Insuring Agreements, 1. Employee Theft, 2. Forgery
               or Alteration, 6. Computer Fraud and 7. Funds Transfer Fraud
               Crime Expanded Coverage (XC® ) Coverage or Expanded Coverage Plus Forms, A.
               Insuring Agreements, 1. Employee Theft and 2. Forgery or Alteration
               Government Crime Coverage Form, A. Insuring Agreements, 1. Employee Theft - Per Loss
               Coverage, 2. Employee Theft - Per Employee Coverage, 3. Forgery or Alteration, 7.
               Computer Fraud and 8. Funds Transfer Fraud
          *    Or such coverage as provided in the CinciPlus® Commercial Property or Commercial Property
               Power Expanded Coverage or Expanded Coverage Plus Forms
          b.      Other




IA 4006 07 10                                                                                   Page 1 of 2
B.   Definition
     For the purpose of this endorsement only, any definition of "occurrence" is deleted in its entirety and the
     following definition is added to:
     1.   COMMERCIAL PROPERTY CONDITIONS,
     2.   COMMERCIAL INLAND MARINE CONDITIONS,
     3.   COMMERCIAL CRIME COVERAGE FORM,
     4.   CRIME EXPANDED COVERAGE (XC® ) COVERAGE FORM, and
     5.   GOVERNMENT CRIME COVERAGE FORM:
     "Occurrence" means all loss, damage, or a sequence of loss or damage, casualties or disasters arising
     from a single happening or event.




IA 4006 07 10                                                                                      Page 2 of 2
    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

  MISSOURI CHANGES - CANCELLATION AND NONRENEWAL
This endorsement modifies insurance provided under the following:


    CINCINNATI CYBER DEFENSE™ COVERAGE PART
    CINCINNATI DATA DEFENDER™ COVERAGE PART
    CINCINNATI NETWORK DEFENDER™ COVERAGE PART
    CLAIMS-MADE EXCESS LIABILITY COVERAGE PART
    COMMERCIAL GENERAL LIABILITY COVERAGE PART
    COMMERCIAL INLAND MARINE COVERAGE PART
    COMMERCIAL OUTPUT POLICY COVERAGE PART
    COMMERCIAL PROPERTY COVERAGE PART
    COMMERCIAL UMBRELLA LIABILITY COVERAGE PART
    CONTRACTORS ERRORS AND OMISSIONS COVERAGE FORM CLAIMS-MADE
    CONTRACTORS' LIMITED POLLUTION LIABILITY COVERAGE FORM
    CRIME AND FIDELITY COVERAGE PART
    ELECTRONIC DATA LIABILITY COVERAGE PART
    EMPLOYMENT PRACTICES LIABILITY COVERAGE PART
    EXCESS LIABILITY COVERAGE PART
    FARM COVERAGE PART
    LIQUOR LIABILITY COVERAGE PART
    MACHINERY AND EQUIPMENT COVERAGE PART
    MANUFACTURER'S ERRORS AND OMISSIONS COVERAGE FORM CLAIMS-MADE
    MORTGAGE HOLDER'S INSURANCE COVERAGE PART
    POLLUTION LIABILITY COVERAGE PART
    PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
    PRODUCTS WITHDRAWAL COVERAGE PART
    PROFESSIONAL LIABILITY COVERAGE PART
    PROFESSIONAL UMBRELLA LIABILITY COVERAGE PART
    PROFESSIONAL UMBRELLA LIABILITY COVERAGE PART - CLAIMS-MADE
    SEPTIC SYSTEMS DESIGN AND INSPECTION ERRORS AND OMISSIONS COVERAGE PART

A. When this endorsement is attached to the                    COMMERCIAL UMBRELLA LIABILITY
   Standard Property Policy CP 00 99 the term                   COVERAGE PART
    Commercial Property Coverage Part in this                  CONTRACTORS ERRORS AND
    endorsement also refers to the Standard                     OMISSIONS COVERAGE FORM
    Property Policy.                                           CONTRACTORS' LIMITED POLLUTION
                                                                LIABILITY COVERAGE PART
B. With respect to the:                                        CRIME AND FIDELITY
    CINCINNATI CYBER DEFENSE™                                   COVERAGE PART
     COVERAGE PART                                             ELECTRONIC DATA LIABILITY COVERAGE
    CINCINNATI DATA DEFENDER™                                   PART
     COVERAGE PART                                             EMPLOYMENT PRACTICES LIABILITY
    CINCINNATI NETWORK DEFENDER™                                COVERAGE PART
     COVERAGE PART                                             EXCESS LIABILITY COVERAGE PART
    CLAIMS-MADE EXCESS LIABILITY                               FARM LIABILITY COVERAGE FORM
     COVERAGE PART                                             LIQUOR LIABILITY COVERAGE PART
    COMMERCIAL GENERAL LIABILITY                               MACHINERY AND EQUIPMENT
     COVERAGE PART                                              COVERAGE PART
    COMMERCIAL INLAND MARINE                                   MANUFACTURER'S ERRORS AND
     COVERAGE PART                                              OMISSIONS COVERAGE FORM
    COMMERCIAL OUTPUT POLICY                                    CLAIMS-MADE
     COVERAGE PART                                             MORTGAGE HOLDER'S INSURANCE
    COMMERCIAL PROPERTY - LEGAL                                 COVERAGE PART
     LIABILITY COVERAGE FORM CP 00 40                          POLLUTION LIABILITY COVERAGE PART
    COMMERCIAL PROPERTY - MORTGAGE                             PRODUCTS/COMPLETED OPERATIONS
     HOLDERS ERRORS AND OMISSIONS                               LIABILITY COVERAGE PART
     COVERAGE FORM CP 00 70                                    PRODUCTS WITHDRAWAL COVERAGE
                                                                PART
                                  Includes copyrighted material of Insurance
IA 4116 MO 06 16                   Services Office, Inc., with its permission.         Page 1 of 3
   PROFESSIONAL LIABILITY COVERAGE                              NONRENEWAL
    PART
   PROFESSIONAL UMBRELLA LIABILITY                              2.   The following is added and supersedes
    COVERAGE PART                                                    any provision to the contrary:
   PROFESSIONAL UMBRELLA LIABILITY                                   a.   We may elect not to renew this policy
    COVERAGE PART - CLAIMS-MADE                                           by mailing or delivering to the first
   SEPTIC SYSTEMS DESIGN AND                                              Named Insured, at the last mailing
    INSPECTION ERRORS AND OMISSIONS                                       address known to us, written notice
    COVERAGE PART                                                         of nonrenewal, stating the actual rea-
   The following Cancellation and Nonrenewal                              son for nonrenewal, at least sixty
   provisions apply:                                                      days prior to:

   1.   The Cancellation Common Policy Condi-                                 (1) The expiration date of this
        tion is amended as follows:                                                policy: or

        Paragraph 2. is replaced by the following:                            (2) The anniversary date of this
                                                                                   policy, if the policy is written
        2.   We may cancel this policy by mailing                                  for a term of more than one
             or delivering to the first Named In-                                  year.
             sured written notice of cancellation,
             stating the actual reason for cancella-                 b.   If notice is mailed, proof of mailing
             tion, at least:                                              will be sufficient proof of notice.

             a.   10 days before the effective date        C. With respect to the:
                  of cancellation if we cancel for              COMMERCIAL PROPERTY COVERAGE
                  nonpayment of premium;                         PART
             b.   30 days before the effective date             FARM PROPERTY COVERAGE FORM
                  of cancellation if cancellation is            FARM - LIVESTOCK COVERAGE FORM
                  for one or more of the following              FARM - MOBILE AGRICULTURAL
                  reasons:                                       MACHINERY AND EQUIPMENT
                                                                 COVERAGE FORM;
                  (1) Fraud or material misrepre-
                      sentation affecting this poli-            The Cancellation Common Policy Condition
                      cy or a claim filed under this            is replaced by the following:
                      policy or a violation of any              CANCELLATION, NONRENEWAL AND DE-
                      of the terms or conditions of             CREASES IN COVERAGE
                      this policy;
                                                                1.   The first Named Insured shown in the
                  (2) Changes in conditions after                    Declarations may cancel this policy by
                      the effective date of this pol-                mailing or delivering to us advance written
                      icy which have materially                      notice of cancellation.
                      increased the risk assumed;
                                                                2.   We may cancel, reduce in amount, or ad-
                  (3) We become insolvent; or,                       versely modify this policy by mailing or
                  (4) We involuntarily lose rein-                    delivering to the first Named Insured writ-
                      surance for this policy.                       ten notice of this action at least:

             c.   60 days before the effective date                  a.   10 days before the effective date of
                  of cancellation if we cancel for                        this action if due to nonpayment of
                  any other reason.                                       premium or evidence of incendiarism;
                                                                          or
        Paragraph 7. is added as follows:
                                                                     b.   60 days before the effective date of
        7.   For insureds that must demonstrate                           this action if for any other reason.
             financial responsibility for compen-
             sating third parties for bodily injury             3.   If we decide not to renew this policy, we
             and property damage caused by the                       will mail or deliver written notice of nonre-
             release of liquefied petroleum gas,                     newal to the first Named Insured at least
             we will mail or deliver written notice                  sixty days prior to:
             of cancellation to the Missouri Pro-                    a.   The expiration date of this policy; or
             pane Gas Commission at the same
             time such a notice is provided to the                   b.   The anniversary date of this policy, if
             first Named Insured.                                         the policy is written for a term of
                                                                          more than one year.


                                   Includes copyrighted material of Insurance
IA 4116 MO 06 16                    Services Office, Inc., with its permission.                     Page 2 of 3
   4.   We will mail or deliver our notice to the               6.   If this policy is cancelled, not renewed,
        first Named Insured's last mailing address                   reduced in amount or adversely modified,
        known to us.                                                 we will send the first Named Insured any
                                                                     premium refund due. The refund will be
   5.   Notice of:                                                   pro rata. This action will be effective even
        a.   Cancellation will state the effective                   if we have not made or offered a refund.
             date of cancellation. The policy peri-             7.   If notice is mailed, proof of mailing will be
             od will end on that date.                               sufficient proof of notice.
        b.   Any other action will state the effec-
             tive date of that action.




                                   Includes copyrighted material of Insurance
IA 4116 MO 06 16                    Services Office, Inc., with its permission.                     Page 3 of 3
    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                     MISSOURI CHANGES
This endorsement modifies insurance provided under the following:
    CAUSES OF LOSS FORM - FARM PROPERTY
    COMMERCIAL PROPERTY COVERAGE PART
    FARM PROPERTY - OTHER FARM PROVISIONS FORM - ADDITIONAL COVERAGES, CONDITIONS,
      DEFINITIONS
    LIVESTOCK COVERAGE FORM
    MOBILE AGRICULTURAL MACHINERY AND EQUIPMENT COVERAGE FORM
    MORTGAGE HOLDER'S COVERAGE PART

A. When this endorsement is attached to the                          3.   Need more time to determine wheth-
   Standard Property Policy CP 00 99 the terms                            er your claim should be accepted or
    Coverage Form and Coverage Part in this en-                           denied.
    dorsement are replaced by the term Policy.
                                                                     If we deny your claim, such notice will be
B. If partial loss ("loss") or damage to Covered                     in writing, and will state any policy provi-
    Property is caused by or results from fire, Par-                 sion, condition or exclusion used as a ba-
    agraph a., of the Loss Payment Loss Condi-                       sis for the denial.
    tion is replaced by the following:
                                                                     If we need more time to determine wheth-
    LOSS PAYMENT                                                     er your claim should be accepted or de-
                                                                     nied, the written notice will state the rea-
    In the event of partial loss ("loss") or damage                  son(s) why more time is needed.
    caused by or resulting from fire, and covered
    by this Coverage Part, at your option, we will                   If we have not completed our investiga-
    either:                                                          tion, we will notify you again in writing,
                                                                     within 45 days after the date the initial no-
    1.   Pay you an amount of money equal to the                     tice is sent informing you that we need
         damage done; or                                             more time to determine whether your
    2.   Repair the damage, so that the property is                  claim should be accepted or denied and
         in as good a condition as before the fire.                  thereafter every 45 days. The written no-
                                                                     tice shall state why more time is needed
    But we will not pay more than the Limit of In-                   to investigate your claim.
    surance.
                                                            D. Except as provided in E. below, the Appraisal
C. The following provision replaces:                             Loss Condition is replaced by the following:
    1.   Paragraph c. of the Loss Payment Loss                   APPRAISAL
         Condition in the Commercial Property
         Coverage Part; and                                      If we and you disagree on the value of the
                                                                 property or the amount of loss ("loss"), either
    2.   Paragraph d. of the Loss Payment Loss                   may make written demand for an appraisal of
         Condition in the Farm Property - Other                  the loss ("loss"). In this event, each party will
         Farm Provisions Form - Additional Cover-                select a competent and impartial appraiser
         ages, Conditions, Definitions and Para-                 and notify the other of the appraiser selected
         graph c. of the Loss Payment Loss Con-                  within 20 days of the written demand for ap-
         dition in the Mobile Agricultural Machinery             praisal. The two appraisers will select an um-
         and Equipment Coverage Form and Live-                   pire. If they cannot agree upon an umpire with-
         stock Coverage Form:                                    in 15 days, then, upon your or our request, an
                                                                 umpire shall be selected by a judge of a court
         In the event of loss ("loss") or damage                 of record in the state and county (or city if the
         covered under this Coverage Part, we will               city is not within a county) in which the property
         give you notice, within 15 working days af-             covered is located. The appraisers will state
         ter we receive a properly executed proof                separately the value of the property and
         of loss, that we:                                       amount of loss ("loss"). If they fail to agree,
         1.   Accept your claim;                                 they will submit their differences to the umpire.
                                                                 The umpire shall make an award within 30
         2.   Deny your claim; or                                days after the umpire receives the appraisers'
                                                                 submissions of their differences. A decision
                                                                 agreed to by any two will be binding.

                                    Includes copyrighted material of Insurance
IA 4215 MO 02 14                     Services Office, Inc., with its permission.                     Page 1 of 4
     Each party will:                                              1.    Legal Action Against Us Loss Condition
                                                                         in the Legal Liability Coverage Form; or
     1.   Pay its chosen appraiser; and
                                                                   2.    Legal Action Against Us Condition ap-
     2.   Bear the other expenses of the appraisal                       plicable to Coverages C and D in the
          and umpire equally.                                            Mortgageholders Errors and Omission
     If there is an appraisal, we will still retain our                  Coverage Form.
     right to deny the claim.                                 H. Missouri Property and Casualty Insurance
E.   The Appraisal Condition in:                                 Guaranty Association Coverage Limita-
                                                                 tions
     1.   Business Income (and Extra Expense)
          Coverage Form FA 213; and                                1.    Subject to the provisions of the Missouri
                                                                         Property and Casualty Insurance Guar-
     2.   Business Income (Without Extra Ex-                             anty Association Act (to be referred to as
          pense) Coverage Form FA 212;                                   the Act), if we are a member of the Mis-
                                                                         souri Property and Casualty Insurance
     is replaced by the following:                                       Guaranty Association (to be referred to as
     APPRAISAL                                                           the Association), the Association will pay
                                                                         claims covered under the Act if we be-
     If we and you disagree on the amount of Net                         come insolvent.
     Income and operating expense or the amount
     of loss, either may make written demand for                   2.    The Act contains various exclusions, con-
     an appraisal of the loss. In this event, each                       ditions and limitations that govern a
     party will select a competent and impartial ap-                     claimant's eligibility to collect payment
     praiser and notify the other of the appraiser                       from the Association and affect the
     selected within 20 days of the written demand                       amount of any payment. The following
     for appraisal. The two appraisers will select an                    limitations apply subject to all other provi-
     umpire. If they cannot agree upon an umpire                         sions of the Act:
     within 15 days, then upon your or our request,                      a.   Claims covered by the Association do
     an umpire shall be selected by a judge of a                              not include a claim by or against an
     court of record in the state and county (or city                         insured of an insolvent insurer, if the
     if the city is not with a county) in which the                           insured has a net worth of more than
     property covered is located. The appraisers                              $25 million on the later of the end of
     will state separately the amount of Net Income                           the insured's most recent fiscal year
     and operating expense or the amount of loss.                             or the December thirty-first of the
     If they fail to agree, they will submit their dif-                       year next preceding the date the in-
     ferences to the umpire. The umpire shall make                            surer becomes insolvent; provided
     an award within 30 days after the umpire re-                             that an insured's net worth on such
     ceives the appraisers' submissions of their dif-                         date shall be deemed to include the
     ferences. A decision agreed to by any two will                           aggregate net worth of the insured
     be binding. Each party will:                                             and all of its affiliates as calculated
     1.   Pay its chosen appraiser; and                                       on a consolidated basis.

     2.   Bear the other expenses of the appraisal                       b.   Payments made by the Association
          and umpire equally.                                                 for covered claims will include only
                                                                              that amount of each claim which is
     If there is an appraisal, we will still retain our                       less than $300,000.
     right to deny the claim.
                                                                              However, the Association will not:
F.   The Legal Action Against Us Condition is
     replaced by the following:                                               (1) Pay an amount in excess of the
                                                                                  applicable limit of insurance of
     LEGAL ACTION AGAINST US                                                      the policy from which a claim
                                                                                  arises; or
     No one may bring a legal action against us
     under this Coverage Part unless:                                         (2) Return to an insured any un-
                                                                                  earned premium in excess of
     1.   There has been full compliance with all of                              $25,000.
          the terms of this Coverage Part; and
                                                                         These limitations have no effect on the
     2.   The action is brought within 10 years after                    coverage we will provide under this policy.
          the date on which the direct physical loss
          ("loss") or damage occurred.                        I.   For    the Commercial Property Coverage Part,
                                                                   the   following exclusion and related provisions
G. Paragraph F. above does not apply to the:                       are    added to Paragraph B.2. Exclusions in
                                                                   the   Causes of Loss Forms and to any cover-
                                      Includes copyrighted material of Insurance
IA 4215 MO 02 14                       Services Office, Inc., with its permission.                      Page 2 of 4
     age Form or policy to which a Causes of Loss                       b.   A pledge to cooperate in any criminal
     Form is not attached:                                                   prosecution of the person committing
                                                                             the act causing the loss ("loss").
     1.   We will not pay for loss or damage arising
          out of any act committed:                                3.   If we pay a claim pursuant to Paragraph
                                                                        J.2., our payment to the innocent co-
          a.   By or at the direction of any insured;                   "insured" will be limited to that insured's
               and                                                      ownership interest in the property as re-
          b.   With the intent to cause a loss.                         duced by any payment to a mortgagee or
                                                                        other secured interest; however, we shall
     2.   However, this exclusion will not apply to                     not be required to make any subsequent
          deny coverage to an innocent co-insured                       payment for any loss ("loss") for which the
          who did not cooperate in or contribute to                     innocent co-"insured" has received pay-
          the creation of the loss, provided the loss                   ment. In no event will we pay more than
          is otherwise covered under this Coverage                      the Limit of Insurance.
          Part and the loss arose out of domestic
          violence. Such coverage will be provided            K. The following is added to the Transfer of
          only if the innocent co-insured files a po-            Rights of Recovery Against Others to Us
          lice report and completes a sworn affidavit              Condition:
          indicating both:                                         If we pay an innocent co-"insured" for loss
          a.   The cause of the loss; and                          ("loss") arising out of an act of domestic vio-
                                                                   lence by another "insured", the rights of the in-
          b.   A pledge to cooperate in any criminal               nocent co-"insured" to recover damages from
               prosecution of the person committing                the abuser are transferred to us to the extent
               the act causing the loss.                           of our payment. Following the loss ("loss"), the
                                                                   innocent co-"insured" may not waive such right
     3.   If we pay a claim pursuant to Paragraph                  to recover against the abuser.
          I.2., our payment to the innocent co-
          insured will be limited to that insured's           L.   The following is added with respect to the Ad-
          ownership interest in the property as re-                ditional Coverages of Debris Removal and
          duced by any payment to a mortgagee or                   Pollutant Clean Up and Removal, and relates
          other secured interest; however, we shall                only to the requirement to report expenses to
          not be required to make any subsequent                   us within 180 days of the specified occurrence:
          payment for any loss for which the inno-
          cent co-insured has received payment. In                 If you fail to report the expenses to us within
          no event will we pay more than the Limit                 the 180-day timeframe, such failure will not in-
          of Insurance.                                            validate a claim under Debris Removal or Pol-
                                                                   lutant Clean Up and Removal unless such fail-
J.   The Intentional Loss Exclusion in the Caus-                   ure operates to prejudice our rights.
     es of Loss Form - Farm Property, Mobile Agri-
     cultural Machinery and Equipment Coverage                M. When the:
     Form and Livestock Coverage Form is re-                       1.   Replacement Cost Optional Coverage in
     placed by the following:                                           the Commercial Property Coverage Part;
     1.   We will not pay for loss ("loss") or dam-                2.   Coverage A Valuation Loss Condition in
          age arising out of any act committed:                         the Farm Property - Farm Dwellings, Ap-
          a.   By or at the direction of any "insured";                 purtenant Structures and Household Per-
               and                                                      sonal Property Coverage Form; or

          b.   With the intent to cause a loss                     3.   Valuation - Property Other Than Im-
               ("loss").                                                provements and Betterments Loss
                                                                        Condition in the Farm Property - Barns,
     2.   However, this exclusion will not apply to                     Outbuildings and Other Farm Structures
          deny coverage to an innocent co-"insured"                     Coverage Form;
          who did not cooperate in or contribute to
          the creation of the loss ("loss"), provided              applies, the following is added with respect to
          the loss ("loss") is otherwise covered un-               these provisions and relates only to the re-
          der this Coverage Form and the loss                      quirement to notify us of your intent to submit
          ("loss") arose out of domestic violence.                 an additional claim (for the difference between
          Such coverage will be provided only if the               the actual cash value and replacement cost)
          innocent co-"insured" files a police report              within 180 days after the loss or damage oc-
          and completes a sworn affidavit indicating               curs:
          both:                                                    If you fail to notify us of your intent within the
          a.   The cause of the loss ("loss"); and                 180-day timeframe, such failure will not invali-


                                      Includes copyrighted material of Insurance
IA 4215 MO 02 14                       Services Office, Inc., with its permission.                     Page 3 of 4
   date the claim unless such failure operates to                   your legal representative is appointed, an-
   prejudice our rights.                                            yone having proper temporary custody of
                                                                    your property will have your rights and du-
N. The Transfer of Your Rights and Duties                           ties, but only with respect to that property.
   Under This Policy Common Policy Condition                        Your rights and duties under this policy
   is replaced by the following:                                    may not be transferred without our written
   1.    Transfer By Beneficiary Deed                               consent except in the case of death of an
                                                                    individual Named Insured.
        If you convey real property insured under
        this policy to a person (known as a grantee        O. Under Debris Removal and Mandated De-
        beneficiary) designated under a beneficiary           contamination, if any, are amended to in-
        deed, which has been properly recorded                  clude the following:
        prior to your death, that person will have              However, your failure to report these expenses
        your rights and duties with respect to the              to us in writing within 180 days from the date
        insured real property, but only for the pe-             the covered peril occurs, will not be reason to
        riod from the date of your death until the              deny your claim unless your failure to meet the
        first of the following occurs:                          notice requirement operates to prejudice our
         a.   A period of 30 days from the date of              rights under this policy.
              your death;                                  P. Under IDENTITY RECOVERY COVERAGE
         b.   The date that alternative coverage is           FOR BUSINESS OWNERS WITH CASE
              obtained on your property; or                   MANAGEMENT SERVICES AND EXPENSE
                                                              REIMBURSEMENT, if any, is amended to in-
         c.   The end of the policy period as                   clude the following:
              shown in the Declarations.
                                                                However, your failure to report these expenses
   2.    Transfer By Other Means Following                      to us within 30 days from the date the covered
         Death                                                  peril occurs, will not be reason to deny your
                                                                claim unless your failure to meet the notice re-
         If you die, your rights and duties will be             quirements operates to prejudice our rights
         transferred to your legal representative               under this policy.
         but only while acting within the scope of
         duties as your legal representative. Until




                                   Includes copyrighted material of Insurance
IA 4215 MO 02 14                    Services Office, Inc., with its permission.                    Page 4 of 4
                              SIGNATURE ENDORSEMENT
 IN WITNESS WHEREOF, this policy has been signed by our President and Secretary in the City of Fairfield,
 Ohio, but this policy shall not be binding upon us unless countersigned by an authorized representative of
 ours. The failure to countersign does not void coverage in Arizona, Virginia and Wisconsin.




                      Secretary                                                President


The signature on any form, endorsement, policy, declarations, jacket or application other than the signature of
the President or Secretary named above is deleted and replaced by the above signatures.




IA 4338 05 11
        ACKNOWLEDGMENT OF DEFENSE COSTS INCLUDED
          WITHIN THE LIMITS OF INSURANCE - MISSOURI
This form must be signed by an authorized representative of the first Named Insured listed in the Declarations
of the policy referenced below and returned to your agent. The following Coverage Parts contain defense costs
within the Limits of Insurance. One or more of these Coverage Parts is a part of your policy.

                                    TM
    CINCINNATI CYBER DEFENSETM
    CINCINNATI DATA DEFENDER   TM
    CINCINNATI NETWORK DEFENDER

I understand and acknowledge that this policy contains a Defense Within Limits Provision which means that
defense costs will reduce my limits of insurance and may exhaust them completely and should that occur, I
shall be liable for any further legal defense costs and damages.
Defense costs means reasonable and necessary fees, costs and expenses consented to by the insured
resulting solely from the investigation, legal defense and legal appeal of a claim against the insured, but
excluding salaries of officers and employees of the insurer.




POLICY NUMBER:        ECP 050 41 58

AGENT:      OLLIS/AKERS/ARNEY 24-019


NAMED INSURED(S):


 STUDIO 417, INC DBA STUDIO 417 SALON; 417 BLOW DRY BAR




PRINTED NAME OF INDIVIDUAL AUTHORIZED TO SIGN                                           TITLE



Signature                                                                Date Signed:




IA 4457 MO 06 16
           IMPORTANT INFORMATION TO POLICYHOLDERS
In the event you need to contact someone about this policy for any reason, please contact your agent. If you
have additional questions, you may contact the insurance company issuing this policy at the following ad-
dress or telephone collect:
The Cincinnati Insurance Company
P.O. Box 145496
Cincinnati, Ohio 45250-5496
Telephone (513) 870-2278
The Cincinnati Casualty Company
P.O. Box 145496
Cincinnati, Ohio 45250-5496
Telephone (513) 870-2278
The Cincinnati Indemnity Company
P.O. Box 145496
Cincinnati, Ohio 45250-5496
Telephone (513) 870-2278
The Cincinnati Life Insurance Company
P.O. Box 145496
Cincinnati, Ohio 45250-5496
Telephone (513) 870-2000




IP 412 12 92
                            THE   CINCINNATI CASUALTY COMPANY
                                             A Stock Insurance Company
           COMMERCIAL PROPERTY COVERAGE PART DECLARATIONS
Attached to and forming part of POLICY NUMBER:         ECP 050 41 58
Named Insured is the same as it appears on the Common Policy Declarations unless otherwise stated here.


Loc.       (address)
           REFER TO IA904


                                                                                   OPTIONAL COVERAGES
                       COVERAGE PROVIDED                                     Applicable only when an entry is made
                                                        Coin-  Covered                                                 Business
                                                       surance Cause Of                                                  Income
    Item           Coverage                Limits                Loss                                                  Indemnity
                                                                                             Replace-
                                                                          Inflation Replace- ment Cost Agreed Monthly      Maximum Extended
                                                                           Guard ment Cost Incl. Stock Value     Limit      Period  Period
                                                                             (%)      (x)       (x)     (x)   (fraction)     (X)    (Days)
1           BUSINESS INCOME     12 MONTHS ALS                  SPECIAL
            W/EXTRA EXPENSE (a)                                EQ

1-1         BUSINESS PERSONAL               662,001     90%    SPECIAL                X
            PROPERTY                                           EQ

2           BUSINESS INCOME     12 MONTHS ALS                  SPECIAL
            W/EXTRA EXPENSE (a)                                EQ

2-1         BUILDING                        488,612     90%    SPECIAL 2%             X
                                                               EQ

3           BUSINESS INCOME     12 MONTHS ALS                  SPECIAL
            W/EXTRA EXPENSE (a)                                EQ

3-1         BUSINESS PERSONAL                 15,000    90%    SPECIAL                X
            PROPERTY                                           EQ

DEDUCTIBLE:                 Redacted
EARTHQUAKE DEDUCTIBLE: 10%

MORTGAGE HOLDER
Item         Name and Address
2-1                GREAT SOUTHERN BANK
                   PO BOX 3106
                   COPPELL, TX 75019-9106
FORMS AND / OR ENDORSEMENTS APPLICABLE TO THIS COVERAGE PART:
FM101          05/16 BUILDING AND PERSONAL PROPERTY COVERAGE FORM (INCLUDING SPECIAL CAUSES
                     OF LOSS)
FCP407         05/16 CINCIPLUS® CINCIPAK™ PROPERTY POWER XC+® (EXPANDED COVERAGE PLUS)
                     ENDORSEMENT SUMMARY OF COVERAGE LIMITS
FCP201         05/16 CINCIPAK™ COMMERCIAL PROPERTY AMENDATORY ENDORSEMENT
FCP202         05/16 CINCIPAK™ BUSINESS INCOME (AND EXTRA EXPENSE) AMENDATORY ENDORSEMENT
FCP203         05/16 CINCIPAK™ ACTUAL LOSS SUSTAINED BUSINESS INCOME ENDORSEMENT
FCP215         05/16 CINCIPLUS® CINCIPAK™ PROPERTY POWER XC+® (EXPANDED COVERAGE PLUS)
                     ENDORSEMENT
CP0128         07/00 MISSOURI - CALCULATION OF ADDITIONAL PREMIUM
FA4028MO       10/05 MISSOURI CHANGES - NUCLEAR HAZARD EXCLUSION
FA450          05/16 COMMERCIAL PROPERTY CONDITIONS
FA480          02/16 LOSS PAYABLE PROVISIONS
FA244          05/11 EQUIPMENT BREAKDOWN COVERAGE (EXCLUDING PRODUCTION MACHINERY)
FMQ502 07 08                                   ECP 050 41 58                                                   Page 1 of 2
FORMS AND / OR ENDORSEMENTS APPLICABLE TO THIS COVERAGE PART:
FA213     05/16 BUSINESS INCOME (AND EXTRA EXPENSE) COVERAGE FORM
FA240     05/16 EARTHQUAKE AND VOLCANIC ERUPTION ENDORSEMENT




FMQ502 07 08                        ECP 050 41 58                   Page 2 of 2
      BUILDING AND PERSONAL PROPERTY COVERAGE FORM
             (INCLUDING SPECIAL CAUSES OF LOSS)
                                                          TABLE OF CONTENTS

                                                                                                                                    Begins on Page
SECTION A. COVERAGE ............................................................................................................................3
   1. Covered Property ...........................................................................................................................3
       a. Building ..................................................................................................................................3
       b. Outdoor Signs........................................................................................................................3
       c. Outdoor Fences .....................................................................................................................3
       d. Business Personal Property.................................................................................................3
   2. Property Not Covered ....................................................................................................................4
       a. Accounts, Deeds, Money or Securities ...............................................................................4
       b. Animals...................................................................................................................................4
       c. Automobiles...........................................................................................................................4
       d. Contraband.............................................................................................................................4
       e. Electronic Data....................................................................................................................... 4
       f. Excavations, Grading & Backfilling.....................................................................................4
       g. Foundations ...........................................................................................................................4
       h. Land, Water or Growing Crops ............................................................................................4
       i. Paved Surfaces......................................................................................................................4
       j. Property While Airborne or Waterborne .............................................................................4
       k. Pilings or Piers.......................................................................................................................4
       l. Property More Specifically Insured .....................................................................................4
       m. Retaining Walls......................................................................................................................4
       n. Underground Pipes, Flues or Drains...................................................................................4
       o. Valuable Papers & Records and Cost to Research............................................................5
       p. Vehicles or Self-Propelled Machines...................................................................................5
       q. Property While Outside of Buildings...................................................................................5
   3. Covered Causes of Loss..............................................................................................................5
       a. Covered Causes of Loss.......................................................................................................5
       b. Exclusions..............................................................................................................................5
       c. Limitations............................................................................................................................11
   4. Additional Coverages.................................................................................................................13
       a. Change in Temperature or Humidity .................................................................................13
       b. Debris Removal....................................................................................................................13
       c. Fire Department Service Charge........................................................................................14
       d. Fire Protection Equipment Recharge ................................................................................14
       e. Inventory or Appraisal ........................................................................................................14
       f. Key and Lock Expense .......................................................................................................15
       g. Ordinance or Law ................................................................................................................15
       h. Pollutant Clean Up and Removal .......................................................................................16
       i. Preservation of Property.....................................................................................................16
       j. Rewards................................................................................................................................16




                                                Includes copyrighted material of Insurance
FM 101 05 16                                     Services Office, Inc., with its permission.                                      Page 1 of 40
                                                   TABLE OF CONTENTS (CONT'D)

                                                                                                                                       Begins on Page
   5. Coverage Extensions .................................................................................................................16
      a. Accounts Receivable...........................................................................................................17
      b. Business Income and Extra Expense................................................................................18
      c. Collapse.................................................................................................................................21
      d. Electronic Data.....................................................................................................................22
      e. Exhibitions, Fairs or Trade Shows.....................................................................................23
      f. Fences ..................................................................................................................................23
      g. Fungi, Wet Rot, Dry Rot, and Bacteria - Limited Coverage.............................................23
      h. Glass .....................................................................................................................................24
      i. Newly Purchased, Leased or Constructed Property........................................................25
      j. Nonowned Building Damage..............................................................................................26
      k. Outdoor Property.................................................................................................................26
      l. Personal Effects...................................................................................................................26
      m. Property Off Premises.........................................................................................................27
      n. Signs .....................................................................................................................................27
      o. Trailers (Nonowned Detached)...........................................................................................27
      p. Transportation .....................................................................................................................27
      q. Utility Services.....................................................................................................................27
      r. Valuable Papers and Records ............................................................................................28
      s. Water Damage, Other Liquids, Powder or Molten Material Damage ..............................29
SECTION B. LIMITS OF INSURANCE.......................................................................................................29
SECTION C. DEDUCTIBLE........................................................................................................................29
   1. Deductible Examples..................................................................................................................30
   2. Glass Deductible.........................................................................................................................30
SECTION D. LOSS CONDITIONS .............................................................................................................30
   1. Abandonment..............................................................................................................................30
   2. Appraisal......................................................................................................................................30
   3. Duties in the Event of Loss or Damage ....................................................................................30
   4. Loss Payment..............................................................................................................................31
   5. Recovered Property....................................................................................................................34
   6. Vacancy........................................................................................................................................34
      a. Description of Terms...........................................................................................................34
      b. Vacancy Provisions.............................................................................................................34
   7. Valuation ......................................................................................................................................34
SECTION E. ADDITIONAL CONDITIONS .................................................................................................35
   1. Coinsurance ................................................................................................................................35
   2. Mortgage Holders .......................................................................................................................36
SECTION F. OPTIONAL COVERAGES.....................................................................................................36
   1. Agreed Value ...............................................................................................................................37
   2. Inflation Guard ............................................................................................................................37
   3. Replacement Cost.......................................................................................................................37
SECTION G. DEFINITIONS........................................................................................................................38




                                                Includes copyrighted material of Insurance
FM 101 05 16                                     Services Office, Inc., with its permission.                                        Page 2 of 40
BUILDING AND PERSONAL PROPERTY COVERAGE FORM
         (INCLUDING SPECIAL CAUSES OF LOSS)
Various provisions in this policy restrict coverage.                        (a) Additions under construction, al-
Read the entire policy carefully to determine rights,                            terations and repairs to a cov-
duties and what is and is not covered.                                           ered building;
Throughout this policy the words "you" and "your"                           (b) Materials, equipment, supplies
refer to the Named Insured shown in the Declara-                                 and temporary structures, on or
tions. The words "we", "us" and "our" refer to the                               within 1,000 feet of the "premis-
Company providing this insurance.                                                es", used for making additions,
                                                                                 alterations or repairs to a cov-
Other words and phrases that appear in quotation                                 ered building.
marks have special meaning. Refer to SECTION
G. DEFINITIONS.                                                    b.   Outdoor Signs
SECTION A. COVERAGE                                                     Your outdoor signs permanently installed
                                                                        and not attached to a covered building,
We will pay for direct "loss" to Covered Property at                    and located within 1,000 feet of the
the "premises" caused by or resulting from any                          "premises".
Covered Cause of Loss.
                                                                   c.   Outdoor Fences
1.   Covered Property
                                                                        Your outdoor fences.
     Covered Property, as used in this Coverage
     Part, means the following types of property for               d.   Business Personal Property
     which a Limit of Insurance is shown in the
     Declarations:                                                      Your Business Personal Property consists
                                                                        of the following property located in or on
     a.   Building                                                      the building or structure described in the
                                                                        Declarations or in the open (or in a vehi-
          Building, means the building or structure                     cle or portable storage unit) within 1,000
          described in the Declarations, including:                     feet of the building or 1,000 feet of the
          (1) Completed additions;                                      "premises", whichever distance is greater.
                                                                        Your Business Personal Property consists
          (2) Fixtures, including outdoor fixtures;                     of the following unless otherwise specified
                                                                        in the Declarations or on the BUSINESS
          (3) Permanently installed:                                    PERSONAL PROPERTY - SEPARA-
              (a) Machinery and equipment;                              TION OF COVERAGE ENDORSEMENT.

              (b) Building glass, including any let-                    (1) Furniture;
                     tering and ornamentation;                          (2) Machinery and equipment;
              (c) Signs attached to a building or                       (3) "Stock";
                     structure that is Covered Proper-
                     ty;                                                (4) All other personal property owned by
                                                                            you and used in your business;
              (d) Awnings and canopies;
                                                                        (5) The cost of labor, materials or ser-
          (4) Personal property owned by you that                           vices furnished or arranged by you
              is used to maintain or service a cov-                         on personal property of others;
              ered building or its "premises", in-
              cluding:                                                  (6) Your use interest as tenant in im-
                                                                            provements and betterments. Im-
              (a) Fire extinguishing equipment;                             provements and betterments are fix-
              (b) Outdoor furniture;                                        tures, alterations, installations or ad-
                                                                            ditions:
              (c) Floor coverings; and
                                                                            (a) Made a part of the building or
              (d) Appliances used for refrigerat-                                structure you occupy but do not
                     ing, ventilating, cooking, dish-                            own; and
                     washing or laundering;
                                                                            (b) You acquired or made at your
          (5) If not covered by other insurance:                                 expense but cannot legally re-
                                                                                 move;


                                      Includes copyrighted material of Insurance
FM 101 05 16                           Services Office, Inc., with its permission.                   Page 3 of 40
          (7) Leased personal property used in                      e.   Electronic Data
              your business for which you have a
              contractual responsibility to insure.                      Except as provided in SECTION A.
              Such leased property is not consid-                        COVERAGE, 5. Coverage Extensions,
              ered personal property of others in                        d. Electronic Data, "Electronic data".
              your care, custody or control;                             This Paragraph e. does not apply to your
                                                                         "stock" of prepackaged software or to
          (8) Personal Property of Others that is in                     "electronic data" which is integrated in
              your care, custody or control or for                       and operates or controls the building's el-
              which you are legally liable.                              evator, lighting, heating, ventilation, air
                                                                         conditioning or security system.
              (a) This does not include personal
                    effects owned by you, your offic-               f.   Excavations, Grading & Backfilling
                    ers, your partners, or if you are a
                    limited liability company, your                      The cost of excavations, grading, backfill-
                    members or your managers, or                         ing or filling;
                    your     employees        (including            g.   Foundations
                    leased and temporary workers),
                    except as provided in 5. Cover-                      Foundations of buildings, structures, ma-
                    age Extensions, l. Personal Ef-                      chinery or boilers, if their foundations are
                    fects;                                               below:
              (b) This does not include property of                      (1) The lowest basement floor; or
                    others for which you are legally
                    liable as:                                           (2) The surface of the ground, if there is
                                                                             no basement.
                    1)   A carrier for hire; or
                                                                    h.   Land, Water or Growing Crops
                    2)   An arranger of transporta-
                         tion, including car loaders,                    Land (including land on which the proper-
                         consolidators,      brokers,                    ty is located), water, growing crops or
                         freight forwarders, or ship-                    lawns (other than lawns which are part of
                         ping associations; and                          a vegetative roof);

          (9) Sales samples.                                        i.   Paved Surfaces

2.   Property Not Covered                                                Bridges, roadways, walks, patios or other
                                                                         paved surfaces;
     Covered Property does not include:
                                                                    j.   Property While Airborne or Waterborne
     a.   Accounts, Deeds, Money or Securities
                                                                         Personal property while airborne or wa-
          Except as provided in SECTION A.                               terborne;
          COVERAGE, 5. Coverage Extensions,
          a. Accounts Receivable, Accounts, bills,                  k.   Pilings or Piers
          currency, deeds, food stamps or other ev-                      Pilings, piers, bulkheads, wharves or
          idences of debt, "money", notes or "secu-                      docks;
          rities";
                                                                    l.   Property More Specifically Insured
     b.   Animals
                                                                         Property that is covered under another
          Animals, unless                                                coverage form of this or any other policy
          (1) Owned by others and boarded by                             in which it is more specifically described,
              you; or                                                    except as provided in G. Other Insur-
                                                                         ance of the COMMERCIAL PROPERTY
          (2) Owned by you and covered as                                CONDITIONS;
              "stock" while inside of buildings;
                                                                    m. Retaining Walls
          and then only as provided in 3. Covered
          Causes of Loss, c. Limitations.                                Retaining walls that are not part of any
                                                                         building described in the Declarations;
     c.   Automobiles
                                                                    n.   Underground Pipes, Flues or Drains
          Automobiles held for sale;
                                                                         Underground pipes, flues or drains;
     d.   Contraband
          Contraband, or property in the course of
          illegal transportation or trade;

                                       Includes copyrighted material of Insurance
FM 101 05 16                            Services Office, Inc., with its permission.                   Page 4 of 40
   o.   Valuable Papers & Records and Cost                           (5) Trees, shrubs or plants (other than
        to Research                                                      trees, shrubs or plants that are
                                                                         "stock" or part of a vegetative roof).
        Except as provided in SECTION A.
        COVERAGE, 5. Coverage Extensions,                  3.   Covered Causes of Loss
        r. Valuable Papers and Records, the
        cost to research, replace or restore the in-            a.   Covered Causes of Loss
        formation on "valuable papers and rec-                       Covered Causes of Loss means direct
        ords", including those which exist as                        "loss" unless the "loss" is excluded or lim-
        "electronic data".                                           ited in this Coverage Part.
        This does not apply to "valuable papers                 b.   Exclusions
        and records" held for sale by you.
                                                                     (1) We will not pay for "loss" caused di-
   p.   Vehicles or Self-Propelled Machines                              rectly or indirectly by any of the fol-
        Vehicles or self-propelled machines (in-                         lowing, unless otherwise provided.
        cluding aircraft or watercraft) that:                            Such "loss" is excluded regardless of
                                                                         any other cause or event that con-
        (1) Are licensed for use on public roads;                        tributes concurrently or in any se-
            or                                                           quence to the "loss".
        (2) Are operated principally away from                           (a) Ordinance or Law
            the "premises".
                                                                              Except as provided in SECTION
        This paragraph does not apply to:                                     A. COVERAGE, 4. Additional
                                                                              Coverages, g. Ordinance or
        (1) Vehicles or self-propelled machines                               Law , the enforcement of or
            or autos you manufacture, process or                              compliance with any ordinance
            warehouse;                                                        or law:
        (2) Vehicles or self-propelled machines,                              1)   Regulating the construction,
            other than autos, you hold for sale;                                   use or repair of any building
        (3) Rowboats or canoes out of water and                                    or structure; or
            located at the "premises"; or                                     2)   Requiring the tearing down
        (4) Trailers, but only as provided in                                      of any building or structure,
            SECTION A. COVERAGE, 5. Cov-                                           including the cost of remov-
            erage Extensions, o. Trailers                                          ing its debris.
            (Nonowned Detached).                                              This exclusion applies whether
   q.   Property While Outside of Buildings                                   "loss" results from:

        The following property while outside of                               1)   An ordinance or law that is
        buildings (except as provided in SEC-                                      enforced even if the building
        TION A. COVERAGE, 5. Coverage Ex-                                          or structure has not been
        tensions):                                                                 damaged; or

        (1) Grain, hay, straw or other crops;                                 2)   The increased costs in-
                                                                                   curred to comply with an or-
        (2) Signs, except:                                                         dinance or law in the course
                                                                                   of construction, repair, ren-
            (a) Signs attached to a covered                                        ovation,    remodeling     or
                 building or structure;                                            demolition of any building or
            (b) Signs for which a Limit of Insur-                                  structure, or removal of its
                 ance is shown in the Declara-                                     debris, following a direct
                 tions.                                                            "loss" to that building or
                                                                                   structure.
        (3) Outdoor    fences, except outdoor
            fences for which a Limit of Insurance                        (b) Earth Movement
            is shown in the Declarations;                                     1)   Earthquake, including trem-
        (4) Radio antennas, television antennas                                    ors and aftershocks and any
            or satellite dishes; including their                                   earth sinking, rising or shift-
            lead-in wiring, masts, and towers;                                     ing related to such event;
            and                                                               2)   Landslide, including any
                                                                                   earth sinking, rising or shift-
                                                                                   ing related to such event;

                                   Includes copyrighted material of Insurance
FM 101 05 16                        Services Office, Inc., with its permission.                   Page 5 of 40
               3)   Mine subsidence, meaning                                act of nature or is otherwise
                    subsidence of a man-made                                caused.
                    mine, whether or not mining
                    activity has ceased;                               (c) Governmental Action

               4)   Earth sinking (other than                               Seizure or destruction of proper-
                    "sinkhole collapse"), rising                            ty by order of governmental au-
                    or shifting including soil                              thority. However, we will pay for
                    conditions which cause set-                             "loss" caused by or resulting
                    tling, cracking or other dis-                           from acts of destruction ordered
                    arrangement of foundations                              by governmental authority and
                    or other parts of realty. Soil                          taken at the time of a fire to pre-
                    conditions include contrac-                             vent its spread, if the fire would
                    tion, expansion, freezing,                              be covered under this Coverage
                    thawing, erosion, improperly                            Part.
                    compacted soil and the ac-                         (d) Nuclear Hazard
                    tion of water under the
                    ground surface.                                         Nuclear reaction or radiation, or
                                                                            radioactive contamination, how-
               But if Earth Movement, as de-                                ever caused.
               scribed in (b)1) through 4)
               above, results in fire or explo-                        (e) Utility Services
               sion, we will pay for the "loss"
               caused by that fire or explosion.                            1)   Except as provided in SEC-
                                                                                 TION A. COVERAGE, 5.
               5)   Volcanic eruption, explosion                                 Coverage Extensions, q.
                    or effusion. But if volcanic                                 Utility Services, the failure
                    eruption, explosion or effu-                                 of power, communication,
                    sion results in fire, building                               water or other utility ser-
                    glass breakage or volcanic                                   vices supplied to the "prem-
                    action, we will pay for the                                  ises", however caused, if
                    "loss" caused by that fire,                                  the failure:
                    building glass breakage or
                    volcanic action.                                             a)   Originates away from
                                                                                      the "premises"; or
                    Volcanic action means di-
                    rect "loss" resulting from the                               b) Originates at the "prem-
                    eruption of a volcano when                                        ises", but only if such
                    the "loss" is caused by:                                          failure involves equip-
                                                                                      ment used to supply
                    a)   Airborne volcanic blast                                      the utility service to the
                         or    airborne   shock                                       "premises"      from     a
                         waves;                                                       source away from the
                                                                                      "premises".
                    b) Ash, dust or particulate
                         matter; or                                              Failure of any utility service
                                                                                 includes lack of sufficient
                    c)   Lava flow.                                              capacity and reduction in
                    With respect to coverage for                                 supply. "Loss" caused by a
                    Volcanic Action, all volcanic                                surge of power is also ex-
                    eruptions that occur within                                  cluded if the surge would
                    any 168-hour period will                                     not have occurred but for an
                    constitute a single occur-                                   event causing the failure of
                    rence.                                                       power.

                    Volcanic action does not in-                                 However, if the failure or
                    clude the cost to remove                                     surge of power, or the fail-
                    ash, dust or particulate mat-                                ure of communication, wa-
                    ter that does not cause di-                                  ter, wastewater removal or
                    rect "loss" to the described                                 other utility service results in
                    property.                                                    a Covered Cause of Loss,
                                                                                 we will pay for that portion
               This Earth Movement exclusion                                     of "loss" caused by that
               applies regardless of whether                                     Covered Cause of Loss.
               any of the above, in paragraphs
               1) through 5), is caused by an                                    Communication services in-
                                                                                 clude but are not limited to
                                 Includes copyrighted material of Insurance
FM 101 05 16                      Services Office, Inc., with its permission.                    Page 6 of 40
                    service relating to Internet                            3)   Water that has entered and
                    access or access to any                                      then backs up through and
                    electronic, cellular or satel-                               is discharged from a sewer,
                    lite network.                                                drain, septic system, sump
                                                                                 pump system or related
           (f) War and Military Action                                           equipment; or
               1)   War, including undeclared                               4)   Water under the ground sur-
                    or civil war;                                                face pressing on, or flowing
               2)   Warlike action by a military                                 or seeping through:
                    force, including action in                                   a)   Foundations,     walls,
                    hindering    or   defending                                       floors or paved surfac-
                    against an actual or ex-                                          es;
                    pected attack, by any gov-
                    ernment, sovereign or other                                  b) Basements,           whether
                    authority using military per-                                     paved or not; or
                    sonnel or other agents; or
                                                                                 c)   Doors, windows or oth-
               3)   Insurrection, rebellion, revo-                                    er openings.
                    lution, usurped power, or
                    action taken by governmen-                              5)   Waterborne material carried
                    tal authority in hindering or                                or otherwise moved by any
                    defending against any of                                     of the water referred to in
                    these.                                                       Paragraphs (g)1), 3) or 4),
                                                                                 or material carried or other-
           (g) Water                                                             wise moved by mudslide or
                                                                                 mudflow as described in
               1)   Flood, meaning the partial                                   Paragraph (g)2).
                    or complete inundation of
                    normally dry land areas due                             This exclusion applies regard-
                    to:                                                     less of whether any of the above
                                                                            in Paragraphs (g)1) through
                    a)   The unusual or rapid                               (g)5) is caused by an act of na-
                         accumulation or runoff                             ture or is otherwise caused. An
                         of rain or surface wa-                             example of a situation to which
                         ters from any source; or                           this exclusion applies is the situ-
                    b) Waves, tidal     waters,                             ation where a dam, levee, sea-
                         tidal waves (including                             wall or other boundary or con-
                         tsunami); or                                       tainment system fails in whole or
                                                                            in part, for any reason, to con-
                    c)   Water    from     rivers,                          tain the water.
                         ponds, lakes, streams,
                         or any other body of                               However, if any of the above, as
                         water that rises above,                            described in Paragraphs (g)1)
                         overflows from, or is                              through (g)5), results in fire, ex-
                         not contained within its                           plosion or sprinkler leakage, we
                         natural or man-made                                will pay for that portion of "loss"
                         boundary;                                          caused by that fire, explosion or
                                                                            sprinkler leakage (if sprinkler
                    and all whether driven by                               leakage is a Covered Cause of
                    wind or not, including storm                            Loss).
                    surge.
                                                                       (h) "Fungi", Wet Rot, Dry Rot, and
               2)   Mudslides or mudflows,                                 Bacteria
                    which are caused by flood-
                    ing as defined above in                                 1)   Presence, growth, prolifera-
                    Paragraph (g)1) above.                                       tion, spread or any activity
                    Mudslide or mudflow in-                                      of "fungi", wet or dry rot or
                    volves a river of liquid and                                 bacteria. But if "fungi", wet
                    flowing mud on the surface                                   or dry rot or bacteria results
                    of normally dry land areas                                   in a "specified cause of
                    as when earth is carried by                                  loss", we will pay for the
                    a current of water and de-                                   "loss" caused by that "speci-
                    posited along the path of                                    fied cause of loss".
                    the current;


                                 Includes copyrighted material of Insurance
FM 101 05 16                      Services Office, Inc., with its permission.                   Page 7 of 40
               2)   This exclusion does not ap-                         (c) Smoke, Vapor, Gas
                    ply:
                                                                             Smoke, vapor or gas from agri-
                    a)   When "fungi", wet or                                cultural smudging or industrial
                         dry rot or bacteria re-                             operations.
                         sults from fire or light-
                         ning; or                                       (d) Miscellaneous Causes of Loss

                    b) To the extent that cov-                               1)   Wear and tear;
                         erage is provided in                                2)   Rust or other corrosion, de-
                         SECTION A. COVER-                                        cay, deterioration, hidden or
                         AGE, 5. Coverage Ex-                                     latent defect or any quality
                         tensions, g. "Fungi",                                    in property that causes it to
                         Wet Rot, Dry Rot and                                     damage or destroy itself;
                         Bacteria - Limited
                         Coverage with respect                               3)   Smog;
                         to "loss" from a cause
                         of loss other than fire or                          4)   Settling, cracking, shrinking
                         lightning.                                               or expansion;

           Exclusions b.(1)(a) through b.(1)(h)                              5)   Nesting or infestation, or
           apply whether or not the "loss" event                                  discharge or release of
           results in widespread damage or af-                                    waste products or secre-
           fects a substantial area.                                              tions, by insects, birds, ro-
                                                                                  dents or other animals;
       (2) We will not pay for "loss" caused by
           or resulting from any of the following:                           6)   Mechanical breakdown, in-
                                                                                  cluding rupture or bursting
           (a) Electrical Current                                                 caused by centrifugal force.
                                                                                  However, if mechanical
               Artificially generated electrical,                                 breakdown results in eleva-
               magnetic or electromagnetic en-                                    tor collision, we will pay for
               ergy that damages, disturbs, dis-                                  that portion of "loss" caused
               rupts or otherwise interferes with                                 by that elevator collision; or
               any:
                                                                             7)   The following causes of loss
               1)   Electrical or electronic wire,                                to personal property:
                    device, appliance, system
                    or network; or                                                a)   Marring or scratching;
               2)   Device, appliance, system                                     b) Except as provided in
                    or network utilizing cellular                                    SECTION A. COVER-
                    or satellite technology.                                         AGE, 4. Additional
                                                                                     Coverages, a. Change
               For the purpose of this exclu-                                        in Temperature or
               sion, electrical, magnetic or elec-                                   Humidity and 5. Cov-
               tromagnetic energy includes but                                       erage Extensions, q.
               is not limited to:                                                    Utility Services;
               1)   Electrical current, including                                      i)   Dampness or dry-
                    arcing;                                                                 ness of atmos-
               2)   Electrical charge produced                                              phere; and
                    or conducted by a magnetic                                         ii) Changes in or ex-
                    or electromagnetic field;                                               tremes of      tem-
               3)   Pulse of     electromagnetic                                            perature.
                    energy; or                                               However, if an excluded cause
               4)   Electromagnetic waves or                                 of loss listed in (2)(d)1) through
                    microwaves.                                              7) results in a "specified cause
                                                                             of "loss" or building glass break-
               However, if fire results, we will                             age, we will pay for that portion
               pay for "loss" caused by that fire.                           of "loss" caused by that "speci-
                                                                             fied cause of loss" or building
           (b) Delay or Loss of Use                                          glass breakage.
               Delay, loss of use or loss of
               market.

                                  Includes copyrighted material of Insurance
FM 101 05 16                       Services Office, Inc., with its permission.                   Page 8 of 40
           (e) Explosion of Steam Apparatus                                 This exclusion applies whether
                                                                            or not an act occurs during the
               Explosion of steam boilers,                                  hours of operation.
               steam pipes, steam engines or
               steam turbines owned or leased                               This  Dishonest or Criminal
               by you, or operated under your                               Acts exclusion does not apply to
               control. However, if explosion of                            acts of destruction by your em-
               steam boilers, steam pipes,                                  ployees (including leased work-
               steam engines or steam turbines                              ers or temporary employees) or
               results in fire or combustion ex-                            by authorized representatives;
               plosion, we will pay for that por-                           except theft by employees (in-
               tion of "loss" caused by that fire                           cluding leased workers or tem-
               or combustion explosion. We will                             porary employees) is not cov-
               also pay for "loss" caused by or                             ered.
               resulting from the explosion of
               gases or fuel within the furnace                        (i) Voluntary Parting Under False
               of any fired vessel or within the                           Pretense
               flues or passages through which                              Voluntary parting with any prop-
               the gases of combustion pass.                                erty by you or anyone else to
           (f) Water Seepage                                                whom you have entrusted the
                                                                            property if induced to do so by
               Continuous or repeated seepage                               any fraudulent scheme, trick,
               or leakage of water or the pres-                             device or false pretense.
               ence or condensation of humidi-
               ty, moisture, or vapor that occurs                      (j) Exposure to Weather
               over a period of 14 days or                                  Rain, snow, ice or sleet to per-
               more.                                                        sonal property in the open.
           (g) Freezing of Plumbing                                    (k) Collapse
               Water, other liquids, powder or                              Collapse, including any of the
               molten material that leaks or                                following conditions of property
               flows from plumbing, heating, air                            or any part of the property:
               conditioning or other equipment
               (except fire protection systems)                             1)     An abrupt falling down or
               caused by or resulting from                                         caving in;
               freezing, unless:
                                                                            2)     Loss of structural integrity,
               1)   You did your best to main-                                     including separation of parts
                    tain heat in the building or                                   of the property or property
                    structure; or                                                  in danger of falling down or
                                                                                   caving in; or
               2)   You drained the equipment
                    and shut off the supply if the                          3)     Any cracking, bulging, sag-
                    heat was not maintained.                                       ging, bending, leaning, set-
                                                                                   tling, shrinkage or expan-
           (h) Dishonest or Criminal Acts                                          sion as such condition re-
               Dishonest or criminal acts (in-                                     lates to Paragraph (k)1) or
               cluding theft) by you, any of your                                  2) above.
               partners, members (if a limited                              But if collapse results in a Cov-
               liability company), officers, man-                           ered Cause of Loss at the
               agers, employees (including                                  "premises", we will pay for "loss"
               leased workers or temporary                                  caused by that Covered Cause
               employees) directors, trustees,                              of Loss.
               or authorized representatives;
               whether acting alone or in collu-                            This exclusion Collapse does
               sion with each other or with any                             not apply:
               other party; or theft by any per-
               son to whom you entrust the                                  1)     To the extent that coverage
               property for any purpose,                                           is provided under the SEC-
               whether acting alone or in collu-                                   TION A. COVERAGE, 5.
               sion with any other party.                                          Coverage Extensions,
                                                                                   c. Collapse; or
                                                                            2)     To collapse caused by one
                                                                                   or more of the following:
                                 Includes copyrighted material of Insurance
FM 101 05 16                      Services Office, Inc., with its permission.                    Page 9 of 40
                   a) The "specified causes                           (3) We will not pay for "loss" caused by
                         of loss";                                         or resulting from any of the following
                                                                           in Paragraphs (3)(a) through (3)(c).
                   b) Breakage of building                                 However, if an excluded cause of
                         glass;                                            loss that is listed in Paragraphs (3)(a)
                   c) Weight of rain that col-                             through (3)(c) results in a Covered
                         lects on a roof; or                               Cause of Loss, we will pay for that
                                                                           portion of "loss" caused by that Cov-
                   d) Weight of people or                                  ered Cause of Loss:
                         personal property.
                                                                           (a) Weather Conditions
           (l) Pollutants
                                                                                Weather conditions, but this ex-
               Discharge, dispersal, seepage,                                   clusion only applies if weather
               migration, release, escape or                                    conditions contribute in any way
               emission of "pollutants" unless                                  with a cause or event excluded
               the discharge, dispersal, seep-                                  in SECTION A. COVERAGE, 3.
               age, migration, release, escape                                  Covered Causes of Loss, b.
               or emission is itself caused by                                  Exclusions, (1)(a) through
               any of the "specified causes of                                  (1)(h) to produce the "loss".
               loss". But if the discharge, dis-
               persal, seepage, migration, re-                             (b) Acts or Decisions
               lease, escape or emission of                                     Acts or decisions, including the
               "pollutants" results in a "speci-                                failure to act or decide, of any
               fied cause of loss", we will pay                                 person, group, organization or
               for the "loss" caused by that                                    governmental body.
               "specified cause of loss".
                                                                           (c) Defects, Errors, and Omis-
               This exclusion does not apply to                                sions
               "loss" to glass caused by chemi-
               cals applied to the glass.                                       1)   An act, error, or omission
                                                                                     (negligent or not) relating to:
           m) Loss or Damage to Product
                                                                                     a)   Land use;
               We will not pay for "loss" to
               Covered Property consisting of                                        b) Design, specifications,
               merchandise, goods or other                                                construction, workman-
               product caused by or resulting                                             ship;
               from error or omission by any
               person or entity (including those                                     c)   Planning, zoning, de-
               having possession under an ar-                                             velopment, surveying,
                                                                                          siting, grading, com-
               rangement where work or a por-
                                                                                          paction; or
               tion of the work is outsourced) in
               any stage of the development,                                         d) Maintenance,      installa-
               production or use of the product,                                          tion, renovation, repair,
               including planning, testing, pro-                                          or remodeling
               cessing, packaging, installation,
               maintenance or repair. This ex-                                       of part or all of any property
               clusion applies to any effect that                                    on or off the "premises";
               compromises the form, sub-
               stance or quality of the product.                                2)   A defect, weakness, inade-
                                                                                     quacy, fault, or unsound-
               But if such error or omission re-
               sults in a Covered Cause of                                           ness in materials used in
               Loss, we will pay for "loss"                                          construction or repair of part
               caused by that Covered Cause                                          or all of any property on or
                                                                                     off the "premises"; or
               of Loss.
           (n) Neglect                                                          3)   The cost to make good any
                                                                                     error in design.
               Neglect of an insured to use all
               reasonable means to save and
               preserve property from further
               damage at and after the time of
               "loss".



                                     Includes copyrighted material of Insurance
FM 101 05 16                          Services Office, Inc., with its permission.                  Page 10 of 40
       (4) Special Exclusions                                                  or cancellation of any license,
                                                                               lease or contract beyond the
           The Special Exclusions apply only to                                "period of restoration".
           SECTION A. COVERAGE, 5. Cov-
           erage Extensions, b. Business In-                              (e) Any other indirect "loss".
           come and Extra Expense; and if at-
           tached to this policy, the following                  c.   Limitations
           coverage forms: BUSINESS IN-                               The following limitations apply to all policy
           COME (AND EXTRA EXPENSE)                                   forms and endorsements shown on the
           COVERAGE FORM, BUSINESS IN-                                COMMERCIAL PROPERTY COVER-
           COME (WITHOUT EXTRA EX-                                    AGE PART DECLARATIONS, unless
           PENSE) COVERAGE FORM, and                                  otherwise stated:
           EXTRA EXPENSE COVERAGE
           FORM.                                                      (1) Limitations - Various Types of
                                                                          Property
           We will not pay for:
                                                                          We will not pay for "loss" to property
           (a) Any "loss" caused by or resulting                          as described and limited in this sec-
               from:                                                      tion. In addition, we will not pay for
               1)   Damage or destruction of                              any "loss" that is a consequence of
                    "finished stock"; or                                  "loss" as described and limited in this
                                                                          section.
               2)   The time required to repro-
                    duce "finished stock".                                (a) Steam Apparatus
               This Exclusion (4)(a) does not                                  Steam boilers, steam pipes,
               apply to Extra Expense.                                         steam engines or steam turbines
                                                                               caused by or resulting from any
           (b) Any "loss" caused by or resulting                               condition or event inside such
               from damage to radio or televi-                                 equipment. But we will pay for
               sion antennas (including satellite                              "loss" to such equipment caused
               dishes) and their lead-in wiring,                               by or resulting from an explosion
               masts or towers.                                                of gases or fuel within the fur-
                                                                               nace of any fired vessel or within
           (c) Any increase of "loss" caused by                                the flues or passages through
               or resulting from:                                              which the gases of combustion
               1)   Delay in rebuilding, repair-                               pass.
                    ing or replacing the property                         (b) Hot Water Boilers
                    or resuming "operations",
                    due to interference at the                                 Hot water boilers or other water
                    location of the rebuilding,                                heating equipment caused by or
                    repair or replacement by                                   resulting from any condition or
                    strikers or other persons; or                              event inside such boilers or
                                                                               equipment, other than an explo-
               2)   Suspension, lapse or can-                                  sion.
                    cellation of any license,
                    lease or contract. However,                           (c) Building Interiors
                    if the suspension, lapse or
                    cancellation     is   directly                             The interior of any building or
                    caused by the "suspension"                                 structure, or to personal property
                    of "operations", we will cov-                              in the building or structure,
                    er such "loss" that affects                                caused by or resulting from rain,
                    your "Business Income"                                     snow, sleet, ice, sand or dust,
                    during the "period of resto-                               whether driven by wind or not,
                    ration" and any extension of                               unless:
                    the "period of restoration" in                             1)   The building or structure
                    accordance with the terms                                       first sustains damage by a
                    of the Extended Business                                        Covered Cause of Loss to
                    Income Additional Coverage                                      its roof or walls through
                    and the Extended Period of                                      which the rain, snow, sleet,
                    Indemnity Optional Cover-                                       ice, sand or dust enters; or
                    age or any variation of
                    these.                                                     2)   The "loss" is caused by or
                                                                                    results from thawing of
           (d) Any Extra Expense caused by or
               resulting from suspension, lapse
                                    Includes copyrighted material of Insurance
FM 101 05 16                         Services Office, Inc., with its permission.                  Page 11 of 40
                    snow, sleet or ice on the                           (b) Contractors equipment, machin-
                    building or structure.                                   ery and tools owned by you or
                                                                             entrusted to you, provided such
           (d) Theft of Building Materials                                   property is Covered Property.
               Building materials and supplies                               However, this limitation does not
               not attached as part of the build-                            apply:
               ing or structure, caused by or
               resulting from theft.                                         1)   If the property is located on
                                                                                  or within 1,000 feet of the
               However, this limitation does not                                  "premises"; or
               apply to:
                                                                             2)   To Business Income cover-
               1)   Building materials and sup-                                   age or to Extra Expense
                    plies held for sale by you; or                                coverage.
               2)   "Business Income" cover-                       (3) Limitation     - Personal Property
                    age or Extra Expense cov-                          Theft
                    erage.
                                                                        This Limitation does not apply to
           (e) Missing Property                                         "Business Income" coverage or to
               Property that is missing, where                          Extra Expense coverage. For each
               the only evidence of the "loss" is                       category described in Paragraph
               a shortage disclosed on taking                           c.(3)(a) through (3)(d) below, the
               inventory, or other instances                            most we will pay for "loss" in any one
               where there is no physical evi-                          occurrence of theft to all property in
               dence to show what happened                              that category, regardless of the types
               to the property.                                         or number of articles for that category
                                                                        that are lost or damaged in that oc-
           (f) Transferred Property                                     currence, are the following special
                                                                        limits:
               Property that has been trans-
               ferred to a person or to a place                         (a) $2,500 for Furs, fur garments
               outside the "premises" on the                                 and garments trimmed with fur.
               basis of unauthorized instruc-
               tions.                                                   (b) $2,500 for Jewelry, watches,
                                                                             watch      movements,     jewels,
           (g) Vegetative Roofs                                              pearls, precious and semi-
                                                                             precious stones, bullion, gold,
               Lawns, trees, shrubs or plants                                silver, platinum and other pre-
               which are part of a vegetated                                 cious alloys or metals. This limi-
               roof, caused by or resulting                                  tation does not apply to jewelry
               from:                                                         and watches worth $100 or less
                                                                             per item.
               1)   Dampness or dryness of
                    atmosphere or of soil sup-                          (c) $2,500 for Patterns, dies, molds
                    porting the vegetation;                                  and forms.

               2)   Changes in or extremes of                           (d) $250 for Stamps, tickets, includ-
                    temperature;                                             ing lottery tickets held for sale,
                                                                             and letters of credit.
               3)   Disease;
                                                                        These special limits are not addition-
               4)   Frost or hail; or                                   al Limits of Insurance.
               5)   Rain, snow, ice or sleet.                      (4) Limitation - System or Appliance
                                                                       Defects
       (2) Limitations - Various Property for
           Specified Causes                                             (a) We will not pay the cost to repair
                                                                             any defect to a system or appli-
           We will not pay for "loss" to the fol-                            ance from which water, other
           lowing types of property unless                                   liquid, powder or molten material
           caused by the "specified causes of                                escapes; and
           loss" or building glass breakage:
                                                                        (b) We will not pay to replace the
           (a) Animals, and then only if they                                substance that escapes as de-
               are killed or their destruction is                            scribed in Paragraph c.(4)(a)
               deemed necessary.                                             above.

                                  Includes copyrighted material of Insurance
FM 101 05 16                       Services Office, Inc., with its permission.                 Page 12 of 40
              But we will pay the cost to repair or                        (d) Remove        debris of property
              replace damaged parts of fire extin-                              owned by or leased to the land-
              guishing equipment if the damage                                  lord of the building where your
              results in discharge of any substance                             "premises" are located, unless
              from an automatic fire protection sys-                            you have a contractual respon-
              tem, or is directly caused by freezing.                           sibility to insure such property
                                                                                and it is insured under this Cov-
              However, this Limitation c.(4)(a) does                            erage Part;
              not apply to "Business Income" Cov-
              erage or to Extra Expense Coverage.                          (e) Remove any property that is
                                                                                Property Not Covered, including
4.   Additional Coverages                                                       property addressed under 5.
     Unless stated otherwise, SECTION C. DE-                                    Coverage Extensions, k. Out-
     DUCTIBLE does not apply to Paragraph 4.                                    door Property.
     Additional Coverages.                                                 (f) Remove property of others of a
     Unless stated otherwise, these Paragraph 4.                                type that would not be Covered
     Additional Coverages apply on a per location                               Property under this Coverage
     basis.                                                                     Part;

     a.   Change in Temperature or Humidity                                (g) Remove deposits of mud or
                                                                                earth from the grounds of the
          We will pay for direct "loss" to your cov-                            "premises".
          ered Business Personal Property caused
          by a change in temperature or humidity or                   (3) Subject to the exceptions in Para-
          contamination by refrigerant resulting                          graph b.(4) below, the following pro-
          from damage by a Covered Cause of                                visions apply:
          Loss to equipment used for refrigerating,                        (a) The most we will pay for the total
          cooling, humidifying, dehumidifying, air                              of direct "loss" plus debris re-
          conditioning, heating, generating or con-                             moval expense is the Limit of In-
          verting power (including their connections                            surance applicable to the Cov-
          and supply or transmission lines and                                  ered Property that has sustained
          pipes) when located on the "premises".                                "loss".
          This Coverage is included within the Lim-                        (b) Subject to Paragraph b.(3)(a),
          its of Insurance shown in the Declara-                                the amount we will pay for debris
          tions.                                                                removal expense is limited to
     b.   Debris Removal                                                        25% of the sum of the deductible
                                                                                plus the amount that we pay for
          (1) Subject to Paragraphs b.(2), (3) and                              direct "loss" to the Covered
              (4) of this Additional Coverage, we                               Property that has sustained
              will pay your expense to remove de-                               "loss".
              bris of Covered Property and other
              debris that is on the "premises",                       (4) We will pay up to an additional
              when such debris is caused by or re-                         $10,000 for debris removal expense
              sults from a Covered Cause of Loss                           for each "premises", in any one oc-
              that occurs during the "coverage                             currence of direct "loss" to Covered
              term". The expenses will be paid only                        Property, if one or both of the follow-
              if they are reported to us in writing                        ing circumstances apply:
              within 180 days of the date of direct                        (a) The total of the actual debris
              "loss".                                                           removal expense plus the
          (2) Debris Removal does not apply to                                  amount we pay for direct "loss"
              costs to:                                                         exceeds the Limit of Insurance
                                                                                on the Covered Property that
              (a) Extract "pollutants" from land or                             has sustained "loss".
                   water;
                                                                           (b) The actual debris removal ex-
              (b) Remove, restore or replace pol-                               pense exceeds 25% of the sum
                   luted land or water;                                         of the deductible plus the
                                                                                amount that we pay for direct
              (c) Remove debris of property of                                  "loss" to the Covered Property
                   yours that is not insured under                              that has sustained "loss".
                   this Coverage Part, or property
                   in your possession that is not                     Therefore, if Paragraph b.(4)(a) and/or
                   Covered Property;                                  (4)(b) apply, our total payment for direct

                                     Includes copyrighted material of Insurance
FM 101 05 16                          Services Office, Inc., with its permission.                 Page 13 of 40
       "loss" and debris removal expense may                   pense in this example is $20,500; $9,500 of
       reach but will never exceed the Limit of                the debris removal expense is not covered.
       Insurance on the Covered Property that
       has sustained "loss", plus $10,000.                     c.   Fire Department Service Charge

       (5) Examples                                                 When the fire department is called to
                                                                    save or protect Covered Property from a
            The following examples assume that                      Covered Cause of Loss, we will pay up to
            there is no coinsurance penalty.                        $5,000 in any one occurrence for your li-
                                                                    ability, which is determined prior to the di-
   Example #1                                                       rect "loss", for fire department service
    Limit of Insurance                   $90,000                    charges:
    Amount of Deductible                    $500                    (1) Assumed by contract or agreement;
    Amount of "Loss"                     $50,000                        or
    Amount of "Loss" Payable             $49,500
    ($50,000 - $500)                                                (2) Required by local ordinance.
    Debris Removal Expense               $10,000
    Debris Removal Expense                                          Such limit is the most we will pay regard-
    Payable                              $10,000                    less of the number of responding fire de-
    ($10,000 is 20% of $50,000)                                     partments or fire units, and regardless of
                                                                    the number or type of services performed.
   The debris removal expense is less than 25%                      This Coverage is in addition to the Limits
   of the sum of the "loss" payable plus the de-                    of Insurance shown in the Declarations.
   ductible. The sum of the "loss" payable and
   the debris removal expense ($49,500 +                       d.   Fire Protection Equipment Recharge
   $10,000 = $59,500) is less than the Limit of                     (1) We will pay for the expenses you in-
   Insurance. Therefore, the full amount of debris                      cur to recharge your automatic fire
   removal expense is payable in accordance                             suppression system or portable fire
   with the terms of Paragraph (3).                                     extinguishers when the equipment is
   Example #2                                                           discharged:

   Limit of Insurance                                                   (a) To combat a covered fire to
                                         $90,000                             which this insurance applies;
   Amount of Deductible                     $500                        (b) As a result of another covered
   Amount of "Loss"                      $80,000                             Cause of Loss other than fire; or
   Amount of "Loss" Payable              $79,500
   ($80,000 - $500)                                                     (c) As a result of an accidental dis-
   Debris Removal Expense                $30,000                             charge.
   Debris Removal Expense Payable
              Basic Amount               $10,500                    (2) We will not pay your expenses to re-
              Additional Amount          $10,000                        charge fire protection equipment as a
                                                                        result of a discharge during testing or
   The basic amount payable for debris removal                          installation.
   expense under the terms of Paragraph (3) is
   calculated as follows: $80,000 ($79,500 +                        (3) If it is less expensive to do so, we will
   $500) x .25 = $20,000; capped at $10,500.                            pay your costs to replace your auto-
   The cap applies because the sum of the "loss"                        matic fire suppression system or
   payable ($79,500) and the basic amount pay-                          portable fire extinguishers rather than
   able for debris removal expense ($10,500)                            recharge that equipment.
   cannot exceed the Limit of Insurance                             The most we will pay in any one occur-
   ($90,000).                                                       rence under this Additional Coverage is
   The additional amount payable for debris re-                     $25,000. This Coverage is in addition to
   moval expense is provided in accordance with                     the Limits of Insurance shown in the Dec-
   the terms of Paragraph (4), because the de-                      larations.
   bris removal expense ($30,000) exceeds 25%                  e.   Inventory or Appraisal
   of the "loss" payable plus the deductible
   ($30,000 is 37.5% of $80,000), and because                       (1) We will pay the necessary expenses
   the sum of the "loss" payable and debris re-                         you incur to prepare claim infor-
   moval expense ($79,500 + $30,000 =                                   mation as required by this Coverage
   $109,500) would exceed the Limit of Insur-                           Part. Expenses must result from:
   ance ($90,000). The additional amount of
   covered debris removal expense is $10,000,                           (a) Taking inventories;
   the maximum payable under Paragraph (4).                             (b) Making appraisals; and
   Thus the total payable for debris removal ex-

                                  Includes copyrighted material of Insurance
FM 101 05 16                       Services Office, Inc., with its permission.                  Page 14 of 40
            (c) Preparing a statement of loss                            (a) Loss of Use of Undamaged
                 and other supporting exhibits.                              Parts of Buildings
        (2) We will not pay for any expenses:                                 The costs you incur to rebuild at
                                                                              the same "premises" any un-
            (a) Incurred to prove that "loss" is                              damaged portion of your building
                 covered;                                                     or structure caused by enforce-
            (b) Incurred under SECTION D.                                     ment of or compliance with an
                LOSS CONDITIONS, 2. Ap-                                       ordinance or law requiring
                praisal;                                                      demolition of undamaged parts
                                                                              of the same building or structure.
            (c) Incurred for examinations under                               We will only pay the costs to sat-
                 oath;                                                        isfy the minimum requirements
                                                                              of the ordinance or law. Losses
            (d) Billed by and payable to inde-                                and costs incurred in complying
                 pendent or public adjusters; or                              with recommended actions or
            (e) To prepare claims not covered                                 standards that exceed actual re-
                 by this Coverage Part.                                       quirements are not covered.

        The most we will pay for any one occur-                          (b) Demolition Costs
        rence under this Additional Coverage is                               The costs you incur to demolish
        $10,000. This Coverage is in addition to                              and clear the site of undamaged
        the shown in the Declarations.                                        parts of the same building or
   f.   Key and Lock Expense                                                  structure as a result of Para-
                                                                              graph g.(1)(a) above.
        (1) If a key or master key is lost, stolen,
            or damaged, we will pay for:                                 (c) Increased Costs of Construc-
                                                                             tion
            (a) The actual expense of the new
                 keys; and                                                    1)   For buildings or structures
                                                                                   to which SECTION F. OP-
            (b) The adjustment of locks to ac-                                     TIONAL COVERAGES, 3.
                 cept new keys; or                                                 Replacement Cost applies,
                                                                                   the increased costs to com-
            (c) If required, new locks, including                                  ply with the minimum
                 the expense of their installation;                                standards of an ordinance
            but only for locks at buildings or                                     or law to:
            structures covered by this Coverage                                    a) Repair or reconstruct
            Part.                                                                      damaged portions of
        (2) This Coverage does not apply to                                            that building or struc-
            keys that were given to former em-                                         ture; and
            ployees.                                                               b) Reconstruct or remodel
        The most we will pay in any one occur-                                         undamaged portions of
        rence under this Additional Coverage is                                        that building or struc-
        Limit of Insurance $1,000. This Coverage                                       ture whether or not
        is in addition to the Limit of Insurance                                       demolition is required;
        shown in the Declarations.                                                 However, this increased
   g.   Ordinance or Law                                                           cost of construction applies
                                                                                   only if the building or struc-
        (1) If a covered building or structure sus-                                ture is repaired, recon-
            tains direct "loss" from a Covered                                     structed or remodeled and
            Cause of Loss, resulting in the en-                                    is intended for occupancy
            forcement of or compliance with an                                     similar to the building or
            ordinance or law that is in force at the                               structure it replaces, unless
            time of "loss" and regulates the dem-                                  such occupancy is not per-
            olition, construction or repair of build-                              mitted by zoning or land use
            ings or structures, or establishes zon-                                ordinance or law.
            ing or land use requirements at the
            "premises", then subject to SECTION                               2)   For this Paragraph g.(1)(c)
            D, LOSS CONDITIONS, 4. Loss                                            only, the increased costs to
            Payment, we will pay:                                                  repair or reconstruct the fol-
                                                                                   lowing:


                                   Includes copyrighted material of Insurance
FM 101 05 16                        Services Office, Inc., with its permission.                 Page 15 of 40
                      a) The cost of excava-                           migration, release, escape or emission of
                          tions, grading, backfill-                    the "pollutants" is caused by or results
                          ing and filling;                             from a Covered Cause of Loss that oc-
                                                                       curs during the "coverage term". The ex-
                      b) Foundation of the build-                      penses will be paid only if they are re-
                          ing;                                         ported to us in writing within 180 days of
                      c) Pilings;                                      the date on which the Covered Cause of
                                                                       Loss occurs.
                      d) Underground            pipes,
                          flues and drains.                            This Additional Coverage does not apply
                                                                       to costs to test for, monitor or assess the
                      The items listed in Para-                        existence, concentration or effects of "pol-
                      graphs   g.2)a)    through                       lutants". But we will pay for testing which
                      g.2)d) above are deleted                         is performed in the course of extracting
                      from SECTION A. COVER-                           the "pollutants" from the land or water.
                      AGE, 2.        Property     Not
                      Covered;                                         The most we will pay under this Additional
                                                                       Coverage for each "premises" is $10,000
        (2) We will not pay for:                                       for the sum of all covered expenses aris-
                                                                       ing out of Covered Causes of Loss during
            (a) Enforcement of or compliance                           each "coverage term". This Coverage is
                 with any ordinance or law which                       in addition to the Limit of Insurance
                 requires the demolition, repair,                      shown in the Declarations.
                 replacement,       reconstruction,
                 remodeling or remediation of                     i.   Preservation of Property
                 property due to contamination by
                 "pollutants" or due to the pres-                      If it is necessary to move Covered Prop-
                 ence,     growth,     proliferation,                  erty from the "premises" to preserve it
                 spread or any activity of "fungi",                    from imminent "loss" by a Covered Cause
                 wet or dry rot or bacteria; or                        of Loss, we will pay for any direct "loss" to
                                                                       that property:
            (b) The costs associated with the
                 enforcement of or compliance                          (1) While it is being moved or while tem-
                 with any ordinance or law which                           porarily stored at another location;
                 requires any insured or others to                         and
                 test for, monitor, clean up, re-                      (2) Only if the "loss" occurs within 60
                 move, contain, treat, detoxify or                         days after the property is first moved.
                 neutralize, or in any way re-
                 spond to, or assess the effects                       This Coverage is included within Limit of
                 of "pollutants", "fungi", wet or dry                  Insurance shown in the Declarations for
                 rot or bacteria.                                      such Covered Property.
        (3) We will not pay for "loss" due to any                 j.   Rewards
            ordinance or law that:
                                                                       We will pay to provide a reward for infor-
            (a) You were required to comply                            mation that leads to a conviction for ar-
                 with before the "loss", even if the                   son, theft, vandalism, or burglary. The
                 building or structure was un-                         conviction must involve a covered "loss"
                 damaged; and                                          caused by arson, theft, vandalism, or bur-
                                                                       glary.
            (b) With which you failed to comply.
                                                                       The most we will pay for "loss" in any one
        (4) The terms of this Additional Cover-                        occurrence under this Additional Cover-
            age apply separately to each building                      age is $10,000. This Coverage is in addi-
            or structure covered by this Cover-                        tion to the Limit of Insurance shown in the
            age Part.                                                  Declarations.
        The most we will pay under this Additional           5.   Coverage Extensions
        Coverage is $10,000 per building. This is
        in addition to the Limit of Insurance                     Unless amended within a particular Coverage
        shown in the Declarations for the building                Extension, each Extension applies to property
        suffering "loss".                                         located in or on the building described in the
                                                                  Declarations or in the open (or in a vehicle or
   h.   Pollutant Clean Up and Removal                            portable storage unit) within 1,000 feet of the
        We will pay your expenses to extract "pol-                "premises".
        lutants" from land or water at the "premis-
        es" if the discharge, dispersal, seepage,
                                     Includes copyrighted material of Insurance
FM 101 05 16                          Services Office, Inc., with its permission.                  Page 16 of 40
   The limits applicable to the Coverage Exten-                          (b) Away From Your Premises
   sions are in addition to the Limit of Insurance
   shown in the Property Declarations. Limits of                              The most we will pay in any one
   Insurance specified in these Extensions apply                              occurrence is $5,000, regardless
   per location unless stated otherwise.                                      of the number of locations, for
                                                                              "loss" caused by a Covered
   SECTION E. ADDITIONAL CONDITIONS, 1.                                       Cause of Loss to Accounts Re-
   Coinsurance, does not apply to these Cover-                                ceivable while they are away
   age Extensions.                                                            from your "premises".
   a.   Accounts Receivable                                                   This Away From Premises Limit
                                                                              is in addition to the Limit of In-
        SECTION C. DEDUCTIBLE does not ap-                                    surance applicable to this Cov-
        ply to this Coverage Extension.                                       erage Extension.
        (1) When you sustain direct "loss" to                       (4) SECTION A. COVERAGE, 3. Cov-
            your accounts receivable records                            ered Causes of Loss, b. Exclu-
            caused by a Covered Cause of Loss,                          sions does not apply to this Cover-
            we will pay:                                                 age Extension, except as follows:
            (a) All amounts due from your cus-                           (a) Exclusion (1)(c) Governmental
                 tomers that you are unable to                               Action;
                 collect;
                                                                         (b) Exclusion (1)(d) Nuclear Haz-
            (b) Interest charges on any loan re-                             ard;
                 quired to offset amounts you are
                 unable to collect pending our                           (c) Exclusion (1)(f) War and Mili-
                 payment of these amounts;                                   tary Action.
            (c) Collection expenses in excess of                    (5) In addition to Paragraph a.(4) of this
                 your normal collection expenses                         Coverage Extension, we will not pay
                 that are made necessary by the                          for "loss" resulting from any of the fol-
                 "loss"; and                                             lowing:
            (d) Other reasonable expenses that                           (a) Dishonest or criminal acts by:
                 you incur to re-establish your
                 records of accounts receivable.                              1)   You, your partners, employ-
                                                                                   ees, directors, trustees or
        (2) Coverage does not apply to:                                            authorized representatives;
            (a) Records of accounts receivable                                2)   A manager or a member if
                 in storage away from the "prem-                                   you are a limited liability
                 ises"; or                                                         company;
            (b) Contraband, or property in the                                3)   Anyone else with an interest
                 course of illegal transportation or                               in the records of accounts
                 trade.                                                            receivable, or their employ-
                                                                                   ees or authorized repre-
        (3) We will extend coverage to include:                                    sentatives; or
            (a) Removal                                                       4)   Anyone else entrusted with
                 If you give us written notice with-                               the records of accounts re-
                 in 30 days of removal of your                                     ceivable for any purpose.
                 records of accounts receivable                               This Paragraph a.(5)(a) applies
                 because of imminent danger of                                whether or not such persons are
                 direct "loss" from a Covered                                 acting alone or in collusion with
                 Cause of Loss, we will pay for                               other persons or such act occurs
                 "loss" while they are:                                       during the hours of employment.
                 1)   At a safe place away from                               However, this Paragraph a.(5)(a)
                      your "premises"; or                                     does not apply to dishonest acts
                 2)   Being taken to and returned                             of a carrier for hire or to acts of
                      from that place.                                        destruction by your employees.
                                                                              However, theft by employees is
                 This Removal coverage is in-                                 still not covered.
                 cluded within the Limit of Insur-
                 ance applicable to this Coverage                        (b) Alteration, falsification, conceal-
                 Extension.                                                   ment or destruction of records of

                                   Includes copyrighted material of Insurance
FM 101 05 16                        Services Office, Inc., with its permission.                  Page 17 of 40
               accounts receivable done to                                        able for the month in which
               conceal the wrongful giving, tak-                                  the direct "loss" occurred or
               ing or withholding of "money",                                     for any demonstrated vari-
               "securities" or other property.                                    ance from the average for
                                                                                  that month.
               This exclusion applies only to
               the extent of the wrongful giving,                       (b) The following will be deducted
               taking or withholding.                                        from the total amount of ac-
                                                                             counts receivable, however that
           (c) Bookkeeping, accounting or bill-                              amount is established:
               ing errors or omissions.
                                                                             1)   The amount of the accounts
           (d) Electrical or magnetic injury, dis-                                for which there is no direct
               turbance or erasure of "electron-                                  "loss"; and
               ic data" that is caused by or re-
               sults from:                                                   2)   The amount of the accounts
                                                                                  that you are able to re-
               1)   Programming      errors    or                                 establish or collect; and
                    faulty machine instructions;
                                                                             3)   An amount to allow for
               2)   Faulty    installation or                                     probable bad debts that you
                    maintenance of data pro-                                      are normally unable to col-
                    cessing equipment or com-                                     lect; and
                    ponent parts;
                                                                             4)   All unearned interest and
               3)   An occurrence that took                                       service charges.
                    place more than 100 feet
                    from your "premises"; or                        The most we will pay for "loss" in any one
                                                                    occurrence under this Coverage Exten-
               4)   Interruption of electrical                      sion is $25,000.
                    power supply, power surge,
                    blackout or brownout if the                b.   Business Income and Extra Expense
                    cause of such occurrence
                    took place more than 100                        SECTION C. DEDUCTIBLE does not ap-
                    feet from your "premises".                      ply to this Coverage Extension.

               But we will pay for direct "loss"                    (1) Business Income
               caused by lightning.                                     We will pay for the actual loss of
           (e) Voluntary parting with any prop-                         "Business Income" and "Rental Val-
               erty by you or anyone entrusted                          ue" you sustain due to the necessary
               with the property if induced to do                       "suspension" of your "operations"
               so by any fraudulent scheme,                             during the "period of restoration". The
               trick, device or false pretense.                         "suspension" must be caused by di-
                                                                        rect "loss" to property at a "premises"
           (f) A "loss" that requires any audit                         caused by or resulting from any Cov-
               of records or any inventory com-                         ered Cause of Loss. With respect to
               putation to prove its factual ex-                        "loss" to personal property in the
               istence.                                                 open or personal property in a vehi-
                                                                        cle or portable storage unit, the
       (6) Determination of Receivables:                                "premises" include the area within
           (a) If you cannot accurately estab-                          1,000 feet of the building or 1,000
               lish the amount of accounts re-                          feet of the "premises", whichever is
               ceivable outstanding as of the                           greater.
               time of direct "loss", the following                     With respect to the requirements of
               method will be used:                                     the preceding paragraph, if you are a
               1)   Determine the total of the                          tenant and occupy only part of the
                    average monthly amounts                             site at which the "premises" are lo-
                    of accounts receivable for                          cated, for the purpose of this Cover-
                    the 12 months immediately                           age Extension only, your "premises"
                    preceding the month in                              is the portion of the building that you
                    which the direct "loss" oc-                         rent, lease or occupy, including:
                    curs; and                                           (a) Any area within the building or
               2)   Adjust that total for any                                on the site at which the "premis-
                    normal fluctuations in the                               es" are located if that area ser-
                    amount of accounts receiv-
                                  Includes copyrighted material of Insurance
FM 101 05 16                       Services Office, Inc., with its permission.                 Page 18 of 40
               vices or is used to gain access                              "operations", the amount we will
               to the "premises"; and                                       pay under this Coverage will be
                                                                            reduced by the salvage value of
           (b) Your personal property in the                                that property.
               open (or in a vehicle or portable
               storage unit) within 1,000 feet of                      (d) Extra Expense does not apply to
               the building or 1,000 feet of the                            "loss" to Covered Property as
               "premises", whichever is greater.                            described in the BUILDING
                                                                            AND PERSONAL PROPERTY
       (2) Extra Expense                                                    COVERAGE FORM.
           (a) We will pay Extra Expense you                      (3) Civil Authority
               sustain during the "period of res-
               toration". Extra Expense means                          When a Covered Cause of Loss
               necessary expenses you sustain                          causes damage to property other
               (as described in Paragraphs                             than Covered Property at a "premis-
               (2)(b), (c) and (d)) during the                         es", we will pay for the actual loss of
               "period of restoration" that you                        "Business Income" and necessary
               would not have sustained if                             Extra Expense you sustain caused
               there had been no direct "loss"                         by action of civil authority that prohib-
               to property caused by or result-                        its access to the "premises", provided
               ing from a Covered Cause of                             that both of the following apply:
               Loss.
                                                                       (a) Access to the area immediately
           (b) If these expenses reduce the                                 surrounding the damaged prop-
               otherwise payable "Business In-                              erty is prohibited by civil authori-
               come" "loss", we will pay ex-                                ty as a result of the damage; and
               penses (other than the expense
               to repair or replace property as                        (b) The action of civil authority is
               described in Paragraph (2)(c))                               taken in response to dangerous
               to:                                                          physical conditions resulting
                                                                            from the damage or continuation
               1)   Avoid or minimize the "sus-                             of the Covered Cause of Loss
                    pension" of business and to                             that caused the damage, or the
                    continue "operations" either:                           action is taken to enable a civil
                                                                            authority to have unimpeded ac-
                    a)   At the "premises"; or                              cess to the damaged property.
                    b) At replacement "prem-                                This Civil Authority coverage for
                         ises" or temporary loca-                           "Business Income" will begin
                         tions, including reloca-                           immediately after the time of that
                         tion    expenses and                               action and will apply for a period
                         costs to equip and op-                             of up to 30 days from the date of
                         erate the replacement                              that action.
                         location or temporary
                         location; or                                       This Civil Authority coverage for
                                                                            Extra Expense will begin imme-
               2)   Minimize the "suspension"                               diately after the time of that ac-
                    of business if you cannot                               tion and will end:
                    continue "operations".
                                                                            1)   30 consecutive days after
           (c) We will also pay expenses to:                                     the time of that action; or
               1)   Repair or replace property;                             2)   When your "Business In-
                    or                                                           come" coverage ends;
               2)   Research, replace or re-                                whichever is later.
                    store the lost information on
                    damaged "valuable papers                      (4) Alterations and New Buildings
                    and records";
                                                                       We will pay for the actual loss of
               but only to the extent this pay-                        "Business Income" you sustain and
               ment reduces the otherwise                              Extra Expense you incur due to direct
               payable     "Business   Income"                         "loss" at the "premises" caused by or
               "loss". If any property obtained                        resulting from any Covered Cause of
               for temporary use during the                            Loss to:
               "period of restoration" remains
               after the resumption of normal

                                 Includes copyrighted material of Insurance
FM 101 05 16                      Services Office, Inc., with its permission.                  Page 19 of 40
           (a) New buildings or structures,                                       a)   The date you could re-
               whether complete or under con-                                          store your "operations",
               struction;                                                              with reasonable speed,
                                                                                       to the level which would
           (b) Alterations or additions to exist-                                      generate the business
               ing buildings or structures; and                                        income amount that
           (c) Machinery, equipment, supplies                                          would have existed if
               or building materials located on                                        no direct "loss" had oc-
               or within 1,000 feet of the "prem-                                      curred; or
               ises" and:                                                         b) 60 consecutive days af-
               1)   Used in the construction, al-                                      ter the date determined
                    terations or additions; or                                         in b.(6)(a)1) above.

               2)   Incidental to the occupancy                              However, Extended Business
                    of new buildings.                                        Income does not apply to loss of
                                                                             "Business Income" sustained or
           If such direct "loss" delays the start of                         Extra Expense incurred as a re-
           "operations", the "period of restora-                             sult of unfavorable business
           tion" for "Business Income" Coverage                              conditions caused by the impact
           will begin on the date "operations"                               of the Covered Cause of Loss in
           would have begun if the direct "loss"                             the area where the "premises"
           had not occurred.                                                 are located.
       (5) Newly Purchased or Leased Loca-                                   Loss of "Business Income" must
           tions                                                             be caused by direct "loss" at the
                                                                             "premises" caused by or result-
           We will pay the actual loss of "Busi-                             ing from any Covered Cause of
           ness Income" you sustain and Extra                                Loss.
           Expense you incur due to direct
           "loss" to Covered Property at any lo-                        (b) For "Rental Value", if the neces-
           cation you purchase or lease caused                               sary "suspension" of your "oper-
           by or resulting from a Covered Cause                              ations" produces a "Rental Val-
           of Loss. This coverage for the Newly                              ue" "loss" payable under this
           Purchased or Leased Locations will                                Coverage Part, we will pay for
           end when any of the following first                               the actual loss of "Rental Value"
           occurs:                                                           you incur during the period that:
           (a) This policy expires;                                          1)   Begins on the date property
                                                                                  is actually repaired, rebuilt
           (b) You report values to us;                                           or replaced and tenantability
           (c) 90 days pass from the date you                                     is restored; and
               acquire or begin to construct the                             2)   Ends on the earlier of:
               Covered Property.
                                                                                  a)   The date you could re-
       (6) Extended Business Income                                                    store tenant occupan-
           (a) For "Business Income" Other                                             cy, with reasonable
               Than "Rental Value", if the nec-                                        speed, to the level
               essary "suspension" of your                                             which would generate
               "operations" produces a "Busi-                                          the "Rental Value" that
               ness Income" or Extra Expense                                           would have existed if
               "loss" payable under this Cover-                                        no direct "loss" had oc-
               age Part, we will pay for the ac-                                       curred; or
               tual loss of "Business Income"                                     b) 60 consecutive days af-
               you sustain and Extra Expense                                           ter the date determined
               you incur during the period that:                                       in b.(6)(b)1) above.
               1)   Begins on the date property                                        However,       Extended
                    (except "finished stock") is                                       Business Income does
                    actually repaired, rebuilt or                                      not apply to loss of
                    replaced and "operations"                                          "Rental Value" incurred
                    are resumed; and                                                   as a result of unfavora-
               2)   Ends on the earlier of:                                            ble business conditions
                                                                                       caused by the impact of
                                                                                       the Covered Cause of

                                  Includes copyrighted material of Insurance
FM 101 05 16                       Services Office, Inc., with its permission.                 Page 20 of 40
                        Loss in the area where                    The most we will pay for "loss" in any one
                        the "premises" are lo-                    occurrence under this "Business Income"
                        cated.                                    and Extra Expense Coverage Extension
                                                                  is $25,000.
                   Loss of "Rental Value" must
                   be caused by direct "loss" at             c.   Collapse
                   the "premises" caused by or
                   resulting from any Covered                     The coverage provided under this Cover-
                   Cause of Loss.                                 age Extension applies only to an abrupt
                                                                  collapse as described and limited in Par-
       (7) Interruption of Computer Opera-                        agraphs c.(1) through c.(7) below.
           tions
                                                                  (1) For the purpose of this Coverage Ex-
           (a) Subject to all provisions of this                      tension only, abrupt collapse means
               Coverage Extension, you may                            an abrupt falling down or caving in of
               extend the insurance that ap-                          a building or structure or any part of a
               plies to "Business Income" and                         building or structure with the result
               Extra Expense to apply to a                            that the building or structure or part
               "suspension" of "operations"                           of the building or structure cannot be
               caused by an interruption in                           occupied for its intended purpose.
               computer operations due to de-
               struction or corruption of "elec-                  (2) We will pay for direct "loss" to Cov-
               tronic data" as described in                           ered Property, caused by abrupt col-
               SECTION A. COVERAGE, 5.                                lapse of a building or structure or any
               Coverage Extensions, d. Elec-                          part of a building or structure insured
               tronic Data.                                           under this Coverage Part, or that
                                                                      contains Covered property insured
           (b) Paragraph b.(7)(a) does not ap-                        under this Coverage Part, if such col-
               ply to "loss" sustained or ex-                         lapse is caused by one or more of
               pense incurred after the end of                        the following:
               the "period of restoration", even
               if the amount of insurance stated                      (a) Building or structure decay that
               in Paragraph b.(7)(c) has not                               is hidden from view, unless the
               been exhausted.                                             presence of such decay is
                                                                           known or should reasonably
           (c) The most we will pay under Par-                             have been known to an insured
               agraph b.(7) of this Coverage                               prior to collapse;
               Extension is $2,500 for all "loss"
               sustained and expense incurred                         (b) Insect or vermin damage that is
               in the "coverage term", regard-                             hidden from view, unless the
               less of the number of interrup-                             presence of such damage is
               tions or the number of "premis-                             known or should reasonably
               es" or computer systems in-                                 have been known to an insured
               volved. If loss payment relating                            prior to collapse;
               to the first interruption does not                     (c) Use of defective material or
               exhaust this amount, then the                               methods in construction, remod-
               balance is available for subse-                             eling, or renovation if the abrupt
               quent interruptions in that "cov-                           collapse occurs during the
               erage term". A balance remain-                              course of the construction, re-
               ing at the end of a "coverage                               modeling, or renovation.
               term" does not carry over to the
               next "coverage term". With re-                         (d) Use of defective materials or
               spect to an interruption that be-                           methods in construction, remod-
               gins in a "coverage term" and                               eling, or renovation if the abrupt
               continues or results in additional                          collapse occurs after construc-
               "loss" or expense in a subse-                               tion, remodeling, or renovation is
               quent "coverage term", all "loss"                           complete but only if the collapse
               and expense is deemed to be                                 is caused in part by:
               sustained in the "coverage term"
               in which the interruption began.                            1)   A cause of loss listed in
                                                                                Paragraph     c.(2)(a) or
               This $2,500 coverage for Inter-                                  c.(2)(b) of this Coverage
               ruption of Computer Operations                                   Extension;
               does not increase the Limit of
               Insurance provided in this Cov-                             2)   One or more of the "speci-
               erage Extension.                                                 fied causes of loss";

                                Includes copyrighted material of Insurance
FM 101 05 16                     Services Office, Inc., with its permission.                 Page 21 of 40
                 3)    Breakage of building glass;                       is not the result of abrupt collapse of
                                                                         a building or structure, we will pay for
                 4)    Weight of people or person-                       direct "loss" to Covered Property
                       al property; or                                   caused by such collapse of personal
                 5)    Weight of rain that collects                      property only if:
                       on a roof.                                        (a) The collapse of personal proper-
       (3) This Coverage Extension does not                                   ty was caused by a Cause of
           apply to:                                                          Loss listed in c.(2)(a) through
                                                                              c.(2)(d) of this Coverage Exten-
           (a) A building or structure or any                                 sion;
                 part of a building or structure
                 that is in danger of falling down                       (b) The personal property that col-
                 or caving in;                                                lapses is inside a building; and

           (b) A part of a building or structure                         (c) The property that collapses is
                 that is standing, even if it has                             not of a kind listed in Paragraph
                 separated from another part of                               c.(4) above of this Coverage Ex-
                 the building or structure; or                                tension, regardless of whether
                                                                              that kind of property is consid-
           (c) A building or structure that is                                ered to be personal property or
                 standing or any part of a building                           real property.
                 or structure that is standing,
                 even if it shows evidence of                            The coverage stated in this Para-
                 cracking,    bulging,    sagging,                       graph c.(5) does not apply to per-
                 bending,     leaning,     settling,                     sonal property if marring and/or
                 shrinkage or expansion.                                 scratching is the only damage to that
                                                                         personal property caused by the col-
       (4) With respect to the following proper-                         lapse.
           ty:
                                                                     (6) This Coverage Extension does not
           (a) Outdoor radio or television an-                           apply to personal property that has
                 tennas (including satellite dish-                       not abruptly fallen down or caved in,
                 es) and their lead-in wiring,                           even if the personal property shows
                 masts or towers;                                        evidence of cracking, bulging, sag-
                                                                         ging, bending, leaning, settling,
           (b) Awnings, gutters and down-                                shrinkage or expansion.
                 spouts;
                                                                     (7) This Coverage Extension shall not
           (c) Yard fixtures;                                            increase the Limit of Insurance pro-
           (d) Outdoor swimming pools;                                   vided in this Coverage Part.

           (e) Fences;                                               (8) The term Covered Cause of Loss in-
                                                                         cludes Collapse as described and
           (f) Piers, wharves and docks;                                 limited in Paragraphs c.(1) through
                                                                         c.(7).
           (g) Beach or diving platforms; in-
                 cluding their appurtenances;                   d.   Electronic Data
           (h) Retaining walls; and                                  (1) This Coverage Extension does not
                                                                         apply to your "stock" of prepackaged
           (i) Walks,    roadways      and    other                      software, or to "electronic data"
                 paved surfaces;                                         which is integrated in and operates or
           if an abrupt collapse is caused by a                          controls the building's elevator, light-
           cause of loss listed in Paragraph                             ing, heating, ventilation, air condition-
           c.(2)(a) through c.(2)(d), we will pay                        ing or security system.
           for "loss" to that property only if:                      (2) We will pay for the cost to replace or
           (a) Such "loss" is a direct result of                         restore "electronic data" which has
                 the abrupt collapse of a building                       been destroyed or corrupted by a
                 or structure insured under this                         Covered Cause of Loss that applies
                 Coverage Part; and                                      to SECTION A. COVERAGE, 1.
                                                                         Covered Property, d. Business
           (b) The property is Covered Proper-                           Personal Property. To the extent
                 ty under this Coverage Part.                            that "electronic data" is not replaced
                                                                         or restored, the "loss" will be valued
       (5) If personal property abruptly falls                           at the cost of replacement of the me-
           down or caves in and such collapse
                                   Includes copyrighted material of Insurance
FM 101 05 16                        Services Office, Inc., with its permission.                  Page 22 of 40
            dia on which the "electronic data"                   f.   Fences
            was stored with blank media of sub-
            stantially identical type.                                We will pay for direct "loss" caused by a
                                                                      Covered Cause of Loss to your outdoor
        (3) For the purposes of this Coverage                         fences that are located within 1,000 feet
            Extension only, Covered Causes of                         of the "premises" and not otherwise in-
            Loss include a virus, harmful code or                     sured as Covered Property in this Cover-
            similar instruction introduced into or                    age Part.
            enacted on a computer system (in-
            cluding "electronic data") or a net-                      The most we will pay for "loss" in any one
            work to which it is connected, that is                    occurrence under this Coverage Exten-
            designed to damage or destroy any                         sion is $5,000.
            part of the system or disrupt its nor-               g.   Fungi, Wet Rot, Dry Rot, and Bacteria -
            mal operation. However, there is no                       Limited Coverage
            coverage for "loss" caused by or re-
            sulting from manipulation of a com-                       (1) The coverage described in Para-
            puter system (including "electronic                           graphs g.(2) and g.(3) of this Cover-
            data") by any employee, including a                           age Extension only apply when the
            temporary or leased employee, or by                           "fungi", wet or dry rot or bacteria is
            an entity retained by you or for you to                       the result of a Covered Cause of
            inspect, design, install, modify, main-                       Loss that occurs during the "cover-
            tain, repair or replace that system or                        age term" and only if all reasonable
            "electronic data".                                            means were used to save and pre-
                                                                          serve the property from further dam-
        (4) The most we will pay for all direct                           age at the time of and after that oc-
            "loss" under this Coverage Exten-                             currence.
            sion, regardless of the number of
            "premises" or computer systems in-                        (2) We will pay for "loss" by "fungi", wet
            volved, is $2,500. This limit is the                          or dry rot or bacteria. As used in this
            most we will pay for the total of all di-                     Coverage Extension, the term "loss"
            rect "loss" arising out of all occur-                         means:
            rences that take place in the "cover-
            age term". If loss payment on the first                       (a) Direct "loss" to Covered Property
            occurrence does not exhaust this                                   caused by "fungi", wet or dry rot
            amount, then the balance is available                              or bacteria, including the cost of
            for subsequent "loss" sustained in                                 removal of the "fungi", wet or dry
            the "coverage term". A balance re-                                 rot or bacteria;
            maining in a "coverage term" does                             (b) The cost to tear out and replace
            not carry over to the next "coverage                               any part of the building or other
            term". With respect to an occurrence                               property as needed to gain ac-
            which begins in the "coverage term"                                cess to the "fungi", wet or dry rot
            and continues or results in additional                             or bacteria; and
            "loss" in a subsequent "coverage
            term", all "loss" is deemed to be sus-                        (c) The cost of testing performed af-
            tained in the "coverage term" in                                   ter removal, repair, replacement
            which the occurrence began.                                        or restoration of the damaged
                                                                               property is completed, provided
   e.   Exhibitions, Fairs or Trade Shows                                      there is a reason to believe that
        We will pay for direct "loss" caused by a                              "fungi", wet or dry rot or bacteria
        Covered Cause of Loss to your Covered                                  are present.
        Property, including covered property of                       (3) For the coverage described under
        others, while it is located at exhibitions,                       Paragraph g.(2) of this Coverage Ex-
        fairs or trade shows. This Coverage Ex-                           tension, the most we will pay for
        tension does not apply while Covered                              "loss", regardless of the number of
        Property is in transit to or from the exhibi-                     claims, is $15,000. This limit is the
        tion, fair or trade show.                                         most we will pay for the total of all
        The most we will pay for "loss" in any one                        "loss" arising out of all occurrences
        occurrence is $10,000.                                            that take place in the "coverage
                                                                          term". With respect to a particular
        The Limit of Insurance provided under                             occurrence of "loss" which results in
        this Coverage Extension does not apply                            "fungi", wet or dry rot or bacteria, we
        per location.                                                     will not pay more than a total of
                                                                          $15,000 even if the "fungi", wet or dry
                                                                          rot or bacteria continues to be pre-

                                    Includes copyrighted material of Insurance
FM 101 05 16                         Services Office, Inc., with its permission.                 Page 23 of 40
           sent or active, or recurs, in a subse-                            tion of "fungi", wet or dry rot or
           quent "coverage term".                                            bacteria prolongs the "period of
                                                                             restoration", we will pay for
       (4) The coverage provided under this                                  "loss" and/or expense sustained
           Coverage Extension does not in-                                   during the delay (regardless of
           crease the applicable Limit of Insur-                             when such a delay occurs during
           ance on any Covered Property. If a                                the "period of restoration"), but
           particular occurrence results in "loss"                           such coverage is limited to 30
           by "fungi", wet or dry rot or bacteria,                           days. The days need not be
           and other "loss", we will not pay                                 consecutive.
           more, for the total of all "loss" than
           the applicable Limit of Insurance on                     (7) This Coverage Extension does not
           the affected Covered Property.                               apply to lawns, trees, plants or
                                                                        shrubs that are part of any vegetative
           If there is covered "loss" to Covered                        roof.
           Property, not caused by "fungi", wet
           or dry rot or bacteria, loss payment                h.   Glass
           will not be limited by the terms of this
           Coverage Extension, except to the                        (1) If a Covered Cause of Loss occurs to
           extent that "fungi", wet or dry rot or                       building glass that is Covered Prop-
           bacteria causes an increase in the                           erty, we will also pay necessary ex-
           "loss". Any such increase in the                             penses you incur to:
           "loss" will be subject to the terms of                       (a) Put up temporary plates or
           this Coverage Extension.                                          board up openings if repair or
       (5) The terms of this Coverage Exten-                                 replacement of damaged glass
           sion do not increase or reduce the                                is delayed;
           coverage provided under:                                     (b) Repair     or    replace   encasing
           (a) SECTION A. COVERAGE, 5.                                       frames;
               Coverage Extensions, c. Col-                             (c) Remove or replace obstructions
               lapse;                                                        (except expenses to remove or
           (b) SECTION A. COVERAGE, 5.                                       replace window displays); and
               Coverage Extensions, s. Wa-                              (d) Repair or replace alarm tapes.
               ter, Other Liquids, Powder or
               Molten Material Damage                               (2) If you are a tenant at a covered
                                                                        "premises" and:
       (6) The following (6)(a) or (6)(b) apply
           only if "Business Income", "Rental                           (a) The building you occupy is not
           Value", or Extra Expense Coverage                                 Covered Property; and
           applies to the "premises" and only if
           the "suspension" of "operations" sat-                        (b) You are legally liable for direct
           isfies all terms and conditions of the                            "loss" to the building glass in that
           applicable      "Business    Income",                             building;
           "Rental Value", or Extra Expense                             such building glass, for the purposes
           Coverage.                                                    of this Paragraph h.(2), is Covered
           (a) If the "loss" which resulted in                          Property. The most we will pay for
               "fungi", wet or dry rot or bacteria                      "loss" in any one occurrence is
               does not in itself necessitate a                         $5,000. This building glass is subject
               "suspension" of "operations", but                        to the building deductible as de-
               such "suspension" is necessary                           scribed in SECTION C. DEDUCTI-
               due to "loss" to property caused                         BLE.
               by "fungi", wet or dry rot or bac-                   (3) For the purposes of this Coverage
               teria, then our payment under                            Extension only, SECTION A. COV-
               "Business Income" and/or Extra                           ERAGE, 3. Covered Causes of
               Expense is limited to the amount                         Loss, b. Exclusions does not apply
               of "loss" and/or expense sus-                            except as follows:
               tained in a period of not more
               than 30 days. The days need not                          (a) Exclusion (1)(b) Earth Move-
               be consecutive.                                              ment;
           (b) If a covered "suspension" of                             (b) Exclusion (1)(c) Governmental
               "operations" was caused by                                   Action;
               "loss" other than "fungi", wet or
               dry rot or bacteria but remedia-
                                  Includes copyrighted material of Insurance
FM 101 05 16                       Services Office, Inc., with its permission.                  Page 24 of 40
           (c) Exclusion (1)(d) Nuclear Haz-                           (b) Paragraph a.(2)(a) of this Cov-
               ard;                                                         erage Extension does not apply
                                                                            to:
           (d) Exclusion (1)(f) War and Mili-
               tary Action;                                                 1)   Any    business personal
                                                                                 property covered under
           (e) Exclusion (2)(d)1) Wear and                                       BUILDING AND PERSON-
               tear; and                                                         AL PROPERTY COVER-
           (f) As listed in Exclusion (2)(d)2):                                  AGE FORM, SECTION A.
               Rust or other corrosion, hidden                                   COVERAGE, 5. Coverage
               or latent defect or any quality in                                Extensions, e. Exhibi-
               property that causes it to dam-                                   tions, Fairs, or Trade
               age or destroy itself.                                            Shows or m. Property Off
                                                                                 Premises;
   i.   Newly Purchased, Leased or Con-
        structed Property                                                   2)   Any    business     personal
                                                                                 property that is covered un-
        (1) Buildings                                                            der BUILDING AND PER-
                                                                                 SONAL PROPERTY COV-
           If buildings are Covered Property in                                  ERAGE FORM, SECTION
           this Coverage Part, we will pay for di-                               A. COVERAGE, 5. Cover-
           rect "loss" caused by a Covered                                       age Extensions, p. Trans-
           Cause of Loss to:                                                     portation or is otherwise
           (a) Your new buildings or additions                                   considered to be in-transit
               while being built on the "premis-                                 to or from a "premises".
               es";                                                         3)   Business personal property
           (b) Buildings you newly purchase or                                   of others that is temporarily
               become newly required to insure                                   in your possession in the
               by written contract that are:                                     course of installing or per-
                                                                                 forming work on such prop-
               1)   Intended for use by you as                                   erty, or temporarily in your
                    a warehouse; or                                              possession in the course of
                                                                                 your    manufacturing     or
               2)   Similarly used by you as                                     wholesaling activities.
                    buildings insured under this
                    Coverage Part.                                     The most we will pay for "loss" in any
                                                                       one occurrence to your Business
           The most we will pay for "loss" in any                      Personal Property under this Cover-
           one occurrence to a building under                          age Extension is $500,000 at each
           this Coverage Extension is 1,000,000                        building.
           for each building.
                                                                  (3) Period of Coverage
        (2) Business Personal Property
                                                                       Coverage provided under this Cover-
           (a) If business personal property is                        age Extension will end when any of
               Covered Property in this Cover-                         the following first occurs:
               age Part, we will pay for direct
               "loss" caused by a Covered                              (a) This policy expires,
               Cause of Loss to business per-
               sonal property you newly pur-                           (b) For buildings described in Para-
               chase or are required to insure                             graph (1)(a) of this Coverage
               by written contract:                                         Extension, 90 days pass from
                                                                            the date you begin construction
               1)   While located at buildings                              on that part of the building that
                    described in Paragraph                                  would qualify as Covered Prop-
                    a.(1) of this Coverage Ex-                              erty;
                    tension; or
                                                                       (c) For business property described
               2)   While located in a leased                              in Paragraph (1)(b) and Para-
                    building or space therein                              graph (2)(a)1), 90 days after
                    that you are not required to                            your purchase or lease;
                    insure. Such lease must be
                    for a period of 12 consecu-                        (d) For business personal property
                    tive months or longer.                                 described in Paragraph (2)(a)2),
                                                                            90 days from the effective date


                                 Includes copyrighted material of Insurance
FM 101 05 16                      Services Office, Inc., with its permission.                 Page 25 of 40
                 of the lease of the building                        but only if caused by or resulting from any
                 space in the building; or                           of the following causes of loss if they are
                                                                     included as Covered Causes of Loss un-
            (e) You report values to us.                             der this Coverage Part:
        We will charge you additional premium for                    (1) Fire;
        values reported from the date you lease
        or purchase the property, or begin con-                      (2) Lightning;
        struction on that part of the building that
        would qualify as Covered Property.                           (3) Explosion;

   j.   Nonowned Building Damage                                     (4) Riot or Civil Commotion;
        If you are a tenant at a covered "premis-                    (5) Aircraft; or
        es" and:                                                     (6) Falling objects.
        (1) The building you occupy is not Cov-                      We will pay for the debris removal ex-
            ered Property; and                                       penses of the above type property that
        (2) You are legally liable for direct "loss"                 are not your Covered Property if such de-
            to that building;                                        bris is on your "premises" due to the Cov-
                                                                     ered Causes of Loss described in this
        We will pay for direct "loss" to that build-                 Coverage Extension. If you are a tenant,
        ing caused by burglary, robbery, theft or                    we do not pay debris removal expenses
        attempted theft.                                             for trees, plants or shrubs owned by the
                                                                     landlord or owner of the building you oc-
        This Coverage Extension does not apply                       cupy.
        to:
                                                                     No other coverage for debris removal ex-
        (1) Glass, including lettering and orna-                     penses provided in this Coverage Part
            mentation, and also necessary:                           applies to this Outdoor Property Cover-
            (a) Repair or replacement of encas-                      age Extension.
                 ing frames or alarm tapes; and                      The most we will pay for "loss" in any one
            (b) Expenses incurred to board up                        occurrence under this Coverage Exten-
                 openings or remove or replace                       sion is $5,000, but not more than $1,000
                 obstruction.                                        for any one tree, shrub or plant.

        (2) Building materials and equipment                    l.   Personal Effects
            removed from the "premises".                             If business personal property is Covered
        This Coverage Extension does not apply                       Property in this Coverage Part, we will
        if you have purchased other insurance in                     pay for direct "loss" caused by a Covered
        your name on the building you occupy as                      Cause of Loss to personal effects owned
        required by the lease.                                       by:

        The most we will pay for "loss" in any one                   (1) You, your officers, or your partners,
        occurrence under this Coverage Exten-                            or if you are a limited liability compa-
        sion is $25,000.                                                 ny, your members or your managers;
                                                                         or
   k.   Outdoor Property
                                                                     (2) Your employees (including temporary
        We will pay for direct "loss" caused by a                        and leased employees), including
        Covered Cause of Loss to the following                           tools owned by your employees that
        types of your Covered Property:                                  are used in your business. However,
                                                                         employee tools are not covered for
        (1) Radio antennas, television antennas                          theft.
            or satellite dishes (including their
            lead-in wiring, masts and towers);                       This Coverage Extension does not apply
                                                                     to "money" or "securities".
        (2) Trees, shrubs or plants (other than
            trees, shrubs or plants which are                        If theft is included as a Covered Cause of
            "stock" or part of a vegetative roof),                   Loss under this Coverage Part, then this
            including debris removal ; and                           Coverage Extension has a $500 per oc-
                                                                     currence limitation for direct "loss" by
        (3) If you are a tenant, to your awnings                     theft.
            that are attached to a building you
            occupy;


                                   Includes copyrighted material of Insurance
FM 101 05 16                        Services Office, Inc., with its permission.                 Page 26 of 40
        The most we will pay for "loss" in any one                       (a) While the trailer is attached to
        occurrence under this Coverage Exten-                                 any motor vehicle or motorized
        sion is $10,000.                                                      conveyance, whether or not the
                                                                              motor vehicle or motorized con-
   m. Property Off Premises                                                   veyance is in motion;
        (1) We will pay for direct "loss" caused                         (b) During hitching or unhitching
            by a Covered Cause of Loss to your                                operations, or when a trailer be-
            Covered Property, including covered                               comes accidentally unhitched
            personal property of others, while it is                          from a motor vehicle or motor-
            away from the "premises", if it is:                               ized conveyance.
            (a) Temporarily at a location you do                     (3) This insurance is excess over the
                 not own, lease or operate; or                           amount due, whether you can collect
            (b) In storage at a location you                             on it or not, from any other insurance
                 lease, provided the lease was                           covering such property.
                 executed for the first time after                   (4) This Coverage Extension does not
                 the beginning of the current                            apply to any property inside or on the
                 "coverage term".                                        trailer.
        (2) This Coverage Extension does not                         The most we will pay for "loss" in any one
            apply to Covered Property at exhibi-                     occurrence under this Coverage Exten-
            tions, fairs, trade show, or in transit.                 sion is $5,000.
        The most we will pay for "loss" in any one              p.   Transportation
        occurrence under this Coverage Exten-
        sion is $10,000.                                             We will pay for direct "loss" caused by a
                                                                     Covered Cause of Loss to your Covered
        The Limit of Insurance provided by this                      Property, including covered personal
        Coverage Extension does not apply per                        property of others while it is in or on a ve-
        location.                                                    hicle, including loading and unloading of
   n.   Signs                                                        the property.

        We will pay for direct "loss" caused by a                    The most we will pay for "loss" in any one
        Covered Cause of Loss, including debris                      occurrence is $10,000.
        removal expense, to signs not otherwise                      The Limit of Insurance provided by this
        insured by this Coverage Part.                               Coverage Extension does not apply per
        The most we will pay for "loss" in any one                   location.
        occurrence under this Coverage Exten-                   q.   Utility Services
        sion is $5,000.
                                                                     We will pay for:
        The Limit of Insurance provided by this
        Coverage Extension does not apply per                        (1) Direct "loss" to Covered Property at
        location.                                                        your "premises" except for direct
                                                                         "loss" resulting from the partial or
   o.   Trailers (Nonowned Detached)                                     complete failure of Wastewater Re-
        (1) If business personal property is Cov-                        moval Services; and
            ered Property in this Coverage Part,                     (2) Loss of "Business Income" you sus-
            we will pay for direct "loss" caused by                      tain and Extra Expenses you incur as
            a Covered Cause of Loss to trailers                          provided in SECTION A. COVER-
            that you do not own, provided that:                          AGE, 5. Coverage Extensions, b.
            (a) The trailer is used in your busi-                        Business Income and Extra Ex-
                 ness;                                                   pense;

            (b) The trailer is temporarily in your                   caused by or resulting from the partial or
                 care, custody or control at the                     complete failure of utility services to the
                 "premises"; and                                     "premises".

            (c) You have a contractual respon-                       The partial or complete failure of the utility
                 sibility to pay for "loss" to the                   services listed below must be caused by
                 trailer.                                            direct "loss" caused by a Covered Cause
                                                                     of Loss to the following property:
        (2) We will not pay for any direct "loss"
            that occurs:                                             (1) Power Supply Property, meaning the
                                                                         following types of property supplying

                                   Includes copyrighted material of Insurance
FM 101 05 16                        Services Office, Inc., with its permission.                   Page 27 of 40
           electricity, steam or natural gas to the             r.   Valuable Papers and Records
           "premises":
                                                                     SECTION C. DEDUCTIBLE does not ap-
           (a) Utility generating plants;                            ply to this Coverage Extension.
           (b) Switching stations;                                   (1) Subject to Paragraph r.(3) of this
                                                                         Coverage Extension, we will pay
           (c) Substations;                                              necessary costs you incur to re-
           (d) Transformers; and                                         search, replace or restore lost or
                                                                         damaged information on "valuable
           (e) Transmission, distribution, ser-                          papers and records" that are your
                vice, or similar lines, excluding                        property or the property of others in
                all such overhead lines of any                           your care, custody or control; result-
                type.                                                    ing from direct "loss" caused by a
                                                                         Covered Cause of Loss.
       (2) Water Supply Property, meaning the
           following types of property supplying                     (2) Coverage does not apply to:
           water to the "premises":
                                                                         (a) Property that cannot be replaced
           (a) Pumping stations; and                                          with other property of like kind
                                                                              and quality;
           (b) Water mains.
                                                                         (b) Property held as samples or for
       (3) Wastewater        Removal     Property,                            delivery after sale;
           meaning a utility system for removing
           wastewater and sewage from the                                (c) Property in storage away from
           "premises", other than a system de-                                the "premises", except as pro-
           signed primarily for draining storm                                vided in Paragraph r.(4)(b) of
           water. The utility property includes                               this Coverage Extension;
           sewer mains, pumping stations and
           similar equipment for moving the ef-                          (d) Contraband, or property in the
           fluent to a holding, treatment or dis-                             course of illegal transportation or
           posal facility, and includes such facili-                          trade;
           ties. Coverage under this Coverage                            (e) "Valuable papers and records" in
           Extension does not apply to interrup-                              the form of "electronic data", in-
           tion in service caused by or resulting                             cluding the materials on which
           from a discharge of water or sewage                                the "electronic data" is recorded.
           due to heavy rainfall or flooding.
                                                                     (3) The most we will pay for "loss" is the
       (4) Communication       Supply Property,                          least of the following amounts:
           meaning property supplying commu-
           nication services, including service                          (a) The cost of reasonably restoring
           relating to Internet access or access                              the damaged property to its
           to any electronic, cellular or satellite                           condition immediately before the
           network; telephone, radio, microwave                               "loss";
           or television services to the "premis-
           es", such as:                                                 (b) The cost of replacing the dam-
                                                                              aged property with substantially
           (a) Communication         transmission,                            identical property; or
                distribution, service or similar
                lines, including fiber optic lines,                      (c) The actual cash value of the
                excluding all such overhead                                   damaged property at the time of
                lines of any type;                                            "loss".

           (b) Coaxial cables; and                                       However, we will not pay for "loss"
                                                                         unless or until the damaged property
           (c) Microwave radio relays, exclud-                           is actually replaced or restored; and
                ing satellites.                                          then only if such replacement or res-
                                                                         toration occurs within 36 months from
       This Coverage Extension does not apply                            the date of direct "loss".
       to "loss" to "electronic data", including de-
       struction or corruption of "electronic data".                 (4) We will extend coverage to include:
       The most we will pay for all direct "loss"                        (a) Removal
       and loss of "Business Income" and Extra
       Expense in any one occurrence is                                       If you give us written notice with-
       $25,000.                                                               in 30 days of removal of your
                                                                              "valuable papers and records"

                                   Includes copyrighted material of Insurance
FM 101 05 16                        Services Office, Inc., with its permission.                  Page 28 of 40
                because of imminent danger of                               This Paragraph r.(6)(a) applies
                direct "loss" from a Covered                                whether or not such persons are
                Cause of Loss, we will pay for                              acting alone or in collusion with
                direct "loss" while they are:                               other persons or such act occurs
                                                                            during the hours of employment.
                1)   At a safe place away from
                     your "premises"; or                                    However, this Paragraph r.(6)(a)
                                                                            does not apply to dishonest acts
                2)   Being taken to and returned                            of a carrier for hire or to acts of
                     from that place.                                       destruction by your employees.
                This Removal coverage is in-                                However, theft by employees is
                cluded within the Limits of Insur-                          still not covered.
                ance applicable to this Coverage                       (b) Errors or omissions in pro-
                Extension.                                                  cessing or copying. However,
           (b) Away From Your Premises                                      we will pay for that portion of di-
                                                                            rect "loss" caused by resulting
                We will pay up to $5,000 in any                             fire or explosion if these causes
                one occurrence, regardless of                               of loss would be covered by this
                the number of locations, for di-                            Coverage Part.
                rect "loss" caused by a Covered
                Cause of Loss to "valuable pa-                         (c) Electrical or magnetic injury, dis-
                pers and records" while they are                            turbance or erasure of electronic
                away from your "premises".                                  recordings. But we will pay for
                                                                            direct "loss" caused by lightning.
                This Away From Premises limit
                is in addition to the Limit of In-                     (d) Voluntary parting with any prop-
                surance applicable to this Cov-                             erty by you or anyone entrusted
                erage Extension.                                            with the property if induced to do
                                                                            so by any fraudulent scheme,
       (5) SECTION A. COVERAGE, 3. Cov-                                     trick, device or false pretense.
           ered Causes of Loss, b. Exclu-
           sions does not apply to this Cover-                     The most we will pay for "loss" in any one
           age Extension except as follows:                        occurrence is $25,000.

           (a) Exclusion (1)(c) Governmental                  s.   Water Damage, Other Liquids, Powder
               Action;                                             or Molten Material Damage

           (b) Exclusion (1)(d) Nuclear Haz-                       If a covered direct "loss" to which this in-
               ard; and                                            surance applies was caused by or result-
                                                                   ed from water or other liquid, powder or
           (c) Exclusion (1)(f) War and Mili-                      molten material damage, we will also pay
               tary Action.                                        the cost to tear out and replace any oth-
                                                                   erwise undamaged part of the building or
       (6) In addition to Paragraph r.(5) of this                  structure to repair damage to the system
           Coverage Extension, we will not pay                     or appliance from which the water or oth-
           for direct "loss" resulting from any of                 er substance escapes.
           the following:
                                                         SECTION B. LIMITS OF INSURANCE
           (a) Dishonest or criminal acts by:
                                                         The most we will pay for "loss" in any one occur-
                1)   You, your partners, employ-         rence is the applicable Limit of Insurance shown in
                     ees, directors, trustees or         the Declarations, except as amended in SECTION
                     authorized representatives;         A. COVERAGE, 3. Covered Causes of Loss, c.
                2)   A manager or a member if            Limitations, 4. Additional Coverages, and 5.
                     you are a limited liability         Coverage Extensions.
                     company;                            SECTION C. DEDUCTIBLE
                3)   Anyone else with an interest        Except as otherwise provided; in any one occur-
                     in the records of accounts          rence of direct "loss" we will first reduce the
                     receivable, or their employ-        amount of "loss" if required by SECTION E. ADDI-
                     ees or authorized repre-            TIONAL CONDITIONS, 1. Coinsurance or SEC-
                     sentatives; or                      TION F. OPTIONAL COVERAGES, 1. Agreed
                4)   Anyone else entrusted with          Value. If the adjusted amount of direct "loss" is
                     the records of accounts re-         less than or equal to the Deductible, we will not
                     ceivable for any purpose.           pay for that direct "loss". If the adjusted amount of
                                                         direct "loss" exceeds the Deductible, we will then
                                 Includes copyrighted material of Insurance
FM 101 05 16                      Services Office, Inc., with its permission.                 Page 29 of 40
subtract the Deductible from the adjusted amount             2.   Glass Deductible
of direct "loss", and will pay the resulting amount or
the Limit of Insurance, whichever is less.                        When direct "loss" to the building you occupy
                                                                  only involves building glass, the Deductible for
When the occurrence involves direct "loss" to more                that "loss" will be the lesser of:
than one item of Covered Property and separate
Limits of Insurance apply, the losses will not be                 a.   $500; or
combined in determining application of the Deduct-                b.   The Deductible shown in the Declarations
ible. But the Deductible will be applied only once                     for that Covered Property.
per occurrence.
                                                             SECTION D. LOSS CONDITIONS
1.   Deductible Examples
                                                             The following conditions apply in addition to the
     Example No. 1:                                          COMMON POLICY CONDITIONS and the COM-
     (This example assumes there is no coinsur-              MERCIAL PROPERTY CONDITIONS.
     ance penalty as outlined in SECTION E. AD-
                                                             1.   Abandonment
     DITIONAL CONDITIONS, 1. Coinsurance).
     Deductible:                          $250                    There can be no abandonment of any property
                                                                  to us.
     Limit of Insurance - Bldg. 1:     $60,000
     Limit of Insurance - Bldg. 2:     $80,000               2.   Appraisal

     "Loss" to Bldg. 1:                $60,100                    If we and you disagree on the value of the
                                                                  property, the amount of Net Income and oper-
     "Loss" to Bldg. 2:                $90,000
                                                                  ating expense, or the amount of "loss", either
     The amount of "loss" to Bldg. 1 ($60,100) is                 may make written demand for an appraisal of
     less than the sum ($60,250) of the Limit of In-              the "loss". In this event, each party will select
     surance applicable to Bldg. 1 plus the Deduct-               a competent and impartial appraiser. The two
     ible.                                                        appraisers will select an umpire. If they cannot
                                                                  agree, either may request that selection be
     The Deductible will be subtracted from the                   made by a judge of a court having jurisdiction.
     amount of "loss" in calculating the "loss" pay-              The appraisers will state separately the value
     able for Bldg. 1:                                            of the property, the amount of Net Income and
     $60,100 - $250 = $59,850 "Loss" Payable -                    operating expense, and amount of "loss". If
     Bldg. 1                                                      they fail to agree, they will submit their differ-
                                                                  ences to the umpire. A decision agreed to by
     The Deductible applies once per occurrence                   any two will be binding. Each party will:
     and therefore is not subtracted in determining
     the amount of "loss" payable for Bldg. 2.                    a.   Pay its chosen appraiser; and
     "Loss" payable for Bldg. 2 is the Limit of In-               b.   Bear the other expenses of the appraisal
     surance of $80,000.                                               and umpire equally.
     Total amount of "loss" payable:      $59,850 +               If there is an appraisal, we still retain our right
     80,000 = $139,850.                                           to deny the claim.
     Example No. 2:                                          3.   Duties in the Event of Loss or Damage
     (This example also assumes there is no coin-                 a.   In the event of "loss" to Covered Property,
     surance penalty).                                                 you must see that the following are done
     The Deductible and Limits of Insurance are                        in order for coverage to apply:
     the same as those in Example No. 1:                               (1) Notify the police if a law may have
     "Loss" to Bldg. 1: $70,000 (Exceeds Limit of                          been broken.
     Insurance plus Deductible)                                        (2) Give us prompt notice of the "loss".
     "Loss" to Bldg. 2: $90,000 (Exceeds Limit of                          Include a description of the property
     Insurance plus Deductible)                                            involved.

     "Loss" Payable - Bldg. 1:   $60,000 (Limit of                     (3) As soon as possible, give us a de-
     Insurance)                                                            scription of how, when and where the
                                                                           "loss" occurred.
     "Loss" Payable - Bldg. 2:   $80,000 (Limit of
     Insurance)                                                        (4) Take all reasonable steps to protect
                                                                           the Covered Property from further
     Total amount of "loss" payable: $140,000.                             damage. If feasible, set the damaged
                                                                           property aside and in the best possi-
                                                                           ble order for examination. Keep a

                                     Includes copyrighted material of Insurance
FM 101 05 16                          Services Office, Inc., with its permission.                   Page 30 of 40
              record of your expenses necessary                        We will determine the value of lost or
              to protect the Covered Property for                      damaged property, or the cost of its repair
              consideration in the settlement of the                   or replacement, in accordance with the
              claim. This will not increase your limit                 applicable terms of SECTION D. LOSS
              of insurance. However, in no event                       CONDITIONS, 7. Valuation or any appli-
              will we pay for any subsequent "loss"                    cable provision that amends or super-
              resulting from a cause of loss that is                   cedes this valuation condition.
              not a Covered Cause of Loss.
                                                                  b.   The cost of repair or replacement does
          (5) At our request, give us complete in-                     not include the increased cost attributable
              ventories of the damaged and un-                         to enforcement of or compliance with any
              damaged property. Include quanti-                        ordinance or law regulating the construc-
              ties, costs, values and amount of                        tion, use or repair of any property, except
              "loss" claimed.                                          as provided in SECTION A. COVERAGE,
                                                                       4. Additional Coverages, g. Ordinance
          (6) As often as may be reasonably re-                        or Law.
              quired, permit us to inspect the prop-
              erty proving the "loss" and examine                 c.   We will give notice of our intentions within
              your books and records.                                  30 days after we receive the sworn proof
                                                                       of loss.
              Also permit us to take samples of
              damaged and undamaged property                      d.   We will not pay you more than your finan-
              for inspection, testing and analysis                     cial interest in the Covered Property.
              and permit us to make copies from
              your books and records.                             e.   We may adjust "losses" with the owners
                                                                       of lost or damaged property if other than
          (7) Submit a signed sworn proof of loss                      you. If we pay the owners, such payments
              containing the information we request                    will satisfy your claims against us for the
              to investigate the claim. You must do                    owners' property. We will not pay the
              this within 60 days after our request.                   owners more than their financial interest
              We will supply you with the neces-                       in the Covered Property.
              sary forms.
                                                                  f.   Our payment for "loss" to personal prop-
          (8) Cooperate with us in the investigation                   erty of others and personal effects will on-
              or settlement of the claim.                              ly be for the account of the owner of the
                                                                       property.
          (9) If you intend to continue your busi-
              ness, you must resume all or part of                g.   We may elect to defend you against suits
              your "operations" as quickly as pos-                     arising from claims of owners of property.
              sible.                                                   We will do this at our expense.
     b.   We may examine any insured under oath,                  h.   We will pay for insured "loss" within 30
          while not in the presence of any other in-                   days after we receive the sworn proof of
          sured and at such times as may be rea-                       loss if you have complied with all of the
          sonably required about any matter relat-                     terms of this Coverage Part; and
          ing to this insurance or the claim, includ-
          ing an insured's books and records. In the                   (1) We have reached agreement with
          event of an examination, an insured's an-                        you on the amount of "loss"; or
          swers must be signed.                                        (2) An appraisal award has been made.
4.   Loss Payment                                                 i.   Loss Payment - Ordinance or Law.
     a.   In the event of "loss" insured by this Cov-                  With respect to SECTION A. COVER-
          erage Part, at our option, we will either:                   AGE, 4. Additional Coverages, g. Ordi-
          (1) Pay the value of lost or damaged                         nance or Law:
              property;                                                (1) Loss of Use of Undamaged Parts
          (2) Pay the cost of repairing or replacing                       of Building
              the lost or damaged property;                                When there is a loss in value of an
          (3) Take all or any part of the property at                      undamaged portion of a building or
              an agreed or appraised value; or                             structure to which this coverage ap-
                                                                           plies, the loss payment for that build-
          (4) Repair, rebuild or replace the proper-                       ing, including damaged and undam-
              ty with other property of like kind and                      aged portions, will be determined as
              quality.                                                     follows:


                                     Includes copyrighted material of Insurance
FM 101 05 16                          Services Office, Inc., with its permission.                  Page 31 of 40
           (a) If BUILDING AND PERSONAL                                (b) The limit of insurance indicated
               PROPERTY           COVERAGE                                 in SECTION A. COVERAGE, 4.
               FORM, SECTION F. OPTIONAL                                   Additional Coverages, g. Or-
               COVERAGES, 3. Replacement                                   dinance or Law for Demolition
               Cost applies and the property is                            Costs for the building that has
               repaired or replaced, on the                                 suffered "loss".
               same "premises" or another
               "premises"; we will not pay more                   (3) Increased Costs of Construction
               than the lesser of:                                     Loss payment for Increased Costs
               1)   The amount you actually                            of Construction will be determined
                    spend to repair, rebuild or                        as follows:
                    reconstruct the building, but                      (a) We will not pay for the increased
                    not for more than the                                   cost of construction until the
                    amount it would cost to re-                             property is actually repaired or
                    store the building on the                               replaced, at the same "premis-
                    same "premises" and to the                              es" or another location and un-
                    same height, floor area,                                less the repairs or replacement
                    style and comparable quali-                             are made as soon as reasonably
                    ty of the original property in-                         possible after the direct "loss",
                    sured; or                                               not to exceed two years. We
               2)   The limit of insurance indi-                            may extend this period in writing
                    cated in SECTION A.                                     during the two years.
                    COVERAGE, 4. Additional                            (b) If the building is repaired or re-
                    Coverages g. Ordinance                                  placed at the same "premises",
                    or Law for Loss of Use of                               or if you elect to rebuild at an-
                    Undamaged      Parts   of                               other "premises", the most we
                    Building for the building                               will pay for the Increased cost
                    that has suffered "loss".                               of construction is the lesser of:
           (b) If BUILDING AND PERSONAL                                     1)   The increased cost of con-
               PROPERTY           COVERAGE                                       struction at the same "prem-
               FORM, SECTION F. OPTIONAL                                         ises"; or
               COVERAGES, 3. Replacement
               Cost applies and the property is                             2)   The limit of insurance indi-
               not repaired or replaced, or if the                               cated in SECTION A.
               Replacement Cost Coverage                                         COVERAGE, 4. Additional
               Option does not apply, we will                                    Coverages, g. Ordinance
               not pay more than the lesser of:                                  or Law for Increased
                                                                                 Costs of Construction for
               1)   The "actual cash value" of                                   the building that has suf-
                    the building at the time of                                  fered "loss".
                    "loss"; or
                                                                       (c) If the ordinance or law requires
               2)   The limit of insurance indi-                            relocation to another location the
                    cated in SECTION A.                                     most we will pay for the in-
                    COVERAGE, 4. Additional                                 creased cost of construction is
                    Coverages, g. Ordinance                                 the lesser of:
                    or Law for Loss of Use of
                    Undamaged      Parts   of                               1)   The increased cost of con-
                    Building for the building                                    struction at the new loca-
                    that has suffered "loss".                                    tion; or
       (2) Demolition Costs                                                 2)   The limit of insurance indi-
                                                                                 cated in SECTION A.
           Loss payment for Demolition Costs                                     COVERAGE, 4. Additional
           will be determined as follows:                                        Coverages, g. Ordinance
           We will not pay more than the lesser                                  or Law for Increased
           of the following:                                                     Costs of Construction for
                                                                                 the building that has suf-
           (a) The amount you actually spend                                     fered "loss".
               to demolish and clear the site of
               the "premises"; or                                 (4) Proportional Payments
                                                                       If the building or structure sustains
                                                                       both direct "loss" that is covered un-
                                 Includes copyrighted material of Insurance
FM 101 05 16                      Services Office, Inc., with its permission.                  Page 32 of 40
            der this Coverage Part and direct                                 had occurred. We will deduct
            "loss" that is not covered under this                             from the total of such expenses:
            Coverage Part; and as a result of the
            direct "loss" in its entirety you are re-                         1)   The salvage value that re-
            quired to comply with the ordinance                                    mains of any property
            or law, we will not pay the full amount                                bought for temporary use
            of direct "loss" otherwise payable un-                                 during the "period of resto-
            der the terms of SECTION A. COV-                                       ration", once "operations"
            ERAGE, 4. Additional Coverages,                                        are resumed; and
            g. Ordinance or Law. Instead, we                                  2)   Any Extra Expense that is
            will pay a proportion of such direct                                   paid for by other insurance,
            "loss"; meaning the proportion that                                    except for insurance that is
            the covered direct "loss" bears to the                                 written subject to the same
            total direct "loss".                                                   plan, terms, conditions and
   j.   Loss Determination - Business Income                                       provisions as this insurance;
        and Extra Expense                                                          and

        With respect to SECTION A. COVER-                                (b) Necessary expenses that reduce
        AGE, 5. Coverage Extensions, b. Busi-                                 the "Business Income" and
        ness Income and Extra Expense,                                        "Rental Value" "loss" that other-
                                                                              wise would have been incurred.
        (1) The amount of "Business Income"
            and "Rental Value" "loss" will be de-                    (3) Resumption of Operations
            termined based on:                                           We will reduce the amount of your:
            (a) The Net Income of the business                           (a) "Business Income" and "Rental
                before the direct "loss" occurred;                            Value" "loss", other than Extra
            (b) The likely Net Income of the                                  Expense, to the extent you can
                business if no direct "loss" had                              resume your "operations", in
                occurred, but not including any                               whole or in part, by using dam-
                Net Income that would likely                                  aged or undamaged property
                have been earned as a result of                               (including   merchandise     or
                an increase in the volume of                                  "stock") at the "premises" or
                business due to favorable busi-                               elsewhere.
                ness conditions caused by the                            (b) Extra Expense "loss" to the ex-
                impact of the Covered Cause of                                tent you can return "operations"
                Loss on customers or on other                                 to normal and discontinue such
                businesses;                                                   Extra Expense.
            (c) The operating expenses, includ-                      (4) If you do not resume "operations", or
                ing payroll expenses, necessary                          do not resume "operations" as quick-
                to resume "operations" with the                          ly as possible, we will pay based on
                same quality of service that ex-                         the length of time it would have taken
                isted just before the direct "loss";                     to resume "operations" as quickly as
                and                                                      possible.
            (d) Other relevant sources of infor-                k.   Party Walls
                mation, including;
                                                                     A party wall is a wall that separates and is
                1)   Your financial records and                      common to adjoining buildings that are
                     accounting procedures;                          owned by different parties. In settling
                2)   Bills, invoices and other                       covered losses involving a party wall, we
                     vouchers; and                                   will pay a proportion of the "loss" to the
                                                                     party wall based on your interest in the
                3)   Deeds, liens or contracts.                      wall in proportion to the interest of the
                                                                     owner of the adjoining building. However,
        (2) The amount of Extra Expense will be                      if you elect to repair or replace your build-
            determined based on:                                     ing and the owner of the adjoining build-
            (a) All expenses that exceed the                         ing elects not to repair or replace that
                normal operating expenses that                       building, we will pay you the full value of
                would have been incurred by                          the "loss" to the party wall, subject to all
                "operations" during the "period                      applicable policy provisions all other pro-
                of restoration" if no direct "loss"                  visions of this SECTION D. LOSS CON-
                                                                     DITIONS, 4. Loss Payment including:

                                   Includes copyrighted material of Insurance
FM 101 05 16                        Services Office, Inc., with its permission.                  Page 33 of 40
          (1) Limit of Insurance shown in the Dec-                    (2) Buildings under construction or reno-
              larations;                                                  vation are not considered vacant.
          (2) SECTION D. LOSS CONDITIONS,                        b.   Vacancy Provisions
              7. Valuation; and
                                                                      If the building where direct "loss" occurs
          (3) SECTION E. ADDITIONAL CONDI-                            has been vacant for more than 60 con-
              TIONS, 1. Coinsurance.                                  secutive days before that "loss", we will:
          Our payment under the provisions of this                    (1) Not pay for any "loss" caused by any
          paragraph does not alter any right of sub-                      of the following, even if they are
          rogation we may have against any entity,                        Covered Causes of Loss:
          including the owner or insurer of the ad-
          joining building, and does not alter the                        (a) Vandalism;
          terms of COMMERCIAL PROPERTY                                    (b) Sprinkler leakage, unless you
          CONDITIONS, I. Transfer Of Rights Of                                 have protected       the    system
          Recovery Against Others To Us in this                                against freezing;
          Coverage Part.
                                                                          (c) Building glass breakage;
5.   Recovered Property
                                                                          (d) Water damage;
     If either you or we recover any property after
     loss settlement, that party must give the other                      (e) Theft; or
     prompt notice. At your option, the property will
     be returned to you. You must then return to us                       (f) Attempted theft.
     the amount we paid to you for the property.                      (2) Reduce the amount we would other-
     We will pay recovery expenses and the ex-                            wise pay for the "loss" by 15% with
     penses to repair the recovered property, sub-                        respect to Covered Causes of Loss
     ject to the Limit of Insurance.                                      other than those listed in b.(1)(a)
6.   Vacancy                                                              through b.(1)(f) of this Loss Condi-
                                                                          tion.
     a.   Description of Terms
                                                            7.   Valuation
          (1) As used in this Vacancy Condition,
              the term building and the term vacant              We will determine the value of Covered Prop-
              have the meanings set forth in (1)(a)              erty in the event of direct "loss" as follows:
              and (1)(b) below:                                  a.   At "Actual Cash Value" as of the time of
              (a) When this Coverage Part is is-                      direct "loss", except as provided in b., c.,
                   sued to a tenant, and with re-                     d., and e. below.
                   spect to that tenant's interest in            b.   If the Limit of Insurance for Building satis-
                   Covered     Property,     building                 fies SECTION E. ADDITIONAL CONDI-
                   means the unit or suite rented or                  TIONS, 1. Coinsurance, and the cost to
                   leased to the tenant. Such build-                  repair or replace the damaged building
                   ing is vacant when it does not                     property is $2,500 or less, we will pay the
                   contain enough business per-                       cost of building repairs or replacement.
                   sonal property to conduct cus-
                   tomary operations.                                 The cost of building repairs or replace-
                                                                      ment does not include the increased cost
              (b) When this Coverage Part is is-                      attributable to enforcement of or compli-
                   sued to the owner or general                       ance with any ordinance or law regulating
                   lessee of a building, building                     the construction, use or repair of any
                   means the entire building. Such                    property. However, the following property
                   building is vacant unless at least                 will be valued at actual cash value even
                   31% of its total square footage                    when attached to the building:
                   is:
                                                                      (1) Awnings or floor coverings;
                   1)   Rented to a lessee or sub-
                        lessee and used by them to                    (2) Appliances for refrigerating, ventilat-
                        conduct their customary op-                       ing, cooking, dishwashing or launder-
                        erations; or                                      ing; or
                   2)   Used by the building owner                    (3) Outdoor equipment or furniture.
                        to conduct customary oper-
                        ations.                                  c.   "Stock" you have sold but not delivered at
                                                                      the selling price less discounts and ex-
                                                                      penses you otherwise would have had.

                                    Includes copyrighted material of Insurance
FM 101 05 16                         Services Office, Inc., with its permission.                   Page 34 of 40
     d.   Glass at the cost of replacement with                       (3) Multiply to the total amount of "loss",
          safety glazing material if required by law.                      before the application of any deducti-
                                                                           ble, by the figure determined in step
     e.   Tenant's Improvements and Betterments                            (2); and
          at:
                                                                      (4) Subtract the deductible from the fig-
          (1) Replacement Cost of the lost or                             ure determined in step (3).
              damaged property if you make re-
              pairs promptly.                                         We will pay the amount determined in
                                                                      step (4) or the Limit of Insurance, which-
          (2) A proportion of your original cost if                   ever is less. For the remainder, you will
              you do not make repairs promptly.                       either have to rely on other insurance or
              We will determine the proportionate                     absorb the "loss" yourself.
              value as follows:
                                                                      Example No. 1 (Underinsurance):
              (a) Multiply the original cost by the
                   number of days from the "loss"                     The value of the property is:  $250,000
                   or damage to the expiration of                     The coinsurance percentage is:     80%
                   the lease; and                                     The Limit of Insurance is:     $100,000
                                                                      The Deductible is:                 $250
              (b) Divide the amount determined in                     The amount of "loss" is:        $40,000
                  (a) above by the number of days
                   from the installation of improve-                  Step (1):
                   ments to the expiration of the
                   lease.                                                  $250,000 X 80% = $200,000 (the
                                                                           minimum amount of insurance to
              If your lease contains a renewal op-                         meet your Coinsurance require-
              tion, the expiration of the renewal op-                      ments)
              tion period will replace the expiration
              of the lease in this procedure.                         Step (2):

          (3) Nothing if others pay for repairs or                         $100,000 divided by $200,000 = .50
              replacement.                                            Step (3):
          (4) For the purposes of valuation, ten-                          $40,000 X .50 = $20,000
              ants' improvements and betterments
              are not considered to be the personal                   Step (4):
              property of others.
                                                                           $20,000 - $250 = $19,750.
SECTION E. ADDITIONAL CONDITIONS                                      We will pay no more than $19,750. The
                                                                      remaining $20,250 is not covered.
The following conditions apply in addition to the
COMMON POLICY CONDITIONS and the COM-                                 Example No. 2 (Adequate Insurance):
MERCIAL PROPERTY CONDITIONS.
                                                                      The value of the property is:  $250,000
1.   Coinsurance                                                      The coinsurance percentage is:     80%
                                                                      The Limit of Insurance is:     $200,000
     If a Coinsurance percentage is shown in the
                                                                      The Deductible is:                 $250
     Declarations, the following condition applies.
                                                                      The amount of "loss" is:        $40,000
     a.   We will not pay the full amount of any
          "loss" if the value of Covered Property at                  Step (1):
          the time of direct "loss" times the Coin-                        $250,000 X 80% = $200,000 (the
          surance percentage shown for it in the                           minimum amount of insurance to
          Declarations is greater than the Limit of                        meet your Coinsurance require-
          Insurance for the property.                                      ments)
          Instead, we will determine the most we                      Step (2):
          will pay using the following steps:
                                                                           $200,000 : $200,000 = 1.00
          (1) Multiply the value of Covered Proper-
              ty at the time of direct "loss" by the                  Step (3):
              Coinsurance percentage;                                      $40,000 X 1.00 = $40,000
          (2) Divide the Limit of Insurance of the                    Step (4):
              property by the figure determined in
              step (1);                                                    $40,000 - $250 = $39,750.



                                     Includes copyrighted material of Insurance
FM 101 05 16                          Services Office, Inc., with its permission.                Page 35 of 40
          We will pay no more than $39,750 "loss"                      with the terms of this Coverage Part, the
          in excess of the Deductible. No penalty                      mortgage holder will still have the right to
          applies.                                                     receive loss payment if the mortgage
                                                                       holder:
     b.   If one Limit of Insurance applies to two or
          more separate items, this condition will                     (1) Pays any premium due under this
          apply to the total of all property to which                      Coverage Part at our request if you
          the limit applies.                                               have failed to do so;
          Example No. 3:                                               (2) Submits a signed, sworn statement
                                                                           of loss within 60 days after receiving
          The values of the property are:
                                                                           notice from us of your failure to do
              Bldg. at Location No. 1:       $75,000                       so; and
              Bldg. at Location No. 2:      $100,000
                                                                       (3) Has notified us of any change in
              Personal Property at                                         ownership, occupancy or substantial
              Location No. 2:                $75,000                       change in risk known to the mortgage
                                                                           holder.
                                             250,000
                                                                       All of the terms of this Coverage Part will
          The coinsurance percentage is:         90%                   then apply directly to the mortgage hold-
          The Limit of Insurance for                                   er.
              Buildings and Personal
                                                                  e.   If we pay the mortgage holder for any
              Property at Location                                     "loss" and deny payment to you because
              Nos. 1 and 2 is:              $180,000                   of your acts or because you have failed to
          The Deductible is:                  $1,000                   comply with the terms of this Coverage
          The amount of "loss" is:                                     Part:
              Bldg. at Location No. 2:       $30,000
              Personal Property at                                     (1) The mortgage holder's rights under
              Location No. 2:                $20,000                       the mortgage will be transferred to us
                                             $50,000                       to the extent of the amount we pay;
          Step (1):                                                        and
              $250,000 X 90% = $225,000                                (2) The mortgage holder's right to recov-
              (the minimum amount of insurance to                          er the full amount of the mortgage
              meet your Coinsurance requirements                           holder's claim will not be impaired.
              and to avoid the penalty shown be-
              low)                                                     At our option, we may pay to the mort-
                                                                       gage holder the whole principal on the
          Step (2):                                                    mortgage plus any accrued interest. In
              $180,000 : $225,000 = .80                                this event, your mortgage and note will be
                                                                       transferred to us and you will pay your
          Step (3):
                                                                       remaining mortgage debt to us.
              $50,000 X .80 = $40,000
          Step (4):                                               f.   If we cancel this policy, we will give writ-
                                                                       ten notice to the mortgage holder at least:
              $40,000 - $1,000 = $39,000.
                                                                       (1) 10 days before the effective date of
          We will pay no more than $39,000. The                            cancellation if we cancel for your
          remaining $11,000 is not covered.                                nonpayment of premium; or
2.   Mortgage Holders                                                  (2) 30 days before the effective date of
                                                                           cancellation if we cancel for any oth-
     a.   The term "mortgage holder" includes trus-                        er reason.
          tee.
                                                                  g.   If we elect not to renew this policy, we will
     b.   We will pay for covered "loss" to buildings                  give written notice to the mortgage holder
          or structures to each mortgage holder                        at least ten days before the expiration
          shown in the Declarations in their order of                  date of this policy.
          precedence, as interests may appear.
     c.   The mortgage holder has the right to re-           SECTION F. OPTIONAL COVERAGES
          ceive loss payment even if the mortgage            If shown as applicable in the Declarations, the fol-
          holder has started foreclosure or similar          lowing Optional Coverages apply separately to
          action on the building or structure.
                                                             each item.
     d.   If we deny your claim because of your
          acts or because you have failed to comply

                                     Includes copyrighted material of Insurance
FM 101 05 16                          Services Office, Inc., with its permission.                  Page 36 of 40
1.   Agreed Value                                                               The number of days since the
                                                                                beginning of the policy year (or
     a.   The Additional Condition, Coinsurance,                                last policy change) is: 146
          does not apply to Covered Property to
          which this Optional Coverage applies. We                              The amount of increase is
          will pay no more for direct "loss" to that                            $100,000 X .08 X (146/365) =
          property than the proportion that the Limit                           $3,200
          of Insurance under this Coverage Part for
          the property bears to the Limit of Insur-          3.   Replacement Cost
          ance indicated in the most current State-               a.   Replacement Cost (without deduction for
          ment of Values that applies to this Cover-                   depreciation) replaces "Actual Cash Val-
          age Part.                                                    ue" in SECTION D. LOSS CONDITIONS,
     b.   If the Agreed Value Optional Coverage is                     7. Valuation of this BUILDING AND
          deleted from the policy, the Additional                      PERSONAL PROPERTY COVERAGE
          Condition, Coinsurance, is reinstated and                    FORM.
          this Optional Coverage does not apply.                  b.   This Optional Coverage does not apply
     c.   The terms of this Optional Coverage ap-                      to:
          ply only to "loss" that occurs:                              (1) Personal Property of others, except
          (1) On or after the effective date of this                       leased personal property as de-
              Optional Coverage; and                                       scribed in SECTION A. COVERAGE,
                                                                           1. Covered Property, d.(7). The val-
          (2) Before the policy expiration date.                           uation of such leased personal prop-
                                                                           erty will be based on the amount for
     d.   This Agreed Value Optional Coverage                              which you are liable under the lease,
          does not apply to SECTION A. COVER-                              but not to exceed the replacement
          AGE, 5. Coverage Extensions, b. Busi-                            cost of the leased item.
          ness Income and Extra Expense.
                                                                       (2) Personal effects;
2.   Inflation Guard
                                                                       (3) Contents of a residence;
     a.   The Limit of Insurance for property to
          which this Optional Coverage applies will                    (4) Manuscripts;
          automatically increase by the annual per-
          centage shown in the Declarations.                           (5) Works of art, antiques or rare arti-
                                                                           cles, including etchings, pictures,
     b.   The amount of increase will be:                                  statuary, marbles, bronzes, porce-
                                                                           lains and bric-a-brac;
          (1) The Limit of Insurance that applied
              on the beginning of the current "cov-                    (6) "Stock" unless the Replacement Cost
              erage term" or any other Coverage                            including "Stock" option is shown in
              Part change amending the Limit of                            the Declarations; or
              Insurance, multiplied by
                                                                       (7) Property, that at the time of "loss":
          (2) The percentage of annual increase
              shown in the Declarations, expressed                         (a) Is outdated, or obsolete and is
              as a decimal (example: 8% is .08),                                stored or not being used; or
              multiplied by                                                (b) Has no practical value to you.
          (3) The number of days since the begin-                 c.   You may make a claim for "loss" covered
              ning of the current "coverage term" or                   by this insurance on an "Actual Cash Val-
              the effective date of the most recent                    ue" basis instead of on a replacement
              policy change amending the Limit of                      cost basis. In the event you elect to have
              Insurance, divided by 365. In the                        "loss" settled on an "Actual Cash Value"
              event of "loss", this number of days                     basis, you may still make a claim for the
              ends at the original date of "loss".                     additional coverage this Optional Cover-
              Example:                                                 age provides if you notify us of your intent
                                                                       to do so within 180 days after the "loss".
              If:   The applicable Limit of Insur-
                    ance is: $100,000                             d.   We will not pay on a replacement cost
                                                                       basis for any "loss":
                    The Annual percentage increase
                    is: 8%                                             (1) Until the lost or damaged property is
                                                                           actually repaired or replaced with
                                                                           other property of generally the same
                                                                           construction and used for the same

                                     Includes copyrighted material of Insurance
FM 101 05 16                          Services Office, Inc., with its permission.                  Page 37 of 40
              purpose as the lost or damaged                            any period is for a period of less than 12
              property; and                                             months, constitute individual "coverage
                                                                        terms". The last "coverage term" ends at
          (2) Unless the repairs or replacement                         12:00 A.M. standard time at your mailing
              have been completed or at least un-                       address shown in the Declarations on the
              derway within 2 years following the                       earlier of:
              date of "loss".
                                                                        (1) The day the policy period shown in
     e.   We will not pay more for "loss" on a re-                          the Declarations ends; or
          placement cost basis than the least of:
                                                                        (2) The day the policy to which this Cov-
          (1) The Limit of Insurance applicable to                          erage Part is attached is terminated
              the lost or damaged property;                                 or cancelled.
          (2) The cost to replace, on the same                     b.   However, if after the issuance of this
              "premises", the lost or damaged                           Coverage Part, any "coverage term" is
              property with other property:                             extended for an additional period of less
              (a) Of comparable material and                            than 12 months, that additional period of
                   quality; and                                         time will be deemed to be part of the last
                                                                        preceding "coverage term".
              (b) Used for the same purpose; or
                                                              5.   "Electronic data" means information, facts or
          (3) The amount you actually spend that                   "computer programs" stored as or on, created
              is necessary to repair or replace the                or used on, or transmitted to or from computer
              lost or damaged property.                            software (including systems and applications
                                                                   software), on hard or floppy disks, CD-ROMs,
     f.   The cost of repair or replacement does                   tapes, drives, cells, data processing devices
          not include the increased cost attributable              or any other repositories of computer software
          to enforcement of or compliance with any                 which are used with electronically controlled
          ordinance or law regulating the construc-                equipment.
          tion, use, or repair of any building or
          structure except as provided in SECTION             6.   "Finished stock" means stock you have manu-
          A. COVERAGE, 4. Additional Coverag-                      factured, except "stock" you have manufac-
          es, g. Ordinance or Law.                                 tured that is held for sale on the "premises" of
                                                                   any retail outlet insured under this Coverage
SECTION G. DEFINITIONS                                             Part.
1.   "Actual cash value" means replacement cost               7.   "Fungi" means any type or form of fungus, and
     less a deduction that reflects depreciation,                  includes, but is not limited to, any form or type
     age, condition and obsolescence.                              of mold, mushroom or mildew and any myco-
2.   "Business Income" means the:                                  toxins, spores, scents or byproducts produced
                                                                   or released by fungi.
     a.   Net Income (net profit or loss before in-
          come taxes) that would have been earned             8.   "Loss" means accidental physical loss or acci-
          or incurred; and                                         dental physical damage.

     b.   Continuing normal operating expenses                9.   "Money" means:
          sustained, including payroll.                            a.   Currency, coins and bank notes whether
3.   "Computer programs" means a set of related                         or not in current use; and
     electronic instructions which direct the opera-               b.   Travelers checks, registered checks and
     tions and functions of a computer or device                        money orders held for sale to the public.
     connected to it, which enable the computer or
     device to receive, process, store, retrieve or           10. "Operations" means:
     send data.
                                                                   a.   Your business activities occurring at the
4.   "Coverage term" means the following individ-                       "premises"; and
     ual increment, or if a multi-year policy period,
     increments, of time, which comprise the policy                b.   The tenantability of the "premises", if cov-
     period of this Coverage Part:                                      erage for "Business Income" including
                                                                        "Rental Value" or "Rental Value" applies.
     a.   The year commencing on the Effective
          Date of this Coverage Part at 12:01 A.M.            11. "Period of restoration" means the period of
          standard time at your mailing address                    time that:
          shown in the Declarations, and if a multi-               a.   Begins at the time of direct "loss".
          year policy period, each consecutive an-
          nual period thereafter, or portion thereof if            b.   Ends on the earlier of:

                                      Includes copyrighted material of Insurance
FM 101 05 16                           Services Office, Inc., with its permission.                  Page 38 of 40
         (1) The date when the property at the                        (2) The amount of charges, which are
             "premises" should be repaired, rebuilt                       the legal obligation of the tenant(s)
             or replaced with reasonable speed                            but would otherwise be your obliga-
             and similar quality; or                                      tions.
         (2) The date when business is resumed              15. "Securities" means negotiable and non-
             at a new permanent location.                        negotiable instruments or contracts represent-
                                                                 ing either "money" or other property and in-
    c.   "Period of restoration" does not include                cludes:
         any increased period required due to the
         enforcement of or compliance with any                   a.   Tokens, tickets, revenue and other
         ordinance or law that:                                       stamps whether or not in current use; and
         (1) Regulates the construction, use or                  b.   Evidences of debt issued in connection
             repair, or requires the tearing down                     with credit or charge cards, which are not
             of any property; or                                      of your own issue; but does not include
                                                                      "money". Lottery tickets held for sale are
         (2) Requires any insured or others to                        not "securities" or evidences of debt.
             test for, monitor, clean up, remove,
             contain, treat, detoxify or neutralize,        16. "Sinkhole collapse" means the sudden settle-
             or in any way respond to or assess                  ment or collapse of earth supporting the Cov-
             the effects of "pollutants".                        ered Property into subterranean voids created
                                                                 by the action of water on a limestone or similar
    d.   The expiration date of the policy will not              rock formation. This does not include:
         cut short the "period of restoration".
                                                                 a.   The cost of filling sinkholes;
12. "Pollutants" means any solid, liquid, gaseous
    or thermal irritant or contaminant, including                b.   Sinking or collapse of land into man-made
    smoke, vapor, soot, fumes, acids, alkalis, as-                    subterranean cavities; or
    bestos, chemicals, petroleum, petroleum
    products and petroleum by-products, and                      c.   The value of the land.
    waste. Waste includes materials to be recy-             17. "Specified causes of loss" means fire; light-
    cled, reconditioned or reclaimed. "Pollutants"               ning; explosion; windstorm or hail; smoke; air-
    include but are not limited to substances                    craft or vehicles; riot or civil commotion; van-
    which are generally recognized in industry or                dalism; leakage from fire extinguishing equip-
    government to be harmful or toxic to persons,                ment; "sinkhole collapse"; volcanic action; fall-
    property, or the environment regardless of                   ing objects; weight of snow, ice or sleet; and
    whether injury or damage is caused directly or               water damage.
    indirectly by the "pollutants" and whether:
                                                                 a.   Falling objects does not include "loss" to:
    a.   You are regularly or otherwise engaged in
         activities which taint or degrade the envi-                  (1) Personal property in the open; or
         ronment; or
                                                                      (2) The interior of a building or structure,
    b.   You use, generate or produce the "pollu-                         or property inside a building or struc-
         tant".                                                           ture, unless the roof or an outside
                                                                          wall of the building or structure is first
13. "Premises" means the Locations and Build-                             damaged by a falling object.
    ings described in the Declarations.
                                                                 b.   Water damage means:
14. "Rental Value" means "Business Income" that
    consists of :                                                     (1) Accidental discharge or leakage of
                                                                          water or steam as the direct result of
    a.   Net Income (Net Profit or Loss before in-                        the breaking apart or cracking of any
         come taxes) that would have been earned                          part of a system or appliance (other
         or incurred as rental income from tenant                         than a sump system including its re-
         occupancy of the "premises" described in                         lated equipment and parts) contain-
         the Declarations as furnished and                                ing water or steam; and
         equipped by you, including fair rental val-
         ue of any portion of the "premises" which                    (2) Accidental discharge or leakage of
         is occupied by you; and                                          water or waterborne material as the
                                                                          direct result of the breaking apart or
    b.   Continuing normal operating expenses                             cracking of a water or sewer pipe that
         incurred in connection with that "premis-                        is located off the "premises" and is
         es", including:                                                  part of a municipal potable water
         (1) Payroll; and                                                 supply system or municipal sanitary
                                                                          sewer system, if the breakage or
                                                                          cracking is caused by wear and tear.
                                    Includes copyrighted material of Insurance
FM 101 05 16                         Services Office, Inc., with its permission.                   Page 39 of 40
       But water damage does not include "loss"                      water is not subject to the provisions of
       otherwise excluded under the terms of                         Exclusion (g) Water.
       BUILDING AND BUSINESS PERSONAL
       PROPERTY, SECTION A. COVERAGE,                      18. "Stock" means merchandise held in storage or
       3. Covered Causes of Loss, (g) Water.                    for sale, raw materials and in-process or fin-
       Therefore, for example, there is no cover-               ished goods, including supplies used in their
       age under this Coverage Part in the situa-               packing or shipping.
       tion in which discharge or leakage of wa-           19. "Suspension" means:
       ter results from the breaking apart or
       cracking of a pipe which was caused by                   a.   The slowdown or cessation of your busi-
       or related to weather-induced flooding,                       ness activities; and
       even if wear and tear contributed to the
       breakage or cracking. As another exam-                   b.   That a part or all of the "premises" is ren-
       ple, and also in accordance with the                          dered untenantable.
       terms of the Exclusion (g) Water, there is          20. "Valuable papers and records" means in-
       no coverage for "loss" caused by or relat-               scribed, printed or written documents, manu-
       ed to weather-induced flooding which fol-                scripts or records, including abstracts, books,
       lows or is exacerbated by pipe breakage                  card index systems, deeds, drawings, films,
       or cracking attributable to wear and tear.               maps, mortgages, or proprietary information.
       To the extent that accidental discharge or               But "valuable papers and records" does not
       leakage of water falls within the criteria               mean "money" or "securities" or "electronic
       set forth in 18.b.(1) or 18.b.(2) of this def-           data", including the materials on which the
       inition of "Specified causes of loss", such              "electronic data" is recorded.




                                   Includes copyrighted material of Insurance
FM 101 05 16                        Services Office, Inc., with its permission.                  Page 40 of 40
                                               CinciPlus®
                      CinciPak™
     PROPERTY POWER XC+® (EXPANDED COVERAGE PLUS)
                    ENDORSEMENT
                                SUMMARY OF COVERAGE LIMITS
                                                                                                     ®
This is a summary of the Coverages and the Limits of Insurance provided by the CinciPlus CinciPak™
                   ®
Property Power XC+ (Expanded Coverage Plus) Endorsement, FCP 215, in combination with the Commercial
Property Coverage Form, FM 101, which are included in this policy. No coverage is provided by this
summary. Refer to endorsement FCP 215 and the Commercial Property Coverage Form, FM 101, to
determine the scope of your insurance protection.

           Blanket Coverages:                            Blanket Coverage Limit:                          Page
                                                                                                           No.
                                                  $ 150,000          in total for all loss arising       FCP215
                                                  from all Blanket Coverages arising from a
                                                  single occurrence, except as noted otherwise
                                                  in the form.
Accounts Receivable                                                                                        1
Debris Removal                                                                                             6
Electronic Data Processing Property (EDP):                                                                 2
    Duplicate and Backup Electronic Data                                                                   2
    Newly Purchased EDP                                                                                    2
    In Transit or Away From Premises                                                                       3
    Worldwide Laptop Coverage                                                                              3
Ordinance or Law (Increased Construction                                                                   4
Costs and Demolition)
Peak Season                                                                                                6
Personal Property of Others                                                                                6
Tenant Move Back Expenses                                                                                  6
Valuable Papers and Records                                                                                4




            Other Coverages                                  Limit of Insurance:                          Page
                                                                                                           No.
    (not subject to Blanket Coverage Limit):                                                             FCP215
Brands and Labels                                 $25,000                                                  9
Business Income and Extra Expense:
    Interruption of Computer Operations           $25,000 (sub-limit, subject to a 24 hour                 1
                                                  deductible)




FCP 407 05 16                                                                                        Page 1 of 2
             Other Coverages                                Limit of Insurance:                     Page
                                                                                                     No.
    (not subject to Blanket Coverage Limit):                                                       FCP215
Inflation Guard                                   4% on all Building Property referenced in the       8
                                                  Declarations
Lessor's Leasehold Interest                       Actual loss sustained up to $25,000                 9
Nonowned Building Damage:                                                                             8
    Loss caused by theft, burglary or robbery     Up to the Business Personal Property (BPP)          8
                                                  Limit of Insurance
    Loss by any other Covered Cause of Loss       $25,000 or the BPP Limit of Insurance               8
                                                  (whichever is less)
Ordinance or Law (other than          Increased   Subject to the Building Limit of Insurance          4
Construction Costs and Demolition)
Ordinance or Law - Increased Period of            $50,000                                             10
Restoration
Outdoor Property                                  $25,000 ($1,000 for any one tree, shrub or          5
                                                  plant)
Temperature Change                                $15,000                                             6
Unauthorized Business Card Use                    $5,000                                              9
Utility Services - Direct and Time Element        $ 75,000                                            10
Overhead Lines                                    $ 5,000              sub-limit with a 24 hour       11
                                                  waiting period
Water Backup Discharged from Sewers, Drains,      $10,000                                             5
Septic or Sump Pump Systems




FCP 407 05 16                                                                                     Page 2 of 2
      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                                 CinciPak™
      COMMERCIAL PROPERTY AMENDATORY ENDORSEMENT
This endorsement modifies insurance provided under the following:


      COMMERCIAL PROPERTY COVERAGE PART

I.    SECTION A. COVERAGE, Paragraph 2.                            A. The following Additional Coverages are
      Property Not Covered is amended as follows:                       amended as follows:
      Subparagraphs f., g., i., j., k., m. and n. are                   1.   The Limit of Insurance referenced in
      deleted in their entirety.                                             Subparagraph (4) of b. Debris Re-
                                                                             moval is amended to $25,000.
II.   SECTION A. COVERAGE, Paragraph 3. Cov-
      ered Causes of Loss, b. Exclusions, (4)                           2.   The Limit of Insurance referenced in
      Special Exclusions is amended as follows:                              c. Fire Department Service Charge
                                                                             is amended to $25,000.
      Special Exclusions (a) and (b) are deleted in
      their entirety.                                                   3.   Fire Protection Equipment Re-
                                                                             charge - Actual Expenses Incurred
III. SECTION A. COVERAGE, Paragraph 3. Cov-
     ered Causes of Loss, c. Limitations is                                  For this endorsement only, the last
      amended as follows:                                                    paragraph in BUILDING AND PER-
                                                                             SONAL PROPERTY COVERAGE
      A. Subparagraph (1) Limitations - Various                              FORM, SECTION A. COVERAGE, 4.
         Types of Property is amended as fol-                                Additional Coverages, d. Fire Pro-
          lows:                                                              tection Equipment Recharge is de-
          1.   Limitation (c) Building Interiors is                          leted in its entirety and replaced by
               deleted in its entirety and replaced by                       the following:
               the following:                                                The most we will pay in any one oc-
               (c) Building Interiors                                        currence under this Additional Cover-
                                                                             age is the reasonable and necessary
                      The interior of any building or                        expenses you incur to recharge your
                      structure caused by or resulting                       automatic fire suppression system or
                      from rain, snow, sleet, ice, sand                      portable fire extinguishers. This cov-
                      or dust, whether driven by wind                        erage is in addition to the Limits of
                      or not, unless:                                        Insurance shown in the Declarations.
                      1)   The building or structure                    4.   g. Ordinance or Law is amended as
                           first sustains damage by a                        follows:
                           Covered Cause of Loss to
                           its roof or walls through                         a.   The Limit of Insurance refer-
                           which the rain, snow, sleet,                           enced in the last paragraph is
                           ice, sand or dust enters; or                           amended to $25,000; and

                      2)   The "loss" is caused by or                        b.   Paragraph (1) is amended to in-
                           results from thawing of                                clude the following:
                           snow, sleet or ice on the                              (d) Cost to Repair, Rebuild or
                           building or structure.                                     Reconstruct Tenants Im-
          2.   Limitation (d) Theft of Building Ma-                                   provements and Better-
               terials is deleted in its entirety.                                    ments

      B. Subparagraph (3) Limitation - Personal                                         The increased cost to re-
         Property Theft, item (d) is deleted in its                                     pair, rebuild or reconstruct
          entirety.                                                                     tenant's improvements and
                                                                                        betterments, as described in
IV. SECTION A. COVERAGE, Paragraph 4. Ad-                                               SECTION A. COVERAGE;
    ditional Coverages is amended as follows:                                           1. Covered Property, d.

                                       Includes copyrighted material of Insurance
FCP 201 05 16                           Services Office, Inc. with its permission.                     Page 1 of 6
                     Business Personal Prop-                            of direct physical damage caused by
                     erty, Subparagraph (6),                            or resulting from a Covered Cause of
                     caused by enforcement of                           Loss to building property you occupy
                     building, zoning or land use                       as agreed to in your written lease
                     ordinance or law.                                  agreement.
       5.   The Limit of Insurance referenced in                        The most we will pay for "loss" in any
            h. Pollutant Clean Up and Removal                           one occurrence under this Additional
            is amended to $25,000.                                      Coverage is $2,500.
       6.   The number of days referenced in                       4.   Temporary Relocation of Property
            Subparagraph (2) of i. Preservation
            of Property is amended to 90.                               (1) If Covered Property is removed
                                                                             from the "premises" and stored
   B. The following Additional Coverages are                                 temporarily at a location you
       added:                                                                own, lease or operate while the
                                                                             "premises" is being renovated or
       1.   Peak Season Limit Increase                                       remodeled, we will pay for direct
            a.   The Limit of Insurance for Busi-                            "loss" of that stored property:
                 ness Personal Property will au-                             (a) Caused by or resulting from
                 tomatically increase by 25% to                                  a Covered Cause of Loss;
                 provide for seasonal variations.
                                                                             (b) Up to $50,000 at each tem-
            b.   This increase will apply only if                                porary location in any one
                 the Limit of Insurance shown for                                occurrence; and
                 Business Personal Property in
                 the Declarations is at least 100%                           (c) During the storage period of
                 of your average monthly values                                  up to 90 consecutive days
                 during the lesser of:                                           but not beyond the expira-
                                                                                 tion of this policy.
                 (1) The 12 months immediately
                     preceding the       date   the                     (2) This Additional Coverage does
                     "loss" occurs; or                                       not apply if the stored property is
                                                                             more specifically insured.
                 (2) The period of time you have
                     been in business as of the          V. SECTION A. COVERAGE, Paragraph 5. Cov-
                     date the "loss" occurs.                erage Extensions is amended as follows:
       2.   Leasehold Improvements                            A. The following Coverage Extensions are
                                                                   amended as follows:
            If your lease is cancelled in accord-
            ance with a valid lease provision as                   1.   Coverage Extension a. Accounts
            the direct result of a Covered Cause                        Receivable is amended as follows:
            of Loss to property at the location in
            which you are a tenant, and you can-                        a.   The Limit of Insurance refer-
            not legally remove Tenant Improve-                               enced in Subparagraph (3)(b)
            ments and Betterments, as described                              Away From Your Premises is
            in SECTION A. COVERAGE; 1.                                       amended to $25,000; and
            Covered Property, d. Business                               b.   The last Paragraph is deleted in
            Personal Property, Subparagraph                                  its entirety and replaced by the
            (6), we will extend Business Personal                            following:
            Property coverage to apply to the
            unamortized value of Tenant Im-                                  The most we will pay for "loss" in
            provement and Betterment that re-                                any one occurrence under this
            main and that you were forced to                                 Coverage Extension is $50,000.
            abandon.
                                                                   2.   Coverage Extension b. Business In-
            The most we will pay for "loss" in any                      come and Extra Expense is
            one occurrence under this Additional                        amended to include the following:
            Coverage is $25,000.
                                                                        (9) Business Income From Depend-
       3.   Lease Assessment                                                 ent Properties
            Your Business Personal Property is                               (a) We will pay for the actual
            extended to apply to your share of                                   loss of "Business Income"
            any assessment charged to all ten-                                   you sustain due to the nec-
            ants by the building owner as a result                               essary "suspension" of your

                                  Includes copyrighted material of Insurance
FCP 201 05 16                      Services Office, Inc. with its permission.                     Page 2 of 6
                    "operations" during the "pe-                               1)   Deliver materials or
                    riod of restoration". The                                       services to you, or to
                    "suspension"     must     be                                    others for your account
                    caused by direct "loss" to                                      (Contributing      Loca-
                    "dependent         property"                                    tions). But, any property
                    caused by or resulting from                                     which delivers the fol-
                    any Covered Cause of Loss.                                      lowing services is not a
                                                                                    Contributing    Location
                    However, this Coverage Ex-                                      with respect to such
                    tension does not apply when                                     services:
                    the only "loss" to "depend-
                    ent property" is "loss" to                                      a)   Water supply ser-
                    "electronic data", including                                         vices;
                    destruction or corruption of
                    "electronic data". If the "de-                                  b) Power supply ser-
                    pendent property" sustains                                           vices;
                    "loss" to "electronic data"                                     c)   Communication
                    and other property, cover-                                           supply     services,
                    age under this Coverage                                              including services
                    Extension will not continue                                          relating to internet
                    once the other property is                                           access or access
                    repaired, rebuilt or replaced.                                       to any electronic
                    The most we will pay for                                             network;
                    "loss" in any one occurrence                               2)   Accept your products or
                    for each "dependent proper-                                     services;
                    ty" location is $10,000. This
                    $10,000 of coverage for                                    3)   Manufacture products
                    Business Income From De-                                        for delivery to your cus-
                    pendent Properties does not                                     tomers under contract
                    increase the Limit of Insur-                                    for sale; or
                    ance provided in this Cover-
                    age Extension.                                             4)   Attract customers      to
                                                                                    your business.
                (b) We will reduce the amount
                    of your "Business Income"                                  The "dependent property"
                    loss, other than Extra Ex-                                 must be located in the cov-
                    pense, to the extent you can                               erage territory of this Cover-
                    resume "operations", in                                    age Part.
                    whole or in part, by using                             (e) In BUILDING AND PER-
                    any other available:                                       SONAL PROPERTY COV-
                    1)   Source of materials; or                               ERAGE FORM, SECTION
                                                                               G. DEFINITIONS, the "Peri-
                    2)   Outlet for your prod-                                 od of restoration" Definition,
                         ucts.                                                 with respect to "dependent
                                                                               property", is replaced by the
                (c) If you do not resume "opera-                               following:
                    tions", or do not resume
                    "operations" as quickly as                                 "Period  of   restoration"
                    possible, we will pay based                                means the period of time
                    on the length of time it                                   that:
                    would have taken to resume
                    "operations" as quickly as                                 1)   Begins twenty-four (24)
                    possible.                                                       hours after the time of
                                                                                    direct "loss" caused by
                (d) BUILDING AND PERSON-                                            or resulting from any
                    AL PROPERTY COVER-                                              Covered Cause of Loss
                    AGE FORM, SECTION G.                                            at the premises of the
                    DEFINITIONS is amended                                          "dependent property";
                    to include the following defi-                                  and
                    nition:
                                                                               2)   Ends on the date when
                    "Dependent       property"                                      the property at the
                    means property operated by                                      premises of the "de-
                    others whom you depend on                                       pendent      property"
                    to:                                                             should be repaired, re-
                                 Includes copyrighted material of Insurance
FCP 201 05 16                     Services Office, Inc. with its permission.                      Page 3 of 6
                          built or replaced with                                 (including their lead-in wir-
                          reasonable speed and                                   ing, masts and towers); and
                          similar quality.
                                                                             (2) Trees, shrubs or plants
                     "Period of restoration" does                                (other than trees, shrubs or
                     not include any increased                                   plants which are "stock" or
                     period required due to the                                  part of a vegetative roof),
                     enforcement of any ordi-                                    including debris removal;
                     nance or law that:
                                                                             but only if caused by or resulting
                     1)   Regulates the construc-                            from any of the following causes
                          tion, use or repair, or                            of loss if they are included as
                          requires the tearing                               Covered Causes of Loss under
                          down of any property;                              this Coverage Part:
                          or
                                                                                 (a) Fire;
                     2)   Requires any insured or
                          others to test for, moni-                              (b) Lightning;
                          tor, clean up, remove,                                 (c) Explosion;
                          contain, treat, detoxify
                          or neutralize, or in any                               (d) Riot or Civil Commo-
                          way respond to, or as-                                      tion;
                          sess the effects of "pol-
                          lutants".                                              (e) Aircraft;
                     The expiration date of this                                 (f) Falling objects;
                     Coverage Part will not cut                                  (g) Theft; or
                     short the "period of restora-
                     tion".                                                      (h) Vehicle; and
       3.   The Limit of Insurance referenced in                             (3) Awnings that are attached to
            f. Fences is amended to $10,000.                                     a building that you occupy
                                                                                 as a tenant.
       4.   The Limit of Insurance referenced in
            h. Glass Subparagraph (2) is                                     We will pay for the debris re-
            amended to $25,000                                               moval expenses of the above
                                                                             type property that are not your
       5.   In Coverage Extension, i. Newly                                  Covered Property if such debris
            Purchased, Leased, or Construct-                                 is on your "premises" due to the
            ed Property, Paragraphs (3)(b),                                  Covered Causes of Loss de-
            (3)(c) and (3)(d) the number 90 is de-                           scribed in this Coverage Exten-
            leted and replaced by the number                                 sion. If you are a tenant, we do
            180.                                                             not pay debris removal expenses
       6.   The last paragraph of j. Nonowned                                for trees, plants, or shrubs
            Building Damage is deleted in its                                owned by the landlord or owner
            entirety and replaced by the following:                          of the building you occupy.

            The most we will pay for "loss" in any                           No other coverage for debris
            one occurrence under this Coverage                               removal expenses provided in
            Extension is your Business Personal                              this Coverage Part applies to this
            Property Limit of Insurance for the                              Outdoor Property Coverage Ex-
            "premises" where the "loss" occurs.                              tension.

       7.   Coverage    Extension k. Outdoor                                 The most we will pay for "loss" in
            Property is deleted in its entirety and                          any one occurrence under the
            replaced by the following:                                       Coverage Extension is $10,000,
                                                                             but not more than $1,000 for any
            k.   Outdoor Property                                            one tree, shrub or plant.
                 We will pay for direct "loss"                     8.   SECTION A, COVERAGE 5. Cover-
                 caused by a Covered Cause of                           age Extensions l. Personal Effects
                 Loss to the following types of                         is deleted in its entirety and replaced
                 your Covered Property:                                 by the following:
                 (1) Radio antennas, television                         l.   Personal Effects
                     antennas or satellite dishes
                                                                             If business personal property is
                                                                             Covered Property in this Cover-
                                  Includes copyrighted material of Insurance
FCP 201 05 16                      Services Office, Inc. with its permission.                     Page 4 of 6
                 age Part, we will pay for direct                              (2) Carports;
                 "loss" caused by a Covered
                 Cause of Loss to personal ef-                                 (3) Garages;
                 fects owned by:                                               (4) Pump houses; or
                 (1) You, your officers, or your                               (5) Above ground tanks;
                       partners, or if you are a lim-
                       ited liability company, your                            which have not been specifically
                       members or your managers;                               described in the Declarations.
                       or
                                                                          d.   The most we will pay for "loss" in
                 (2) Your employees (including                                 any one occurrence under this
                       temporary and leased em-                                Coverage Extension for any
                       ployees), including tools                               combination of "loss" to Building
                       owned by your employees                                 and Business Personal Property
                       that are used in your busi-                             is $50,000, regardless of the
                       ness.                                                   number of "premises" involved.
                 This Coverage Extension does                        2.   Fine Arts
                 not apply to "money" or "securi-
                 ties".                                                   For the purposes of this endorsement
                                                                          only:
                 The most we will pay for "loss" in
                 any one occurrence under this                            a.   You may extend the insurance
                 Coverage Extension is $25,000.                                provided by this Coverage Part
                                                                               to apply to paintings, etchings,
       9.   The Limit of Insurance referenced in                               pictures, tapestries, art glass
            n, Signs is amended to $10,000.                                    windows, and other bona fide
                                                                               works of art of rarity, historical
       10. The Limit of Insurance referenced in                                value, or artistic merit. The direct
           r. Valuable Papers and Records                                      "loss" must be caused by or re-
           Subparagraph (4)(b) Away From                                       sult from a Covered Cause of
           Your Premises is amended to                                         Loss.
            $25,000.
                                                                          b. SECTION D. LOSS CONDI-
   B. The following Coverage Extensions are                                  TIONS, 7. Valuation is deleted
       added:                                                                  in its entirety and replaced by the
       1.   Appurtenant Buildings and Struc-                                   following:
            tures                                                              We will determine the value of
            a.   When a Limit of Insurance is                                  Covered Property in the event of
                 shown in the Declarations for                                 "loss" at the market value at the
                 Building at the "premises", you                               time of direct "loss".
                 may extend that insurance to                             c.   The most we will pay for "loss" in
                 apply to direct "loss" of incidental                          any one occurrence under this
                 appurtenant buildings or struc-                               Coverage Extension is $25,000.
                 tures, within 1,000 feet of that
                 "premises", caused by or result-                    3.   Ordinance or Law - Increased Pe-
                 ing from a Covered Cause of                              riod of Restoration
                 Loss.
                                                                          a.   When:
            b.   When a Limit of Insurance is
                 shown in the Declarations for                                 (1) A Covered Cause of Loss
                 Business Personal Property at                                      occurs to property at the
                 the "premises", you may extend                                     "premises"; and
                 that insurance to apply to direct                             (2) The Declarations show that
                 "loss" of Business Personal                                       you have coverage for Busi-
                 Property within incidental appur-                                 ness Income and Extra Ex-
                 tenant buildings or structures                                    pense;
                 within 1,000 feet of that "premis-
                 es", caused by or resulting from                              you may extend that insurance to
                 a Covered Cause of Loss.                                      apply to the amount of actual
                                                                               loss of "Business Income" you
            c.   Incidental appurtenant buildings                              sustain and reasonable Extra
                 or structures include:                                        Expense you incur during the in-
                 (1) Storage buildings;                                        creased period of "suspension"

                                    Includes copyrighted material of Insurance
FCP 201 05 16                        Services Office, Inc. with its permission.                      Page 5 of 6
                of "operations" caused by or re-                           (1) Loss due to an ordinance or
                sulting from the enforcement of                                law that:
                any ordinance or law that:
                                                                               (a) You were required to
                (1) Regulates the construction,                                    comply with before the
                    repair or replacement of any                                   "loss", even if the prop-
                    property;                                                      erty was undamaged;
                                                                                   and
                (2) Requires the tearing down
                    or replacement of any parts                                (b) You failed to comply
                    of property not damaged by                                     with; or
                    a Covered Cause of Loss;
                    and                                                    (2) Costs associated with the
                                                                               enforcement of any ordi-
                (3) Is in force at the time of                                 nance or law that requires
                    "loss".                                                    any insured or others to test
                                                                               for, monitor, clean up, re-
           b.   This Coverage Extension applies                                move, contain, treat, detoxi-
                only to the period that would be                               fy or neutralize, or in any
                required, with reasonable speed,                               way respond to, or assess
                to reconstruct, repair or replace                              the effects of "pollutants".
                the property to comply with the
                minimum requirements of the                           d.   The most we will pay for "loss"
                ordinance or law.                                          under this Coverage Extension
                                                                           in any one occurrence is
           c.   This Coverage Extension does                               $25,000 at each "premises".
                not apply to:




                                 Includes copyrighted material of Insurance
FCP 201 05 16                     Services Office, Inc. with its permission.                  Page 6 of 6
     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                                 CinciPak™
     BUSINESS INCOME (AND EXTRA EXPENSE) AMENDATORY
                       ENDORSEMENT
This endorsement modifies insurance provided under the following:


     BUSINESS INCOME (AND EXTRA EXPENSE) COVERAGE PART

I.   For the purpose of this endorsement only,                               (e) Transmission, distribution, ser-
     SECTION A. COVERAGE, Paragraph 5. Ad-                                        vice or similar lines, excluding all
     ditional Coverages of the Business Income                                    such overhead lines of any type.
     (and Extra Expense) Coverage Part is amend-
     ed to include the following:                                        (3) Water Supply Property, meaning the
                                                                             following types of property supplying
     f.   Utility Services                                                   water to the "premises":
          We will pay for loss of "Business Income",                         (a) Pumping Stations; and
          "Rental Value" and Extra Expense you in-
          cur caused by or resulting from the partial                        (b) Water mains.
          or complete failure of utility services to the                 (4) Wastewater removal Property, mean-
          "premises". The partial or complete failure                        ing a utility system for removing
          of the utility services listed below must be                       wastewater and sewage from the
          caused by direct "loss" caused by a Cov-                           "premises", other than a system de-
          ered Cause of Loss to the following prop-                          signed primarily for draining storm
          erty:                                                              water. The utility property includes
          (1) Communications Supply Property,                                sewer mains, pumping stations and
              meaning property supplying commu-                              similar equipment for moving the ef-
              nication services, including service                           fluent to a holding, treatment or dis-
              relating to Internet access or access                          posal facility, and includes such facili-
              to any electronic, cellular, or satellite                      ties. Coverage under this Additional
              network; telephone, radio, micro-                              Coverage does not apply to interrup-
              wave, or television services to the                            tion in service caused by or resulting
              "premises", such as:                                           from a discharge of water or sewage
                                                                             due to heavy rainfall or flooding.
              (a) Communication         transmission,
                   distribution, service, or similar                     This Additional Coverage does not apply
                   lines, including fiber optic lines,                   to "loss" to "electronic data" including de-
                   excluding all such overhead lines                     struction or corruption of "electronic data".
                   of any type;                               II.   SECTION F. DEFINITIONS of the Business
              (b) Coaxial cables; and                               Income (and Extra Expense) Coverage Part is
                                                                    amended as follows:
              (c) Microwave radio relays, exclud-
                   ing satellites.                                  With respect to a "suspension" of "operations"
                                                                    insured under SECTION A. COVERAGE, Par-
          (2) Power Supply Property, meaning the                    agraph 5. Additional Coverages, f. Utility
              following types of property supplying                 Services of the Business Income (and Extra
              electricity, steam or natural gas to the              Expense) Coverage Part, Paragraph a. of Def-
              "premises":                                           inition 9. "Period of restoration" is deleted and
                                                                    replaced by the following:
              (a) Utility generating plants;
                                                                    a.   Begins 24 hours after the time of direct
              (b) Switching stations;                                    "loss".
              (c) Substations;
              (d) Transformers; and


                                       Includes copyrighted material of Insurance
FCP 202 05 16                           Services Office, Inc. with its permission.
    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                              CinciPak™
              ACTUAL LOSS SUSTAINED BUSINESS INCOME
                          ENDORSEMENT
This endorsement modifies insurance provided under the following:


    COMMERCIAL PROPERTY COVERAGE PART

A. This endorsement applies to the following                  (iii) 12 consecutive months after the date of
    Coverage Forms:                                                 direct "loss".
    BUSINESS INCOME (AND EXTRA EX-                       D. For the purposes of this endorsement only,
    PENSE) COVERAGE FORM                                    SECTION F. DEFINITIONS, 9., b. is deleted in
                                                              its entirety and replaced by the following:
    BUSINESS INCOME (WITHOUT EXTRA EX-
    PENSE) COVERAGE FORM                                      b.    Ends on the earlier of:
B. For the purposes of this endorsement only,                       (1) The date when the property at the
   SECTION A. COVERAGE, 5. Additional                                    "premises" should be repaired, rebuilt
   Coverages, c. Extended Business Income,                               or replaced with reasonable speed
   (1), (b), (ii) is deleted in its entirety and re-                     and similar quality;
   placed by the following, and (iii) is added:
                                                                    (2) The date when business is resumed
    (ii) 90 consecutive days after the date deter-                       at a new permanent location; or
         mined in c.(1)(a) above; or
                                                                    (3) 12 consecutive months after the date
    (iii) 12 consecutive months after the date of                        of direct "loss".
         direct "loss".
                                                         E. When 12 months ALS (an acronym of Actual
C. For the purposes of this endorsement only,                 Loss Sustained) is shown in the Declarations
   SECTION A. COVERAGE, 5. Additional                         as the Limit of Insurance for Business Income
   Coverages, c. Extended Business Income,                    for a specific item, SECTION B. LIMITS OF
   (2), (b), (ii) is deleted in its entirety and re-          INSURANCE is deleted in its entirety for that
   placed by the following, and (iii) is added:               item.
    (ii) 90 consecutive days after the date deter-
         mined in c.(2)(a) above; or




FCP 203 05 16
    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                      CinciPlus®
                      CinciPak™
     PROPERTY POWER XC+® (EXPANDED COVERAGE PLUS)
                    ENDORSEMENT
This endorsement modifies insurance provided under the following:


    COMMERCIAL PROPERTY COVERAGE PART

The insurance coverage and Limits of Insurance provided by this endorsement are excess of, and ap-
ply in addition to, any similar or identical coverage provided by any other endorsement attached to the
above referenced Coverage Parts, or by any other Coverage Part forming a part of the policy of insur-
ance of which the above referenced Coverage Parts form a component.

                                                   SCHEDULE

                          Blanket Coverage Limit           The Limit of Insurance stated in
                                                           the Summary of Coverage Lim-
                                                           its
                          Applicable only to those coverages subject to the Blanket Cover-
                          age Limit, as indicated in this endorsement


A. Accounts Receivable                                         B. Business Income and Extra Expense
    For purposes of this endorsement only,                          Interruption of Computer Operations
    1.   In   BUILDING AND PERSONAL                                 For the purposes of this endorsement only, in
         PROPERTY       COVERAGE       FORM,                        BUILDING AND PERSONAL PROPERTY
         SECTION A. COVERAGE, 5. Coverage                           COVERAGE      FORM,   SECTION     A.
         Extensions, a. Accounts Receivable,                        COVERAGE, 5. Coverage Extensions, b.
         the second paragraph in (3)(b) Away                        Business Income and Extra Expense, is
         From Your Premises is deleted in its                       modified as follows:
         entirety and replaced by the following:
                                                                    1.   For Interruption of Computer Opera-
         This limit of insurance for Away From                           tions only, all references to $2,500 in b.
         Your Premises coverage is not included                          Business Income and Extra Expense,
         within the Blanket Coverage Limit and is                        Paragraph (7)(c) are deleted and re-
         separate and in addition to the Blanket                         placed with the Limit of Insurance indi-
                                                                                                                  ®
         Coverage Limit.                                                 cated in the PROPERTY POWER XC+
                                                                         (EXPANDED   COVERAGE        PLUS)
    2.   In   BUILDING AND PERSONAL                                      ENDORSEMENT    SUMMARY          OF
         PROPERTY       COVERAGE     FORM,                               COVERAGE LIMITS for Interruption of
         SECTION A. COVERAGE, 5. Coverage                                Computer Operations.
         Extensions, a. Accounts Receivable,
         the last paragraph is deleted in its entire-               2.   BUILDING     AND      PERSONAL
         ty and replaced by the following:                               PROPERTY     COVERAGE      FORM,
                                                                         SECTION G. DEFINITIONS is amended
         The most we will pay in any one occur-                          as follows:
         rence for "loss" under this Coverage Ex-
         tension is the Blanket Coverage Limit as                        With respect to a "suspension" of "op-
         provided in Section T. of this endorse-                         erations" caused only by an interruption
         ment.                                                           in computer operations due to the de-
                                                                         struction or corruption of "electronic da-
                                                                         ta" as described in SECTION A.
                                                                         COVERAGE, 5. Coverage Extensions,
                                        Includes copyrighted material of ISO
FCP 215 05 16                            Properties, Inc., with its permission.                     Page 1 of 11
       d. Electronic Data, Paragraph a. of Def-                        (c) Your property that you have rented
       inition 12. "Period of restoration" is de-                           or leased to someone else and that
       leted and replaced by the following:                                 property is not at your "premises".
       a.   Begins 24 hours after the time of di-                      (d) Any machine or apparatus that is
            rect "loss".                                                    used for research, medical, diag-
                                                                            nostic, surgical, dental or pathologi-
C. Electronic Data Processing Property                                      cal purposes.
   For the purposes of this endorsement only,                          (e) "Production equipment".
   BUILDING AND PERSONAL PROPERTY
   COVERAGE    FORM,    SECTION     A.                            (3) Exclusions
   COVERAGE, 5. Coverage Extensions is
   amended by adding the following:                                    (a) BUILDING     AND      PERSONAL
                                                                           PROPERTY COVERAGE FORM,
   Electronic Data Processing Property                                     SECTION A. COVERAGE, 3. Cov-
                                                                           ered Causes of Loss, b. Exclu-
   (1) Covered Property                                                    sions does not apply except as fol-
       You may extend the Coverage provided                                 lows:
       by this Coverage Part to apply to direct                             1)   Exclusion (1)(c) Governmental
       "loss" to Covered Property consisting of                                  Action;
       your:
                                                                            2)   Exclusion (1)(d) Nuclear Haz-
       (a) Data processing equipment;                                            ard;
       (b) Air conditioning and other electrical                            3)   Exclusion (1)(f) War and Mili-
            equipment, used exclusively with                                     tary Action;
            your data processing equipment;
                                                                            4)   Exclusion (2)(b) Delay or Loss
       (c) Programming documentation and                                         of Use;
            instruction manuals;
                                                                            5)   Exclusion (2)(d) Miscellane-
       (d) "Electronic data", but only as excess                                 ous Causes of Loss, 1) Wear
            over what is valid and collectible un-                               and tear;
            der SECTION A. COVERAGE, 5.
            Coverage Extensions, d. Elec-                                   6)   Exclusion (2)(h) Dishonest or
            tronic Data;                                                         Criminal Acts;
       (e) Media, meaning materials on which                                7)   Exclusion (3)(b) Acts or Deci-
            "electronic data" is recorded, such                                  sions; and
            as magnetic tapes, disc packs, pa-
            per tapes and cards, floppy discs                               8)   Exclusion (3)(c) Defects, Er-
            and compact discs used in pro-                                       rors and Omissions.
            cessing units; and                                         (b) In addition to Paragraph (3)(a) of
       (f) Property of others in your care, cus-                            this Coverage Extension, we will
           tody or control that is similar to                               not pay for the following:
           property described in (1)(a) through                             Hidden or latent defect, gradual de-
           (e) above.                                                       terioration, and depreciation. How-
   (2) Property Not Covered                                                 ever, if direct "loss" by a Covered
                                                                            Cause of Loss results, we will pay
       This Coverage Extension does not apply                               for that resulting "loss".
       to:
                                                                  (4) Duplicate and Backup "Electronic Da-
       (a) Accounts, records, documents and                           ta"
            other "valuable papers and records"
            unless they are programming doc-                           We will pay for direct "loss" resulting
            umentation or instruction manuals.                         from any of the Covered Causes of Loss
                                                                       to duplicate and backup "electronic data"
            However, we will cover these items                         that you store at a premises not de-
            once they are converted to "elec-                          scribed in the Declarations providing
            tronic data" form.                                         such "electronic data" is not covered by
                                                                       another policy.
       (b) "Electronic data" or media that can-
            not be replaced with similar property
            of equal quality.



                                      Includes copyrighted material of ISO
FCP 215 05 16                          Properties, Inc., with its permission.                      Page 2 of 11
   (5) Newly Purchased Electronic Data                            (7) Worldwide Laptop Coverage
       Processing Property
                                                                       (a) You may extend the insurance pro-
       BUILDING      AND      PERSONAL                                      vided by this Coverage Extension to
       PROPERTY      COVERAGE     FORM,                                     apply to your laptops, notebooks
       SECTION A. COVERAGE, 5. Coverage                                     and similar highly portable personal
       Extensions, i. Newly Purchased,                                      computers, including their periph-
       Leased, or Constructed Property is                                   erals and accessories, while such
       deleted in its entirety and replaced by the                          specific Covered Property is:
       following:
                                                                            1)   In your or your employee's
       (a) We will pay for direct "loss" from a                                  care, custody and control;
           Covered Cause of Loss to newly
           purchased or leased Covered Prop-                                2)   Not located at a premises you
           erty described in Paragraph (1) of                                    own or lease; and
           this Coverage Extension while at:                                3)   Not located in the coverage ter-
           1)   Locations that are newly pur-                                    ritory stated in Paragraph 2. of
                chased or leased;                                                the Commercial Property Con-
                                                                                 dition H. Policy Period, Cov-
           2)   Your newly constructed build-                                    erage Territory, provided that
                ings or additions at a "premis-                                  location is not under a United
                es"; or                                                          States Department of State
                                                                                 trade or travel restriction at the
           3)   Any "premises" described in the                                  time of "loss".
                Declarations.
                                                                       (b) This Worldwide Laptop Coverage
       (b) Insurance under this Coverage Ex-                                does not apply per location.
           tension for such newly acquired
           property, or Covered Property al-                      (8) Electronic Data Processing Property
           ready insured by this Coverage Ex-                         Deductible
           tension which is moved to a newly
           acquired location, will end when any                        SECTION C. DEDUCTIBLE is amended
           of the following first occurs:                              to include the following:

           1)   This Coverage Part expires;                            We will not pay for direct "loss" in any
                                                                       one occurrence unless the amount of
           2)   90 days pass from the date you                         "loss" exceeds the Deductible shown in
                acquire your new property or                           the Declarations. We will then pay the
                move Covered Property to a                             amount of "loss" in excess of the De-
                newly acquired location; or                            ductible, up to the Limit of Insurance
                                                                       provided by this Coverage Extension.
           3)   You report values to us.
                                                                       However, direct "loss" caused by or re-
   (6) In Transit or Away From Premises                                sulting from any of the following Causes
       SECTION A. COVERAGE, 5. Coverage                                of Loss will have the greater of the De-
       Extensions, e. Exhibitions, Fairs or                            ductible shown in the Declarations or
       Trade Shows, m. Property Off Prem-                              $1,000 as the applicable deductible:
       ises and p. Transportation are deleted                          (a) "Loss" caused by faulty construction,
       in their entirety and replaced by the fol-                          error in design or processing, or ser-
       lowing:                                                             vice or work upon the data pro-
       (a) You may extend the insurance pro-                               cessing system;
           vided by this Coverage Extension to                         (b) "Loss"   resulting in mechanical
           apply to Covered Property as de-                                breakdown, short circuiting, blowout,
           scribed in Paragraph (1):                                       or other electrical damage, unless
           1)   While in or on a vehicle, includ-                          caused by lightning; or
                ing loading and unloading; or                          (c) "Loss" caused by or resulting from
           2)   While at a location that is not                            interruption of power supply, power
                your "premises".                                           surge, blackout or brownout.

       (b) This In Transit or Away From                           (9) Electronic Data Processing Property
           Premises coverage does not apply                           Valuation
           per location.                                               SECTION D. LOSS CONDITIONS, 7.
                                                                       Valuation is deleted in its entirety and
                                                                       replaced by the following:
                                      Includes copyrighted material of ISO
FCP 215 05 16                          Properties, Inc., with its permission.                       Page 3 of 11
       7.   Valuation of Electronic Data Pro-                                        determined at the time of
            cessing Property                                                         "loss".
            In the event of direct "loss", we will                          b.   For "electronic data"
            determine the value of Covered
            Property as described in Paragraph                                   We will not pay more than the
            (1) of this Coverage Extension as                                    actual reproduction costs of
            follows:                                                             your "electronic data". If you do
                                                                                 not replace or reproduce your
            a.   Except for "electronic data"                                    "electronic data" following the
                                                                                 "loss", the most we will pay is
                 (1) If you repair or replace this                               the cost of blank media as de-
                     Electronic Data Processing                                  scribed in Paragraph C.(1)(e) of
                     property within a reasona-                                  this Coverage Extension.
                     ble time following the
                     "loss", the property will be                 (10) Electronic Data Processing Property
                     valued at the full cost of                        Additional Definition
                     repair or replacement.
                                                                       The following definition is added to
                     However, the most we will                         SECTION G. DEFINITIONS of the
                     pay is the least of the fol-                      BUILDING    AND    PERSONAL
                     lowing:                                           PROPERTY COVERAGE FORM:
                     (a) The actual cost to re-                        "Production equipment" means any
                          pair or restore the                          machinery and related components, in-
                          property with materials                      cluding any integrated or dedicated
                          of like kind and quality;                    computer system, which is used, or can
                                                                       be used, to produce or process other
                     (b) The cost of replacing                         tangible property.
                          that    property with
                          property of similar                     The most we will pay for "loss" in any one oc-
                          quality and function;                   currence under this Electronic Data Pro-
                                                                  cessing Property Coverage Extension is the
                     (c) The amount you actu-                     Blanket Coverage Limit as provided in Sec-
                          ally and necessarily                    tion T. of this endorsement.
                          spend to repair or re-
                          place the property; or             D. Ordinance or Law
                     (d) The Limit of Insurance                   For the purposes of this endorsement only,
                          applicable to the prop-                 BUILDING AND PERSONAL PROPERTY
                          erty.                                   COVERAGE       FORM,       SECTION       A.
                                                                  COVERAGE, 4. Additional Coverages, g.
                 (2) If you do not repair or re-                  Ordinance or Law, the last paragraph is de-
                     place this property within a                 leted in its entirety and replaced by the follow-
                     reasonable time following a                  ing:
                     "loss", the most we will pay
                     will be the least of the fol-                The most we will pay for "loss" in any one oc-
                     lowing:                                      currence under Paragraph (a) Loss of Use
                                                                  of Undamaged Parts of the Building is the
                     (a) "Actual cash value" of                   Limit   of  Insurance       shown     in   the
                          the property;                           COMMERCIAL PROPERTY COVERAGE
                     (b) "Actual cash value" of                   PART DECLARATIONS as applicable to the
                          repairs with material of                covered building or structure incurring "loss".
                          like kind and quality;                  This Coverage is included within, and not in
                          or                                      addition to, that applicable Limit of Insurance.

                     (c) The Limit of Insurance                   The most we will pay for all "loss" in any one
                          applicable to the prop-                 occurrence under Paragraph (b) Demolition
                          erty.                                   Costs and Paragraph (c) Increased Costs
                                                                  of Construction is the Blanket Coverage
                     We reserve the right to re-                  Limit as provided in Section T. of this en-
                     pair or replace the property                 dorsement per building or structure suffering
                     or to pay for the property in                "loss". This is an additional Limit of Insurance
                     money.                                       applicable to the building or structure suffer-
                                                                  ing "loss".
                     In the event of "loss", the
                     value of property will be


                                      Includes copyrighted material of ISO
FCP 215 05 16                          Properties, Inc., with its permission.                      Page 4 of 11
E. Valuable Papers and Records                                                  Paragraph 1), 3) or 4), or material
                                                                                carried or otherwise moved by mud-
     For the purposes of this endorsement only:                                 slide or mudflow as described in
     1. In   BUILDING     AND     PERSONAL                                      Paragraph (g)2).
        PROPERTY       COVERAGE        FORM,                          3. BUILDING       AND      PERSONAL
        SECTION A. COVERAGE, 5. Coverage                                 PROPERTY       COVERAGE       FORM,
        Extensions, r. Valuable Papers and                               SECTION A. COVERAGE, 5. Coverage
        Records, the second paragraph in (4)(b)                          Extensions is amended to include the
        Away From Your Premises is deleted in                              following:
          its entirety and replaced by the following:
                                                                           Water Backup Discharged from
          This limit of insurance for Away From                            Sewers, Drains, Septic or Sump
          Your Premises coverage is not included                           Pump Systems
          within the Blanket Coverage Limit and is
          separate and in addition to the Blanket                          We will pay for "loss" caused by or result-
          Coverage Limit.                                                  ing from water or waterborne material that
                                                                           has entered and then backs up through
     2. In   BUILDING       AND     PERSONAL                               and is discharged from a sewer, drain (in-
        PROPERTY        COVERAGE         FORM,                             cluding roof drains and related fixtures),
        SECTION A. COVERAGE, 5. Coverage                                   septic system, sump pump system or re-
        Extensions, r. Valuable Papers and                                 lated equipment.
        Records, the last paragraph is deleted in
          its entirety and replaced by the following:                 4. SECTION C. DEDUCTIBLE is amended
                                                                           by adding the following:
          The most we will pay for "loss" in any one
          occurrence under this Valuable Papers                            Water Backup Deductible
          and Records Coverage Extension is the
          Blanket Coverage Limit as provided in                            We will not pay for "loss" in any one oc-
          Section T. of this endorsement.                                  currence caused by or resulting from wa-
                                                                           ter or waterborne material which backs up
F.   Water Backup Discharged from Sewers,                                  through and is discharged from a sewer,
     Drains, Septic or Sump Pump Systems                                   drain, septic system, sump pump system
                                                                           or related equipment, until the amount of
     For purposes of this endorsement only,                                "loss" exceeds the Deductible shown in
     1.    BUILDING         AND         PERSONAL                           the Declarations, or $1,000, whichever is
           PROPERTY        COVERAGE            FORM,                       greater. We will then pay the amount of
           SECTION A. COVERAGE, 3. Covered                                 "loss" in excess of that deductible, up to
           Causes of Loss, b. Exclusion 1(g) Wa-                           the applicable limit indicated in Paragraph
           ter, Paragraph 3) is deleted in its entirety                    (5) of this Coverage Extension.
           and replaced by the following:                             5.    The most we will pay for "loss", including
           3)   Except as provided in SECTION A.                            any "Business Income", "Rental Value"
                COVERAGE, 5. Coverage Exten-                                and Extra Expense, in any one occur-
                sions, Water Backup Discharged                              rence under this Water Backup Dis-
                from Sewers, Drains, Septic or                              charged from Sewers, Drains, Septic or
                Sump Pump Systems, water that                               Sump Pump Systems Coverage Exten-
                has entered and then backs up                               sion is the Limit of Insurance stated in
                                                                                                                     ®
                through and is discharged from a                            the    PROPERTY        POWER         XC+
                sewer, drain, septic system, sump                           (EXPANDED   COVERAGE       PLUS)
                pump system or related equipment;                           ENDORSEMENT    SUMMARY       OF
                or                                                          COVERAGE LIMITS for Water Backup
                                                                            Discharged from Sewers, Drains, Septic
     2.    BUILDING         AND         PERSONAL                            or Sump Pump Systems.
           PROPERTY        COVERAGE            FORM,
           SECTION A. COVERAGE, 3. Covered                       G. Outdoor Property
           Causes of Loss, b. Exclusion 1(g) Wa-                      For the purposes of this endorsement only, in
           ter, Paragraph 5) is deleted in its entirety               BUILDING AND PERSONAL PROPERTY
           and replaced by the following:                             COVERAGE      FORM,        SECTION       A.
           5)   Except as provided in SECTION A.                      COVERAGE, 5. Coverage Extensions, k.
                COVERAGE, 5. Coverage Exten-                          Outdoor Property, the last paragraph is de-
                sions, Water Backup Discharged                        leted in its entirety and replaced by the follow-
                from Sewers, Drains, Septic or                        ing:
                Sump Pump Systems, waterborne                         The most we will pay for "loss" in any one oc-
                material carried or otherwise moved                   currence under this Outdoor Property Cover-
                by any of the water referred to in
                                          Includes copyrighted material of ISO
FCP 215 05 16                              Properties, Inc., with its permission.                      Page 5 of 11
   age Extension is the Limit of Insurance stated
                                                ®
                                                              I.   Peak Season
   in   the   PROPERTY POWER XC+
   (EXPANDED     COVERAGE        PLUS)                             For the purposes of this endorsement only,
   ENDORSEMENT      SUMMARY         OF                             BUILDING AND PERSONAL PROPERTY
   COVERAGE LIMITS for Outdoor Property,                           COVERAGE    FORM,    SECTION     A.
   but not more than the Limit of Insurance stat-                  COVERAGE, 5. Coverage Extensions is
   ed in the PROPERTY POWER XC+
                                                ®                  amended to include the following:
   (EXPANDED     COVERAGE           PLUS)                          Peak Season
   ENDORSEMENT        SUMMARY           OF
   COVERAGE LIMITS for any one tree, shrub,                        1.   In the event that the limit of insurance
   or plant.                                                            stated in the Declarations for Business
                                                                        Personal Property is insufficient to fully
H. Tenant Move Back Expenses                                            insure a covered "loss" due to a Peak
   For the purposes of this endorsement only,                           Season Demand for your inventory, we
   BUILDING AND PERSONAL PROPERTY                                       will pay up to the Blanket Coverage Limit
   COVERAGE    FORM,    SECTION     A.                                  as provided in Section T. of this en-
   COVERAGE, 5. Coverage Extensions is                                  dorsement to that "loss".
   amended to include the following:                               2.   Peak Season Demand means a tempo-
   Tenant Move Back Expenses                                            rary (90 consecutive days or less) in-
                                                                        crease in your inventory to meet a sea-
   1.   We will reimburse you for expenses you                          sonal demand as verified by:
        pay for Covered Move Back Expenses of
        your tenants who temporarily vacate a                           a.   Your previous inventory records for
        portion of the building at a "premises".                             that historical period of time; and
        The vacancy must have occurred while                            b.   Custom and practice in your indus-
        the portion of the building rented by your                           try.
        tenant could not be occupied due to di-
        rect "loss" to your Covered Property                  J.   Personal Property of Others
        caused by or resulting from a Covered
        Cause of Loss during the "coverage                         For the purposes of this endorsement only,
        term". The move back must be complet-                      BUILDING AND PERSONAL PROPERTY
        ed within 60 calendar days after the por-                  COVERAGE    FORM,    SECTION     A.
        tion of the building rented by your tenant                 COVERAGE, 5. Coverage Extensions is
        has been repaired or rebuilt and is ready                  amended to include the following:
        for occupancy.                                             Personal Property of Others
   2.   Covered Move Back Expenses means                           In the event that the limit of insurance stated
        only documented, reasonable and nec-                       in     the    COMMERCIAL           PROPERTY
        essary costs of:                                           COVERAGE PART DECLARATIONS for
        a.     Packing, insuring and transporting                  Business Personal Property is insufficient to
               business personal property;                         fully insure a covered "loss" to both your
                                                                   Covered Property and property described in
        b.     Re-establishing electric utility and                Paragraph (8) of SECTION A. COVERAGE,
               communication services, less re-                    1. Covered Property, d. Business Personal
               funds from discontinued services;                   Property, we will pay up to the Blanket Cov-
                                                                   erage Limit as provided in Section T. of this
        c.     Assembling and setting up fixtures                  endorsement for such property.
               and equipment; or
                                                              K. Debris Removal
        d.     Unpacking and re-shelving stock
               and supplies.                                       For the purposes of this endorsement only,
                                                                   BUILDING AND PERSONAL PROPERTY
   3.   If your tenants have valid and collectible                 COVERAGE    FORM,    SECTION     A.
        insurance for Covered Move Back Ex-                        COVERAGE, 5. Coverage Extensions is
        penses, we will pay only for the amount                    amended to include the following:
        of Covered Move Back Expenses in ex-
        cess of the amount payable from such                       In the event that the limits of insurance stated
        other insurance.                                           in BUILDING AND PERSONAL PROPERTY
                                                                   COVERAGE      FORM,         SECTION         A.
   4.   The most we will pay for "loss" in any                     COVERAGE, 4. Additional Coverages, b.
        one occurrence under this Tenant Move                      Debris Removal are insufficient to fully cover
        Back Expenses Coverage Extension is                        a "loss" insured thereunder, we will pay up to
        the Blanket Coverage Limit as provided                     the Blanket Coverage Limit in any one occur-
        in Section T. of this endorsement.


                                       Includes copyrighted material of ISO
FCP 215 05 16                           Properties, Inc., with its permission.                      Page 6 of 11
     rence as provided in Section T. of this en-                               (2) Exclusion (1)(c) Governmental
     dorsement.                                                                    Action;
L.   Temperature Change                                                        (3) Exclusion (1)(d) Nuclear Haz-
                                                                                   ard;
     For the purposes of this endorsement only,
     BUILDING AND PERSONAL PROPERTY                                            (4) Exclusion (1)(f) War and Mili-
     COVERAGE    FORM,    SECTION     A.                                           tary Action;
     COVERAGE, 5. Coverage Extensions is
     amended to include the following:                                         (5) Exclusion (1)(g) Water; or

     Temperature Change                                                        (6) Exclusion (1)(h) "Fungi", Wet
                                                                                   Rot, Dry Rot, and Bacteria.
     1.   Coverage
                                                                          b.   In addition to Paragraph 3.a. of this
          a.   BUILDING     AND      PERSONAL                                  Coverage Extension, we will not pay
               PROPERTY COVERAGE FORM,                                         for direct "loss" caused by or result-
               SECTION A. COVERAGE, 1. Cov-                                    ing from any of the following:
               ered Property is deleted in its en-
               tirety and replaced by the following:                           (1) The disconnecting of any heat-
                                                                                   ing, refrigerating, cooling or
               Covered Property means "perisha-                                    humidity control system from
               ble stock" located in a building at a                               the source of its power;
               "premises".
                                                                               (2) The deactivation of electrical
          b.   BUILDING     AND     PERSONAL                                       power caused by the manipula-
               PROPERTY COVERAGE FORM,                                             tion of any switch or other de-
               SECTION A. COVERAGE, 2. Prop-                                       vice (on "premises") used to
               erty Not Covered is deleted in its                                  control the flow of electrical
               entirety and replaced by the follow-                                power or current;
               ing:
                                                                               (3) The inability of an Electrical
               Covered Property does not include:                                  Utility Company or other power
                                                                                   source to provide sufficient
               "Perishable Stock" Not in Buildings                                 power due to:
               "Perishable stock" located on build-                                (a) Lack of fuel, or
               ings, in or on vehicles, or otherwise
               in the open.                                                        (b) Governmental order;
     2.   Covered Causes of Loss                                               (4) The inability of a power source
                                                                                   at the "premises" to provide
          BUILDING       AND         PERSONAL                                      sufficient power due to the lack
          PROPERTY       COVERAGE         FORM,                                    of generating capacity to meet
          SECTION A. COVERAGE, 3. Covered                                          demand; or
          Causes of Loss, a. Covered Causes of
          Loss is deleted in its entirety and re-                              (5) Breaking of any glass that is a
          placed by the following:                                                 permanent part of any heating,
                                                                                   refrigeration, cooling or humidi-
          a.   Covered Causes of Loss                                              ty control unit.
               Covered Causes of Loss means di-                      4.   Limits of Insurance
               rect "loss" from "temperature
               change" to Covered Property unless                         BUILDING      AND       PERSONAL
               "loss" is excluded or limited in this                      PROPERTY      COVERAGE     FORM,
               Coverage Part.                                             SECTION B. LIMITS OF INSURANCE is
                                                                          deleted in its entirety and replaced by the
     3.   Excluded Causes of Loss                                         following:
          a.   BUILDING     AND       PERSONAL                            SECTION B. LIMITS OF INSURANCE
               PROPERTY COVERAGE FORM
               SECTION A. COVERAGE, 3. Cov-                               a.   The most we will pay for all "loss" in
               ered Causes of Loss, b. Exclu-                                  any one occurrence, including any
               sions does not apply to this Cover-                             applicable   "Business      Income",
               age Extension, except as follows:                               "Rental Value" and Extra Expense
                                                                               loss, under this Temperature
               (1) Exclusion (1)(b) Earth Move-                                Change Coverage Extension is the
                   ment;                                                       Limit of Insurance stated in the
                                                                                                                   ®
                                                                               PROPERTY          POWER          XC+

                                         Includes copyrighted material of ISO
FCP 215 05 16                             Properties, Inc., with its permission.                      Page 7 of 11
             (EXPANDED COVERAGE PLUS)                                             any fuse,      fuses,   or   circuit
             ENDORSEMENT SUMMARY OF                                               breakers.
             COVERAGE LIMITS for Tempera-
             ture Change.                                                     (3) Contamination by refrigerant.

        b.   The Limit of Insurance for Tempera-                              (4) The freezing of "perishable
             ture Change is not an additional                                     stock" resulting from the faulty
             amount of insurance and will not in-                                 operation of any stationary
             crease the Limit of Insurance shown                                  heating plant, when such "per-
             in the COMMERCIAL PROPERTY                                           ishable stock" is contained with-
             COVERAGE                PART                                         in a building at the "premises".
             DECLARATIONS for Business Per-                    M. Nonowned Building Damage
             sonal Property or "stock".
                                                                    For the purposes of this endorsement only,
   5.   Duties in the Event of Loss                                 BUILDING AND PERSONAL PROPERTY
        BUILDING         AND         PERSONAL                       COVERAGE     FORM,    SECTION       A.
        PROPERTY        COVERAGE          FORM,                     COVERAGE, 5. Coverage Extensions, j.
        SECTION D. LOSS CONDITIONS, 3.                              Nonowned Building Damage is deleted in
        Duties in the Event of Loss or Dam-                         its entirety and replaced by the following:
        age, a.(2) is deleted in its entirety and                   If you are a tenant, you may extend the in-
        replaced by the following:                                  surance provided by this Coverage Part for
        (2) All claims under this "Temperature                      Business Personal Property to direct "loss"
             Change"      Coverage       Extension                  that occurs to the building at a "premises"
             should be reported immediately up-                     you occupy but do not own.
             on occurrence. Include a description                   This Coverage Extension applies only if your
             of the damaged "stock". All dam-                       lease makes you legally responsible for that
             aged "stock" must be available for                     part of the building sustaining "loss".
             inspection and verification.
                                                                    This Coverage Extension does not apply to:
   6.   Coinsurance
                                                                    (1) Glass, including lettering and ornamen-
        BUILDING      AND       PERSONAL                                 tation, and also necessary:
        PROPERTY     COVERAGE       FORM,
        SECTION       E.      ADDITIONAL                                 (a) Repair or replacement of encasing
        CONDITIONS, 1. Coinsurance does not                                   frames or alarm tapes; and
        apply to the coverage provided by this
        endorsement.                                                     (b) Expenses incurred to board up
                                                                              openings or remove or replace ob-
   7.   Definitions                                                           struction.
        BUILDING     AND      PERSONAL                              (2) Building materials and equipment re-
        PROPERTY     COVERAGE      FORM,                                 moved from the "premises".
        SECTION G. DEFINITIONS is amended
        to include the following definitions:                       The most we will pay for "loss" in any one oc-
                                                                    currence under this Nonowned Building
        a.   "Perishable stock" means personal                      Damage Coverage Extension is:
             property:
                                                                    (1) The actual "loss" sustained up to the ap-
             (1) Preserved and maintained un-                            plicable Limit of Insurance for Business
                 der controlled conditions; and                          Personal Property for direct "loss"
                                                                         caused by theft, burglary or robbery, or
             (2) Susceptible to "loss" if the con-                       the attempt of the foregoing; or
                 trolled conditions change.
                                                                    (2) The applicable Limit of Insurance for
        b.   "Temperature change" means:                                 Business Personal Property or the Limit
             (1) The fluctuation or total interrup-                      of Insurance stated in the PROPERTY
                                                                                             ®
                 tion of electrical power, either                        POWER     XC+     (EXPANDED
                 on or off "premises", resulting                         COVERAGE PLUS) ENDORSEMENT
                 from conditions beyond your                             SUMMARY OF COVERAGE LIMITS for
                 control.                                                Nonowned Building Damage, whichever
                                                                         is less, for "loss" caused by any other
             (2) Mechanical breakdown of any                             Covered Cause of Loss, not referenced
                 refrigerating or cooling appa-                          in Paragraph M.(1) above.
                 ratus or equipment (on "prem-
                 ises") including the blowing of


                                        Includes copyrighted material of ISO
FCP 215 05 16                            Properties, Inc., with its permission.                        Page 8 of 11
N. Inflation Guard                                                      resulting from a Covered Cause of Loss
                                                                        during the "coverage term".
   For the purposes of this endorsement only,
   the      COMMERCIAL            PROPERTY                         2.   Covered Leasehold Interest:
   COVERAGE PART DECLARATIONS is
   amended to show the percentage (%) shown                             a.   Means the difference between the:
                                            ®
   in   the   PROPERTY POWER XC+                                             (1) Rent you were collecting at the
   (EXPANDED     COVERAGE          PLUS)                                         "premises" prior to the direct
   ENDORSEMENT      SUMMARY           OF                                         "loss"; and
   COVERAGE LIMITS for Inflation Guard in
   the OPTIONAL COVERAGES - Inflation                                        (2) "Rental Value" of the "premis-
   Guard column for each scheduled Building                                      es" after the direct "loss" has
   property. If an Inflation Guard percentage is                                 been repaired or rebuilt; and
   already indicated on the COMMERCIAL
   PROPERTY      COVERAGE            PART                               b.   Does not mean refunds or rebates
   DECLARATIONS for that Building property,                                  of:
   this percentage is excess of that Inflation                               (1) Prepaid rent;
   Guard percentage for that Building property.
                                                                             (2) Security or other deposits made
O. Brands and Labels                                                             by your tenants; or
   For the purposes of this endorsement only,                                (3) Insurance, taxes or other pay-
   BUILDING AND PERSONAL PROPERTY                                                ments made on your behalf by
   COVERAGE    FORM,    SECTION     A.                                           tenants.
   COVERAGE, 5. Coverage Extensions is
   amended to include the following:                               3.   The most we will pay for "loss" in any
                                                                        one occurrence under this Lessor's
   Brands and Labels                                                    Leasehold Interest Additional Coverage
   If branded or labeled merchandise that is                            is the least of:
   Covered Property is damaged by a Covered                             a.   Your Covered Leasehold Interest for
   Cause of Loss, we may take all or any part of                             the 12 months immediately following
   the property at an agreed or appraised value.                             the "period of restoration" plus the
   If so, you may:                                                           90 days of Extended Business In-
   1.   Stamp 'salvage' on the merchandise or                                come but ending with the normal
        its containers, if the stamp will not physi-                         expiration date of each cancelled
        cally damage the merchandise; or                                     lease; or

   2.   Remove the brands or labels, if doing so                        b.   The Limit of Insurance stated in the
                                                                                                                 ®
        will not physically damage the merchan-                              PROPERTY   POWER      XC+
        dise. You must relabel the merchandise                               (EXPANDED COVERAGE PLUS)
        or its containers to comply with the law.                            ENDORSEMENT SUMMARY OF
                                                                             COVERAGE LIMITS for Lessor's
   The most we will pay for "loss" in any one oc-                            Leasehold Interest for all Covered
   currence under this Brands and Labels Cov-                                Leasehold Interest of all your ten-
   erage Extension is the Limit of Insurance                                 ants cancelling their leases arising
                                                ®
   stated in the PROPERTY POWER XC+                                          out of an occurrence at a "premis-
   (EXPANDED     COVERAGE          PLUS)                                     es".
   ENDORSEMENT        SUMMARY          OF
   COVERAGE LIMITS for Brands and Labels.                     Q. Unauthorized Business Card Use

P. Lessor's Leasehold Interest                                     1.   For the purposes of this endorsement
                                                                        only, BUILDING AND PERSONAL
   For the purposes of this endorsement only,                           PROPERTY       COVERAGE        FORM,
   BUILDING AND PERSONAL PROPERTY                                       SECTION A. COVERAGE, 4. Addition-
   COVERAGE    FORM,     SECTION     A.                                 al Coverages is amended to include the
   COVERAGE, 4. Additional Coverages is                                 following:
   amended to include the following:
                                                                        Unauthorized Business Card Use
   Lessor's Leasehold Interest
                                                                        We will pay for your loss of "money" or
   1.   We will pay for the cost of Covered                             charges and costs you incur that result
        Leasehold Interest you sustain due to                           directly from the unauthorized use of
        the cancellation of lease contracts by                          credit, debit or charge cards issued in
        your tenants. The cancellation must re-                         your business name, including:
        sult from direct "loss" to your Covered
        Property at the "premises" caused by or                         a.   Fund transfer cards;

                                       Includes copyrighted material of ISO
FCP 215 05 16                           Properties, Inc., with its permission.                      Page 9 of 11
         b.   Charge plates; or                                     COVERAGE, 5. Coverage Extensions, q.
                                                                    Utility Services is deleted in its entirety and
         c.   Telephone cards.                                      replaced by the following:
         The most we will pay in any one occur-                     q.   Utility Services
         rence under this Unauthorized Business
         Card Use Additional Coverage is the                             We will pay for:
         Limit of Insurance stated in the
         PROPERTY      POWER       XC+
                                                  ®                      (1) Direct "loss" to Covered Property at
         (EXPANDED  COVERAGE      PLUS)                                       your "premises" except for direct
         ENDORSEMENT    SUMMARY       OF                                      "loss" resulting from the partial or
         COVERAGE LIMITS for Unauthorized                                     complete failure of Wastewater
         Business Card Use.                                                   Removal Services, and

    2.   BUILDING          AND         PERSONAL                          (2) Loss of "Business Income", "Rental
         PROPERTY         COVERAGE          FORM,                             Value" and Extra Expense as pro-
         SECTION A. COVERAGE, 2. Property                                     vided in SECTION A. COVERAGE,
         Not Covered is amended by deleting                                   5. Coverage Extensions, b. Busi-
         Paragraph a. in its entirety and replacing                           ness Income and Extra Expense
         it with the following:                                          caused by or resulting from the partial or
         Covered Property does not include:                              complete failure of utility services to the
                                                                         "premises".
         a.   Accounts, Deeds, Money or Secu-
              rities                                                     The partial or complete failure of the utili-
                                                                         ty services listed below must be caused
              Except as provided in SECTION A.                           by direct "loss" caused by a Covered
              COVERAGE:                                                  Cause of Loss to the following property:
              (1) 4. Additional Coverages, Un-                           (1) Power Supply Property, meaning
                  authorized Business Card                                    the following types of property sup-
                  Use; and                                                    plying electricity, steam or natural
                                                                              gas to the "premises":
              (2) 5. Coverage Extensions, a.
                  Accounts Receivable,                                        (a) Utility generating plants;
              Accounts, bills, currency, deeds,                               (b) Switching stations;
              food stamps or other evidences of
              debt, "money", notes or "securities";                           (c) Substations;

R. Ordinance or Law - Increased Period of                                     (d) Transformers; and
   Restoration                                                                (e) Transmission, distribution, ser-
    For the purposes of this endorsement only, in                                 vice, or similar lines, including
    BUILDING AND PERSONAL PROPERTY                                                all such lines of any type, ex-
    COVERAGE         FORM,       SECTION          A.                              cept as modified in Paragraph
    COVERAGE, 5. Coverage Extensions, Or-                                         q.(6) below;
    dinance or Law - Increased Period of Res-                            (2) Water Supply Property, meaning the
    toration, Paragraph d. is deleted in its entire-                          following types of property supplying
    ty and replaced by the following:                                         water to the "premises":
    d.   The most we will pay for loss of "Busi-                              (a) Pumping stations; and
         ness Income", "Rental Value" and Extra
         Expense in any one occurrence under                                  (b) Water mains
         this Ordinance or Law - Increased Period
         of Restoration Coverage Extension is the                        (3) Wastewater       Removal Property,
         Limit of Insurance stated in the                                     meaning a utility system for remov-
         PROPERTY      POWER        XC+
                                                  ®                           ing wastewater and sewage from
         (EXPANDED   COVERAGE      PLUS)                                      the "premises", other than a system
         ENDORSEMENT    SUMMARY       OF                                      designed primarily for draining
         COVERAGE LIMITS for Ordinance or                                     storm water. The utility property in-
         Law - Increased Period of Restoration at                             cludes sewer mains, pumping sta-
         each "premises".                                                     tions and similar equipment for mov-
                                                                              ing the effluent to a holding, treat-
S. Utility Services                                                           ment or disposal facility, and in-
                                                                              cludes such facilities. Coverage un-
    For the purposes of this endorsement only,                                der this Coverage Extension does
    BUILDING AND PERSONAL PROPERTY                                            not apply to interruption in service
    COVERAGE    FORM,  SECTION  A.
                                        Includes copyrighted material of ISO
FCP 215 05 16                            Properties, Inc., with its permission.                      Page 10 of 11
           caused by or resulting from a dis-                                   tion to, the Limit of Insurance
           charge of water or sewage due to                                     provided by this Utility Services
           heavy rainfall or flooding.                                          Coverage Extension, and
       (4) Communication Supply Property,                                   (b) For loss of "Business Income",
           meaning property supplying com-                                      "Rental Value" and Extra Ex-
           munication services, including ser-                                  pense,         SECTION          G.
           vice relating to Internet access or                                  DEFINITIONS, 7. "Period of
           access to any electronic, cellular, or                               restoration", Paragraph a. is de-
           satellite network; telephone, radio,                                 leted in its entirety and replaced
           microwave, or television services to                                 by the following:
           the "premises", such as:
                                                                                a.   Begins:
           (a) Communication        transmission,
                distribution, service, or similar                                    (1) 24 hours after the time
                lines including fiber optic lines,                                       of direct "loss" for
                including all such overhead                                              "Business    Income"
                lines of any type, except as                                             and "Rental Value"
                modified in Paragraph q.(6) be-                                          Coverage, or
                low;                                                                 (2) Immediately after the
           (b) Coaxial cables; and                                                       time of direct "loss" for
                                                                                         Extra Expense Cover-
           (c) Microwave radio relays, exclud-                                           age.
                ing satellites.
                                                                       The most we will pay for all direct "loss"
       (5) This Coverage Extension does not                            and loss of "Business Income", "Rental
           apply to direct "loss" to "electronic                       Value" and Extra Expense in any one
           data", including destruction or cor-                        occurrence under this Utility Services
           ruption of "electronic data".                               Coverage Extension is the Limit of In-
                                                                       surance shown in the PROPERTY
       (6) When "loss" from the partial or                             POWER     XC+
                                                                                           ®
                                                                                         (EXPANDED
           complete interruption of utility ser-                       COVERAGE PLUS) ENDORSEMENT
           vices to a "premises" is caused                             SUMMARY OF COVERAGE LIMITS for
           solely by "loss" to overhead lines of                       Utility Services - Direct and Time Ele-
           any type;                                                   ment.
           (a) The most we will pay for direct               T.   Blanket Coverage Limit
                "loss" and loss of "Business In-
                come", "Rental Value" and Ex-                     We will pay up to the Limit of Insurance stat-
                tra Expense in any one occur-                     ed in the Schedule of this endorsement in to-
                rence is the Limit of Insurance                   tal in any one occurrence for the sum of all
                stated in the PROPERTY                            "loss" insured under coverages provided in
                                  ®
                POWER XC+ (EXPANDED                               this endorsement which are subject to the
                COVERAGE        PLUS)                             Blanket Coverage Limit. You may apportion
                ENDORSEMENT SUMMARY                               this Limit among these coverages as you
                OF COVERAGE LIMITS for                            choose.
                Overhead Transmission and
                Distribution Lines. This Limit of
                Insurance is part of, not in addi-




                                      Includes copyrighted material of ISO
FCP 215 05 16                          Properties, Inc., with its permission.                    Page 11 of 11
     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

          MISSOURI - CALCULATION OF ADDITIONAL PREMIUM
This endorsement modifies insurance provided under the following:
     COMMERCIAL PROPERTY COVERAGE PART
     STANDARD PROPERTY POLICY

A.   If changes are made to this policy after the                      we will calculate the premium for that lo-
     beginning of the current policy period, and                       cation(s), including all coverages, options
     such changes require an additional premium,                       and causes of loss at that location(s),
     the additional premium will be pro rated to                       using the rates and rules which are in ef-
     recognize the actual period of coverage.                          fect when the location(s) is added.
B.   Changes to a Covered Location                                2.   If changes are subsequently made to a
                                                                       location(s) described in C.1. above, and
     If changes are made to a location that was                        those changes require additional pre-
     covered at the beginning of the current policy                    mium, we will calculate the additional
     period, and those changes require additional                      premium using the rates and rules which
     premium (e.g., an increase in the limit of in-                    were in effect when the location(s) was
     surance), we will calculate the additional pre-                   added.
     mium using the rates and rules which were in
     effect on the effective date of the current pol-        D.   Any additional premium calculated in accor-
     icy period.                                                  dance with this endorsement will be charged
                                                                  in full, whether or not we applied a policywrit-
C.   Additional Locations                                         ing minimum premium in developing the pre-
     1.   If a location(s) is added to the policy after           mium that was charged at the beginning of
          the beginning of the current policy period,             the current policy period.




CP 01 28 07 00                     Copyright, Insurance Services Office, Inc., 2000
     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

       MISSOURI CHANGES - NUCLEAR HAZARD EXCLUSION
This endorsement modifies insurance provided under the following:
     COMMERCIAL PROPERTY COVERAGE PART
A.   Exclusion (1)(d) Nuclear Hazard in SECTION A. COVERAGE, 3. Covered Causes of Loss, b. Exclu-
     sions of the BUILDING AND PERSONAL PROPERTY COVERAGE FORM is deleted in its entirety and
     replaced by the following:
     (1)(d) Nuclear Hazard
     Nuclear reaction or radiation, or radioactive contamination, however caused. However, if nuclear reac-
     tion or radiation, or radioactive contamination, results in fire, we will pay for the "loss" caused by that fire.
B.   Exclusion 2.d. Nuclear Hazard in SECTION E. EXCLUSIONS of the MORTGAGE INTEREST COVER-
     AGE FORM is deleted in its entirety and replaced by the following:
     2.d. Nuclear Hazard
     Nuclear reaction or radiation, or radioactive contamination, however caused. However, if nuclear reac-
     tion or radiation, or radioactive contamination, results in fire, we will pay for the "loss" caused by that fire.




FA 4028 MO 10 05
                    COMMERCIAL PROPERTY CONDITIONS
This Coverage Part is subject to the following conditions, the Common Policy Conditions and applicable Loss
Conditions and Additional Conditions in Commercial Property Coverage Forms.


A. Concealment, Misrepresentation or Fraud                  F.   No Benefit to Bailee
    This Coverage Part is void in any case of                    No person or organization, other than you,
    fraud by you as it relates to this Coverage Part             having custody of Covered Property will bene-
    at any time. It is also void if you or any other             fit from this insurance.
    insured, at any time, intentionally conceal or
    misrepresent a material fact concerning:                G. Other Insurance

    1.   This Coverage Part;                                     1.   You may have other insurance subject to
                                                                      the same plan, terms, conditions and pro-
    2.   The Covered Property;                                        visions as the insurance under this Cov-
                                                                      erage Part. If you do, we will pay our
    3.   Your interest in the Covered Property; or                    share of the covered "loss". Our share is
    4.   A claim under this Coverage Part.                            the proportion that the applicable Limit of
                                                                      Insurance under this Coverage Part bears
B. Control of Property                                                to the Limits of Insurance of all insurance
                                                                      covering on the same basis.
    Any act or neglect of any person other than
    you beyond your direction or control will not                2.   If there is other insurance covering the
    affect this insurance.                                            same "loss", other than that described in
                                                                      1. above, we will pay only for the amount
    The breach of any condition of this Coverage                      of covered "loss" in excess of the amount
    Part at any one or more locations will not af-                    due from that other insurance, whether
    fect coverage at any location where, at the                       you can collect on it or not. However, we
    time of direct "loss", the breach of condition                    will not reimburse any deductible or
    does not exist.                                                   difference between Actual Cash Value
C. Insurance Under Two or More Coverages                              and Replacement Cost valuations. We
                                                                      will not pay more than the applicable Limit
    If two or more of this policy's coverages apply                   of Insurance.
    to the same "loss", we will not pay more than
    the actual amount of the "loss".                        H. Policy Period, Coverage Territory

D. Legal Action Against Us                                       Under this Coverage Part:

    No one may bring a legal action against us                   1.   We cover "loss" commencing:
    under this Coverage Part unless:                                  a.   During the policy period shown in the
    1.   There has been full compliance with all of                        Declarations; and
         the terms of this Coverage Part; and                         b.   Within the coverage territory.
    2.   The action is brought within 2 years after              2.   The coverage territory:
         the date on which the direct "loss" oc-
         curred.                                                      a.   The United States of America (includ-
                                                                           ing its territories and possessions);
E. Liberalization
                                                                      b.   Puerto Rico; and
    If, within 60 days prior to the beginning of this
    Coverage Part or during the policy period, we                     c.   Canada.
    make any changes to any forms or endorse-
    ments of this Coverage Part for which there is          I.   Transfer of Rights of Recovery Against
    currently no separate premium charge, and                    Others to Us
    that change provides more coverage than this                 If any person or organization to or for whom
    Coverage Part, the change will be considered                 we make payment under this Coverage Part
    as included until the end of the current policy              has rights to recover damages from another,
    period. We will make no additional premium                   those rights are transferred to us to the extent
    charge for this additional coverage during the               of our payment. That person or organization
    interim.                                                     must do everything necessary to secure our
                                                                 rights and must do nothing after direct "loss"
                                                                 to impair them. But you may waive your rights
                                                                 against another party in writing:

                                    Includes copyrighted material of Insurance
FA 450 05 16                         Services Office, Inc., with its permission.                    Page 1 of 2
   1.   Prior to a direct "loss" to your Covered                    b.   A business firm:
        Property or Covered Income.
                                                                         (1) Owned or controlled by you; or
   2.   After a direct "loss" to your Covered
        Property or Covered Income only if, at                           (2) That owns or controls you; or
        time of direct "loss", that party is one of                 c.   Your tenant.
        the following:
                                                                This will not restrict your insurance.
        a.   Someone insured by this insurance;




                                   Includes copyrighted material of Insurance
FA 450 05 16                        Services Office, Inc., with its permission.                     Page 2 of 2
           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                    LOSS PAYABLE PROVISIONS

This endorsement modifies insurance provided under the following:


      COMMERCIAL PROPERTY COVERAGE PART

                                                         SCHEDULE
                                                                                  Applicable Clause
Loc                 Bldg           Loss Payee Name and Address:                   (Enter B, C, D or E):
1                   1                                                                       B
                 Redacted




A. Nothing in this endorsement increases the appli-                          c.    Bills of lading;
      cable Limit of Insurance. We will not pay any
      Loss Payee more than their financial interest in                       d.    Financing statements; or
      the Covered Property, and we will not pay more                         e.    Mortgages, deeds of trust, or security
      than the applicable Limit of Insurance on the                                agreements.
      Covered Property.
                                                                        2.   For Covered Property in which both you and
      For the purposes of this endorsement only, the                         a Loss Payee have an insurable interest:
      following are added to BUILDING AND PER-
      SONAL PROPERTY COVERAGE FORM, SEC-                                     a.    We will pay for covered "loss" to each
      TION D. LOSS CONDITIONS, 4. Loss Pay-                                        Loss Payee in their order of prece-
      ment, as indicated in the Schedule of this en-                               dence, as interests may appear.
      dorsement.
                                                                             b.    The Loss Payee has the right to receive
B. Loss Payable                                                                    loss payment even if the Loss Payee
                                                                                   has started foreclosure or similar action
      For Covered Property in which both you and a                                 on the Covered Property.
      Loss Payee shown in the Schedule of this en-
      dorsement have an insurable interest, we will:                         c.    If we deny your claim because of your
                                                                                   acts or because you have failed to
      1.    Adjust losses with you; and                                            comply with the terms of the Coverage
      2.    Pay any claim for "loss" jointly to you and the                        Part, the Loss Payee will still have the
            Loss Payee, as interests may appear.                                   right to receive loss payment if the Loss
                                                                                   Payee:
C. Lender's Loss Payable
                                                                                   (1) Pays any premium due under this
      1.    The Loss Payee shown in the Schedule of                                     Coverage Part at our request if you
            this endorsement is a creditor, including a                                 have failed to do so;
            mortgageholder or trustee, whose interest in
            Covered Property is established by such                                (2) Submits a signed, sworn proof of
            written instruments as:                                                     loss within 60 days after receiving
                                                                                        notice from us of your failure to do
            a.    Warehouse receipts;                                                   so; and
            b.    A contract for deed;

                                         Includes copyrighted material of Insurance
FA 480 02 16                              Services Office, Inc., with its permission.                     Page 1 of 2
               (3) Has notified us of any change in                 4.   If we elect not to renew this policy, we will
                   ownership, occupancy or substan-                      give written notice to the Loss Payee at least
                   tial change in risk known to the                      10 days before the expiration date of this
                   Loss Payee.                                           policy.
               All of the terms of this Coverage Part          D. Contract of Sale
               will then apply directly to the Loss Pay-
               ee.                                                  1.   The Loss Payee shown in the Schedule of
                                                                         this endorsement is a person or organization
        d.   If we pay the Loss Payee for any "loss"                     you have entered a contract with for the sale
             and deny payment to you because of                          of Covered Property.
             your acts or because you have failed to
             comply with the terms of this Coverage                 2.   For Covered Property in which both you and
             Part:                                                       the Loss Payee have an insurable interest
                                                                         we will:
               (1) The Loss Payee's rights will be
                   transferred to us to the extent of                    a.   Adjust losses with you; and
                   the amount we pay; and                                b.   Pay any claim for "loss" jointly to you
               (2) The Loss Payee's rights to recover                         and the Loss Payee, as interests may
                   the full amount of the Loss Payee's                        appear.
                   claim will not be impaired.                      3.   For Covered Property that is the subject of a
             At our option, we may pay to the Loss                       contract of sale, the word "you" includes the
             Payee the whole principal on the debt                       Loss Payee.
             plus any accrued interest. In this event,         E. Building Owner Loss Payable Clause
             you will pay your remaining debt to us.
                                                                    1.   The Loss Payee shown in the Schedule of
   3.   If we cancel this policy, we will give written                   this endorsement is the owner of the build-
        notice to the Loss Payee at least:                               ing in which you are a tenant.
        a.     10 days before the effective date of                 2.   We will adjust losses to the building with the
               cancellation if we cancel for your non-                   Loss Payee. Any loss payment made to the
               payment of premium; or                                    Loss Payee will satisfy your claims against
        b.     30 days before the effective date of                      us for the owner's property.
               cancellation if we cancel for any other              3.   We will adjust losses to tenants' improve-
               reason.                                                   ments and betterments with you, unless the
                                                                         lease provides otherwise.




                                     Includes copyrighted material of Insurance
FA 480 02 16                          Services Office, Inc., with its permission.                   Page 2 of 2
           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                    LOSS PAYABLE PROVISIONS

This endorsement modifies insurance provided under the following:


      COMMERCIAL PROPERTY COVERAGE PART

                                                        SCHEDULE
                                                                                 Applicable Clause
Loc                Bldg            Loss Payee Name and Address:                  (Enter B, C, D or E):
1                  1                                                                       B
                 Redacted




A. Nothing in this endorsement increases the appli-                         c.    Bills of lading;
      cable Limit of Insurance. We will not pay any
      Loss Payee more than their financial interest in                      d.    Financing statements; or
      the Covered Property, and we will not pay more                        e.    Mortgages, deeds of trust, or security
      than the applicable Limit of Insurance on the                               agreements.
      Covered Property.
                                                                       2.   For Covered Property in which both you and
      For the purposes of this endorsement only, the                        a Loss Payee have an insurable interest:
      following are added to BUILDING AND PER-
      SONAL PROPERTY COVERAGE FORM, SEC-                                    a.    We will pay for covered "loss" to each
      TION D. LOSS CONDITIONS, 4. Loss Pay-                                       Loss Payee in their order of prece-
      ment, as indicated in the Schedule of this en-                              dence, as interests may appear.
      dorsement.
                                                                            b.    The Loss Payee has the right to receive
B. Loss Payable                                                                   loss payment even if the Loss Payee
                                                                                  has started foreclosure or similar action
      For Covered Property in which both you and a                                on the Covered Property.
      Loss Payee shown in the Schedule of this en-
      dorsement have an insurable interest, we will:                        c.    If we deny your claim because of your
                                                                                  acts or because you have failed to
      1.    Adjust losses with you; and                                           comply with the terms of the Coverage
      2.    Pay any claim for "loss" jointly to you and the                       Part, the Loss Payee will still have the
            Loss Payee, as interests may appear.                                  right to receive loss payment if the Loss
                                                                                  Payee:
C. Lender's Loss Payable
                                                                                  (1) Pays any premium due under this
      1.    The Loss Payee shown in the Schedule of                                    Coverage Part at our request if you
            this endorsement is a creditor, including a                                have failed to do so;
            mortgageholder or trustee, whose interest in
            Covered Property is established by such                               (2) Submits a signed, sworn proof of
            written instruments as:                                                    loss within 60 days after receiving
                                                                                       notice from us of your failure to do
            a.   Warehouse receipts;                                                   so; and
            b.   A contract for deed;

                                        Includes copyrighted material of Insurance
FA 480 02 16                             Services Office, Inc., with its permission.                     Page 1 of 2
               (3) Has notified us of any change in                 4.   If we elect not to renew this policy, we will
                   ownership, occupancy or substan-                      give written notice to the Loss Payee at least
                   tial change in risk known to the                      10 days before the expiration date of this
                   Loss Payee.                                           policy.
               All of the terms of this Coverage Part          D. Contract of Sale
               will then apply directly to the Loss Pay-
               ee.                                                  1.   The Loss Payee shown in the Schedule of
                                                                         this endorsement is a person or organization
        d.   If we pay the Loss Payee for any "loss"                     you have entered a contract with for the sale
             and deny payment to you because of                          of Covered Property.
             your acts or because you have failed to
             comply with the terms of this Coverage                 2.   For Covered Property in which both you and
             Part:                                                       the Loss Payee have an insurable interest
                                                                         we will:
               (1) The Loss Payee's rights will be
                   transferred to us to the extent of                    a.   Adjust losses with you; and
                   the amount we pay; and                                b.   Pay any claim for "loss" jointly to you
               (2) The Loss Payee's rights to recover                         and the Loss Payee, as interests may
                   the full amount of the Loss Payee's                        appear.
                   claim will not be impaired.                      3.   For Covered Property that is the subject of a
             At our option, we may pay to the Loss                       contract of sale, the word "you" includes the
             Payee the whole principal on the debt                       Loss Payee.
             plus any accrued interest. In this event,         E. Building Owner Loss Payable Clause
             you will pay your remaining debt to us.
                                                                    1.   The Loss Payee shown in the Schedule of
   3.   If we cancel this policy, we will give written                   this endorsement is the owner of the build-
        notice to the Loss Payee at least:                               ing in which you are a tenant.
        a.     10 days before the effective date of                 2.   We will adjust losses to the building with the
               cancellation if we cancel for your non-                   Loss Payee. Any loss payment made to the
               payment of premium; or                                    Loss Payee will satisfy your claims against
        b.     30 days before the effective date of                      us for the owner's property.
               cancellation if we cancel for any other              3.   We will adjust losses to tenants' improve-
               reason.                                                   ments and betterments with you, unless the
                                                                         lease provides otherwise.




                                     Includes copyrighted material of Insurance
FA 480 02 16                          Services Office, Inc., with its permission.                   Page 2 of 2
    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                      EQUIPMENT BREAKDOWN COVERAGE
                                    (Excluding Production Machinery)

This endorsement modifies insurance provided under the following:
    COMMERCIAL PROPERTY COVERAGE FORM
                                                                      apply. These limits apply to direct
A. COVERAGE                                                           damage only.
    1.   BUILDING AND PERSONAL PROP-                                  (1) Ammonia Contamination Limi-
         ERTY COVERAGE FORM, SECTION A.                                   tation
         COVERAGE is amended by adding the
         following:                                                        If Covered Property is contami-
                                                                           nated by ammonia as a result of
         We will pay for direct damage to Covered                          an "accident" to Covered Prop-
         Property caused by or resulting from an                           erty at the "premises", the most
         "accident" at the "premises".                                     we will pay for this kind of dam-
    2.   BUILDING AND PERSONAL PROP-                                       age, including salvage expense,
         ERTY COVERAGE FORM, SECTION A.                                    is $50,000 per location.
         COVERAGE, 3. Covered Causes of                               (2) Data, Media and Software Res-
         Loss, b. Exclusions is amended by:                               toration
         a.   Adding the following to (1)(e) Utility                       If "electronic data" is destroyed
              Services, (1)(g) Water 1), (2)(a)                            or corrupted as a result of an
              Electrical Current, (2)(d) Miscella-                         "accident" to covered equipment,
              neous Causes of Loss, (2)(j) Expo-                           the most we will pay for the ex-
              sure to Weather, (3)(a) Weather                              penses incurred by you for the
              Conditions, (3)(b) Acts or Deci-                             restoration of that "electronic
              sions, and (3)(c) Defects, Errors,                           data" is $50,000 for all loss sus-
              and Omissions:                                               tained in the "coverage term",
              However, this exclusion does not ap-                         regardless of the number of "ac-
              ply if these causes of loss are caused                       cidents" or the number of "prem-
              by, or result from, an "accident" to                         ises" involved.
              Covered Property at the "premises".                     (3) "Hazardous Substance" Limi-
         b.   Deleting in its entirety (2)(e) Explo-                      tation
              sion of Steam Apparatus.                                     The following applies despite the
    3.   BUILDING AND PERSONAL PROP-                                       operation of the Ordinance or
                                                                           Law Exclusion.
         ERTY COVERAGE FORM, SECTION A.
         COVERAGE, 3. Covered Causes of                                    If Covered Property is damaged,
         Loss, c. Limitations is amended:                                  contaminated or polluted by a
                                                                           "hazardous substance" as a re-
         a.   By deleting in its entirety:
                                                                           sult of an "accident" to Covered
              (1) (1)(a) Steam Apparatus; and                              Property at the "premises", the
                                                                           most we will pay for any addi-
              (2) (1)(b) Hot Water Boilers,                                tional expenses incurred by you
                                                                           for clean up, repair, replacement
         b.   And by adding the following:
                                                                           or disposal of that property is
              The following limitations apply only to                      $50,000. As used here, addi-
              "loss" covered by this endorsement.                          tional expenses mean expenses
              The sublimits provided in Paragraphs                         incurred beyond those for which
              (1), (2) and (3) below are included                          we would be liable if no "hazard-
              within, and are not in addition to, the                      ous substance" had been in-
              Limit of Insurance shown in the Dec-                         volved.
              larations as applicable to the Covered
              Property. These limits, or the appli-      B. Additional Coverages
              cable Limit of Insurance shown in the           For the purposes of the coverages in this en-
              Declarations as applicable to the               dorsement only, BUILDING AND PERSONAL
              Covered Property, whichever is less,            PROPERTY COVERAGE FORM, SECTION
FA 244 05 11                                                                                   Page 1 of 3
   A. COVERAGE, 4. Additional Coverages is                to the lost or damaged Covered Property,
   amended as follows:                                    whichever is greater.
   1.   The first paragraph is deleted in its en-      D. Conditions
        tirety and replaced with the following:
                                                          For the purposes of the coverages in this en-
        All other terms and conditions of this Cov-       dorsement only, BUILDING AND PERSONAL
        erage Part, including Limits of Insurance         PROPERTY COVERAGE FORM, SECTION
        and deductibles, apply to these Additional        E. ADDITIONAL CONDITIONS is amended by
        Coverages.                                        adding the following:
   2.   The following is added:                           1.   Suspension
        a.   Drying Out                                        Whenever any covered equipment is
                                                               found to be in, or exposed to, a danger-
             If electrical equipment included in               ous condition, any of our representatives
             Covered Property requires "drying
                                                               may immediately suspend the insurance
             out" as a result of a "flood", the rea-           against "loss" from an "accident" to that
             sonable expense incurred for the
                                                               covered equipment. This can be done by
             "drying out" will be covered. This Ad-            delivering or mailing a written notice of
             ditional Coverage is included within
                                                               suspension to:
             the Limit of Insurance shown in the
             Declarations as applicable to the                 a.   Your last known address; or
             Covered Property.
                                                               b.   The address where the covered
        b.   Expediting Expenses                                    equipment is located.
             With respect to "loss" covered by this            Once suspended in this way, your insur-
             endorsement, and with respect to                  ance can be reinstated only by written no-
             your damaged Covered Property, we                 tice from us.
             will pay the reasonable extra cost to:
                                                               If we suspend your insurance, you will get
             (1) Make temporary repairs;                       a pro rata refund of premium for that cov-
                                                               ered equipment. However, the suspension
             (2) Expedite permanent repairs; and               will be effective even if we have not yet
             (3) Expedite    permanent     replace-            made or offered a refund.
                  ment.
                                                          2.   Inspection
        c.   Non-Owned Utility Service Equip-                  If any Covered Property requires inspec-
             ment                                              tion to comply with state or municipal
             We will pay for indirect loss resulting           boiler and pressure vessel regulations, we
             from an "accident" to non-owned util-             agree to perform such inspection on your
             ity equipment described in E. Defini-             behalf.
             tions, 1.a.(6) but we will not pay for    E. Definitions
             any expense to repair or replace di-
             rect damage to non-owned utility             For the purposes of the coverages in this en-
             equipment that:                              dorsement only, BUILDING AND PERSONAL
                                                          PROPERTY COVERAGE FORM, SECTION
             (1) You do not own, lease or rent, or        G. DEFINITIONS is amended by adding the
             (2) That is not in your care custody         following:
                  and control.
                                                          1. a."Accident" means a sudden and acci-
        This Additional Coverage is included                   dental breakdown of the following covered
        within the Limit of Insurance shown in the             equipment:
        Declarations as applicable to the Covered
                                                               (1) Any boiler;
        Property.
                                                               (2) Any fired or unfired pressure vessel
C. Deductible                                                       subject to vacuum or internal pres-
   For the purposes of the coverages in this en-                    sure other than the static pressure of
   dorsement only, BUILDING AND PERSONAL                            its contents;
   PROPERTY COVERAGE FORM, SECTION                             (3) Any piping and its accessory equip-
   C. DEDUCTIBLE is amended by adding the                           ment;
   following:
                                                               (4) Any refrigeration or air conditioning
   The deductible applicable to "loss" covered by
                                                                    system; or
   this endorsement is $500, or the deductible in-
   dicated in the Declarations as being applicable

FA 244 05 11                                                                                 Page 2 of 3
        (5) Any mechanical or electrical machine       2.   "Drying out" means restoration of electrical
            or apparatus used for the generation,           equipment to service following a "flood" by re-
            transmission or utilization of me-              moval of excess moisture from that equipment
            chanical or electrical power.                   including:
        (6) Equipment of a type described in                a.   Application of heat or controlled electrical
            definition a.(1) through (5) above                   current, circulation of air, or use of dehu-
            which you do not own, lease or rent                  midification equipment, after rinsing the
            and is not in your care, custody or                  electrical equipment with clean fresh wa-
            control that is on or within one mile of             ter if necessary to flush away "flood" de-
            a covered "location", and is supplying               bris;
            you with electricity, gas, water,
            steam, heat, refrigeration, air condi-          b.   "Drying out" can be done in place or
            tioning or communication services.                   equipment can be disconnected and re-
                                                                 moved to a repair facility for drying if nec-
        At the time the breakdown occurs, it must                essary.
        become apparent by physical damage
        that requires repair or replacement of the          c.   "Drying out" does not include or apply to:
        covered equipment or part thereof.                       (1) Replacement or repair of any electri-
   b.   None of the following is an "accident":                      cal equipment or parts thereof; or

        (1) Depletion, deterioration, corrosion or               (2) Any expense related to deconstruc-
            erosion, wear and tear;                                  tion, demolition, or reconstruction of
                                                                     any building component, structure or
        (2) Leakage at any valve, fitting, shaft                     part thereof to gain access to electri-
            seal, gland packing, joint or connec-                    cal equipment.
            tion;
                                                       3.   "Flood" means a general and temporary con-
        (3) The functioning of any safety or pro-           dition of partial or complete inundation of nor-
            tective device; or                              mally dry land areas due to:
        (4) The breakdown of any structure or               a.   The overflow of inland or tidal waters;
            foundation.
                                                            b.   The unusual or rapid accumulation or
   c.   None of the following are covered equip-                 runoff of surface waters from any source;
        ment:                                                    or
        (1) Any sewer piping, underground gas               c.   Mudslides or mudflows, which are caused
            piping, or piping forming a part of a                by flooding as defined above in Paragraph
            sprinkler system;                                    3.b. For the purpose of this Covered
                                                                 Cause of Loss, a mudslide or mudflow in-
        (2) Water piping other than boiler feed                  volves a river of liquid and flowing mud on
            water piping, boiler condensate return               the surface of normally dry land areas as
            piping or water piping forming a part                when earth is carried by a current of water
            of a refrigeration or air conditioning               and deposited along the path of the cur-
            system;                                              rent.
        (3) Insulating or refractory material;                   All flooding in a continuous or protracted
        (4) Vehicle, elevator, escalator, con-                   event will constitute a single "flood".
            veyor, hoist or crane;                     4.   "Hazardous Substance" means a substance
        (5) Felt, wire, screen, die, extrusion              declared to be hazardous to health by a gov-
            plate, swing hammer, grinding disc,             ernmental agency.
            cutting blade, non-electrical cable,       5.   "Production Machinery" means:
            chain, belt, rope, clutch plate, brake
            pad, nonmetallic part, or any part or           a.   Production or process machine or appara-
            tool subject to periodic replacement;                tus that processes, forms, cuts, shapes
            or                                                   grinds or conveys raw material, material in
                                                                 process or finished products, and the
        (6) "Production Machinery".                              computers and their peripherals that con-
   d.   If a strike, riot, civil commotion, act of               trol or operate such a machine or appara-
        sabotage or vandalism results in an "acci-               tus.
        dent", this insurance applies. However,             b.   Machine or apparatus used for research,
        the War and Military Action Exclusion and                medical, diagnostic, surgical, dental or
        the conditions of this Coverage Part still               pathological purposes, and computers
        apply.                                                   and their peripherals that control or oper-
                                                                 ate such a machine or apparatus.

FA 244 05 11                                                                                    Page 3 of 3
                  BUSINESS INCOME (AND EXTRA EXPENSE)
                             COVERAGE FORM
Various provisions in this policy restrict coverage. Read the entire policy carefully to determine rights, duties
and what is and is not covered.
Throughout this policy the words "you" and "your" refer to the Named Insured shown in the Declarations. The
words "we", "us" and "our" refer to the Company providing this insurance.
Other words and phrases that appear in quotation marks have special meaning. Refer to SECTION F. DEFI-
NITIONS.

SECTION A. COVERAGE                                                        cated if that area services or is used
                                                                           to gain access to the described
Coverage is provided as described and limited be-                          "premises".
low for one or more of the following options for
which a Limit of Insurance is shown in the Declara-                    (2) Your personal property in the open
tions:                                                                     (or in a vehicle or portable storage
                                                                           unit) within 1,000 feet of the building
a.   "Business Income" including "Rental Value".                           or 1,000 feet of the "premises",
b.   "Business Income" other than "Rental Value".                          whichever distance is greater.

c.   "Rental Value".                                         2.   Extra Expense
If option a. above is selected, the term "Business
Income" will include "Rental Value". If option c.                 a.   Extra Expense coverage is provided at
                                                                       the "premises" described in the Declara-
above is selected, the term "Business Income" will
                                                                       tions only if the Declarations show that
mean "Rental Value" only.
                                                                       "Business Income" coverage applies at
If Limits of Insurance are shown under more than                       that "premises".
one of the above options, the provisions of this
Coverage Part apply separately to each.                           b.   Extra Expense means necessary ex-
                                                                       penses you sustain (as described in Par-
1.   Business Income                                                   agraphs 2.c., d. and e.) during the "period
                                                                       of restoration" that you would not have
     a.   We will pay for the actual loss of "Busi-                    sustained if there had been no direct
          ness Income" you sustain due to the nec-                     "loss" to property caused by or resulting
          essary "suspension" of your "operations"                     from a Covered Cause of Loss.
          during the "period of restoration". The
          "suspension" must be caused by direct                   c.   If these expenses reduce the otherwise
          "loss" to property at "premises" which are                   payable "Business Income" "loss", we will
          described in the Declarations and for                        pay expenses (other than the expense to
          which a "Business Income" Limit of Insur-                    repair or replace property as described in
          ance is shown in the Declarations. The                       Paragraph 2.d.) to:
          "loss" must be caused by or result from a
          Covered Cause of Loss. With respect to                       (1) Avoid or minimize the "suspension"
                                                                           of business and to continue "opera-
          "loss" to personal property in the open (or
                                                                           tions" either:
          personal property in a vehicle or portable
          storage unit), the "premises" include the                        (a) At the "premises"; or
          area within 1,000 feet of the building or
          1,000 feet of the "premises", whichever                          (b) At replacement "premises" or
          distance is greater.                                                  temporary locations, including
                                                                                relocation expenses and costs to
     b.   With respect to the requirements set forth                            equip and operate the replace-
          in the preceding paragraph, if you are a                              ment location or temporary loca-
          tenant and occupy only part of the site at                            tion; or
          which the "premises" are located, for the
          purposes of this Coverage Part only, your                    (2) Minimize the "suspension" of busi-
          "premises" is the portion of the building                        ness if you cannot continue "opera-
          which you rent, lease or occupy, includ-                         tions".
          ing:
                                                                  d.   We will also pay expenses to:
          (1) Any area within the building or on the
              site at which the "premises" are lo-                     (1) Repair or replace property; or

                                     Includes copyrighted material of Insurance
FA 213 05 16                          Services Office, Inc., with its permission.                   Page 1 of 9
          (2) Research, replace or restore the lost                   sulting from any Covered Cause of Loss
              information on damaged "valuable                        to:
              papers and records";
                                                                      (1) New buildings or structures, whether
          but only to the extent this payment reduc-                       complete or under construction;
          es the otherwise payable "Business In-
          come" "loss". If any property obtained for                  (2) Alterations or additions to existing
          temporary use during the "period of resto-                       buildings or structures; and
          ration" remains after the resumption of                     (3) Machinery, equipment, supplies or
          normal "operations", the amount we will                          building materials located on or with-
          pay under this Coverage Form will be re-                         in 1,000 feet of the "premises" and:
          duced by the salvage value of that prop-
          erty.                                                            (a) Used in the construction, altera-
                                                                                tions or additions; or
     e.   Extra Expense as described in Para-
          graphs 2.a. thru 2.d. does not apply to                          (b) Incidental to the occupancy of
          "loss" to Covered Property as described                               new buildings.
          in the BUILDING AND PERSONAL
          PROPERTY COVERAGE FORM.                                     If such direct "loss" delays the start of
                                                                      "operations", the "period of restoration"
3.   Covered Causes of Loss                                           for "Business Income" coverage will begin
                                                                      on the date "operations" would have be-
     See BUILDING AND PERSONAL PROPER-                                gun if the direct "loss" had not occurred.
     TY COVERAGE FORM, SECTION A. COV-
     ERAGE, 3. Covered Causes of Loss.                            b. Civil Authority
                                                                      When a Covered Cause of Loss causes
4.   Limitation for Electronic Data
                                                                      direct damage to property other than
     a.   Coverage for "Business Income" does not                     Covered Property at the "premises", we
          apply when a "suspension" of "opera-                        will pay for the actual loss of "Business
          tions" is caused by destruction or corrup-                  Income" you sustain and necessary Extra
          tion of "electronic data", or any "loss" to                 Expense you sustain caused by action of
          "electronic data", except as provided un-                   civil authority that prohibits access to the
          der SECTION A. COVERAGE, 5. Addi-                           "premises", provided that both of the fol-
          tional Coverages, d. Interruption of                        lowing apply:
          Computer Operations.
                                                                      (1) Access to the area immediately sur-
     b.   Coverage for Extra Expense does not ap-                          rounding the damaged property is
          ply when action is taken to avoid or mini-                       prohibited by civil authority as a re-
          mize a "suspension" of "operations"                              sult of the damage; and
          caused by destruction or corruption of
          "electronic data", or any "loss" to "elec-                  (2) The action of civil authority is taken in
          tronic data", except as provided under                           response to dangerous physical con-
                                                                           ditions resulting from the damage or
          SECTION A. COVERAGE, 5. Additional
                                                                           continuation of the Covered Cause of
          Coverages, d. Interruption of Comput-
                                                                           Loss that caused the damage, or the
          er Operations.
                                                                           action is taken to enable a civil au-
     c.   This Limitation does not apply when                              thority to have unimpeded access to
          "loss" to "electronic data" involves only                        the damaged property.
          "electronic data" which is integrated in
                                                                      Civil Authority coverage for "Business In-
          and operates or controls a building's ele-
          vator, lighting, heating, ventilation, air                  come" will begin immediately after the
          conditioning or security system.                            time of the first action of civil authority that
                                                                      prohibits access to the "premises" and will
                                                                      apply for a period of up to 30 consecutive
5.   Additional Coverages                                             days from the date on which such cover-
     The Additional Coverages in Paragraphs 5.a.                      age began.
     through 5.e. are included within and not addi-
                                                                      Civil Authority coverage for Extra Ex-
     tional "Business Income" and Extra Expense                       pense will begin immediately after the
     Limits of Insurance.                                             time of the first action of civil authority that
                                                                      prohibits access to the "premises" and will
     a.   Alterations and New Buildings                               end 30 consecutive days after the date of
          We will pay for the actual loss of "Busi-                   that action; or when your Civil Authority
          ness Income" you sustain and necessary                      coverage for "Business income" coverage
          Extra Expense you sustain due to direct                     ends, whichever is later.
          "loss" at the "premises" caused by or re-
                                     Includes copyrighted material of Insurance
FA 213 05 16                          Services Office, Inc., with its permission.                      Page 2 of 9
    c. Extended Business Income                                              (ii) 60 consecutive days after
                                                                                 the    date   determined     in
       (1) "Business   Income"        Other   Than                               c.(2)(a) above.
           "Rental Value"
                                                                    However, Extended Business Income
           If the necessary "suspension" of your                    does not apply to loss of "Rental Value"
           "operations" produces a "Business                        sustained as a result of unfavorable busi-
           Income" "loss" payable under this                        ness conditions caused by the impact of
           Coverage Part, we will pay for the ac-                   the Covered Cause of Loss in the area
           tual loss of "Business Income" you                       where the "premises" are located.
           sustain during the period that:
                                                                    Loss of "Rental Value" must be caused by
           (a) Begins on the date property (ex-                     direct "loss" at the described "premises"
               cept "finished stock") is actually                   caused by or resulting from any Covered
               repaired, rebuilt or replaced and                    Cause of Loss.
               "operations" are resumed; and
                                                               d.   Interruption of Computer Operations
           (b) Ends on the earlier of:
                                                                    (1) Subject to all provisions of this Addi-
               (i) The date you could restore                           tional Coverage - Interruption of
                    your "operations", with rea-                        Computer Operations, you may ex-
                    sonable speed, to the level                         tend the insurance that applies to
                    which would generate the                            "Business Income" and Extra Ex-
                    "Business Income" amount                            pense to apply to a "suspension" of
                    that would have existed if no                       "operations" caused by an interrup-
                    direct "loss" had occurred; or                      tion in computer operations due to
               (ii) 60 consecutive days after                           destruction or corruption of "electron-
                    the   date    determined     in                     ic data" due to a Covered Cause of
                    c.(1)(a) above.                                     Loss. This Additional Coverage - In-
                                                                        terruption of Computer Operations
           However, Extended Business Income                            does not apply when "loss" to "elec-
           does not apply to loss of "Business                          tronic data" only involves "loss" to
           Income" sustained as a result of un-                         "electronic data" which is integrated
           favorable business conditions caused                         in and operates or controls a build-
           by the impact of the Covered Cause                           ing's elevator, lighting, heating, venti-
           of Loss in the area where the "prem-                         lation, air conditioning or security
           ises" are located.                                           system.
           Loss of "Business Income" must be                        (2) The Covered Causes of Loss include
           caused by direct "loss" at the "prem-                        a virus, harmful code or similar in-
           ises" caused by or resulting from any                        struction introduced into or enacted
           Covered Cause of Loss.                                       on a computer system (including
                                                                        "electronic data") or a network to
       (2) "Rental Value"                                               which it is connected, designed to
           If the necessary "suspension" of your                        damage or destroy any part of the
           "operations" produces a "Rental Val-                         system or disrupt its normal opera-
           ue" loss payable under this Coverage                         tion. But there is no coverage for an
           Part, we will pay for the actual loss of                     interruption related to manipulation of
           "Rental Value" you sustain during the                        a computer system (including "elec-
           period that:                                                 tronic data") by any employee, in-
                                                                        cluding a temporary or leased em-
           (a) Begins on the date property is                           ployee, or by an entity retained by
               actually repaired, rebuilt or re-                        you or for you to inspect, design, in-
               placed and tenantability is re-                          stall, maintain, repair or replace that
               stored; and                                              system.
           (b) Ends on the earlier of:                              (3) The most we will pay under this Addi-
                                                                        tional Coverage - Interruption of
               (i) The date you could restore                           Computer Operations is $2,500 for
                    tenant occupancy, with rea-                         all "loss" sustained and expense sus-
                    sonable speed, to the level                         tained in any "coverage term", re-
                    which would generate the                            gardless of the number of interrup-
                    "Rental Value" that would                           tions or the number of "premises", lo-
                    have existed if no direct                           cations or computer systems in-
                    "loss" had occurred; or                             volved. If loss payment relating to the
                                                                        first interruption does not exhaust this

                                  Includes copyrighted material of Insurance
FA 213 05 16                       Services Office, Inc., with its permission.                     Page 3 of 9
                amount, then the balance is available                   (2) Buildings you newly purchase or be-
                for "loss" or expense sustained as a                        come required to insure by written
                result of subsequent interruptions in                       contract; or
                that "coverage term". A balance re-
                maining at the end of a "coverage                       (3) Leased buildings or space therein
                term" does not increase the amount                          that you are not required to insure.
                of insurance in the next "coverage                          Such lease must be for a period of 12
                term". With respect to any interrup-                        consecutive months or longer.
                tion which begins in one "coverage                      This does not apply to property situated at
                term" and continues or results in ad-                   trade shows, fairs or exhibitions.
                ditional "loss" or expense in that sub-
                sequent "coverage term", all "loss"                b.   The most we will pay in total for "Business
                and expense is deemed to be sus-                        Income" and Extra Expense "loss" under
                tained in the "coverage term" in                        this Coverage Extension is $100,000 at
                which the interruption began.                           each location described in Paragraph 6.a.
          (4) This Additional Coverage - Interrup-                 c.   Insurance under this Coverage Extension
              tion in Computer Operations does                          will end when any of the following first oc-
                not apply to "loss" sustained or ex-                    curs:
                pense sustained after the end of the
                "period of restoration", even if the                    (1) This policy expires;
                amount of insurance stated in Para-                     (2) 90 days pass from the date you
                graph d.(3) of this Additional Cover-                       begin construction on that part of the
                age has not been exhausted.                                 building that would qualify as Cov-
     e.   Ingress and Egress                                                ered Property;

          We will pay for the actual loss of "Busi-                     (3) 90 days pass from the date you pur-
          ness Income" you sustain and necessary                            chase, lease, or become contractual-
          Extra Expense you sustain caused by the                           ly required to insure property de-
          prevention of existing ingress or egress at                       scribed in Paragraphs 6.a.(2) and (3);
          a "premises" shown in the Declarations                            or
          due to direct "loss" by a Covered Cause                       (4) You report values to us when you
          of Loss at a location contiguous to such                          acquire your new building or busi-
          "premises". However, coverage does not                            ness personal property.
          apply if ingress or egress from the "prem-
          ises" is prohibited by civil authority.                  We will charge you additional premium for
                                                                   values reported from the date you purchase or
          Ingress and egress coverage for "Busi-                   lease the property or begin construction on
          ness Income" will begin immediately after                that part of the building that would qualify as
          the time of the direct "loss" and will con-              Covered Property.
          tinue for a period up to 30 consecutive
          days.                                               SECTION B. LIMITS OF INSURANCE
          Ingress and egress coverage for Extra               The most we will pay for "loss" in any one occur-
          Expense will begin at time of the direct            rence is the applicable Limit of Insurance shown in
          "loss" and will continue for 30 consecutive         the Declarations.
          days or whenever your Ingress and
          Egress "business income" coverage                   SECTION C. LOSS CONDITIONS
          ends, whichever occurs first.                       The following conditions apply in addition to the
6.   Coverage Extension                                       COMMON POLICY CONDITIONS and the COM-
                                                              MERCIAL PROPERTY CONDITIONS.
     The limit applicable to the Coverage Extension
     is in addition to the Limit of Insurance. SEC-           1.   Appraisal
     TION D. ADDITIONAL CONDITION, 1. Coin-                        If we and you disagree on the amount of
     surance does not apply to this Coverage Ex-                   "Business Income" or Extra Expense "loss",
     tension.                                                      either may make written demand for an ap-
     Newly Purchased or Leased Locations                           praisal of the "loss". In this event, each party
                                                                   will select a competent and impartial apprais-
     a.   You may extend your "Business Income"                    er.
          and Extra Expense coverages to apply to
          property located at:                                     The two appraisers will select an umpire. If
                                                                   they cannot agree, either may request that se-
          (1) New buildings or additions while be-                 lection be made by a judge of a court having
                ing built on a "premises";                         jurisdiction. The appraisers will state separate-

                                      Includes copyrighted material of Insurance
FA 213 05 16                           Services Office, Inc., with its permission.                    Page 4 of 9
     ly the amount of "Business Income" or Extra                            your "operations" as quickly as pos-
     Expense "loss". If they fail to agree, they will                       sible.
     submit their differences to the umpire. A deci-
     sion agreed to by any two will be binding.                    b.   We may examine any insured under oath,
     Each party will:                                                   while not in the presence of any other in-
                                                                        sured and at such times as may be rea-
     a.   Pay its chosen appraiser; and                                 sonably required, about any matter relat-
                                                                        ing to this insurance or the claim, includ-
     b.   Bear the other expenses of the appraisal                      ing an insured's books and records. In the
          and umpire equally.                                           event of an examination, an insured's an-
     If there is an appraisal, we will still retain our                 swers must be signed.
     right to deny the claim.                                 3.   Loss Determination
2.   Duties in the Event of Loss                                   a.   The amount of "Business Income" "loss"
     a.   You must see that the following are done                      will be determined based on:
          in the event you have a "Business In-                         (1) The Net Income of the business be-
          come" or Extra Expense "loss":                                    fore the direct "loss" occurred;
          (1) Notify the police if a law may have                       (2) The likely Net Income of the business
              been broken.                                                  if no direct "loss" had occurred, but
          (2) Give us prompt notice of the direct                           not including any Net Income that
              "loss". Include a description of the                          would likely have been earned as a
              property involved.                                            result of an increase in the volume of
                                                                            business due to favorable business
          (3) As soon as possible, give us a de-                            conditions caused by the impact of
              scription of how, when, and where                             the Covered Cause of Loss on cus-
              the direct "loss" occurred.                                   tomers or on other businesses;
          (4) Take all reasonable steps to protect                      (3) The operating expenses, including
              the Covered Property from further                             payroll expenses, necessary to re-
              damage, and keep a record of your                             sume "operations" with the same
              expenses necessary to protect the                             quality of service that existed just be-
              Covered Property, for consideration                           fore the direct "loss"; and
              in the settlement of the claim. This
              will not increase the Limit of Insur-                     (4) Other relevant sources of infor-
              ance. However, we will not pay for                            mation, including:
              any subsequent "loss" resulting from                          (a) Your financial records and ac-
              a cause of loss that is not a Covered                              counting procedures;
              Cause of Loss. Also, if feasible, set
              the damaged property aside and in                             (b) Bills, invoices and other vouch-
              the best possible order for examina-                               ers; and
              tion.
                                                                            (c) Deeds, liens or contracts.
          (5) As often as may be reasonably re-
              quired, permit us to inspect the prop-               b.   The amount of Extra Expense will be de-
              erty proving the "loss" and examine                       termined based on:
              your books and records.                                   (1) All expenses that exceed the normal
              Also permit us to take samples of                             operating expenses that would have
              damaged and undamaged property                                been sustained by "operations" dur-
              for inspection, testing and analysis,                         ing the "period of restoration" if no di-
              and permit us to make copies from                             rect "loss" had occurred. We will de-
              your books and records.                                       duct from the total of such expenses:

          (6) Send us a signed, sworn proof of                              (a) The salvage value that remains
              loss containing the information we                                 of any property bought for tem-
              request to investigate the claim. You                              porary use during the "period of
              must do this within 60 days after our                              restoration", once "operations"
              request. We will supply you with the                               are resumed; and
              necessary forms.                                              (b) Any Extra Expense that is paid
          (7) Cooperate with us in the investigation                             for by other insurance, except
              or settlement of the claim.                                        for insurance that is written sub-
                                                                                 ject to the same plan, terms,
          (8) If you intend to continue your busi-                               conditions and provisions as this
              ness, you must resume all or part of                               insurance; and
                                      Includes copyrighted material of Insurance
FA 213 05 16                           Services Office, Inc., with its permission.                     Page 5 of 9
          (2) Necessary expenses that reduce the                 Instead, we will determine the most we will
              "Business Income" "loss" that other-               pay using the following steps:
              wise would have been incurred.
                                                                 1.   Multiply the Net Income and operating
     c.   Resumption of Operations                                    expense for the 12 months following the
                                                                      inception, or last previous anniversary
          We will reduce the amount of your:                          date, of this Coverage Part by the Coin-
          (1) "Business Income" "loss", other than                    surance percentage;
              Extra Expense to the extent you can                2.   Divide the Limit of Insurance for the de-
              resume your "operations", in whole or                   scribed "premises" by the figure deter-
              in part, by using damaged or undam-                     mined in Step 1.; and
              aged property (including merchan-
              dise or stock) at the "premises" or                3.   Multiply the total amount of "loss" by the
              elsewhere.                                              figure determined in Step 2.
          (2) Extra Expense "loss" to the extent                 We will pay the amount determined in Step 3.
              you can return "operations" to normal              or the limit of insurance, whichever is less. For
              and discontinue such Extra Expense.                the remainder, you will either have to rely on
                                                                 other insurance or absorb the loss yourself.
     d.   If you do not resume "operations", or do
          not resume "operations" as quickly as                  In determining operating expenses for the
          possible, we will pay based on the length              purpose of applying the Coinsurance condi-
          of time it would have taken to resume                  tion, the following expenses, if applicable,
          "operations" as quickly as possible.                   shall be deducted from the total of all operat-
                                                                 ing expenses:
4.   Loss Payment
                                                                 1.   Prepaid freight - outgoing;
     We will pay for insured "loss" within 30 days
     after we receive the sworn proof of loss, if you            2.   Returns and allowances;
     have complied with all of the terms of this
     Coverage Part and:                                          3.   Discounts;

     a.   We have reached agreement with you on                  4.   Bad debts;
          the amount of "loss"; or                               5.   Collection expenses;
     b.   An appraisal award has been made.                      6.   Cost of raw stock and factory supplies
SECTION D. ADDITIONAL CONDITION                                       consumed    (including   transportation
                                                                      charges);
1.   Coinsurance
                                                                 7.   Cost of merchandise sold (including
     If a Coinsurance percentage is shown in the                      transportation charges);
     Declarations, the following condition applies in
     addition to the COMMON POLICY CONDI-                        8.   Cost of other supplies consumed (includ-
     TIONS and the COMMERCIAL PROPERTY                                ing transportation charges);
     CONDITIONS.                                                 9.   Cost of services purchased from outsid-
     We will not pay the full amount of any "Busi-                    ers (not employees) to resell, that do not
     ness Income" "loss" if the Limit of Insurance                    continue under contract;
     for "Business Income" is less than:                         10. Power, heat and refrigeration expenses
     a.   The Coinsurance percentage shown for                        that do not continue under contract (if
          "Business Income" in the Declarations;                      Form CP 15 11 is attached);
          times                                                  11. All payroll expenses or the amount of
     b.   The sum of:                                                payroll expense excluded (if Form FA 465
                                                                      is attached); and
          (1) The Net Income (Net Profit or Loss
              before income taxes), and                          12. Special deductions for mining properties
                                                                      (royalties unless specifically included in
          (2) Operating expenses, including pay-                      coverage; actual depletion commonly
              roll expenses,                                          known as unit or cost depletion - not per-
                                                                      centage depletion; welfare and retirement
          that would have been earned or incurred                     fund charges based on tonnage; hired
          (had no direct "loss" occurred) by your                     trucks).
          "operations" at the "premises" for the 12              Example No. 1 (Underinsurance):
          months following the inception, or last
          previous anniversary date, of this Cover-              When:       The Net Income and operating
          age Part (whichever is later).                                     expenses for the 12 months follow-

                                    Includes copyrighted material of Insurance
FA 213 05 16                         Services Office, Inc., with its permission.                    Page 6 of 9
                 ing the inception, or last previous                   (2) The Limit of Insurance shown in the
                 anniversary date of this Coverage                         Declarations.
                 Part at "premises" would have
                 been $400,000.                              2.   Monthly Limit of Indemnity
     The Coinsurance percentage is              50%               a.   SECTION D. ADDITIONAL CONDI-
                                                                       TIONS, 1. Coinsurance does not apply
     The Limit of Insurance Is              $150,000                   to this Coverage Part at the "premises" to
     "Business Income" "loss" is             $80,000                   which this Optional Coverage applies.

     Step 1:     $400,000 X 50% = $200,000                        b.   The most we will pay for "Business In-
                 (the minimum amount of insurance                      come" "loss" in each period of 30 consec-
                 to meet your Coinsurance re-                          utive days after the beginning of the "pe-
                 quirements)                                           riod of restoration" is:
     Step 2:     $150,000 ÷ $200,000 = .75                             (1) The Limit of Insurance; multiplied by
     Step 3:     $ 80,000 X .75 = $60,000                              (2) The fraction shown in the Declara-
                                                                           tions for this Optional Coverage.
     We will pay no more than $60,000. The re-
     maining $20,000 is not covered.                              Example:
     Example No. 2 (Adequate Insurance):                          When:      The "Business Income" Limit of In-
                                                                             surance is $120,000
     When: The Net Income and operating ex-
           penses for the 12 months following                                The fraction shown in the Declara-
           the inception, or last previous anni-                             tions for this Optional Coverage is
           versary date of this Coverage Part at                             1/4
           the "premises" would have been
                                                                             The most we will pay for "loss" in
           $400,000.
                                                                             each period of 30 consecutive days
     The Coinsurance percentage is              50%                          is: $120,000 X 1/4 = $30,000.
     The Limit of Insurance Is              $200,000              If, in this example, the actual amount of "Busi-
                                                                  ness Income" "loss" is:
     "Business Income" "loss" is             $80,000
                                                                  Days               1-30                 $40,000
     The minimum amount of insurance to meet                      Days              31-60                  20,000
     your Coinsurance requirement is $200,000                     Days              61-90                  30,000
     ($400,000 x 50%). Therefore, the Limit of In-                                                        $90,000
     surance in this example is adequate and no
     penalty applies. We will pay no more than                    We will pay:
     $80,000 (amount of "loss").                                  Days               1-30                 $30,000
     This condition does not apply to Extra Ex-                   Days              31-60                  20,000
     pense.                                                       Days              61-90                  30,000
                                                                                                          $80,000
SECTION E. OPTIONAL COVERAGES
                                                                  The remaining $10,000 is not covered.
If shown as applicable in the Declarations, the fol-
lowing Optional Coverages apply separately to                3.   Business Income Agreed Value
each item.                                                        a.   To activate this Optional Coverage:
1.   Maximum Period of Indemnity                                       (1) A Business Income Report/Work
                                                                           Sheet must be on file with the Com-
     a.   SECTION D. ADDITIONAL CONDI-
                                                                           pany and must show financial data
          TIONS, 1. Coinsurance does not apply
          to this Coverage Part at the "premises" to                       for your "operations":
          which this Optional Coverage applies.                            (a) During the 12 months prior to
                                                                                 the date of the Work Sheet; and
     b.   The most we will pay in total for "Business
          Income" and Extra Expense "loss" is the                          (b) Estimated for the 12 months
          lesser of:                                                             immediately following the incep-
                                                                                 tion of this Optional Coverage.
          (1) The amount of "Business Income"
               and Extra Expense "loss" sustained                      (2) The Declarations must indicate that
               during the 120 days immediately fol-                        the Business Income Agreed Value
               lowing the beginning of the "period of                      Optional Coverage applies. The
               restoration"; or                                            "Business Income" Limit of Insurance
                                                                           indicated on the Declarations should


                                     Includes copyrighted material of Insurance
FA 213 05 16                          Services Office, Inc., with its permission.                   Page 7 of 9
               be at least equal to the Agreed Val-                  b.    Continuing normal operating expenses
               ue, which is determined by:                                 sustained, including payroll.
               (a) The      Coinsurance percentage
                                                              2.    "Computer programs" means a set of related
                    shown in the Declarations; mul-                 electronic instructions which direct the opera-
                    tiplied by                                      tions and functions of a computer or device
               (b) The amount of Net Income and                     connected to it, which enable the computer or
                    Operating Expenses for the fol-                 device to receive, process, store, retrieve or
                    lowing 12 months you report on                  send data.
                    the Work Sheet.
                                                              3.    "Coverage term" means the following individ-
     b.    Except as noted in c. below, the ADDI-                   ual increment, or if a multi-year policy period,
           TIONAL CONDITION Coinsurance is                          increments, of time, which comprise the policy
           suspended until the expiration date of this              period of this Coverage Part:
           Coverage Part.
                                                                    a.    The year commencing on the Effective
     c.    We will reinstate the ADDITIONAL CON-                          Date of this Coverage Part at 12:01 A.M.
           DITION Coinsurance automatically if you                        standard time at your mailing address
           do not submit a new Work Sheet and                             shown in the Declarations, and if a multi-
           Agreed Value:                                                  year policy period, each consecutive an-
                                                                          nual period thereafter, or portion thereof if
           (1) When you request a change in your
               "Business Income" Limit of Insur-                          any period is for a period of less than 12
                                                                          months, constitute individual "coverage
               ance; or
                                                                          terms". The last "coverage term" ends at
           (2) When you request the coinsurance                           12:00 A.M. standard time at your mailing
               percentage be changed on the Work                          address shown in the Declarations on the
               Sheet.                                                     earlier of:

     d.    If the "Business Income" Limit of Insur-                       (1) The day the policy period shown in
           ance is less than the Agreed Value, we                             the Declarations ends; or
           will not pay more of any loss than the
           amount of loss multiplied by:                                  (2) The day the policy to which this Cov-
                                                                              erage Part is attached is terminated
           (1) The "Business Income" Limit of In-                             or cancelled.
               surance; divided by
                                                                    b.    However, if after the issuance of this
           (2) The Agreed Value.                                          Coverage Part, any "coverage term" is
                                                                          extended for an additional period of less
     Example:                                                             than 12 months, that additional period of
     When:      The Limit of Insurance is $100,000                        time will be deemed to be part of the last
                                                                          preceding "coverage term".
                The Agreed Value is $200,000
                                                              4.    "Electronic data" means information, facts or
                "Business Income" "loss" is $80,000                 "computer programs" stored as or on, created
     Step (a): $100,000 ÷ $200,000 = .50                            or used on, or transmitted to or from computer
                                                                    software (including systems and applications
     Step (b): .50 X $80,000 = $40,000                              software), on hard or floppy disks, CD-ROMs,
     We will pay $40,000. The remaining $40,000                     tapes, drives, cells, data processing devices
     is not covered.                                                or any other repositories of computer software
                                                                    which are used with electronically controlled
                                                                    equipment.
4.   Extended Period of Indemnity
     In SECTION A. COVERAGE, 5. Additional                     5.   "Finished stock" means stock you have
     Coverages, c. Extended Business Income,                        manufactured.
     the number "60" in Subparagraphs (1)(b) and
     (2)(b) is replaced by the number shown in the                  "Finished stock" also includes whiskey and al-
     Declarations for this Optional Coverage.                       coholic products being aged, unless there is a
                                                                    coinsurance percentage shown for "Business
SECTION F. DEFINITIONS                                              Income" in the Declarations.
1.   "Business Income" means the:                                   "Finished stock" does not include stock you
                                                                    have manufactured that is held for sale on the
      a.    Net income (Net Profit or Loss before in-               "premises" of any retail outlet insured under
            come taxes) that would have been                        this Coverage Part.
            earned or incurred; and


                                      Includes copyrighted material of Insurance
FA 213 05 16                           Services Office, Inc., with its permission.                       Page 8 of 9
6    "Loss" means accidental physical loss or acci-                property, or the environment regardless of
     dental physical damage.                                       whether injury or damage is caused directly or
                                                                   indirectly by the "pollutants" and whether:
7.   "Operations" means:
                                                                   a.   You are regularly or otherwise engaged in
     a.   Your business activities occurring at the                     activities which taint or degrade the envi-
          "premises"; and                                               ronment; or
     b.   The tenantability of the "premises", if cov-             b.   You use, generate or produce the "pollu-
          erage for "Business Income" including                         tant".
          "Rental Value" or "Rental Value" applies.
                                                              10. "Premises" means the Locations and Build-
8.   "Period of restoration" means the period of                   ings described in the Declarations.
     time that:
                                                              11. "Rental Value" means "Business Income" that
     a.   Begins at the time of direct "loss".                     consists of:
     b.   Ends on the earlier of:                                  a.   Net income (Net Profit or Loss before in-
          (1) The date when the property at the                         come taxes) that would have been earned
              "premises" should be repaired, rebuilt                    or incurred as rental income from tenant
              or replaced with reasonable speed                         occupancy of the "premises" described in
              and similar quality; or                                   the Declarations as furnished and
                                                                        equipped by you, including fair rental val-
          (2) The date when business is resumed                         ue of any portion of the "premises" which
              at a new permanent location.                              is occupied by you; and
     c.   "Period of restoration" does not include                 b.   Continuing normal operating expenses
          any increased period required due to the                      incurred in connection with that "premis-
          enforcement of or compliance with any                         es", including:
          ordinance or law that:
                                                                        (1) Payroll; and
          (1) Regulates the construction, use or
              repair, or requires the tearing down                      (2) The amount of charges, which are
              of any property; or                                           the legal obligation of the tenant(s)
                                                                            but would otherwise be your obliga-
          (2) Requires any insured or others to                             tions.
              test for, monitor, clean up, remove,
              contain, treat, detoxify or neutralize,         12. "Suspension" means:
              or in any way respond to or assess                   a.   The slowdown or cessation of your busi-
              the effects of "pollutants".                              ness activities; and
     d.   The expiration date of the Coverage Part                 b.   That a part or all of the "premises" is ren-
          will not cut short the "period of restora-                    dered untenantable if coverage for "Busi-
          tion".                                                        ness Income" including "Rental Value" or
9.   "Pollutants" means any solid, liquid, gaseous                      "Rental Value" applies.
     or thermal irritant or contaminant, including            13. "Valuable papers and records" means in-
     smoke, vapor, soot, fumes, acids, alkalis, as-                scribed, printed or written documents, manu-
     bestos, chemicals, petroleum, petroleum                       scripts or records, including abstracts, books,
     products and petroleum by-products, and                       card index systems, deeds, drawings, films,
     waste. Waste includes materials to be recy-                   maps, mortgages, or proprietary information.
     cled, reconditioned or reclaimed. "Pollutants"                But "valuable papers and records" does not
     include but are not limited to substances                     mean "money" or "securities" or "electronic
     which are generally recognized in industry or                 data", including the materials on which the
     government to be harmful or toxic to persons,                 "electronic data" is recorded.




                                      Includes copyrighted material of Insurance
FA 213 05 16                           Services Office, Inc., with its permission.                    Page 9 of 9
    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY

                  EARTHQUAKE AND VOLCANIC ERUPTION
                           ENDORSEMENT
This endorsement modifies insurance provided under the following:


    COMMERCIAL PROPERTY COVERAGE PART

A. Application of Earthquake Coverage                            stitute a single Earthquake or Volcanic Erup-
                                                                 tion. The expiration of this Coverage Part will
    1.   This endorsement applies to the Covered                 not reduce the 168-hour period.
         Property and Coverages for which a Limit
         of Insurance is shown in the Declarations          D. Amended Exclusions and Provisions
         and Earthquake is indicated as a Covered
         Cause of Loss.                                          For the purposes of this endorsement only:

    2.   To the extent that the Earth Movement                   1.   The following provisions:
         Exclusion of any other form attached to
         this Coverage Part might conflict with
                                                                      a.   SECTION A. COVERAGE, 3. Cov-
         coverage provided under this endorse-                             ered Causes of Loss, b. Exclu-
         ment, that Earth Movement Exclusion
                                                                           sions and c. Limitations of the
         does not apply.
                                                                           BUILDING    AND      PERSONAL
                                                                           PROPERTY COVERAGE FORM;
B. Additional Covered Causes of Loss -                                     and
   Earthquake and Volcanic Eruption                                   b.   SECTION E. EXCLUSIONS of the
    For the purposes of this endorsement only,                             MORTGAGE INTEREST COVER-
    the following are added as Covered Causes of                           AGE FORM;
    Loss to any other Coverage Form endorsed to                       apply to coverage provided under this en-
    this Coverage Part:
                                                                      dorsement, except as provided in Section
    1.   Earthquake, including tremors and after-                     D.2. and D.3. below.
         shocks and any earth sinking, rising or
         shifting related to such event.
                                                                 2.   The following exclusions:
                                                                      a.   SECTION A. COVERAGE, 3. Cov-
    2.   Volcanic Eruption, meaning the eruption,
                                                                           ered Causes of Loss, b. Exclu-
         explosion or effusion of a volcano.
                                                                           sions, (2)(k) Collapse of the BUILD-
    All Earthquake shocks or Volcanic Eruptions                            ING AND PERSONAL PROPERTY
    that occur within any 168-hour period will con-                        COVERAGE FORM; and
    stitute a single Earthquake or Volcanic Erup-
    tion. The expiration of this Coverage Part will
                                                                      b.   SECTION E. EXCLUSIONS, 4.a.
                                                                           Collapse of the MORTGAGE IN-
    not reduce the 168-hour period.
                                                                           TEREST COVERAGE FORM;
C. Additional Covered Causes of Loss -                                do not apply to collapse caused by Earth-
   Earthquake and Volcanic Eruption - Sprin-                          quake or Volcanic Eruption.
   kler Leakage Only
    If the Declarations indicate that this endorse-              3.   The following provisions:
    ment covers Earthquake - Sprinkler Leakage                        a.   SECTION A. COVERAGE, 5. Cov-
    Only, then Section B. of this endorsement is                           erage Extensions, c. Collapse of
    deleted and replaced by the following:                                 the BUILDING AND PERSONAL
    The following are added as Covered Causes                              PROPERTY COVERAGE FORM;
                                                                           and
    of Loss to any other Coverage Form endorsed
    to this Coverage Part:                                            b.   SECTION H. ADDITIONAL COV-
                                                                           ERAGE - COLLAPSE of the
    1.   Sprinkler Leakage resulting from Earth-
                                                                           MORTGAGE INTEREST COVER-
         quake.
                                                                           AGE FORM;
    2.   Sprinkler Leakage resulting from Volcanic                    do not apply to the coverage provided
         Eruption. Volcanic Eruption means the
                                                                      under this endorsement. This endorse-
         eruption, explosion or effusion of a volca-                  ment includes coverage for collapse
         no.                                                          caused by Earthquake or Volcanic Erup-
    All Earthquake shocks or Volcanic Eruptions                       tion.
    that occur within any 168-hour period will con-

                                    Includes copyrighted material of Insurance
FA 240 05 16                         Services Office, Inc., with its permission.                   Page 1 of 4
     4.   Any Ordinance or Law Exclusion in this                             erage Extensions, b. Business In-
          Coverage Part continues to apply with re-                          come and Extra Expense.
          spect to any direct "loss" under this Cov-
          erage Part including any direct "loss" un-               2.   If the Declarations indicate that this en-
          der this endorsement, unless Ordinance                        dorsement covers Earthquake - Sprinkler
          or Law Coverage is added by endorse-                          Leakage Only, then the Deductible set
          ment.                                                         forth in Section F.3. of this endorsement
                                                                        does not apply to such coverage. The ap-
E. Additional Exclusions                                                plicable Deductible for such coverage is
                                                                        the same Deductible that applies to Fire.
     1.   Pre-Existing Earthquake
                                                                   3.   The Deductible, if any, in this Coverage
          We will not pay for direct "loss" caused by                   Part is replaced by the following with re-
          or resulting from any Earthquake or Vol-                      spect to Earthquake and Volcanic Erup-
          canic Eruption that begins before the in-                     tion:
          ception of this insurance.
                                                                        a.   All Policies
     2. Tidal Wave or Tsunami
                                                                             (1) The Deductible provisions apply
          We will not pay for direct "loss" caused di-                           to each Earthquake or Volcanic
          rectly or indirectly by tidal wave or tsuna-                           Eruption.
          mi, even if attributable to an Earthquake
          or Volcanic Eruption.                                              (2) Separate Deductibles are calcu-
                                                                                 lated for, and apply to, each
     3.   Exterior Masonry Veneer                                                building and business personal
          We will not pay for direct "loss" to exterior                          property at each building and
          masonry veneer (except stucco) on wood                                 business personal property in
          frame walls caused by or resulting from                                the open. Deductibles are sepa-
          the Earthquake or Volcanic Eruption. The                               rately calculated and applied
          value of such veneer will not be included                              even if:
          in the value of Covered Property or the                                (a) Two or more buildings sus-
          amount of "loss" when applying the                                          tain direct "loss";
          Property Damage Deductible applicable
          to this endorsement.                                                   (b) Business personal property
                                                                                      at two or more buildings
          This Exclusion E.3. does not apply if:                                      sustains direct "loss"; or
          a.   The Declarations indicate that the                                (c) A building and the business
               "Including Masonry Veneer" option                                      personal property in that
               applies or the "premises" description                                  building  sustain   direct
               in the Declarations specifically states                                "loss".
               "Including Masonry Veneer"; or
                                                                             (3) We will not pay for direct "loss"
          b.   Less than 10% of the total outside                                until the amount of "loss" ex-
               wall area is faced with masonry ve-                               ceeds the applicable Deductible.
               neer (excluding stucco).                                          We will then pay the amount of
                                                                                 "loss" in excess of that Deducti-
     4.   Cost of Restoring Land                                                 ble, up to the applicable Limit of
          Coverage under this endorsement does                                   Insurance, after any reduction
          not include the cost of restoring or reme-                             required by any of the following:
          diating land or the cost of excavations,                               Coinsurance Condition, Agreed
          grading, backfilling or filling.                                       Value Optional Coverage, Addi-
                                                                                 tional Condition - Need for Ade-
F.   Earthquake Property Damage Deductible                                       quate Insurance, or Additional
                                                                                 Condition - Need for Full Re-
     1.   The provisions of Section F.3. of this en-                             ports.
          dorsement are applicable to all Coverage
          Forms except:                                                      (4) When property is covered under
                                                                                 the Coverage Extension for
          a.   BUSINESS INCOME (AND EXTRA                                        Newly Purchased, Leased or
               EXPENSE) COVERAGE FORM;                                           Constructed Property, in deter-
          b. BUSINESS INCOME (WITHOUT                                            mining the amount, if any, that
             EXTRA EXPENSE) COVERAGE                                             we will pay for direct "loss", we
             FORM;                                                               will deduct an amount equal to a
                                                                                 percentage of the value of the
          c.   EXTRA      EXPENSE        COVERAGE                                property at time of "loss". The
               FORM;                                                             applicable percentage for Newly
                                                                                 Purchased, Leased or Con-
          d.   BUILDING    AND  PERSONAL                                         structed Property is the highest
               PROPERTY COVERAGE FORM,                                           percentage shown in the Decla-
               SECTION A. COVERAGE, 5. Cov-                                      rations for any "premises".

                                      Includes copyrighted material of Insurance
FA 240 05 16                           Services Office, Inc., with its permission.                     Page 2 of 4
            (5) If there is direct "loss" caused by                          equal to a percentage (as shown
                Earthquake or Volcanic Erup-                                 in the Declarations, concerning
                tion, and direct "loss" caused by                            the Earthquake - Volcanic Erup-
                a Cause of Loss (e.g., fire) that                            tion Deductible) of the value of
                is covered by means of an ex-                                the property that has sustained
                ception to the Earth Movement                                direct "loss". The value to be
                Exclusion, then the only applica-                            used is that shown in the most
                ble Deductible provisions are                                recent Statement of Values on
                those stated in this endorse-                                file with us.
                ment.
                                                                        (2) Property Subject to Value Re-
       b.   Calculation of the Deductible -                                 porting Forms
            Specific Insurance Other Than
            Builders Risk                                                    In determining the amount, if
                                                                             any, that we will pay for property
            (1) Property Not Subject to Value                                that has sustained direct "loss",
                Reporting Forms                                              we will deduct an amount equal
                                                                             to a percentage (as shown in the
                In determining the amount, if                                Declarations, concerning the
                any, that we will pay for direct                             Earthquake - Volcanic Eruption
                "loss", we will deduct an amount                             Deductible) of the value of that
                equal to a percentage (as shown                              property as of the time of direct
                in the Declarations, concerning                              "loss".
                the Earthquake - Volcanic Erup-
                tion Deductible) of the Limit of          G. Examples - Application of Deductible in
                Insurance applicable to the                  F.3.:
                property that has sustained di-
                rect "loss".                                   Example #1 - Specific Insurance (F.3.b.(1))
            (2) Property Subject to Value Re-                  The amount of direct "loss" to the damaged
                porting Forms                                  building is $60,000.

                In determining the amount, if                  The value of the damaged building at time of
                any, that we will pay for direct               "loss" is $100,000. The Coinsurance percent-
                "loss", we will deduct an amount               age shown in the Declarations is 80%; the
                equal to a percentage (as shown                minimum Limit of Insurance needed to meet
                in the Declarations, concerning                the coinsurance requirement is $80,000 (80%
                the Earthquake - Volcanic Erup-                of $100,000).
                tion Deductible) of the value of               The actual Limit of Insurance on the damaged
                the property that has sustained                building is $70,000.
                direct "loss". The value to be
                used is the latest value shown in              The Deductible is 5%.
                the most recent Report of Val-
                ues on file with us.                           Step (1): $70,000 ÷ $80,000 = .875
                However:                                       Step (2): $60,000 x .875 = $52,500
                (a) If the most recent Report of               Step (3): $70,000 x 5% = $3,500
                     Values shows less than the
                     full value of the property on             Step (4): $52,500 - $3,500 = $49,000
                     the report dates, we will de-             The most we will pay is $49,000. The remain-
                     termine     the    deductible             der of the "loss", $11,000, is not covered due
                     amount as a percentage of                 to the Coinsurance penalty for inadequate in-
                     the full value as of the re-              surance (Steps (1) and (2)) and the applica-
                     port dates.                               tion of the Deductible (Steps (3) and (4)).
                (b) If the first Report of Values              Example #2 - Specific Insurance (F.3.b.(1))
                     is not filed with us prior to
                     direct "loss", we will deter-             The amounts of direct "loss" to the damaged
                     mine the deductible amount                property are $60,000 (building) and $40,000
                     as a percentage of the ap-                (business personal property in building).
                     plicable Limit of Insurance.
                                                               The value of the damaged building at time of
       c.   Calculation of the Deductible -                    "loss" is $100,000. The value of the business
            Blanket Insurance Other Than                       personal property in that building is $80,000.
            Builders Risk                                      The Coinsurance percentage shown in the
                                                               Declarations is 80%; the minimum Limits of
            (1) Property Not Subject to Value                  Insurance needed to meet the coinsurance
                Reporting Forms                                requirement are $80,000 (80% of $100,000)
                In determining the amount, if                  for the building and $64,000 (80% of $80,000)
                any, that we will pay for direct               for the business personal property.
                "loss", we will deduct an amount

                                  Includes copyrighted material of Insurance
FA 240 05 16                       Services Office, Inc., with its permission.                   Page 3 of 4
   The actual Limits of Insurance on the dam-                  ($250,000), as shown in the most recent
   aged property are $80,000 on the building and               Statement of Values on file with us, is
   $64,000 on the business personal property                   $1,500,000.
   (therefore no Coinsurance penalty).
                                                               The Coinsurance percentage shown in the
   The Deductible is 10%.                                      Declarations is 90%; the minimum Blanket
                                                               Limit of Insurance needed to meet the coin-
   Building                                                    surance requirement is $1,350,000 (90% of
   Step (1): $80,000 x 10% = $8,000                            $1,500,000).

   Step (2): $60,000 - $8,000 = $52,000                        The actual Blanket Limit of Insurance cover-
                                                               ing Buildings #1 and #2 and Business Per-
   Business Personal Property                                  sonal Property at Buildings #1 and #2, shown
                                                               in the Declarations, is $1,350,000. Therefore
   Step (1): $64,000 x 10% = $6,400                            there is no Coinsurance penalty.
   Step (2): $40,000 - $6,400 = $33,600                        Building #1 and Business Personal Property at
                                                               Building #1 have sustained damage; the
   The most we will pay is $85,600. That portion               amounts of direct "loss" are $95,000 (Building)
   of the total "loss" not covered due to applica-             and $5,000 (Business Personal Property).
   tion of the Deductible is $14,400.
                                                               The Deductible is 10%.
   Example #3 - Blanket Insurance (F.3.c.(1))
                                                               Building
   The sum of the values of Building #1
   ($500,000), Building #2 ($500,000) and Build-               Step (1): $500,000 x 10% = $50,000
   ing #3 ($1,000,000), as shown in the most re-
   cent Statement of Values on file with us, is                Step (2): $95,000 - $50,000 = $45,000
   $2,000,000.
                                                               Business Personal Property
   The Coinsurance percentage shown in the
   Declarations is 90%; the minimum Blanket                    Step (1): $250,000 x 10% = $25,000
   Limit of Insurance needed to meet the coin-                 The "loss", $5,000, does not exceed the de-
   surance requirement is $1,800,000 (90% of                   ductible.
   $2,000,000).
                                                               The most we will pay is $45,000. The remain-
   The actual Blanket Limit of Insurance cover-                der of the building "loss", $50,000, is not cov-
   ing Buildings #1, #2, and #3, shown in the                  ered due to application of the Deductible.
   Declarations, is $1,800,000 (therefore no Co-               There is no "loss" payment for the business
   insurance penalty).                                         personal property.
   Buildings #1 and #2 have sustained damage;             H. Business Income and Extra Expense Peri-
   the amounts of direct "loss" to these buildings           od of Restoration
   are $40,000 (Building #1) and $60,000 (Build-
   ing #2).                                                    This Section H. is applicable only to the Cov-
                                                               erage Forms specified below:
   The Deductible is 5%.
                                                               1.   BUSINESS INCOME (AND EXTRA EX-
   Building #1                                                      PENSE) COVERAGE FORM;
   Step (1): $500,000 x 5% = $25,000                           2.   BUSINESS INCOME (WITHOUT EXTRA
   Step (2): $40,000 - $25,000 = $15,000                            EXPENSE) COVERAGE FORM;

   Building #2                                                 3.   EXTRA EXPENSE COVERAGE FORM;
                                                                    and
   Step (1): $500,000 x 5% = $25,000
                                                               4.   BUILDING AND PERSONAL PROPER-
   Step (2): $60,000 - $25,000 = $35,000                            TY COVERAGE FORM, SECTION A.
                                                                    COVERAGE, 5. Coverage Extensions,
   The most we will pay is $50,000. That portion                    b. Business Income and Extra Ex-
   of the total "loss" not covered due to applica-                  pense.
   tion of the Deductible is $50,000.
                                                               The "period of restoration" definition stated in
   Example #4 - Blanket Insurance (F.3.c.(1))                  the Coverage Form, or in any endorsement
                                                               amending the beginning of the "period of res-
   The sum of the values of Building #1                        toration", applies to each Earthquake or Vol-
   ($500,000), Building #2 ($500,000), Business                canic Eruption. A single Earthquake or Vol-
   Personal Property at Building #1 ($250,000)                 canic Eruption is defined in Sections B. and C.
   and Business Personal Property at Building #2               of this endorsement.




                                  Includes copyrighted material of Insurance
FA 240 05 16                       Services Office, Inc., with its permission.                   Page 4 of 4
                    THE CINCINNATI                       CASUALTY COMPANY
                                              A Stock Insurance Company


                   COMMERCIAL GENERAL LIABILITY COVERAGE
                            PART DECLARATIONS
 Attached to and forming part of POLICY NUMBER: ECP 050 41 58
Named Insured is the same as it appears in the Common Policy Declarations
LIMITS OF INSURANCE
  EACH OCCURRENCE LIMIT                                           $ 1,000,000
  GENERAL AGGREGATE LIMIT                                         $ 2,000,000
  PRODUCTS-COMPLETED OPERATIONS AGGREGATE LIMIT                   $ 2,000,000
  PERSONAL & ADVERTISING INJURY LIMIT                             $ 1,000,000           ANY ONE PERSON OR
                                                                                        ORGANIZATION
  DAMAGE TO PREMISES RENTED TO YOU LIMIT                                                ANY ONE
  $100,000 limit unless otherwise indicated herein:               $ 1,000,000           PREMISES
  MEDICAL EXPENSE LIMIT
  $5,000 limit unless otherwise indicated herein:                 $ SEE GCP203MO        ANY ONE PERSON
        CLASSIFICATION              CODE       PREMIUM               RATE                 ADVANCE PREMIUM
                                     NO.          BASE
                                            A - Area          Products /    All Other    Products /       All Other
                                            B - Payroll       Completed                  Completed
                                            C - Gross Sales   Operations                 Operations
                                            D - Units
                                            E - Other
BEAUTY PARLORS AND HAIR                Redacted
STYLING SALONS (MO)

BROADENED COVERAGE                20291                                          2.5%                             150 MP
  The General Liability Coverage Part is subject to an
  annual minimum premium.
                                                                  TOTAL ANNUAL PREMIUM          $ 2,282

  FORMS AND / OR ENDORSEMENTS APPLICABLE TO COMMERCIAL GENERAL LIABILITY COVERAGE PART:
  GA101    12/04      COMMERCIAL GENERAL LIABILITY COVERAGE FORM
  GCP203MO 09/17      CINCIPAK™ COMMERCIAL GENERAL LIABILITY BROADENED ENDORSEMENT -
                      MISSOURI
  CG2625   04/05      MISSOURI CHANGES - GUARANTY ASSOCIATION
  CG2650   12/98      MISSOURI CHANGES - MEDICAL PAYMENTS
  GA302    10/01      EXCLUSION - SKIN TANNING
  GA3024   05/14      EXCLUSION - ACCESS OR DISCLOSURE OF CONFIDENTIAL OR PERSONAL
                      INFORMATION AND DATA-RELATED LIABILITY - WITH LIMITED BODILY
                      INJURY EXCEPTION
  GA4106   09/17      COSMETOLOGISTS AND BARBERS AMENDATORY ENDORSEMENT
  GA4150MO 02/02      MISSOURI CHANGES DUTIES IN THE EVENT OF OCCURRENCE, OFFENSE,
                      CLAIM OR SUIT
  GA4287MO 08/08      MISSOURI CHANGES
  GCP201   05/11      CINCIPAK™ COMMERCIAL GENERAL LIABILITY AMENDATORY ENDORSEMENT




     GAQ532 07 08                             ECP 050 41 58                                    Page 1 of 1
          COMMERCIAL GENERAL LIABILITY COVERAGE FORM
Various provisions in this Coverage Part restrict                      SUPPLEMENTARY PAYMENTS - COV-
this insurance. Read the entire Coverage Part                          ERAGES A AND B.
carefully to determine rights, duties and what is
and is not covered.                                               b.   This insurance applies to "bodily injury"
                                                                       and "property damage" only if:
Throughout this Coverage Part the words "you"
and "your" refer to the Named Insured shown in                         (1) The "bodily injury" or "property dam-
the Declarations, and any other person or organi-                          age" is caused by an "occurrence"
zation qualifying as a Named Insured under this                            that takes place in the "coverage ter-
Coverage Part. The words "we", "us" and "our"                              ritory";
refer to the Company providing this insurance.                         (2) The "bodily injury" or "property dam-
The word "insured" means any person or organi-                             age" occurs during the policy period;
zation qualifying as such under SECTION II - WHO                           and
IS AN INSURED.                                                         (3) Prior to the "coverage term" in which
Other words and phrases that appear in quotation                           "bodily injury" or "property damage"
marks have special meaning. Refer to SECTION                               occurs, you did not know, per Para-
V - DEFINITIONS.                                                           graph 1.d. below, that the "bodily in-
                                                                           jury" or "property damage" had oc-
SECTION I - COVERAGES                                                      curred or had begun to occur, in
                                                                           whole or in part.
COVERAGE A. BODILY INJURY AND PROP-
ERTY DAMAGE LIABILITY                                             c.   "Bodily injury" or "property damage"
                                                                       which:
1.   Insuring Agreement
                                                                       (1) Occurs during the "coverage term";
     a.   We will pay those sums that the insured                          and
          becomes legally obligated to pay as
          damages because of "bodily injury" or                        (2) Was not, prior to the "coverage
          "property damage" to which this insur-                           term", known by you, per Paragraph
          ance applies. We will have the right and                         1.d. below, to have occurred;
          duty to defend the insured against any
          "suit" seeking those damages. However,                       includes any continuation, change or re-
          we will have no duty to defend the in-                       sumption of that "bodily injury" or "prop-
          sured against any "suit" seeking dam-                        erty damage" after the end of the "cover-
          ages for "bodily injury" or "property dam-                   age term" in which it first became known
          age" to which this insurance does not                        by you.
          apply. We may, at our discretion, investi-              d.   You will be deemed to know that "bodily
          gate any "occurrence" and settle any                         injury" or "property damage" has oc-
          claim or "suit" that may result. But:                        curred at the earliest time when any
          (1) The amount we will pay for damages                       "authorized representative":
              is limited as described in SECTION                       (1) Reports all, or any part, of the "bodily
              III - LIMITS OF INSURANCE; and                               injury" or "property damage" to us or
          (2) Our right and duty to defend ends                            any other insurer;
              when we have used up the applica-                        (2) Receives a written or verbal demand
              ble limit of insurance in the payment                        or claim for damages because of the
              of judgments or settlements under                            "bodily injury" or "property damage";
              SECTION I - COVERAGES, COV-
              ERAGE A. BODILY INJURY AND                               (3) First observes, or reasonably should
              PROPERTY DAMAGE LIABILITY;                                   have first observed, the "bodily in-
              SECTION I - COVERAGES, COV-                                  jury" or "property damage";
              ERAGE B. PERSONAL AND AD-
              VERTISING INJURY LIABILITY; or                           (4) Becomes aware, or reasonably
              medical expenses under SECTION I                             should have become aware, by any
              - COVERAGES, COVERAGE C.                                     means other than as described in (3)
              MEDICAL PAYMENTS.                                            above, that "bodily injury" or "prop-
                                                                           erty damage" had occurred or had
          No other obligation or liability to pay sums                     begun to occur; or
          or perform acts or services is covered
          unless expressly provided for under                          (5) Becomes aware, or reasonably
                                                                           should have become aware, of a

                                   Includes copyrighted material of Insurance
GA 101 12 04                        Services Office, Inc., with its permission.                     Page 1 of 22
              condition from which "bodily injury"                     (3) Any statute, ordinance or regulation
              or "property damage" is substantially                        relating to the sale, gift, distribution
              certain to occur.                                            or use of alcoholic beverages.
     e.   Damages because of "bodily injury" in-                       This exclusion applies only if you are in
          clude damages claimed by any person or                       the business of manufacturing, distribut-
          organization for care, loss of services or                   ing, selling, serving or furnishing alcoholic
          death resulting at any time from the "bod-                   beverages.
          ily injury".
                                                                  d.   Workers' Compensation and Similar
2.   Exclusions                                                        Laws
     This insurance does not apply to:                                 Any obligation of the insured under a
                                                                       workers' compensation, disability benefits
     a.   Expected or Intended Injury                                  or unemployment compensation law or
          "Bodily injury" or "property damage"                         any similar law.
          which may reasonably be expected to re-                 e.   Employer's Liability
          sult from the intentional or criminal acts of
          the insured or which is in fact expected or                  "Bodily injury" to:
          intended by the insured, even if the injury
          or damage is of a different degree or type                   (1) An "employee" of the insured sus-
          than actually expected or intended. This                         tained in the "workplace";
          exclusion does not apply to "bodily injury"                  (2) An "employee" of the insured arising
          resulting from the use of reasonable force                       out of the performance of duties re-
          to protect persons or property.                                  lated to the conduct of the insured's
     b.   Contractual Liability                                            business; or

          "Bodily injury" or "property damage" for                     (3) The spouse, child, parent, brother or
          which the insured is obligated to pay                            sister of that "employee" as a conse-
          damages by reason of the assumption of                           quence of Paragraphs (1) or (2)
          liability in a contract or agreement. This                       above.
          exclusion does not apply to liability for                    This exclusion applies:
          damages:
                                                                       (1) Whether the insured may be liable
          (1) That the insured would have in the                           as an employer or in any other ca-
              absence of the contract or agree-                            pacity; and
              ment; or
                                                                       (2) To any obligation to share damages
          (2) Assumed in a contract or agreement                           with or repay someone else who
              that is an "insured contract", pro-                          must pay damages because of the
              vided the "bodily injury" or "property                       injury.
              damage" occurs subsequent to the
              execution of the contract or agree-                      This exclusion does not apply to liability
              ment. When a claim for such "bodily                      assumed by the insured under an "in-
              injury" or "property damage" is                          sured contract".
              made, we will defend that claim pro-
              vided the insured has assumed the                   f.   Pollutant
              obligation to defend such claim in the                   (1) "Bodily injury" or "property damage"
              "insured contract". Such defense                             arising out of the actual, alleged or
              payments will not reduce the limits of                       threatened discharge, dispersal,
              insurance.                                                   seepage, migration, release, escape
     c.   Liquor Liability                                                 or emission of "pollutants":

          "Bodily injury" or "property damage" for                          (a) At or from any premises, site or
          which any insured may be held liable by                               location which is or was at any
          reason of:                                                            time owned or occupied by, or
                                                                                rented or loaned to, any insured.
          (1) Causing or contributing to the intoxi-                            However, Paragraph (a) does
              cation of any person;                                             not apply to:
          (2) The furnishing of alcoholic bever-                                  1)   "Bodily injury" to any person
              ages to a person under the legal                                         injured while on any prem-
              drinking age or under the influence                                      ises, site or location owned
              of alcohol; or                                                           or occupied by, or rented or
                                                                                       loaned to, you provided:

                                   Includes copyrighted material of Insurance
GA 101 12 04                        Services Office, Inc., with its permission.                      Page 2 of 22
               a)   The injury is caused by                                   airborne irritants or con-
                    the inadequate ventila-                                   taminants used in a manu-
                    tion of vapors;                                           facturing process or which
                                                                              is the product or by-product
               b)   The person injured is                                     of any manufacturing proc-
                    first exposed to such                                     ess;
                    vapors during the pol-
                    icy period; and                                      2)   "Bodily injury" or "property
                                                                              damage" for which you may
               c)   Within 30 days of such                                    be held liable, if you are a
                    first exposure, the per-                                  contractor, and the owner
                    son injured is clinically                                 or lessee of such premises,
                    diagnosed or treated                                      site or location has been
                    by a physician for the                                    added to this Coverage Part
                    medical          condition                                as an additional insured
                    caused by the expo-                                       with respect to your ongo-
                    sure to such vapors.                                      ing operations or "your
                    However, Paragraph c)                                     work" performed for that
                    does not apply if the                                     additional insured at that
                    "bodily injury" is caused                                 premises, site or location
                    by vapors produced by                                     and such premises, site or
                    or     originating   from                                 location is not and never
                    equipment that is used                                    was owned or occupied by,
                    to heat, cool or dehu-                                    or rented or loaned to, any
                    midify the building, or                                   insured, other than that ad-
                    equipment that is used                                    ditional insured; or
                    to heat water for per-
                    sonal use, by the                                    3)   "Bodily injury" or "property
                    building's occupants or                                   damage" arising out of heat,
                    their guests.                                             smoke or fumes from a
                                                                              "hostile fire";
               This exception 1) shall ap-
               ply only to Named Insureds;                        (b) At or from any premises, site or
               we shall have no duty to                               location which is or was at any
               defend or pay damages for                              time used by or for any insured
               any person or organization                             or others for the handling, stor-
               that is not a Named In-                                age, disposal, processing or
               sured. However, this para-                             treatment of waste;
               graph does not apply if the
               "bodily injury" is caused by                       (c) Which are or were at any time
               vapors produced by or                                  transported, handled, stored,
               originating from equipment                             treated, disposed of, or proc-
               that is used to heat, cool or                          essed as waste by or for:
               dehumidify the building, or                               1)   Any insured; or
               equipment that is used to
               heat water for personal use,                              2)   Any person or organization
               by the building's occupants                                    for whom you may be le-
               or their guests.                                               gally responsible;
               For the purpose of the ex-                         (d) At or from any premises, site or
               ception granted in Para-                               location on which any insured or
               graph 1) only, vapors                                  any contractors or subcontrac-
               means any gaseous or air-                              tors working directly or indirectly
               borne irritant or airborne                             on any insured's behalf are
               contaminant,       including                           performing operations if the
               smoke, fumes, vapor or                                 "pollutants" are brought on or to
               soot, but excluding asbes-                             the premises, site or location in
               tos, which is discharged,                              connection with such operations
               dispersed,    emitted,    re-                          by such insured, contractor or
               leased or escapes from                                 subcontractor. However, Para-
               materials, machinery or                                graph (d) does not apply to:
               equipment used in the
               service or maintenance of                                 1)   "Bodily injury" or "property
               the premises. Vapors does                                      damage" arising out of the
               not mean any gaseous or                                        discharge, dispersal, seep-
                                                                              age, migration, release, es-
                          Includes copyrighted material of Insurance
GA 101 12 04               Services Office, Inc., with its permission.                      Page 3 of 22
                    cape or emission of fuels,                                erations are to test for, monitor,
                    lubricants or other operating                             clean up, remove, contain, treat,
                    fluids, or exhaust gases,                                 detoxify or neutralize, or in any
                    which are needed to per-                                  way respond to, or assess the
                    form, or are the result of,                               effects of, "pollutants".
                    the normal electrical, hy-
                    draulic or mechanical func-                    (2) Any loss, cost or expense arising out
                    tions necessary for the op-                        of any:
                    eration of "mobile equip-                          (a) Request, demand, order or
                    ment" or its parts, if such                            statutory or regulatory require-
                    fuels, lubricants or other                             ment that any insured or others
                    operating fluids, or exhaust                           test for, monitor, clean up, re-
                    gases, escape, seep or mi-                             move, contain, treat, detoxify or
                    grate, or are discharged,                              neutralize, or in any way re-
                    dispersed,     released     or                         spond to, or assess the effects
                    emitted from a vehicle part                            of, "pollutants"; or
                    designed to hold, store or
                    receive them. This excep-                          (b) Claim or suit by or on behalf of a
                    tion does not apply if the fu-                         governmental authority for dam-
                    els, lubricants or other op-                           ages because of testing for,
                    erating fluids, or exhaust                             monitoring, cleaning up, remov-
                    gases, escape, seep or mi-                             ing, containing, treating, detoxi-
                    grate, or are discharged,                              fying or neutralizing, or in any
                    dispersed,     released     or                         way responding to, or assessing
                    emitted with the intent to                             the effects of, "pollutants".
                    cause "bodily injury" or
                    "property damage" or with                          However, Paragraphs (2)(a) and (b)
                    the knowledge that "bodily                         do not apply to liability for damages
                    injury" or "property damage"                       because of "property damage" that
                    is substantially certain to                        the insured would have in the ab-
                    occur, or if such fuels, lubri-                    sence of such request, demand, or-
                    cants or other operating                           der or statutory or regulatory re-
                    fluids, or exhaust gases,                          quirement, or such claim or "suit" by
                    are brought on or to the                           or on behalf of a governmental
                    premises, site or location                         authority.
                    with such intent to escape,               g.   Aircraft, Auto or Watercraft
                    seep or migrate, or be dis-
                    charged, dispersed, re-                        "Bodily injury" or "property damage" aris-
                    leased or emitted as part of                   ing out of the ownership, maintenance,
                    the operations being per-                      use or entrustment to others of any air-
                    formed by such insured,                        craft, "auto" or watercraft owned or oper-
                    contractor or subcontractor;                   ated by or rented or loaned to any in-
                                                                   sured.     Use includes operation and
               2)   "Bodily injury" or "property                   "loading or unloading".
                    damage" sustained within a
                    building and caused by the                     This exclusion applies even if the claims
                    release of gases, fumes or                     against any insured allege negligence or
                    vapors      from    materials                  other wrongdoing in the supervision, hir-
                    brought into that building in                  ing, employment, training or monitoring of
                    connection with operations                     others by that insured, if the "occurrence"
                    being performed by you or                      which caused the "bodily injury" or "prop-
                    on your behalf by a con-                       erty damage" involved the ownership,
                    tractor or subcontractor; or                   maintenance, use or entrustment to oth-
                                                                   ers of any aircraft, "auto" or watercraft
               3)   "Bodily injury" or "property                   that is owned or operated by or rented or
                    damage" arising out of heat,                   loaned to any insured.
                    smoke or fumes from a
                    "hostile fire"; or                             This exclusion does not apply to:
           (e) At or from any premises, site or                    (1) A watercraft while ashore on prem-
               location on which any insured or                        ises you own or rent;
               any contractors or subcontrac-
               tors working directly or indirectly                 (2) A watercraft you do not own that is:
               on any insured's behalf are                             (a) Less than 51 feet long; and
               performing operations if the op-

                               Includes copyrighted material of Insurance
GA 101 12 04                    Services Office, Inc., with its permission.                      Page 4 of 22
              (b) Not being used to carry persons                         governmental authority in hindering
                  or property for a charge;                               or defending against any of these.
        (3) Parking an "auto" on, or on the ways                 j.   Damage to Property
            next to, premises you own or rent,
            provided the "auto" is not owned by                       "Property damage" to:
            or rented or loaned to you or the in-                     (1) Property you own, rent or occupy,
            sured;                                                        including any costs or expenses in-
        (4) Liability assumed under any "insured                          curred by you, or any other person,
            contract" for the ownership, mainte-                          organization or entity, for repair, re-
            nance or use of aircraft or watercraft;                       placement, enhancement, restora-
            or                                                            tion or maintenance of such property
                                                                          for any reason, including prevention
        (5) "Bodily injury" or "property damage"                          of injury to a person or damage to
            arising out of:                                               another's property;
              (a) The operation of machinery or                       (2) Premises you sell, give away or
                  equipment that is on, attached                          abandon, if the "property damage"
                  to, or part of, a land vehicle that                     arises out of any part of those prem-
                  would qualify under the defini-                         ises;
                  tion of "mobile equipment" if it
                  were not subject to a compul-                       (3) Property loaned to you;
                  sory or financial responsibility                    (4) Personal property in the care, cus-
                  law or other motor vehicle insur-                       tody or control of an insured;
                  ance law in the state where it is
                  licensed or principally garaged;                    (5) That particular part of real property
                  or                                                      on which you or any contractors or
                                                                          subcontractors working directly or
              (b) The operation of any of the ma-                         indirectly on your behalf are per-
                  chinery or equipment listed in                          forming operations, if the "property
                  Paragraph f.(2) or f.(3) of the                         damage" arises out of those opera-
                  definition of "mobile equipment".                       tions; or
   h.   Mobile Equipment                                              (6) That particular part of any property
        "Bodily injury" or "property damage" aris-                        that must be restored, repaired or
        ing out of:                                                       replaced because "your work" was
                                                                          incorrectly performed on it.
        (1) The transportation of "mobile equip-
            ment" by an "auto" owned or oper-                         Paragraphs (1), (3) and (4) of this exclu-
            ated by or rented or loaned to any                        sion do not apply to "property damage"
            insured; or                                               (other than damage by fire or explosion)
                                                                      to premises, including the contents of
        (2) The use of "mobile equipment" in, or                      such premises, rented to you for a period
            while in practice for, or while being                     of 7 or fewer consecutive days, for which
            prepared for, any prearranged rac-                        the amount we will pay is limited to the
            ing, speed, demolition, or stunting                       Damage To Premises Rented To You
            activity.                                                 Limit as described in SECTION III - LIM-
                                                                      ITS OF INSURANCE.
   i.   War
                                                                      Paragraph (2) of this exclusion does not
        "Bodily injury" or "property damage",                         apply if the premises are "your work" and
        however caused, arising, directly or indi-                    were never occupied, rented or held for
        rectly, out of:                                               rental by you.
        (1) War, including undeclared or civil                        Paragraphs (3), (4), (5) and (6) of this ex-
            war;                                                      clusion do not apply to liability assumed
        (2) Warlike action by a military force, in-                   under a sidetrack agreement.
            cluding action in hindering or de-                        Paragraph (6) of this exclusion does not
            fending against an actual or ex-                          apply to "property damage" included in
            pected attack, by any government,                         the "products-completed operations haz-
            sovereign or other authority using                        ard".
            military personnel or other agents; or
                                                                 k.   Damage to Your Product
        (3) Insurrection, rebellion, revolution,
            usurped power, or action taken by                         "Property damage" to "your product"
                                                                      arising out of it or any part of it.
                                  Includes copyrighted material of Insurance
GA 101 12 04                       Services Office, Inc., with its permission.                     Page 5 of 22
   l.   Damage to Your Work                                     q.   Employment-Related Practices
        "Property damage" to "your work" arising                     "Bodily injury" to:
        out of it or any part of it and included in
        the "products-completed operations haz-                      (1) A person arising out of any:
        ard".                                                             (a) Refusal to employ that person;
        This exclusion does not apply if the dam-                         (b) Termination of      that person's
        aged work or the work out of which the                                employment; or
        damage arises was performed on your
        behalf by a subcontractor.                                        (c) Other employment-related prac-
                                                                              tices, policies, acts or omissions
   m. Damage to Impaired Property or Prop-                                    including but not limited to coer-
      erty Not Physically Injured                                             cion,      criticism,    demotion,
        "Property damage" to "impaired property"                              evaluation, failure to promote,
        or property that has not been physically                              reassignment, discipline, defa-
        injured, arising out of:                                              mation, harassment, humiliation
                                                                              or discrimination directed at that
        (1) A defect, deficiency, inadequacy or                               person; or
            dangerous condition in "your prod-
            uct" or "your work"; or                                  (2) The spouse, child, parent, brother or
                                                                         sister of that person as a conse-
        (2) A delay or failure by you or anyone                          quence of "bodily injury" to that per-
            acting on your behalf to perform a                           son at whom any of the employment-
            contract or agreement in accordance                          related practices described in Para-
            with its terms.                                              graphs (a), (b) or (c) above is di-
                                                                         rected.
        This exclusion does not apply to the loss
        of use of other property arising out of                      This exclusion applies:
        sudden and accidental physical injury to
        "your product" or "your work" after it has                   (1) Whether the insured may be liable
        been put to its intended use.                                    as an employer or in any other ca-
                                                                         pacity; and
   n.   Recall of Products, Work or Impaired
        Property                                                     (2) To any obligation to share damages
                                                                         with or repay someone else who
        Any liability or damages claimed for any                         must pay damages because of the
        loss, cost or expense incurred by you or                         injury.
        others for the loss of use, withdrawal, re-
        call, inspection, repair, replacement, ad-              r.   Additional Insured Prior Knowledge
        justment, removal or disposal of:                            An additional insured added by attach-
        (1) "Your product";                                          ment of an endorsement to this Coverage
                                                                     Part that is seeking coverage for a claim
        (2) "Your work"; or                                          or "suit", if that additional insured knew,
                                                                     per the following paragraph, that "bodily
        (3) "Impaired property";                                     injury" or "property damage" had oc-
        if such product, work or property is with-                   curred or had begun to occur, in whole or
        drawn or recalled from the market or from                    in part, prior to the "coverage term" in
        use by any person or organization be-                        which such "bodily injury" or "property
        cause of a known or suspected defect,                        damage" occurs or begins to occur.
        deficiency, inadequacy or dangerous                          An additional insured added by attach-
        condition in it.                                             ment of an endorsement to this Coverage
   o.   Personal and Advertising Injury                              Part will be deemed to have known that
                                                                     "bodily injury" or "property damage" has
        "Bodily injury" arising out of "personal and                 occurred or has begun to occur at the
        advertising injury".                                         earliest time when that additional insured,
                                                                     or any one of its owners, members, part-
   p.   Asbestos                                                     ners, managers, executive officers, "em-
        "Bodily injury" or "property damage" aris-                   ployees" assigned to manage that addi-
        ing out of, attributable to, or any way re-                  tional insured's insurance program, or
        lated to asbestos in any form or trans-                      "employees" assigned to give or receive
        mitted in any manner.                                        notice of an "occurrence", "personal and
                                                                     advertising injury" offense, claim or "suit":



                                 Includes copyrighted material of Insurance
GA 101 12 04                      Services Office, Inc., with its permission.                     Page 6 of 22
           (1) Reports all, or any part, of the "bodily             a.   We will pay those sums that the insured
               injury" or "property damage" to us or                     becomes legally obligated to pay as
               any other insurer;                                        damages because of "personal and ad-
                                                                         vertising injury" to which this insurance
           (2) Receives a written or verbal demand                       applies. We will have the right and duty
               or claim for damages because of the                       to defend the insured against any "suit"
               "bodily injury" or "property damage";                     seeking those damages. However, we
           (3) First observes, or reasonably should                      will have no duty to defend the insured
               have first observed, the "bodily in-                      against any "suit" seeking damages for
               jury" or "property damage";                               "personal and advertising injury" to which
                                                                         this insurance does not apply. We may,
           (4) Becomes aware, or reasonably                              at our discretion, investigate any offense
               should have become aware, by any                          and settle any claim or "suit" that may re-
               means other than as described in (3)                      sult. But:
               above, that "bodily injury" or "prop-
               erty damage" had occurred or had                          (1) The amount we will pay for damages
               begun to occur; or                                            is limited as described in SECTION
                                                                             III - LIMITS OF INSURANCE; and
           (5) Becomes aware, or reasonably
               should have become aware, of a                            (2) Our right and duty to defend ends
               condition from which "bodily injury"                          when we have used up the applica-
               or "property damage" is substantially                         ble limit of insurance in the payment
               certain to occur.                                             of judgments or settlements under
                                                                             SECTION I - COVERAGES, COV-
     s.    Electronic Data                                                   ERAGE A. BODILY INJURY AND
                                                                             PROPERTY DAMAGE LIABILITY;
           Damages arising out of the loss of, loss                          SECTION I - COVERAGES, COV-
           of use of, damage to, corruption of, in-                          ERAGE B. PERSONAL AND AD-
           ability to access, or inability to manipulate                     VERTISING INJURY LIABILITY; or
           "electronic data".                                                medical expenses under SECTION I
     t.    Distribution of Material in Violation of                          - COVERAGES, COVERAGE C.
           Statutes                                                          MEDICAL PAYMENTS.

           "Bodily injury" or "property damage" aris-                    No other obligation or liability to pay sums
           ing directly or indirectly out of any action                  or perform acts or services is covered
           or omission that violates or is alleged to                    unless expressly provided for under
           violate:                                                      SUPPLEMENTARY PAYMENTS - COV-
                                                                         ERAGES A AND B.
          a.   The Telephone Consumer Protection
               Act (TCPA), including any amend-                     b.   This insurance applies to "personal and
               ment of or addition to such law; or                       advertising injury" only if:

          b.   The CAN-SPAM Act of 2003, includ-                         (1) The "personal and advertising injury"
               ing any amendment of or addition to                           is caused by an offense arising out
               such law; or                                                  of your business; and

          c.   Any statute, ordinance or regulation,                     (2) The "personal and advertising injury"
               other than the TCPA or CAN-SPAM                               offense was committed in the "cov-
               Act of 2003, that prohibits or limits the                     erage territory" during the policy pe-
               sending, transmitting, communicating                          riod; and
               or distribution of material or informa-                   (3) Prior to the "coverage term" in which
               tion.                                                         the "personal and advertising injury"
     Exclusions c. through q. do not apply to                                offense is committed, you did not
     "property damage" by fire or explosion to                               know, per Paragraph 1.d. below, that
     premises while rented to you or temporarily                             the offense had been committed or
     occupied by you with permission of the owner,                           had begun to be committed, in whole
     for which the amount we will pay is limited to                          or in part.
     the Damage to Premises Rented To You Limit                     c.   "Personal and advertising injury" caused
     as described in SECTION III - LIMITS OF IN-                         by an offense which:
     SURANCE.
                                                                         (1) Was committed during the "coverage
COVERAGE B. PERSONAL AND ADVERTISING                                         term"; and
INJURY LIABILITY
1.   Insuring Agreement

                                     Includes copyrighted material of Insurance
GA 101 12 04                          Services Office, Inc., with its permission.                     Page 7 of 22
          (2) Was not, prior to the "coverage                            (1) The inception of this Coverage Part;
              term", known by you, per Paragraph                             or
              1.d. below, to have been committed;
                                                                         (2) The "coverage term" in which insur-
          includes any continuation, change or re-                           ance coverage is sought.
          sumption of that offense after the end of
          the "coverage term" in which it first be-                 d.   Criminal Acts
          came known by you.                                             "Personal and advertising injury" arising
     d.   You will be deemed to know that a "per-                        out of a criminal act committed by or at
          sonal and advertising injury" offense has                      the direction of the insured.
          been committed at the earliest time when                  e.   Contractual Liability
          any "authorized representative":
                                                                         "Personal and advertising injury" for
          (1) Reports all, or any part, of the "per-                     which the insured is obligated to pay
              sonal and advertising injury" to us or                     damages by reason of the assumption of
              any other insurer;                                         liability in a contract or agreement. This
          (2) Receives a written or verbal demand                        exclusion does not apply to liability for
              or claim for damages because of the                        damages:
              "personal and advertising injury";                         (1) That the insured would have in the
          (3) First observes, or reasonably should                           absence of the contract or agree-
              have first observed, the offense that                          ment; or
              caused the "personal and advertis-                         (2) Assumed in a contract or agreement
              ing injury";                                                   that is an "insured contract", pro-
          (4) Becomes aware, or reasonably                                   vided the "personal and advertising
              should have become aware, by any                               injury" is caused by or arises out of
              means, other than as described in                              an offense committed subsequent to
              (3) above, that the offense had been                           the execution of the contract or
              committed or had begun to be com-                              agreement. When a claim for such
              mitted; or                                                     "personal and advertising injury" is
                                                                             made, we will defend that claim, pro-
          (5) Becomes aware, or reasonably                                   vided the insured has assumed the
              should have become aware, of a                                 obligation to defend such claim in the
              condition from which "personal and                             "insured contract". Such defense
              advertising injury" is substantially                           payments will not reduce the limits of
              certain to occur.                                              insurance.
2.   Exclusions                                                     f.   Breach of Contract
     This insurance does not apply to:                                   "Personal and advertising injury" arising
                                                                         out of a breach of contract, except an im-
     a.   Knowing Violation of Rights of Another                         plied contract to use another's advertising
          "Personal and advertising injury" caused                       idea in your "advertisement".
          by or at the direction of the insured with                g.   Quality or Performance of Goods -
          the knowledge that the act would violate                       Failure to Conform to Statements
          the rights of another and would inflict
          "personal and advertising injury".                             "Personal and advertising injury" arising
                                                                         out of the failure of goods, products or
     b.   Material Published With Knowledge of                           services to conform with any statement of
          Falsity                                                        quality or performance made in your "ad-
          "Personal and advertising injury" arising                      vertisement".
          out of oral or written publication of mate-               h.   Wrong Description of Prices
          rial, if done by or at the direction of the in-
          sured with knowledge of its falsity.                           "Personal and advertising injury" arising
                                                                         out of the wrong description of the price
     c.   Material Published Prior to Coverage                           of goods, products or services stated in
          Term                                                           your "advertisement".
          "Personal and advertising injury" arising                 i.   Infringement of Copyright,         Patent,
          out of oral or written publication of mate-                    Trademark or Trade Secret
          rial whose first publication took place be-
          fore the later of the following:                               "Personal and advertising injury" arising
                                                                         out of the infringement of copyright, pat-


                                     Includes copyrighted material of Insurance
GA 101 12 04                          Services Office, Inc., with its permission.                    Page 8 of 22
        ent, trademark, trade secret or other in-                               or discrimination directed at that
        tellectual property rights.                                             person; or
        However, this exclusion does not apply to                    (2) The spouse, child, parent, brother or
        infringement, in your "advertisement", of                        sister of that person as a conse-
        copyright, trade dress or slogan.                                quence of "personal and advertising
                                                                         injury" to that person at whom any of
   j.   Insureds in Media and Internet Type                              the employment-related practices
        Businesses                                                       described in Paragraphs (a), (b) or
        "Personal and advertising injury" com-                           (c) above is directed.
        mitted by an insured whose business is:                      This exclusion applies:
        (1) Advertising, broadcasting, publishing                    (1) Whether the insured may be liable
            or telecasting;                                              as an employer or in any other ca-
        (2) Designing or determining content of                          pacity; and
            web-sites for others; or                                 (2) To any obligation to share damages
        (3) An Internet search, access, content                          with or repay someone else who
            or service provider.                                         must pay damages because of the
                                                                         injury.
        However, this exclusion does not apply to
        Paragraphs 17. a., b. and c. of "personal               n.   Pollutant
        and advertising injury" under SECTION V                      "Personal and advertising injury" arising
        - DEFINITIONS.                                               out of the actual, alleged or threatened
        For the purposes of this exclusion, the                      discharge, dispersal, seepage, migration,
        placing of frames, borders or links, or ad-                  release, escape or emission of "pollut-
        vertising, for you or others anywhere on                     ants" at any time.
        the Internet is not, by itself, considered              o.   Pollutant-Related
        the business of advertising, broadcasting,
        publishing or telecasting.                                   Any loss, cost or expense arising out of
                                                                     any:
   k.   Electronic    Chatrooms      or    Bulletin
        Boards                                                       (1) Request, demand, order or statutory
                                                                         or regulatory requirement that any
        "Personal and advertising injury" arising                        insured or others test for, monitor,
        out of an electronic chatroom or bulletin                        clean up, remove, contain, treat,
        board any insured hosts, owns, or over                           detoxify or neutralize, or in any way
        which any insured exercises control.                             respond to, or assess the effects of,
   l.   Unauthorized Use of Another's Name                               "pollutants"; or
        or Product                                                   (2) Claim or suit by or on behalf of a
        "Personal and advertising injury" arising                        governmental authority for damages
        out of the unauthorized use of another's                         because of testing for, monitoring,
        name or product in your e-mail address,                          cleaning up, removing, containing,
        domain name or metatag, or any other                             treating, detoxifying or neutralizing,
        similar tactics to mislead another's poten-                      or in any way responding to, or as-
        tial customers.                                                  sessing the effects of, "pollutants".

   m. Employment Related Practices                              p.   Asbestos

        "Personal and advertising injury" to:                        "Personal and advertising injury" arising
                                                                     out of, attributable to, or any way related
        (1) A person arising out of any:                             to asbestos in any form or transmitted in
                                                                     any manner.
            (a) Refusal to employ that person;
                                                                q.   Additional Insured Prior Knowledge
            (b) Termination of      that person's
                employment; or                                       An additional insured added by attach-
                                                                     ment of an endorsement to this Coverage
            (c) Other employment-related prac-                       Part that is seeking coverage for a claim
                tices, policies, acts or omissions                   or "suit", if that additional insured knew,
                including but not limited to coer-                   per the following paragraph, that a "per-
                cion,      criticism,    demotion,                   sonal and advertising injury" offense had
                evaluation, failure to promote,                      been committed or had begun to be
                reassignment, discipline, defa-                      committed, in whole or in part, prior to the
                mation, harassment, humiliation                      "coverage term" in which such offense
                                 Includes copyrighted material of Insurance
GA 101 12 04                      Services Office, Inc., with its permission.                      Page 9 of 22
        was committed or began to be commit-                          "Personal and advertising injury" arising
        ted.                                                          directly or indirectly out of any action or
                                                                      omission that violates or is alleged to
        An additional insured added by attach-                        violate:
        ment of an endorsement to this Coverage
        Part will be deemed to have known that a                     a.   The Telephone Consumer Protection
        "personal and advertising injury" offense                         Act (TCPA), including any amend-
        has been committed or has begun to be                             ment of or addition to such law; or
        committed at the earliest time when that
        additional insured, or any one of its own-                   b.   The CAN-SPAM Act of 2003, includ-
        ers, members, partners, managers, ex-                             ing any amendment of or addition to
        ecutive officers, "employees" assigned to                         such law; or
        manage that additional insured's insur-                      c.   Any statute, ordinance or regulation,
        ance program, or "employees" assigned                             other than the TCPA or CAN-SPAM
        to give or receive notice of an "occur-                           Act of 2003, that prohibits or limits the
        rence", "personal and advertising injury"                         sending, transmitting, communicating
        offense, claim or "suit":                                         or distribution of material or informa-
        (1) Reports all, or any part, of the "per-                        tion.
            sonal and advertising injury" to us or         COVERAGE C. MEDICAL PAYMENTS
            any other insurer;
                                                           1.   Insuring Agreement
        (2) Receives a written or verbal demand
            or claim for damages because of the                 a.    We will pay medical expenses as de-
            "personal and advertising injury";                        scribed below for "bodily injury" caused
                                                                      by an accident:
        (3) First observes, or reasonably should
            have first observed, the offense that                     (1) On premises you own or rent;
            caused the "personal and advertis-
            ing injury";                                              (2) On ways next to premises you own
                                                                          or rent; or
        (4) Becomes aware, or reasonably
            should have become aware, by any                          (3) Because of your operations;
            means other than as described in (3)                      provided that:
            above, that the "personal and adver-
            tising injury" offense had been com-                      (1) The accident takes place in the
            mitted or had begun to be commit-                             "coverage territory" and during the
            ted; or                                                       policy period;
        (5) Becomes aware, or reasonably                              (2) The expenses are incurred and re-
            should have become aware, of a                                ported to us within three years of the
            condition from which "personal and                            date of the accident; and
            advertising injury" is substantially
            certain to occur.                                         (3) The injured person submits to ex-
                                                                          amination, at our expense, by physi-
   r.   War                                                               cians of our choice as often as we
                                                                          reasonably require.
        "Personal and advertising injury", how-
        ever caused, arising, directly or indirectly,           b.    We will make these payments regardless
        out of:                                                       of fault. These payments will not exceed
                                                                      the applicable limit of insurance. We will
        (1) War, including undeclared or civil                        pay reasonable expenses for:
            war;
                                                                      (1) First aid administered at the time of
        (2) Warlike action by a military force, in-                       an accident;
            cluding action in hindering or de-
            fending against an actual or ex-                          (2) Necessary medical, surgical, x-ray
            pected attack, by any government,                             and dental services, including pros-
            sovereign or other authority using                            thetic devices; and
            military personnel or other agents; or
                                                                      (3) Necessary ambulance, hospital,
        (3) Insurrection, rebellion, revolution,                          professional nursing and funeral
            usurped power, or action taken by                             services.
            governmental authority in hindering
            or defending against any of these.             2.   Exclusions

   s.   Distribution of Material in Violation of                We will not pay expenses for "bodily injury":
        Statutes

                                 Includes copyrighted material of Insurance
GA 101 12 04                      Services Office, Inc., with its permission.                     Page 10 of 22
     a.   Any Insured                                             cluding actual loss of earnings up to $250 a
                                                                  day because of time off from work.
          To any insured, except "volunteer work-
          ers".                                              5.   All costs taxed against the insured in the
                                                                  "suit".
     b.   Hired Person
                                                             6.   Prejudgment interest awarded against the
          To a person hired to do work for or on                  insured on that part of the judgment we be-
          behalf of any insured or a tenant of any                come obligated to pay and which falls within
          insured.                                                the applicable limit of insurance. If we make
     c.   Injury on Normally Occupied Premises                    an offer to pay the applicable limit of insur-
                                                                  ance, we will not pay any prejudgment interest
          To a person injured on that part of prem-               based on that period of time after the offer.
          ises you own or rent that the person nor-
          mally occupies.                                    7.   All interest on the full amount of any judgment
                                                                  that accrues after entry of the judgment and
     d.   Workers' Compensation and Similar                       before we have paid, offered to pay, or de-
          Laws                                                    posited in court the part of the judgment that
                                                                  is within the applicable limit of insurance.
          To a person, whether or not an "em-
          ployee" of any insured, if benefits for the        These payments will not reduce the limits of insur-
          "bodily injury" are payable or must be             ance.
          provided under a workers' compensation
          or disability benefits law or a similar law.       SECTION II - WHO IS AN INSURED

     e.   Athletic Activities                                1.   If you are designated in the Declarations as:

          To any person injured while officiating,                a.   An individual, you and your spouse are
          coaching, practicing for, instructing or                     insureds, but only with respect to the
          participating in any physical exercises or                   conduct of a business of which you are
          games, sports, or athletic contests or ex-                   the sole owner.
          hibitions of an athletic or sports nature.              b.   A partnership or joint venture, you are an
     f.   Products-Completed Operations Haz-                           insured. Your members, your partners,
          ard                                                          and their spouses are also insureds, but
                                                                       only with respect to the conduct of your
          Included within the "products-completed                      business.
          operations hazard".
                                                                  c.   A limited liability company, you are an in-
     g.   Coverage A Exclusions                                        sured. Your members are also insureds,
                                                                       but only with respect to the conduct of
          Excluded under COVERAGE A. BODILY                            your business. Your managers are in-
          INJURY AND PROPERTY DAMAGE LI-                               sureds, but only with respect to their du-
          ABILITY.                                                     ties as your managers.
SUPPLEMENTARY PAYMENTS - COVERAGES                                d.   An organization other than a partnership,
A AND B                                                                joint venture or limited liability company,
We will pay, with respect to any claim we investi-                     you are an insured. Your "executive offi-
gate or settle, or any "suit" against an insured we                    cers" and directors are insureds, but only
defend:                                                                with respect to their duties as your offi-
                                                                       cers or directors. Your stockholders are
1.   All expenses we incur.                                            also insureds, but only with respect to
                                                                       their liability as stockholders.
2.   Up to $250 for cost of bail bonds required be-
     cause of accidents or traffic law violations                 e.   A trust, you are an insured. Your trustees
     arising out of the use of any vehicle to which                    are also insureds, but only with respect to
     the Bodily Injury Liability Coverage applies.                     their duties as trustees.
     We do not have to furnish these bonds.
                                                             2.   Each of the following is also an insured:
3.   The cost of bonds to release attachments, but
     only for bond amounts within the applicable                  a.   Your "volunteer workers" only while per-
     limit of insurance. We do not have to furnish                     forming duties related to the conduct of
     these bonds.                                                      your business, or your "employees",
                                                                       other than either your "executive officers"
4.   All reasonable expenses incurred by the in-                       (if you are an organization other than a
     sured at our request to assist us in the inves-                   partnership, joint venture or limited liability
     tigation or defense of the claim or "suit", in-                   company) or your managers (if you are a
                                                                       limited liability company), but only for acts
                                                                       within the scope of their employment by
                                   Includes copyrighted material of Insurance
GA 101 12 04                        Services Office, Inc., with its permission.                     Page 11 of 22
        you or while performing duties related to               d.   Your legal representative if you die, but
        the conduct of your business. However,                       only with respect to duties as such. That
        none of these "employees" or "volunteer                      representative will have all your rights
        workers" are insureds for:                                   and duties under this Coverage Part.
        (1) "Bodily injury" or "personal and ad-           3.   Any organization you newly acquire or form,
            vertising injury":                                  other than a partnership, joint venture or lim-
                                                                ited liability company, and over which you
            (a) To you, to your partners or                     maintain ownership or majority interest, will
                members (if you are a partner-                  qualify as a Named Insured if there is no other
                ship or joint venture), to your                 similar insurance available to that organiza-
                members (if you are a limited li-               tion. However:
                ability company), to a co-
                "employee" while in the course                  a.   Insurance under this provision is afforded
                of his or her employment or                          only until the 90th day after you acquire
                performing duties related to the                     or form the organization or the end of the
                conduct of your business, or to                      policy period, whichever is earlier;
                your other "volunteer workers"
                while performing duties related                 b.   COVERAGE A. BODILY INJURY AND
                to the conduct of your business;                     PROPERTY DAMAGE LIABILITY does
                                                                     not apply to "bodily injury" or "property
            (b) To the spouse, child, parent,                        damage" that occurred before you ac-
                brother or sister of that co-                        quired or formed the organization; and
                "employee"     or    "volunteer
                worker" as a consequence of                     c.   COVERAGE B. PERSONAL AND AD-
                Paragraph (1)(a) above;                              VERTISING INJURY LIABILITY does not
                                                                     apply to "personal and advertising injury"
            (c) For which there is any obligation                    arising out of an offense committed be-
                to share damages with or repay                       fore you acquired or formed the organi-
                someone else who must pay                            zation.
                damages because of the injury
                described in Paragraphs (1)(a)             No person or organization is an insured with re-
                or (b) above; or                           spect to the conduct of any current or past part-
                                                           nership, joint venture or limited liability company
            (d) Arising out of his or her provid-          that is not shown as a Named Insured in the Dec-
                ing or failing to provide profes-          larations.
                sional health care services.
                                                           SECTION III - LIMITS OF INSURANCE
        (2) "Property damage" to property:
                                                           1.   The Limits of Insurance shown in the Declara-
            (a) Owned, occupied or used by; or                  tions and the rules below fix the most we will
                                                                pay regardless of the number of:
            (b) Rented to, in the care, custody
                or control of, or over which                    a.   Insureds;
                physical control is being exer-
                cised for any purpose by,                       b.   Claims made or "suits" brought; or

            you, any of your "employees", "vol-                 c.   Persons or organizations making claims
            unteer workers", any partner or                          or bringing "suits".
            member (if you are a partnership or            2.   a.   The General Aggregate Limit is the most
            joint venture), or any member (if you                    we will pay for the sum of:
            are a limited liability company).
                                                                     (1) Medical expenses under COVER-
   b.   Any person (other than your "employee"                           AGE C. MEDICAL PAYMENTS;
        or "volunteer worker"), or any organiza-
        tion while acting as your real estate man-                   (2) Damages under COVERAGE A.
        ager.                                                            BODILY INJURY AND PROPERTY
                                                                         DAMAGE LIABILITY, except dam-
   c.   Any person or organization having proper                         ages because of "bodily injury" or
        temporary custody of your property if you                        "property damage" included in the
        die, but only:                                                   "products-completed     operations
        (1) With respect to liability arising out of                     hazard"; and
            the maintenance or use of that prop-                     (3) Damages under COVERAGE B.
            erty; and                                                    PERSONAL AND ADVERTISING
        (2) Until your legal representative has                          INJURY LIABILITY.
            been appointed.                                          This General Aggregate Limit will not ap-
                                                                     ply if either the Location General Aggre-

                                 Includes copyrighted material of Insurance
GA 101 12 04                      Services Office, Inc., with its permission.                  Page 12 of 22
        gate Limit of Insurance, Paragraph 2.b.,                        your behalf at the same location for
        or the Construction Project General Ag-                         the same persons or organizations,
        gregate Limit of Insurance, Paragraph                           no matter how often or under how
        2.c. applies.                                                   many different contracts, will be
                                                                        deemed to be a single construction
   b.   A separate Location General Aggregate                           project.
        Limit of Insurance, equal to the amount of
        the General Aggregate Limit shown in the          3.   The Products-Completed Operations Aggre-
        Declarations, shall apply to each location             gate Limit is the most we will pay under COV-
        owned by, or rented or leased to you and               ERAGE A. BODILY INJURY AND PROP-
        is the most we will pay for the sum of:                ERTY DAMAGE LIABILITY for damages be-
                                                               cause of "bodily injury" and "property dam-
        (1) Damages under COVERAGE A.                          age" included in the "products-completed op-
            BODILY INJURY AND PROPERTY                         erations hazard".
            DAMAGE LIABILITY, except dam-
            ages because of "bodily injury" or            4.   Subject to 2.a. above, the Personal and Ad-
            "property damage" included in the                  vertising Injury Limit is the most we will pay
            "products-completed     operations                 under COVERAGE B. PERSONAL AND AD-
            hazard"; and                                       VERTISING INJURY LIABILITY for the sum of
                                                               all damages because of all "personal and ad-
        (2) Medical expenses under COVER-                      vertising injury" sustained by any one person
            AGE C. MEDICAL PAYMENTS,                           or organization.
        which can be attributed to operations at          5.   Subject to 2. or 3. above, whichever applies,
        only a single location owned by, or rented             the Each Occurrence Limit is the most we will
        or leased to you.                                      pay for the sum of:
   c.   A separate Construction Project General                a.   Damages under COVERAGE A. BODILY
        Aggregate Limit of Insurance, equal to                      INJURY AND PROPERTY DAMAGE LI-
        the amount of the General Aggregate                         ABILITY; and
        Limit shown in the Declarations, shall ap-
        ply to each construction project and is the            b.   Medical expenses under COVERAGE C.
        most we will pay for the sum of:                            MEDICAL PAYMENTS;
        (1) Damages under COVERAGE A.                          because of all "bodily injury" and "property
            BODILY INJURY AND PROPERTY                         damage" arising out of any one "occurrence".
            DAMAGE LIABILITY, except dam-
            ages because of "bodily injury" or            6.   Subject to 5. above, the Damage to Premises
            "property damage" included in the                  Rented to You Limit is the most we will pay
            "products-completed     operations                 under COVERAGE A. BODILY INJURY AND
            hazard"; and                                       PROPERTY DAMAGE LIABILITY for dam-
                                                               ages because of "property damage" to any
        (2) Medical expenses under COVER-                      one premises, while rented to you, or in the
            AGE C. MEDICAL PAYMENTS;                           case of damage by fire or explosion, while
                                                               rented to you or temporarily occupied by you
        which can be attributed only to ongoing                with permission of the owner.
        operations and only at a single construc-
        tion project.                                     7.   Subject to 5. above, the Medical Expense
                                                               Limit is the most we will pay under COVER-
   d.   Only for the purpose of determining which              AGE C. MEDICAL PAYMENTS for all medical
        General Aggregate Limit of Insurance,                  expenses because of "bodily injury" sustained
        2.a., 2.b., or 2.c., applies:                          by any one person.
        (1) Location means premises involving             The Limits of Insurance of this Coverage Part ap-
            the same or connecting lots, or               ply separately to each "coverage term".
            premises, whose connection is inter-
            rupted only by a street, roadway,             SECTION IV - COMMERCIAL GENERAL LI-
            waterway or right-of-way of a rail-           ABILITY CONDITIONS
            road.
                                                          1.   Bankruptcy
        (2) Construction project means a loca-
            tion you do not own, rent or lease                 Bankruptcy or insolvency of the insured or of
            where ongoing improvements, al-                    the insured's estate will not relieve us of our
            terations, installation, demolition or             obligations under this Coverage Part.
            maintenance work is performed by              2.   Duties in the Event of Occurrence, Offense,
            you or on your behalf. All connected               Claim or Suit
            ongoing improvements, alterations,
            installation, demolition or mainte-                a.   You must see to it that we are notified as
            nance work performed by you or on                       soon as practicable of an "occurrence" or

                                Includes copyrighted material of Insurance
GA 101 12 04                     Services Office, Inc., with its permission.                  Page 13 of 22
          a "personal and advertising injury" of-                 under the terms of this Coverage Part or that
          fense which may result in a claim. To the               are in excess of the applicable limit of insur-
          extent possible, notice should include:                 ance. An agreed settlement means a settle-
                                                                  ment and release of liability signed by us, the
          (1) How, when and where the "occur-                     insured and the claimant or the claimant's le-
              rence" or offense took place;                       gal representative.
          (2) The names and addresses of any                 4.   Liberalization
              injured persons and witnesses; and
                                                                  If, within 60 days prior to the beginning of this
          (3) The nature and location of any injury               Coverage Part or during the policy period, we
              or damage arising out of the "occur-                make any changes to any forms or endorse-
              rence" or offense.                                  ments of this Coverage Part for which there is
     b.   If a claim is made or "suit" is brought                 currently no separate premium charge, and
          against any insured, you must:                          that change provides more coverage than this
                                                                  Coverage Part, the change will automatically
          (1) Immediately record the specifics of                 apply to this Coverage Part as of the latter of:
              the claim or "suit" and the date re-
              ceived; and                                         a.   The date we implemented the change in
                                                                       your state; or
          (2) Notify us as soon as practicable.
                                                                  b.   The date this Coverage Part became ef-
          You must see to it that we receive written                   fective; and
          notice of the claim or "suit" as soon as
          practicable.                                            will be considered as included until the end of
                                                                  the current policy period. We will make no
     c.   You and any other involved insured must:                additional premium charge for this additional
                                                                  coverage during the interim.
          (1) Immediately send us copies of any
              demands, notices, summonses or                 5.   Other Insurance
              legal papers received in connection
              with the claim or "suit";                           If other valid and collectible insurance is
                                                                  available to the insured for a loss we cover
          (2) Authorize us to obtain records and                  under COVERAGE A. BODILY INJURY AND
              other information;                                  PROPERTY DAMAGE LIABILITY or COV-
                                                                  ERAGE B. PERSONAL AND ADVERTISING
          (3) Cooperate with us in the investiga-                 INJURY LIABILITY of this Coverage Part, our
              tion or settlement of the claim or de-              obligations are limited as follows:
              fense against the "suit"; and
                                                                  a.   Primary Insurance
          (4) Assist us, upon our request, in the
              enforcement of any right against any                     This insurance is primary except when b.
              person or organization which may be                      below applies. If this insurance is pri-
              liable to the insured because of in-                     mary, our obligations are not affected
              jury or damage to which this insur-                      unless any of the other insurance is also
              ance may also apply.                                     primary. Then, we will share with all that
                                                                       other insurance by the method described
     d.   No insured will, except at that insured's                    in c. below.
          own cost, voluntarily make a payment,
          assume any obligation, or incur any ex-                 b.   Excess Insurance
          pense, other than for first aid, without our
          consent.                                                     This insurance is excess over:

3.   Legal Action Against Us                                           (1) Any of the other insurance, whether
                                                                           primary, excess, contingent or on
     No person or organization has a right under                           any other basis:
     this Coverage Part:
                                                                           (a) That is Fire, Extended Cover-
     a.   To join us as a party or otherwise bring                             age, Builder's Risk, Installation
          us into a "suit" asking for damages from                             Risk or similar insurance for
          an insured; or                                                       "your work";
     b.   To sue us on this Coverage Part unless                           (b) That is Fire or Explosion insur-
          all of its terms have been fully complied                            ance for premises rented to you
          with.                                                                or temporarily occupied by you
                                                                               with permission of the owner;
     A person or organization may sue us to re-
     cover on an agreed settlement or on a final                           (c) That is insurance purchased by
     judgment against an insured; but we will not                              you to cover your liability as a
     be liable for damages that are not payable                                tenant for "property damage" to

                                   Includes copyrighted material of Insurance
GA 101 12 04                        Services Office, Inc., with its permission.                   Page 14 of 22
                premises rented to you or tem-                      shown in the Declarations of this Cover-
                porarily occupied by you with                       age Part.
                permission of the owner; or
                                                               c.   Method of Sharing
           (d) If the loss arises out of the
               maintenance or use of aircraft,                      If all of the other insurance permits con-
               "autos" or watercraft to the ex-                     tribution by equal shares, we will follow
               tent not subject to SECTION I -                      this method also. Under this approach
               COVERAGES, COVERAGE A.                               each insurer contributes equal amounts
               BODILY INJURY AND PROP-                              until it has paid its applicable limit of in-
               ERTY DAMAGE LIABILITY, 2.                            surance or none of the loss remains,
               Exclusions, g. Aircraft, Auto or                     whichever comes first.
               Watercraft.                                          If any of the other insurance does not
       (2) Any other primary insurance avail-                       permit contribution by equal shares, we
           able to the insured covering liability                   will contribute by limits.         Under this
           for damages arising out of the                           method, each insurer's share is based on
           premises or operations, or the prod-                     the ratio of its applicable limit of insurance
           ucts and completed operations, for                       to the total applicable limits of insurance
           which the insured has been added                         of all insurers.
           as an additional insured by attach-            6.   Premium Audit
           ment of an endorsement.
                                                               a.   We will compute all premiums for this
       (3) Any other insurance:                                     Coverage Part in accordance with our
           (a) Whether primary, excess, con-                        rules and rates.
               tingent or on any other basis,                  b.   Premium shown in this Coverage Part as
               except when such insurance is                        advance premium is a deposit premium
               written specifically to be excess                    only. At the close of each audit period we
               over this insurance; and                             will compute the earned premium for that
           (b) That is a consolidated (wrap-up)                     period and send notice to the first Named
               insurance program which has                          Insured. The due date for audit and ret-
               been provided by the prime                           rospective premiums is the date shown
               contractor/project manager or                        as the due date on the bill. If:
               owner of the consolidated proj-                      (1) The earned premium is less than the
               ect in which you are involved.                           deposit premium, we will return the
       When this insurance is excess, we will                           excess to the first Named Insured; or
       have no duty under COVERAGE A.                               (2) The earned premium is greater than
       BODILY INJURY AND PROPERTY                                       the deposit premium, the difference
       DAMAGE LIABILITY or COVERAGE B.                                  will be due and payable to us by the
       PERSONAL AND ADVERTISING IN-                                     first Named Insured upon notice from
       JURY LIABILITY to defend the insured                             us.
       against any "suit" if any other insurer has
       a duty to defend the insured against that               c.   The first Named Insured must keep rec-
       "suit". If no other insurer defends, we will                 ords of the information we need for pre-
       undertake to do so, but we will be entitled                  mium computation, and send us copies at
       to the insured's rights against all those                    such times as we may request.
       other insurers.
                                                          7.   Representations
       When this insurance is excess over other
       insurance, we will pay only our share of                By accepting this Coverage Part, you agree:
       the amount of the loss, if any, that ex-                a.   The statements in the Declarations are
       ceeds the sum of:                                            accurate and complete;
       (1) The total amount that all such other                b.   Those statements are based upon repre-
           insurance would pay for the loss in                      sentations you made to us; and
           the absence of this insurance; and
                                                               c.   We have issued this Coverage Part in re-
       (2) The total of all deductible and self-                    liance upon your representations.
           insured amounts under all that other
           insurance.                                     8.   Separation of Insureds
       We will share the remaining loss, if any,               Except with respect to the Limits of Insurance,
       with any other insurance that is not de-                and any rights or duties specifically assigned
       scribed in this Excess Insurance provi-                 in this Coverage Part to the first Named In-
       sion and was not bought specifically to                 sured, this insurance applies:
       apply in excess of the Limits of Insurance

                                Includes copyrighted material of Insurance
GA 101 12 04                     Services Office, Inc., with its permission.                     Page 15 of 22
     a.   As if each Named Insured were the only                       (1) An individual, you and your spouse
          Named Insured; and                                               are "authorized representatives".
     b.   Separately to each insured against whom                      (2) A partnership or joint venture, your
          claim is made or "suit" is brought.                              members, your partners, and their
                                                                           spouses are "authorized representa-
9.   Transfer of Rights of Recovery Against                                tives".
     Others to Us
                                                                       (3) A limited liability company, your
     If the insured has rights to recover all or part                      members and your managers are
     of any payment we have made under this                                "authorized representatives".
     Coverage Part, those rights are transferred to
     us. The insured must do nothing after loss to                     (4) An organization other than a part-
     impair them. At our request, the insured will                         nership, joint venture or limited liabil-
     bring "suit" or transfer those rights to us and                       ity company, your "executive offi-
     help us enforce them.                                                 cers" and directors are "authorized
                                                                           representatives". Provided you are
10. Two or More Coverage Forms or Policies                                 not a publicly traded organization,
    Issued by Us                                                           your stockholders are also "author-
     If this Coverage Part and any other Coverage                          ized representatives".
     Form, Coverage Part or policy issued to you                       (5) A trust, your trustees are "authorized
     by us or any company affiliated with us apply                         representatives".
     to the same "occurrence" or "personal and
     advertising injury" offense, the aggregate                   b.   Your "employees":
     maximum limit of insurance under all the Cov-
     erage Forms, Coverage Parts or policies shall                     (1) Assigned to manage your insurance
     not exceed the highest applicable limit of in-                        program; or
     surance under any one Coverage Form, Cov-                         (2) Responsible for giving or receiving
     erage Part or policy. This condition does not                         notice of an "occurrence", "personal
     apply to any Coverage Form, Coverage Part                             and advertising injury" offense, claim
     or policy issued by us or an affiliated company                       or "suit";
     specifically to apply as excess insurance over
     this Coverage Part.                                               are also "authorized representatives".
11. When We Do Not Renew                                     3.   "Auto" means:
     If we decide not to renew this Coverage Part,                a.   A land motor vehicle, trailer or semitrailer
     we will mail or deliver to the first Named In-                    designed for travel on public roads, in-
     sured shown in the Declarations written notice                    cluding any attached machinery or
     of the nonrenewal not less than 30 days be-                       equipment; or
     fore the expiration date.
                                                                  b.   Any other land vehicle that is subject to a
     If notice is mailed, proof of mailing will be suf-                compulsory or financial responsibility law
     ficient proof of notice.                                          or other motor vehicle insurance law in
                                                                       the state where it is licensed or principally
SECTION V - DEFINITIONS                                                garaged.
1.   "Advertisement" means a notice that is broad-                However, "auto" does not include "mobile
     cast, telecast or published to the general pub-              equipment".
     lic or specific market segments about your
     goods, products or services for the purpose of          4.   "Bodily injury" means bodily injury, sickness or
     attracting customers or supporters. "Adver-                  disease sustained by a person, including
     tisement" includes a publicity article. For pur-             death resulting from any of these at any time.
     poses of this definition:
                                                             5.   "Coverage term" means the following individ-
     a.   Notices that are published include mate-                ual increment, or if a multi-year policy period,
          rial placed on the Internet or on similar               increments, of time, which comprise the policy
          electronic means of communication; and                  period of this Coverage Part:
     b.   Regarding web-sites, only that part of a                a.   The year commencing on the Effective
          web-site that is about your goods, prod-                     Date of this Coverage Part at 12:01 AM
          ucts or services for the purposes of at-                     standard time at your mailing address
          tracting customers or supporters is con-                     shown in the Declarations, and if a multi-
          sidered an "advertisement".                                  year policy period, each consecutive an-
                                                                       nual period thereafter, or portion thereof if
2.   "Authorized representative" means:                                any period is for a period of less than 12
     a.   If you are designated in the Declarations                    months, constitute individual "coverage
          as:                                                          terms". The last "coverage term" ends at

                                   Includes copyrighted material of Insurance
GA 101 12 04                        Services Office, Inc., with its permission.                    Page 16 of 22
          12:00 AM standard time at your mailing             10. "Hostile fire" means one which becomes un-
          address shown in the Declarations on the               controllable or breaks out from where it was
          earlier of:                                            intended to be.
          (1) The day the policy period shown in             11. "Impaired property" means tangible property,
              the Declarations ends; or                          other than "your product" or "your work", that
                                                                 cannot be used or is less useful because:
          (2) The day the policy to which this Cov-
              erage Part is attached is terminated                a.   It incorporates "your product" or "your
              or cancelled.                                            work" that is known or thought to be de-
                                                                       fective, deficient, inadequate or danger-
     b.   However, if after the issuance of this                       ous; or
          Coverage Part, any "coverage term" is
          extended for an additional period of less               b.   You have failed to fulfill the terms of a
          than 12 months, that additional period of                    contract or agreement;
          time will be deemed to be part of the last
          preceding "coverage term".                              if such property can be restored to use by:

6.   "Coverage territory" means:                                  a.   The repair, replacement, adjustment or
                                                                       removal of "your product" or "your work";
     a.   The United States of America (including                      or
          its territories and possessions), Puerto
          Rico and Canada;                                        b.   Your fulfilling the terms of the contract or
                                                                       agreement.
     b.   International waters or airspace, but only
          if the injury or damage occurs in the              12. "Insured contract" means:
          course of travel or transportation between              a.   A contract for a lease of premises. How-
          any places included in a. above; or                          ever, that portion of the contract for a
     c.   All other parts of the world if the injury or                lease of premises that indemnifies any
          damage arises out of:                                        person or organization for "property
                                                                       damage" by fire or explosion to premises
          (1) Goods or products made or sold by                        while rented to you or temporarily occu-
              you in the territory described in a.                     pied by you with permission of the owner
              above;                                                   is not an "insured contract";
          (2) The activities of a person whose                    b.   A sidetrack agreement;
              home is in the territory described in
              a. above, but is away for a short time              c.   Any easement or license agreement, ex-
              on your business; or                                     cept in connection with construction or
                                                                       demolition operations on or within 50 feet
          (3) "Personal and advertising injury" of-                    of a railroad;
              fenses that take place through the
              Internet or similar electronic means                d.   An obligation, as required by ordinance,
              of communication,                                        to indemnify a municipality, except in
                                                                       connection with work for a municipality;
          provided the insured's responsibility to
          pay damages is determined in a "suit" on                e.   An elevator maintenance agreement;
          the merits, in the territory described in a.            f.   That part of any other contract or agree-
          above or in a settlement to which we                         ment pertaining to your business (includ-
          agree.                                                       ing an indemnification of a municipality in
7.   "Electronic data" means information, facts or                     connection with work performed for a
     programs stored as or on, created or used on,                     municipality) under which you assume
     or transmitted to or from computer software,                      the tort liability of another party to pay for
     including systems and applications software,                      "bodily injury", "property damage" or
     hard or floppy disks, CD-ROMs, tapes, drives,                     "personal and advertising injury" to a third
     cells, data processing devices or any other                       person or organization.          Tort liability
     media which are used with electronically con-                     means a liability that would be imposed
     trolled equipment.                                                by law in the absence of any contract or
                                                                       agreement.
8.   "Employee" includes a "leased worker". "Em-
     ployee" does not include a "temporary                             Paragraph f. does not include that part of
     worker".                                                          any contract or agreement:

9.   "Executive officer" means a person holding                        (1) That indemnifies a railroad for "bodily
     any of the officer positions created by your                          injury", "property damage" or "per-
     charter, constitution, by-laws or any other                           sonal and advertising injury" arising
     similar governing document.                                           out of construction or demolition op-
                                                                           erations, within 50 feet of any rail-

                                   Includes copyrighted material of Insurance
GA 101 12 04                        Services Office, Inc., with its permission.                     Page 17 of 22
           road property and affecting any rail-                       engines; marketing analysis; and
           road bridge or trestle, tracks, road-                       providing access to the Internet or
           beds, tunnel, underpass or crossing;                        other similar networks; or
       (2) That indemnifies an architect, engi-                    (7) Under which the insured, if a web-
           neer or surveyor for injury or damage                       site designer or content provider, or
           arising out of:                                             Internet search, access, content or
                                                                       service provider, assumes liability for
           (a) Preparing, approving, or failing                        injury or damage arising out of the
               to prepare or approve, maps,                            insured's rendering or failure to ren-
               shop drawings, opinions, re-                            der Internet services, including those
               ports, surveys, field orders,                           listed in Paragraph (6), above.
               change orders or drawings and
               specifications; or                        13. "Leased worker" means a person leased to
                                                             you by a labor leasing firm under an agree-
           (b) Giving directions or instructions,            ment between you and the labor leasing firm,
               or failing to give them, if that is           to perform duties related to the conduct of
               the primary cause of the injury               your business. "Leased worker" includes su-
               or damage;                                    pervisors furnished to you by the labor leasing
       (3) Under which the insured, if an archi-             firm. "Leased worker" does not include a
           tect, engineer or surveyor, assumes               "temporary worker".
           liability for an injury or damage aris-       14. "Loading or unloading" means the handling of
           ing out of the insured's rendering or             property:
           failure to render professional serv-
           ices, including those listed in Para-              a.   After it is moved from the place where it is
           graph (2) above and supervisory, in-                    accepted for movement into or onto an
           spection, architectural or engineering                  aircraft, watercraft or "auto";
           activities;
                                                              b.   While it is in or on an aircraft, watercraft
       (4) That indemnifies an advertising, pub-                   or "auto"; or
           lic relations or media consulting firm
           for "personal and advertising injury"              c.   While it is being moved from an aircraft,
           arising out of the planning, execution                  watercraft or "auto" to the place where it
           or failure to execute marketing com-                    is finally delivered;
           munications programs.        Marketing             but "loading or unloading" does not include
           communications programs include                    the movement of property by means of a me-
           but are not limited to comprehensive               chanical device, other than a hand truck, that
           marketing campaigns; consumer,                     is not attached to the aircraft, watercraft or
           trade and corporate advertising for                "auto".
           all media; media planning, buying,
           monitoring and analysis; direct mail;         15. "Mobile equipment" means any of the follow-
           promotion; sales materials; design;               ing types of land vehicles, including any at-
           presentations; point-of-sale materi-              tached machinery or equipment:
           als; market research; public relations
           and new product development;                       a.   Bulldozers, farm machinery, forklifts and
                                                                   other vehicles designed for use princi-
       (5) Under which the insured, if an adver-                   pally off public roads;
           tising, public relations or media con-
           sulting firm, assumes liability for                b.   Vehicles maintained for use solely on or
           "personal and advertising injury"                       next to premises you own or rent;
           arising out of the insured's rendering             c.   Vehicles that travel on crawler treads;
           or failure to render professional
           services, including those services                 d.   Vehicles, whether self-propelled or not,
           listed in Paragraph (4), above;                         maintained primarily to provide mobility to
                                                                   permanently mounted:
       (6) That indemnifies a web-site designer
           or content provider, or Internet                        (1) Power cranes, shovels, loaders, dig-
           search, access, content or service                          gers or drills; or
           provider for injury or damage arising
           out of the planning, execution or fail-                 (2) Road construction or resurfacing
           ure to execute Internet services.                           equipment such as graders, scrap-
           Internet services include but are not                       ers or rollers;
           limited to design, production, distri-
                                                              e.   Vehicles not described in a., b., c. or d.
           bution, maintenance and administra-                     above that are not self-propelled and are
           tion of web-sites and web-banners;
                                                                   maintained primarily to provide mobility to
           hosting web-sites; registering do-
           main names; registering with search

                               Includes copyrighted material of Insurance
GA 101 12 04                    Services Office, Inc., with its permission.                    Page 18 of 22
         permanently attached equipment of the                   d.   Oral or written publication, in any manner,
         following types:                                             of material that slanders or libels a per-
                                                                      son or organization or disparages a per-
         (1) Air compressors, pumps and gen-                          son's or organization's goods, products or
             erators, including spraying, welding,                    services;
             building cleaning, geophysical explo-
             ration, lighting and well servicing                 e.   Oral or written publication, in any manner,
             equipment; or                                            of material that violates a person's right of
                                                                      privacy;
         (2) Cherry pickers and similar devices
             used to raise or lower workers;                     f.   The use of another's advertising idea in
                                                                      your "advertisement"; or
    f.   Vehicles not described in a., b., c. or d.
         above maintained primarily for purposes                 g.   Infringing upon another's copyright, trade
         other than the transportation of persons                     dress or slogan in your "advertisement".
         or cargo.
                                                            18. "Pollutant" means any solid, liquid, gaseous or
         However, self-propelled vehicles with the              thermal irritant or contaminant, including
         following types of permanently attached                smoke, vapor, soot, fumes, acids, alkalis,
         equipment are not "mobile equipment"                   chemicals, petroleum, petroleum products
         but will be considered "autos":                        and petroleum by-products, and waste.
                                                                Waste includes materials to be recycled, re-
         (1) Equipment designed primarily for:                  conditioned or reclaimed. "Pollutants" include
             (a) Snow removal;                                  but are not limited to substances which are
                                                                generally recognized in industry or govern-
             (b) Road maintenance, but not con-                 ment to be harmful or toxic to persons, prop-
                 struction or resurfacing; or                   erty or the environment regardless of whether
                                                                the injury or damage is caused directly or indi-
             (c) Street cleaning;                               rectly by the "pollutants" and whether:
         (2) Cherry pickers and similar devices                  a.   The insured is regularly or otherwise en-
             mounted on automobile or truck                           gaged in activities which taint or degrade
             chassis and used to raise or lower                       the environment; or
             workers; and
                                                                 b.   The insured uses, generates or produces
         (3) Air compressors, pumps and gen-                          the "pollutant".
             erators, including spraying, welding,
             building cleaning, geophysical explo-          19. "Products-completed operations hazard":
             ration, lighting and well servicing
             equipment.                                          a.   Includes all "bodily injury" and "property
                                                                      damage" occurring away from premises
    However, "mobile equipment" does not in-                          you own or rent and arising out of "your
    clude any land vehicles that are subject to a                     product" or "your work" except:
    compulsory or financial responsibility law or
    other motor vehicle insurance law in the state                    (1) Products that are still in your physical
    where it is licensed or principally garaged.                          possession; or
    Land vehicles subject to a compulsory or fi-                      (2) Work that has not yet been com-
    nancial responsibility law or other motor vehi-                       pleted or abandoned.         However,
    cle insurance law are considered "autos".                             "your work" will be deemed com-
16. "Occurrence" means an accident, including                             pleted at the earliest of the following
    continuous or repeated exposure to substan-                           times:
    tially the same general harmful conditions.                           (a) When all of the work called for in
17. "Personal and advertising injury" means in-                               your contract has been com-
    jury, including consequential "bodily injury",                            pleted; or
    arising out of one or more of the following of-                       (b) When all of the work to be done
    fenses:                                                                   at the job site has been com-
    a.   False arrest, detention or imprisonment;                             pleted if your contract calls for
                                                                              work at more than one job site;
    b.   Malicious prosecution;                                               or
    c.   The wrongful eviction from, wrongful entry                       (c) When that part of the work done
         into, or invasion of the right of private oc-                        at a job site has been put to its
         cupancy of a room, dwelling or premises                              intended use by any person or
         that a person occupies, committed by or                              organization other than another
         on behalf of its owner, landlord or lessor;                          contractor    or   subcontractor
                                                                              working on the same project.


                                  Includes copyrighted material of Insurance
GA 101 12 04                       Services Office, Inc., with its permission.                    Page 19 of 22
             Work that may need service, main-                  her work and acts at the direction of and
             tenance, correction, repair or re-                 within the scope of duties determined by you,
             placement, but which is otherwise                  and is not paid a fee, salary or other compen-
             complete, will be treated as com-                  sation by you or anyone else for their work
             pleted.                                            performed for you.
    b.   Does not include "bodily injury" or "prop-        24. "Workplace" means that place and during
         erty damage" arising out of:                          such hours to which the "employee" sustain-
                                                               ing "bodily injury" was assigned by you, or
         (1) The transportation of property, un-               any other person or entity acting on your be-
             less the injury or damage arises out              half, to work on the date of "occurrence".
             of a condition in or on a vehicle not
             owned or operated by you, and that            25. "Your product":
             condition was created by the "load-
             ing or unloading" of that vehicle by               a.   Means:
             any insured;                                            (1) Any goods or products, other than
         (2) The existence of tools, uninstalled                         real property, manufactured, sold,
             equipment or abandoned or unused                            handled, distributed or disposed of
             materials; or                                               by:

         (3) Products or operations for which the                        (a) You;
             classification, listed in the Declara-                      (b) Others trading under your name;
             tions or in a schedule, states that                             or
             products-completed operations are
             included.                                                   (c) A person or organization whose
                                                                             business or assets you have
20. "Property damage" means:                                                 acquired; and
    a.   Physical injury to tangible property, in-                   (2) Containers (other than vehicles),
         cluding all resulting loss of use of that                       materials, parts or equipment fur-
         property. All such loss of use shall be                         nished in connection with such
         deemed to occur at the time of the physi-                       goods or products.
         cal injury that caused it; or
                                                                b.   Includes:
    b.   Loss of use of tangible property that is
         not physically injured. All such loss of                    (1) Warranties or representations made
         use shall be deemed to occur at the time                        at any time with respect to the fit-
         of the "occurrence" that caused it.                             ness, quality, durability, performance
                                                                         or use of "your product"; and
    For the purposes of this insurance, "electronic
    data" is not tangible property.                                  (2) The providing of or failure to provide
                                                                         warnings or instructions.
21. "Suit" means a civil proceeding in which
    money damages because of "bodily injury",                   c.   Does not include vending machines or
    "property damage" or "personal and advertis-                     other property rented to or located for the
    ing injury" to which this insurance applies are                  use of others but not sold.
    alleged. "Suit" includes:
                                                           26. "Your work":
    a.   An arbitration proceeding in which such
         damages are claimed and to which the                   a.   Means:
         insured must submit or does submit with                     (1) Work or operations performed by
         our consent;                                                    you or on your behalf; and
    b.   Any other alternative dispute resolution                    (2) Materials, parts or equipment fur-
         proceeding in which such damages are                            nished in connection with such work
         claimed and to which the insured submits                        or operations.
         with our consent; or
                                                                b.   Includes:
    c.   An appeal of a civil proceeding.
                                                                     (1) Warranties or representations made
22. "Temporary worker" means a person who is                             at any time with respect to the fit-
    furnished to you to substitute for a permanent                       ness, quality, durability, performance
    "employee" on leave or to meet seasonal or                           or use of "your work"; and
    short-term workload conditions.
                                                                     (2) The providing of or failure to provide
23. "Volunteer worker" means a person who is                             warnings or instructions.
    not your "employee", and who donates his or



                                 Includes copyrighted material of Insurance
GA 101 12 04                      Services Office, Inc., with its permission.                   Page 20 of 22
                   NUCLEAR ENERGY LIABILITY EXCLUSION
                              (Broad Form)
1.   The insurance does not apply:                                          an insured of services, materials,
                                                                            parts or equipment in connection
     A.   Under any Liability Coverage, to "bodily                          with the planning, construction,
          injury" or "property damage":                                     maintenance, operation or use of
          (1) With respect to which an insured un-                          any "nuclear facility", but if such fa-
              der this Coverage Part is also an in-                         cility is located within the United
              sured under a nuclear energy liability                        States of America, its territories or
              policy issued by Nuclear Energy Li-                           possessions or Canada, this Exclu-
              ability Insurance Association, Mutual                         sion (3) applies only to "property
              Atomic Energy Liability Underwriters,                         damage" to such "nuclear facility"
              Nuclear Insurance Association of                              and any property thereat.
              Canada, or any of their successors,             2.   As used in this exclusion:
              or would be an insured under any
              such policy but for its termination                  "Hazardous properties" includes radioactive,
              upon exhaustion of its limit of liability;           toxic or explosive properties.
              or
                                                                   "Nuclear material" means "source material",
          (2) Resulting from the "hazardous prop-                  "special nuclear material" or "by-product ma-
              erties" of "nuclear material" and with               terial".
              respect to which (a) any person or
              organization is required to maintain                 "Source material", "special nuclear material",
              financial protection pursuant to the                 and "by-product material" have the meanings
              Atomic Energy Act of 1954, or any                    given them in the Atomic Energy Act of 1954
              law amendatory thereof, or (b) the                   or in any law amendatory thereof.
              insured is, or had this Coverage Part                "Spent fuel" means any fuel element or fuel
              not been issued would be, entitled to                component, solid or liquid, which has been
              indemnity from the United States of                  used or exposed to radiation in a "nuclear re-
              America, or any agency thereof, un-                  actor".
              der any agreement entered into by
              the United States of America, or any                 "Waste" means any waste material (a) con-
              agency thereof, with any person or                   taining "by-product material" other than the
              organization.                                        tailings or wastes produced by the extraction
                                                                   or concentration of uranium or thorium from
     B.   Under any Medical Payments coverage,                     any ore processed primarily for its "source
          to expenses incurred with respect to                     material" content, and (b) resulting from the
          "bodily injury" resulting from the "hazard-              operation by any person or organization of
          ous properties" of "nuclear material" and                any "nuclear facility" included under the first
          arising out of the operation of a "nuclear               two paragraphs of the definition of "nuclear
          facility" by any person or organization.                 facility".
     C.   Under any Liability Coverage, to "bodily                 "Nuclear facility" means:
          injury" or "property damage" resulting
          from the "hazardous properties" of "nu-                  A.   Any "nuclear reactor";
          clear material", if:
                                                                   B.   Any equipment or device designed or
          (1) The "nuclear material" (a) is at any                      used for (1) separating the isotopes of
              "nuclear facility" owned by, or oper-                     uranium or plutonium, (2) processing or
              ated by or on behalf of, an insured,                      utilizing "spent fuel", or (3) handling,
              or (b) has been discharged or dis-                        processing or packaging "waste";
              persed therefrom;
                                                                   C.   Any equipment or device used for the
          (2) The "nuclear material" is contained in                    processing, fabricating or alloying of
              "spent fuel" or "waste" at any time                       "special nuclear material" if at any time
              possessed, handled, used, proc-                           the total amount of such material in the
              essed, stored, transported or dis-                        custody of the insured at the premises
              posed of, by or on behalf of an in-                       where such equipment or device is lo-
              sured; or                                                 cated consists of or contains more than
                                                                        25 grams of plutonium or uranium 233 or
          (3) The "bodily injury" or "property dam-                     any combination thereof, or more than
              age" arises out of the furnishing by                      250 grams of uranium 235;

                                    Includes copyrighted material of Insurance
GA 101 12 04                         Services Office, Inc., with its permission.                   Page 21 of 22
   D.   Any structure, basin, excavation, prem-               "Nuclear reactor" means any apparatus de-
        ises or place prepared or used for the                signed or used to sustain nuclear fission in a
        storage or disposal of "waste";                       self-supporting chain reaction or to contain a
                                                              critical mass of fissionable material.
   and includes the site on which any of the
   foregoing is located, all operations conducted             "Property damage" includes all forms of ra-
   on such site and all premises used for such                dioactive contamination of property.
   operations.




                               Includes copyrighted material of Insurance
GA 101 12 04                    Services Office, Inc., with its permission.                 Page 22 of 22
    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                            CinciPakTM
              COMMERCIAL GENERAL LIABILITY BROADENED
                     ENDORSEMENT - MISSOURI
This endorsement modifies insurance provided under the following:


    COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. Endorsement - Table of Contents:
    Coverage:                                                                                                                          Begins on Page:
    1.    Employee Benefit Liability Coverage.......................................................................................2
    2.    Unintentional Failure To Disclose Hazards .............................................................................8
    3.    Supplementary Payments .........................................................................................................8
    4.    Medical Payments ......................................................................................................................8
    5.    180 Day Coverage For Newly Formed Or Acquired Organizations ......................................8
    6.    Waiver Of Subrogation ..............................................................................................................8
    7.    Automatic Additional Insured - Specified Relationships: .....................................................8
          •   Managers Or Lessors Of Premises;
          •   Lessor Of Leased Equipment;
          •   Vendors;
          •   State Or Governmental Agency Or Subdivision Or Political Subdivision - Permits
              Or Authorizations Relating To Premises; and
          •   Mortgagee, Assignee Or Receiver
    8.    Property Damage To Borrowed Equipment ......................................................................... 12
    9.    Employees As Insureds - Specified Health Care Services And Good Samaritan
          Services ................................................................................................................................... 12
    10.   Broadened Notice Of Occurrence ......................................................................................... 13
    11.   Nonowned Aircraft.................................................................................................................. 13
    12.   Bodily Injury Redefined .......................................................................................................... 13
    13.   Expected Or Intended Injury Redefined ............................................................................... 13
    14.   Former Employees As Insureds ............................................................................................ 13

B. Limits Of Insurance:
    The Commercial General Liability Limits of Insurance apply to the insurance provided by this endorse-
    ment, except as provided below:
    1.    Employee Benefit Liability Coverage
          Each Employee Limit: $1,000,000
          Aggregate Limit:     $3,000,000
          Deductible Amount:     Redacted
    3.    Supplementary Payments
          Bail Bonds:                        $ 2,500
    4.    Medical Payments
          Medical Expense Limit: $ 10,000
    8.    Property Damage To Borrowed Equipment
          Each Occurrence Limit: $10,000
          Deductible Amount:     Redacted




                                                  Includes copyrighted material of Insurance
GCP 203 MO 09 17                                   Services Office, Inc., with its permission.                                                Page 1 of 13
C. Coverages                                                                         this endorsement pro-
                                                                                     vided:
   1.   Employee Benefit Liability Coverage
                                                                                      a)   You did not have
        a.   The following is added to Section I -                                         knowledge of a
             Coverages:                                                                    claim or "suit" on or
             Employee Benefit Liability Cover-                                             before the "first ef-
             age                                                                           fective date" of this
                                                                                           endorsement.
             (1) Insuring Agreement
                                                                                           You     will   be
                 (a) We will pay those sums that                                           deemed to have
                     the insured becomes legally                                           knowledge of a
                     obligated to pay as damag-                                            claim or "suit"
                     es caused by any act, error                                           when any "author-
                     or omission of the insured,                                           ized   representa-
                     or of any other person for                                            tive";
                     whose acts the insured is
                     legally liable, to which this                                         i)   Reports all, or
                     insurance applies. We will                                                 any part, of the
                     have the right and duty to                                                 act, error or
                     defend the insured against                                                 omission to us
                     any "suit" seeking those                                                   or any other
                     damages. However, we will                                                  insurer;
                     have no duty to defend                                                ii) Receives      a
                     against any "suit" seeking                                                 written or ver-
                     damages to which this in-                                                  bal demand or
                     surance does not apply. We                                                 claim for dam-
                     may, at our discretion, in-                                                ages because
                     vestigate any report of an                                                 of the act, er-
                     act, error or omission and                                                 ror or omis-
                     settle any claim or "suit" that                                            sion; and
                     may result. But:
                                                                                      b) There is no other
                     1)   The amount we will pay                                           applicable     insur-
                          for damages is limited                                           ance.
                          as described in Section
                          III - Limits Of Insur-                        (2) Exclusions
                          ance; and
                                                                            This insurance does not apply to:
                     2)   Our right and duty to
                          defend ends when we                               (a) Bodily Injury, Property
                          have used up the appli-                               Damage Or Personal And
                          cable limit of insurance                              Advertising Injury
                          in the payment of judg-                                "Bodily injury", "property
                          ments or settlements.                                  damage" or "personal and
                     No other obligation or liabil-                              advertising injury".
                     ity to pay sums or perform                             (b) Dishonest,     Fraudulent,
                     acts or services is covered                                Criminal Or Malicious Act
                     unless explicitly provided for
                     under       Supplementary                                   Damages arising out of any
                     Payments.                                                   intentional,        dishonest,
                                                                                 fraudulent, criminal or mali-
                 (b) This insurance applies to                                   cious act, error or omission,
                     damages only if the act, er-                                committed by any insured,
                     ror or omission, is negligent-                              including the willful or reck-
                     ly committed in the "admin-                                 less violation of any statute.
                     istration" of your "employee
                     benefit program"; and                                  (c) Failure To Perform A Con-
                                                                                tract
                     1)   Occurs during the policy
                          period; or                                             Damages arising out of fail-
                                                                                 ure of performance of con-
                     2)   Occurred prior to the                                  tract by any insurer.
                          "first effective date" of
                                  Includes copyrighted material of Insurance
GCP 203 MO 09 17                   Services Office, Inc., with its permission.                   Page 2 of 13
              (d) Insufficiency Of Funds                                  (i) Taxes, Fines Or Penalties
                   Damages arising out of an                                   Taxes, fines or penalties, in-
                   insufficiency of funds to                                   cluding those imposed un-
                   meet any obligations under                                  der the Internal Revenue
                   any plan included in the                                    Code or any similar state or
                   "employee benefit program".                                 local law.
              (e) Inadequacy Of Perfor-                                   (j) Employment-Related Prac-
                  mance      Of      Invest-                                  tices
                  ment/Advice Given With
                  Respect To Participation                                     Any liability arising out of
                                                                               any:
                   Any claim based upon:
                                                                               (1) Refusal to employ;
                   1)   Failure of any invest-
                        ment to perform;                                       (2) Termination of employ-
                                                                                   ment;
                   2)   Errors in providing in-
                        formation on past per-                                 (3) Coercion,      demotion,
                        formance of investment                                     evaluation,    reassign-
                        vehicles; or                                               ment, discipline, defa-
                                                                                   mation,     harassment,
                   3)   Advice given to any                                        humiliation, discrimina-
                        person with respect to                                     tion or other employ-
                        that person's decision to                                  ment - related practices,
                        participate or not to par-                                 acts or omissions; or
                        ticipate in any plan in-
                        cluded in the "employee                                (4) Consequential liability
                        benefit program".                                          as a result of (1), (2) or
                                                                                   (3) above.
              (f) Workers'    Compensation
                  And Similar Laws                                             This    exclusion    applies
                                                                               whether the insured may be
                   Any claim arising out of your                               held liable as an employer
                   failure to comply with the                                  or in any other capacity and
                   mandatory provisions of any                                 to any obligation to share
                   workers' compensation, un-                                  damages with or repay
                   employment compensation                                     someone else who must pay
                   insurance, social security or                               damages because of the in-
                   disability benefits law or any                              jury.
                   similar law.
                                                                      (3) Supplementary Payments
              (g) ERISA
                                                                          Section I - Coverages, Sup-
                   Damages for which any in-                              plementary Payments - Cover-
                   sured is liable because of li-                         ages A and B also apply to this
                   ability imposed on a fiduci-                           Coverage.
                   ary by the Employee Re-
                   tirement Income Security                      b.   Who Is An Insured
                   Act of 1974, as now or                             As respects Employee Benefit Lia-
                   hereafter amended, or by                           bility Coverage, Section II - Who Is
                   any similar federal, state or                      An Insured is replaced by the follow-
                   local laws.                                        ing:
              (h) Available Benefits                                  (1) If you are designated in the Dec-
                   Any claim for benefits to the                          larations as:
                   extent that such benefits are                          (a) An individual, you and your
                   available, with reasonable                                  spouse are insureds, but on-
                   effort and cooperation of the                               ly with respect to the con-
                   insured, from the applicable                                duct of a business of which
                   funds accrued or other col-                                 you are the sole owner.
                   lectible insurance.
                                                                          (b) A partnership or joint ven-
                                                                               ture, you are an insured.

                                Includes copyrighted material of Insurance
GCP 203 MO 09 17                 Services Office, Inc., with its permission.                   Page 3 of 13
                   Your members, your part-                               insurance applies to that organi-
                   ners, and their spouses are                            zation. However, coverage under
                   also insureds but only with                            this provision:
                   respect to the conduct of
                   your business.                                         (a) Is afforded only until the
                                                                               180th day after you acquire
              (c) A limited liability company,                                 or form the organization or
                   you are an insured. Your                                    the end of the policy period,
                   members are also insureds,                                  whichever is earlier; and
                   but only with respect to the
                   conduct of your business.                              (b) Does not apply to any act,
                   Your managers are in-                                       error or omission that was
                   sureds, but only with respect                               committed before you ac-
                   to their duties as your man-                                quired or formed the organi-
                   agers.                                                      zation.

              (d) An organization other than a                   c.   Limits Of Insurance
                   partnership, joint venture or                      As respects Employee Benefit Lia-
                   limited liability company, you                     bility Coverage, Section III - Limits
                   are an insured. Your "execu-                       Of Insurance is replaced by the fol-
                   tive officers" and directors                       lowing:
                   are insureds, but only with
                   respect to their duties as                         (1) The Limits of Insurance shown in
                   your officers or directors.                            Section B. Limits Of Insurance,
                   Your stockholders are also                             1. Employee Benefit Liability
                   insureds, but only with re-                            Coverage and the rules below fix
                   spect to their liability as                            the most we will pay regardless
                   stockholders.                                          of the number of:
              (e) A trust, you are an insured.                            (a) Insureds;
                   Your trustees are also in-
                   sureds, but only with respect                          (b) Claims      made   or   "suits"
                   to their duties as trustees.                                brought;

          (2) Each of the following is also an                            (c) Persons   or organizations
              insured:                                                         making claims or bringing
                                                                               "suits";
              (a) Each of your "employees"
                   who is or was authorized to                            (d) Acts, errors or omissions; or
                   administer your "employee                              (e) Benefits included in your
                   benefit program";                                           "employee benefit program".
              (b) Any persons, organizations                          (2) The Aggregate Limit shown in
                   or "employees" having prop-                            Section B. Limits Of Insurance,
                   er temporary authorization                             1. Employee Benefit Liability
                   to administer your "employ-                            Coverage of this endorsement is
                   ee benefit program" if you                             the most we will pay for all dam-
                   die, but only until your legal                         ages because of acts, errors or
                   representative is appointed;                           omissions negligently committed
                   or                                                     in the "administration" of your
              (c) Your legal representative if                            "employee benefit program".
                   you die, but only with re-                         (3) Subject to the limit described in
                   spect to duties as such. That                          (2) above, the Each Employee
                   representative will have all                           Limit shown in Section B. Limits
                   your rights and duties under                           Of Insurance, 1. Employee
                   this Coverage Part.                                    Benefit Liability Coverage of
          (3) Any organization you newly ac-                              this endorsement is the most we
              quire or form, other than a part-                           will pay for all damages sus-
              nership, joint venture or limited                           tained by any one "employee",
              liability company, and over which                           including damages sustained by
              you maintain ownership or major-                            such "employee's" dependents
              ity interest, will qualify as a                             and beneficiaries, as a result of:
              Named Insured if no other similar                           (a) An act, error or omission; or
                                Includes copyrighted material of Insurance
GCP 203 MO 09 17                 Services Office, Inc., with its permission.                 Page 4 of 13
              (b) A series of related acts, er-                                tification of the action taken,
                   rors or omissions, regard-                                  you shall promptly reim-
                   less of the amount of time                                  burse us for such part of the
                   that lapses between such                                    Deductible Amount as we
                   acts, errors or omissions;                                  have paid.
              negligently committed in the                       d.   Additional Conditions
              "administration" of your "employ-
              ee benefit program".                                    As respects Employee Benefit Lia-
                                                                      bility Coverage, Section IV - Com-
              However, the amount paid under                          mercial General Liability Condi-
              this endorsement shall not ex-                          tions is amended as follows:
              ceed, and will be subject to the
              limits and restrictions that apply                      (1) Item 2. Duties In The Event Of
              to the payment of benefits in any                           Occurrence, Offense, Claim Or
              plan included in the "employee                              Suit is replaced by the following:
              benefit program."                                           2.   Duties In The Event Of An
          (4) Deductible Amount                                                Act, Error Or Omission, Or
                                                                               Claim Or Suit
              (a) Our obligation to pay dam-
                   ages on behalf of the in-                                   a.   You must see to it that
                   sured applies only to the                                        we are notified as soon
                   amount of damages in ex-                                         as practicable of an act,
                   cess of the Deductible                                           error or omission which
                   Amount stated in the Decla-                                      may result in a claim.
                   rations as applicable to                                         To the extent possible,
                   Each Employee. The limits                                        notice should include:
                   of insurance shall not be re-                                    (1) What the act, error
                   duced by the amount of this                                           or omission was
                   deductible.                                                           and when it oc-
              (b) The       Deductible Amount                                            curred; and
                   stated in the Declarations                                       (2) The     names and
                   applies to all damages sus-                                           addresses of any-
                   tained by any one "employ-                                            one who may suf-
                   ee", including such "employ-                                          fer damages as a
                   ee's" dependents and bene-                                            result of the act,
                   ficiaries, because of all acts,                                       error or omission.
                   errors or omissions to which
                   this insurance applies.                                          However, no claim will
                                                                                    be denied based upon
              (c) The terms of this insurance,                                      the insured's failure to
                   including those with respect                                     provide notice within
                   to:                                                              such specified time, un-
                   1)   Our right and duty to                                       less this failure oper-
                        defend   the  insured                                       ates to prejudice the
                        against   any  "suits"                                      rights of the insurer, as
                        seeking those damag-                                        per Missouri regulation
                        es; and                                                     20CSR100-1.020.

                   2)   Your duties, and the du-
                        ties of any other in-                                  b.   If a claim is made or
                        volved insured, in the                                      "suit" is brought against
                        event of an act, error or                                   any insured, you must:
                        omission, or claim;
                                                                                    (1) Immediately record
                   apply irrespective of the ap-                                         the specifics of the
                   plication of the Deductible                                           claim or "suit" and
                   Amount.                                                               the date received;
              (d) We may pay any part or all                                             and
                   of the Deductible Amount to                                      (2) Notify us as soon
                   effect settlement of any                                              as practicable.
                   claim or "suit" and, upon no-
                                Includes copyrighted material of Insurance
GCP 203 MO 09 17                 Services Office, Inc., with its permission.                  Page 5 of 13
                        You must see to it that                                 If other valid and collectible
                        we receive written no-                                  insurance is available to the
                        tice of the claim or "suit"                             insured for a loss we cover
                        as soon as practicable.                                 under this Coverage Part,
                                                                                our obligations are limited as
                        However, no claim will                                  follows:
                        be denied based upon
                        the insured's failure to                                a.   Primary Insurance
                        provide notice within
                        such specified time, un-                                     This insurance is prima-
                        less this failure oper-                                      ry except when c. below
                        ates to prejudice the                                        applies. If this insurance
                        rights of the insurer, as                                    is primary, our obliga-
                        per Missouri regulation                                      tions are not affected
                        20CSR100-1.020.                                              unless any of the other
                                                                                     insurance is also prima-
                   c.   You and any other in-                                        ry. Then, we will share
                        volved insured must:                                         with all that other insur-
                                                                                     ance by the method de-
                        (1) Immediately send                                         scribed in b. below.
                             us copies of any
                             demands, notices,                                  b.   Method Of Sharing
                             summonses or le-
                             gal    papers    re-                                    If all of the other insur-
                             ceived in connec-                                       ance permits contribu-
                             tion with the claim                                     tion by equal shares,
                             or "suit";                                              we will follow this meth-
                                                                                     od also. Under this ap-
                        (2) Authorize us to ob-                                      proach each insurer
                             tain records and                                        contributes         equal
                             other information;                                      amounts until it has
                                                                                     paid its applicable limit
                        (3) Cooperate with us                                        of insurance or none of
                             in the investigation                                    the      loss    remains,
                             or settlement of the                                    whichever comes first.
                             claim or defense
                             against the "suit";                                     If any of the other in-
                             and                                                     surance does not permit
                                                                                     contribution by equal
                        (4) Assist us, upon our                                      shares, we will contrib-
                             request, in the en-                                     ute by limits. Under this
                             forcement of any                                        method, each insurer's
                             right against any                                       share is based on the
                             person or organi-                                       ratio of its applicable
                             zation which may                                        limit of insurance to the
                             be liable to the in-                                    total applicable limits of
                             sured because of                                        insurance of all insur-
                             an act, error or                                        ers.
                             omission to which
                             this insurance may                                 c.   No Coverage
                             also apply.
                                                                                     This insurance shall not
                   d.   No insured will, except                                      cover any loss for which
                        at that insured's own                                        the insured is entitled to
                        cost, voluntarily make a                                     recovery under any
                        payment, assume any                                          other insurance in force
                        obligation, or incur any                                     previous to the effective
                        expense without our                                          date of this Coverage
                        consent.                                                     Part.
          (2) Item 5. Other Insurance is re-                      e.   Additional Definitions
              placed by the following:
                                                                       As respects Employee Benefit Lia-
              5.   Other Insurance                                     bility Coverage, Section V - Defini-
                                                                       tions is amended as follows:

                                 Includes copyrighted material of Insurance
GCP 203 MO 09 17                  Services Office, Inc., with its permission.                   Page 6 of 13
          (1) The following definitions are                                          one other than an "em-
              added:                                                                 ployee" may subscribe
                                                                                     to such benefits and
              1.   "Administration" means:                                           such benefits are made
                   a.   Providing information to                                     generally available to
                        "employees", including                                       those "employees" who
                        their dependents and                                         satisfy the plan's eligibil-
                        beneficiaries, with re-                                      ity requirements;
                        spect to eligibility for or                             b.   Profit sharing plans,
                        scope of "employee                                           employee          savings
                        benefit programs";                                           plans, employee stock
                   b.   Interpreting the     "em-                                    ownership plans, pen-
                        ployee     benefit    pro-                                   sion plans and stock
                        grams";                                                      subscription plans, pro-
                                                                                     vided that no one other
                   c.   Handling records in                                          than an "employee"
                        connection with the                                          may subscribe to such
                        "employee benefit pro-                                       benefits and such bene-
                        grams"; or                                                   fits are made generally
                                                                                     available to all "employ-
                   d.   Effecting, continuing or                                     ees" who are eligible
                        terminating any "em-                                         under the plan for such
                        ployee's" participation in                                   benefits;
                        any benefit included in
                        the "employee benefit                                   c.   Unemployment      insur-
                        program".                                                    ance, social security
                                                                                     benefits, workers' com-
                   However,     "administration"                                     pensation and disability
                   does not include:                                                 benefits; and
                   a.   Handling payroll deduc-                                 d.   Vacation plans, includ-
                        tions; or                                                    ing buy and sell pro-
                   b.   The failure to effect or                                     grams; leave of ab-
                        maintain any insurance                                       sence programs, includ-
                        or adequate limits of                                        ing military, maternity,
                        coverage of insurance,                                       family, and civil leave;
                        including but not limited                                    tuition assistance plans;
                        to unemployment insur-                                       transportation       and
                        ance, social security                                        health club subsidies.
                        benefits, workers' com-                            4.   "First effective date" means
                        pensation and disability                                the date upon which cover-
                        benefits.                                               age was first effected in a
              2.   "Cafeteria plans" means                                      series of uninterrupted re-
                   plans authorized by applica-                                 newals of insurance cover-
                   ble law to allow "employees"                                 age.
                   to elect to pay for certain                         (2) The following definitions are de-
                   benefits with pre-tax dollars.                          leted in their entirety and re-
              3.   "Employee     benefit    pro-                           placed by the following:
                   grams" means a program                                  8.   "Employee" means a person
                   providing some of all of the                                 actively employed, formerly
                   following benefits to "em-                                   employed, on leave of ab-
                   ployees", whether provided                                   sence or disabled, or retired.
                   through a "cafeteria plan" or                                "Employee"     includes     a
                   otherwise:                                                   "leased worker". "Employee"
                   a.   Group life insurance;                                   does not include a "tempo-
                        group accident or health                                rary worker".
                        insurance; dental, vision                          21. "Suit" means a civil proceed-
                        and hearing plans; and                                  ing in which money damag-
                        flexible spending ac-                                   es because of an act, error
                        counts; provided that no                                or omission to which this in-
                                 Includes copyrighted material of Insurance
GCP 203 MO 09 17                  Services Office, Inc., with its permission.                   Page 7 of 13
                      surance applies are alleged.              5.   180 Day Coverage For Newly Formed
                      "Suit" includes:                               Or Acquired Organizations
                      a.   An arbitration proceed-                   Section II - Who Is An Insured is
                           ing in which such dam-                    amended as follows:
                           ages are claimed and to
                           which the insured must                    Subparagraph a. of Paragraph 3. is re-
                           submit or does submit                     placed by the following:
                           with our consent;                         a.   Insurance under this provision is af-
                      b.   Any other alternative                          forded only until the 180th day after
                           dispute resolution pro-                        you acquire or form the organization
                           ceeding in which such                          or the end of the policy period,
                           damages are claimed                            whichever is earlier;
                           and to which the in-                 6.   Waiver Of Subrogation
                           sured submits with our
                           consent; or                               Section IV - Commercial General Liabil-
                                                                     ity Conditions, 9. Transfer Of Rights Of
                      c.   An appeal of a civil pro-                 Recovery Against Others To Us is
                           ceeding.                                  amended by the addition of the following:
   2.   Unintentional Failure To Disclose Haz-                       We waive any right of recovery we may
        ards                                                         have against any person or organization
        Section IV - Commercial General Liabil-                      against whom you have agreed to waive
        ity Conditions, 7. Representations is                        such right of recovery in a written contract
        amended by the addition of the following:                    or agreement because of payments we
                                                                     make for injury or damage arising out of
        Based on our dependence upon your rep-                       your ongoing operations or "your work"
        resentations as to existing hazards, if un-                  done under a written contract or agree-
        intentionally you should fail to disclose all                ment with that person or organization and
        such hazards at the inception date of your                   included in the "products-completed oper-
        policy, we will not reject coverage under                    ations hazard". However, our rights may
        this Coverage Part based solely on such                      only be waived prior to the "occurrence"
        failure.                                                     giving rise to the injury or damage for
                                                                     which we make payment under this Cov-
   3.   Supplementary Payments                                       erage Part. The insured must do nothing
        Under Section I - Supplementary Pay-                         after a loss to impair our rights. At our re-
        ments - Coverages A and B:                                   quest, the insured will bring "suit" or trans-
                                                                     fer those rights to us and help us enforce
        Paragraph 2. is replaced by the following:                   those rights.
        Up to the limit shown in Section B. Limits              7.   Automatic Additional Insured - Speci-
        Of Insurance, 3. Bail Bonds of this en-                      fied Relationships
        dorsement for cost of bail bonds required
        because of accidents or traffic law viola-                   a.   The following is added to Section II -
        tions arising out of the use of any vehicle                       Who Is An Insured:
        to which the Bodily Injury Liability Cover-                       (1) Any person(s) or organization(s)
        age applies. We do not have to furnish                                described in Paragraph 7.a.(2) of
        these bonds.                                                          this endorsement (hereinafter re-
        This amendment of the Supplementary                                   ferred to as additional insured)
        Payments – Bail Bonds limit replaces, and                             whom you are required to add as
        is not in addition to, the amendment of the                           an additional insured under this
        Supplementary Payments - Bail Bonds                                   Coverage Part by reason of a
                                       TM
        limit (II.A.2.) in the CinciPak Commer-                               written contract, written agree-
        cial General Liability Amendatory En-                                 ment, written permit or written
        dorsement.                                                            authorization.

   4.   Medical Payments                                                  (2) Only the following persons or or-
                                                                              ganizations are additional in-
        The Medical Expense Limit of Any One                                  sureds under this endorsement,
        Person as stated in the Declarations is                               and insurance coverage provided
        amended to the limit shown in Section B.                              to such additional insureds is lim-
        Limits Of Insurance, 4. Medical Pay-                                  ited as provided herein:
        ments of this endorsement.
                                    Includes copyrighted material of Insurance
GCP 203 MO 09 17                     Services Office, Inc., with its permission.                   Page 8 of 13
              (a) Managers Or Lessors Of                                       Any person or organization
                  Premises                                                     (referred to below as ven-
                                                                               dor) with whom you have
                   The manager or lessor of a                                  agreed      per     Paragraph
                   premises leased to you with                                 7.a.(1) of this endorsement
                   whom you have agreed per                                    to provide insurance, but on-
                   Paragraph 7.a.(1) of this en-                               ly with respect to "bodily in-
                   dorsement to provide insur-                                 jury" or "property damage"
                   ance, but only with respect                                 arising out of "your products"
                   to liability arising out of the                             which are distributed or sold
                   ownership, maintenance or                                   in the regular course of the
                   use of that part of the prem-                               vendor's business, subject
                   ises leased to you, subject                                 to the following additional
                   to the following additional                                 exclusions:
                   exclusions:
                                                                               (i) The insurance afforded
                   This insurance does not ap-                                     the vendor does not
                   ply to:                                                         apply to:
                   (i) Any "occurrence" which                                       1) "Bodily injury" or
                       takes place after you                                            "property damage"
                       cease to be a tenant in                                          for which the ven-
                       that premises;                                                   dor is obligated to
                   (ii) Structural alterations,                                         pay damages by
                       new construction or                                              reason of the as-
                       demolition  operations                                           sumption of liability
                       performed by or on be-                                           in a contract or
                       half of such additional                                          agreement.       This
                       insured.                                                         exclusion does not
                                                                                        apply to liability for
              (b) Lessor Of Leased Equip-                                               damages that the
                  ment                                                                  vendor would have
                                                                                        in the absence of
                   Any person or organization                                           the contract or
                   from whom you lease                                                  agreement;
                   equipment when you and
                   such person(s) or organiza-                                      2) Any express war-
                   tion(s) have agreed per Par-                                         ranty unauthorized
                   agraph 7.a.(1) of this en-                                           by you;
                   dorsement to provide insur-
                   ance. Such person(s) or or-                                      3) Any     physical or
                   ganization(s) are insureds                                           chemical change in
                   only with respect to liability                                       the product made
                   for "bodily injury", "property                                       intentionally by the
                   damage" or "personal and                                             vendor;
                   advertising injury" caused, in                                   4) Repackaging, ex-
                   whole or in part, by your                                            cept when un-
                   maintenance, operation or                                            packed solely for
                   use of equipment leased to                                           the purpose of in-
                   you by such person(s) or or-                                         spection, demon-
                   ganization(s). A person's or                                         stration, testing, or
                   organization's status as an                                          the substitution of
                   additional insured under this                                        parts under in-
                   endorsement ends when                                                structions from the
                   their contract or agreement                                          manufacturer, and
                   with you for such leased                                             then repackaged in
                   equipment ends. However,                                             the original con-
                   this insurance does not ap-                                          tainer;
                   ply to any "occurrence"
                   which takes place after the                                      5) Any failure to make
                   equipment lease expires.                                             such inspections,
                                                                                        adjustments, tests
              (c) Vendors                                                               or servicing as the

                                Includes copyrighted material of Insurance
GCP 203 MO 09 17                 Services Office, Inc., with its permission.                  Page 9 of 13
                        vendor has agreed                                                 with the distri-
                        to make or normal-                                                bution or sale
                        ly undertakes to                                                  of the prod-
                        make in the usual                                                 ucts.
                        course of busi-
                        ness, in connection                                 (ii) This insurance does not
                        with the distribution                                   apply to any insured
                        or sale of the                                          person or organization:
                        products;                                                1) From whom you
                   6) Demonstration, in-                                             have       acquired
                        stallation, servicing                                        such products, or
                        or repair opera-                                             any ingredient, part
                        tions, except such                                           or container, enter-
                        operations       per-                                        ing into, accompa-
                        formed at the ven-                                           nying or containing
                        dor's premises in                                            such products; or
                        connection with the                                      2) When liability in-
                        sale of the product;                                         cluded within the
                   7) Products which, af-                                            "products-
                        ter distribution or                                          completed opera-
                        sale by you, have                                            tions hazard" has
                        been labeled or re-                                          been excluded un-
                        labeled or used as                                           der this Coverage
                        a container, part or                                         Part with respect to
                        ingredient of any                                            such products.
                        other thing or sub-                            (d) State Or Governmental
                        stance by or for the                               Agency Or Subdivision Or
                        vendor; or                                         Political Subdivision -
                   8)   "Bodily injury" or                                 Permits Or Authorizations
                        "property damage"                                  Relating To Premises
                        arising out of the                                  Any state or governmental
                        sole negligence of                                  agency or subdivision or po-
                        the vendor for its                                  litical subdivision with which
                        own acts or omis-                                   you have agreed per Para-
                        sions or those of                                   graph 7.a.(1) of this en-
                        its employees or                                    dorsement to provide insur-
                        anyone else acting                                  ance, subject to the follow-
                        on its behalf. How-                                 ing additional provision:
                        ever, this exclusion
                        does not apply to:                                  This insurance applies only
                                                                            with respect to the following
                        a)   The       excep-                               hazards for which the state
                             tions contained                                or governmental agency or
                             in Paragraphs                                  subdivision or political sub-
                             (c)(i)4) or 6) of                              division has issued a permit
                             this endorse-                                  or authorization in connec-
                             ment; or                                       tion with premises you own,
                        b) Such      inspec-                                rent or control and to which
                             tions, adjust-                                 this insurance applies:
                             ments, tests or                                (i) The existence, mainte-
                             servicing    as                                    nance, repair, construc-
                             the vendor has                                     tion, erection or removal
                             agreed       to                                    of advertising signs,
                             make or nor-                                       awnings, canopies, cel-
                             mally    under-                                    lar    entrances,    coal
                             takes to make                                      holes, driveways, man-
                             in the usual                                       holes, marquees, hoist
                             course       of                                    away openings, side-
                             business,    in                                    walk vaults, street ban-
                             connection

                             Includes copyrighted material of Insurance
GCP 203 MO 09 17              Services Office, Inc., with its permission.                 Page 10 of 13
                         ners or decorations and                       scribed in Paragraph 7.a.(1) of this
                         similar exposures; or                         endorsement, the following is added
                                                                       to Section III - Limits Of Insurance:
                    (ii) The construction, erec-
                         tion or removal of eleva-                     The most we will pay on behalf of the
                         tors; or                                      additional insured is the amount of in-
                                                                       surance:
                    (iii) The ownership, mainte-
                         nance or use of any el-                       (1) Required by the written contract,
                         evators covered by this                           written agreement, written permit
                         insurance.                                        or written authorization described
                                                                           in Paragraph 7.a.(1) of this en-
                (e) Mortgagee, Assignee Or                                 dorsement; or
                    Receiver
                                                                       (2) Available under the applicable
                    Any person or organization                             Limits of Insurance shown in the
                    with whom you have agreed                              Declarations;
                    per Paragraph 7.a.(1) of this
                    endorsement to provide in-                         whichever is less.
                    surance, but only with re-
                    spect to their liability as                        This endorsement shall not increase
                    mortgagee, assignee, or re-                        the applicable Limits of Insurance
                    ceiver and arising out of the                      shown in the Declarations.
                    ownership, maintenance, or                    c.   Section IV - Commercial General
                    use of the premises by you.                        Liability Conditions is amended to
                    However, this insurance                            add the following:
                    does not apply to structural
                    alterations, new construction                      Automatic Additional Insured Pro-
                    and demolition operations                          vision
                    performed by or for that per-
                    son or organization.                               This insurance applies only if the
                                                                       "bodily injury" or "property damage"
            (3) The insurance afforded to addi-                        occurs, or the "personal and advertis-
                tional insureds described in Par-                      ing injury" offense is committed:
                agraph 7.a.(1) of this endorse-
                ment:                                                  (1) During the policy period; and

                (a) Only applies to the extent                         (2) Subsequent to your execution of
                    permitted by law; and                                  the written contract or written
                                                                           agreement, or the issuance of a
                (b) Will not be broader than that                          written permit or written authori-
                    which you are required by                              zation, described in Paragraph
                    the written contract, written                          7.a.(1).
                    agreement, written permit or
                    written authorization to pro-                 d.   Section IV - Commercial General
                    vide for such additional in-                       Liability Conditions is amended as
                    sured; and                                         follows:

                (c) Does not apply to any per-                         Condition 5. Other Insurance is
                    son, organization, vendor,                         amended to include:
                    state, governmental agency                         Primary And Noncontributory In-
                    or subdivision or political                        surance
                    subdivision,      specifically
                    named as an additional in-                         This insurance is primary to and will
                    sured under any other provi-                       not seek contribution from any other
                    sion of, or endorsement                            insurance available to an additional
                    added to, this Coverage                            insured per Paragraph 7.a.(1) of this
                    Part, provided such other                          endorsement provided that:
                    provision or endorsement
                    covers the injury or damage                        (1) The additional insured is a
                    for which this insurance ap-                           Named Insured under such other
                    plies.                                                 insurance; and

       b.   With respect to the insurance afford-                      (2) You have agreed in writing in a
            ed to the additional insureds de-                              contract, agreement, permit or
                                                                           authorization described in 7.a.(2)
                                 Includes copyrighted material of Insurance
GCP 203 MO 09 17                  Services Office, Inc., with its permission.                 Page 11 of 13
                 of this endorsement that this in-                               duced by the application of
                 surance would be primary and                                    such deductible amount.
                 would not seek contribution from
                 any other insurance available to                           (b) Section IV - Commercial
                 the additional insured.                                        General Liability Condi-
                                                                                tions, 2. Duties In The
   8.   Property Damage To Borrowed Equip-                                      Event Of Occurrence, Of-
        ment                                                                    fense, Claim Or Suit, ap-
                                                                                 plies to each claim or "suit"
        a.   The following is added to Exclusion                                 irrespective of the amount.
             2.j. Damage To Property under Sec-
             tion I - Coverage A - Bodily Injury                            (c) We may pay any part or all
             And Property Damage Liability:                                      of the deductible amount to
                                                                                 effect settlement of any
             Paragraphs (3) and (4) of this exclu-                               claim or "suit" and, upon no-
             sion do not apply to tools or equip-                                tification of the action taken,
             ment loaned to you, provided they are                               you shall promptly reim-
             not being used to perform operations                                burse us for such part of the
             at the time of loss.                                                deductible amount as has
        b.   With respect to the insurance provid-                               been paid by us.
             ed by this section of the endorse-               9.   Employees As Insureds - Specified
             ment, the following additional provi-                 Health Care Services And Good Samar-
             sions apply:                                          itan Services
             (1) The Limits of Insurance shown in                  Paragraph 2.a.(1)(d) under Section II -
                 the Declarations are replaced by                  Who Is An Insured does not apply to:
                 the limits designated in Section
                 B. Limits Of Insurance, 8.                        a.   Your "employees" who provide pro-
                 Property Damage To Borrowed                            fessional health care services on your
                 Equipment of this endorsement                          behalf as a duly licensed nurse,
                 with respect to coverage provid-                       emergency medical technician or
                 ed by this endorsement. These                          paramedic in the jurisdiction where an
                 limits are inclusive of and not in                     "occurrence" or offense to which this
                 addition to the limits being re-                       insurance applies takes place; or
                 placed. The Limits of Insurance
                 shown in Section B. Limits Of                     b.   Your "employees" or "volunteer work-
                 Insurance, 8. Property Damage                          ers", other than an employed or vol-
                 To Borrowed Equipment of this                          unteer doctor, providing first aid or
                 endorsement fix the most we will                       good samaritan services during their
                 pay in any one "occurrence" re-                        work hours for you will be deemed to
                 gardless of the number of:                             be acting within the scope of their
                                                                        employment by you or performing du-
                 (a) Insureds;                                          ties related to the conduct of your
                                                                        business.
                 (b) Claims   made     or   "suits"
                     brought; or                              10. Broadened Notice Of Occurrence
                 (c) Persons  or organizations                     Paragraph a. of Condition 2. Duties In
                     making claims or bringing                     The Event Of Occurrence, Offense,
                     "suits".                                      Claim Or Suit under Section IV - Com-
                                                                   mercial General Liability Conditions is
             (2) Deductible Clause                                 replaced by the following:
                 (a) Our obligation to pay dam-                    a.   You must see to it that we are notified
                     ages on your behalf applies                        as soon as practicable of an "occur-
                     only to the amount of dam-                         rence" or an offense which may result
                     ages for each "occurrence"                         in a claim. To the extent possible, no-
                     which are in excess of the                         tice should include:
                     Deductible Amount stated in
                     Section B. Limits Of Insur-                        (1) How, when and where the "oc-
                     ance, 8. Property Damage                               currence" or offense took place;
                     To Borrowed Equipment of
                     this endorsement. The limits                       (2) The names and addresses of
                     of insurance will not be re-                           any injured persons and wit-
                                                                            nesses; and

                                  Includes copyrighted material of Insurance
GCP 203 MO 09 17                   Services Office, Inc., with its permission.                  Page 12 of 13
            (3) The nature and location of any                     Section V - Definitions, 4. "Bodily injury"
                injury or damage arising out of                    is replaced by the following:
                the "occurrence" or offense.
                                                                   4.   "Bodily injury" means bodily harm or
            This requirement applies only when                          injury, sickness, disease, disability,
            the "occurrence" or offense is known                        humiliation, shock, fright, mental an-
            to an "authorized representative".                          guish or mental injury, including care,
                                                                        loss of services or death resulting
            However, no claim will be denied                            from any of these at any time.
            based upon the insured's failure to
            provide notice within such specified              13. Expected Or Intended Injury Redefined
            time, unless this failure operates to
            prejudice the rights of the insurer, as                The last sentence of Exclusion 2.a. Ex-
            per Missouri regulation 20CSR100-                      pected Or Intended Injury under Sec-
            1.020.                                                 tion I - Coverage A - Bodily Injury And
                                                                   Property Damage Liability is replaced by
   11. Nonowned Aircraft                                           the following:
       The following is added to Exclusion 2.g.                    This exclusion does not apply to "bodily
       Aircraft, Auto Or Watercraft under Sec-                     injury" or "property damage" resulting from
       tion I - Coverage A - Bodily Injury And                     the use of reasonable force to protect per-
       Property Damage Liability:                                  sons or property.
       This exclusion does not apply to an air-               14. Former Employees As Insureds
       craft you do not own, provided that:
                                                                   The following is added to Paragraph 2.
       a.   The pilot in command holds a current                   under Section II - Who Is An Insured:
            effective certificate, issued by a duly
            constituted authority of the United                    2.   Each of the following is also an in-
            States of America or Canada, desig-                         sured:
            nating that person as a commercial or                       Any of your former "employees", di-
            airline transport pilot;                                    rectors, managers, members, part-
       b. The aircraft is rented with a trained,                        ners or "executive officers", including
            paid crew; and                                              but not limited to retired, disabled or
                                                                        those on leave of absence, but only
       c.   The aircraft does not transport per-                        for acts within the scope of their em-
            sons or cargo for a charge.                                 ployment by you or for duties related
                                                                        to the conduct of your business.
   12. Bodily Injury Redefined




                                  Includes copyrighted material of Insurance
GCP 203 MO 09 17                   Services Office, Inc., with its permission.                 Page 13 of 13
     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

            MISSOURI CHANGES - GUARANTY ASSOCIATION
This endorsement modifies insurance provided under the following:
     COMMERCIAL GENERAL LIABILITY COVERAGE PART
     ELECTRONIC DATA LIABILITY COVERAGE PART
     LIQUOR LIABILITY COVERAGE PART
     OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
     POLLUTION LIABILITY COVERAGE PART
     PRODUCT WITHDRAWAL COVERAGE PART
     PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
     RAILROAD PROTECTIVE LIABILITY COVERAGE PART
     UNDERGROUND STORAGE TANK POLICY

Missouri Property and Casualty Insurance Guaranty                     next preceding the date the insurer be-
Association Coverage Limitations                                      comes insolvent; provided that an insured's
                                                                      net worth on such date shall be deemed to
A.   Subject to the provisions of the Missouri Prop-                  include the aggregate net worth of the in-
     erty and Casualty Insurance Guaranty Associa-                    sured and all its affiliates as calculated on a
     tion Act (to be referred to as the Act), if we are a             consolidated basis.
     member of the Missouri Property and Casualty
     Insurance Guaranty Association (to be referred              2.   Payments made by the Association for
     to as the Association), the Association will pay                 covered claims will include only that amount
     claims covered under the Act if we become in-                    of each claim which is less than $300,000.
     solvent.
                                                                      However, the Association will not:
B.   The Act contains various exclusions, conditions
     and limitations that govern a claimant's eligibility                    (1) Pay an amount in excess of the
     to collect payment from the Association and af-                             applicable limit of insurance of the
     fect the amount of any payment. The following                               policy from which a claim arises;
     limitations apply subject to all other provisions of                        or
     the Act:                                                                (2) Return to an insured any un-
     1.   Claims covered by the Association do not                               earned premium in excess of
          include a claim by or against an insured of                            $25,000.
          an insolvent insurer, if the insured has a net     These limitations have no effect on the coverage we
          worth of more than $25 million on the later        will provide under this policy.
          of the end of the insured's most recent fis-
          cal year or December thirty-first of the year




CG 26 25 04 05                              ©   ISO Properties, Inc., 2004
     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 MISSOURI CHANGES - MEDICAL PAYMENTS
This endorsement modifies insurance provided under the following:
     COMMERCIAL GENERAL LIABILITY COVERAGE PART
A.   Paragraph 1.a. of Coverage C. Medical                                (1) The accident takes place in the
     Payments is replaced with the following:                             "coverage territory" and during the
                                                                          policy period;
     1.   Insuring Agreement
                                                                          (2) The expenses are incurred and
          a.   We will pay medical expenses as                                reported to us within one year of
               described below for "bodily injury"                            the date of the accident. How-
               caused by an accident:                                         ever, expenses reported to us
               (1) On premises you own or rent;                               after one year of the date of the
                                                                              accident will not be denied
               (2) On ways next to premises you                               solely because of the late sub-
                   own or rent; or                                            mission unless such late sub-
                                                                              mission operates to prejudice
               (3) Because of your operations;                                our rights; and
               provided that:                                             (3) The injured person submits to
                                                                              examination, at our expense, by
                                                                              physicians of our choice as of-
                                                                              ten as we reasonably require.




CG 26 50 12 98                  Copyright, Insurance Services Office, Inc., 1998
    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                              EXCLUSION - SKIN TANNING
This endorsement modifies insurance provided under the following:
    COMMERCIAL GENERAL LIABILITY COVERAGE PART
The following exclusion is added to Paragraph 2. Exclusions of SECTION I - COVERAGES, COVERAGE A.
BODILY INJURY AND PROPERTY DAMAGE LIABILITY and Paragraph 2. Exclusions of SECTION I -
COVERAGES, COVERAGE B. PERSONAL AND ADVERTISING INJURY LIABILITY:
This insurance does not apply to "bodily injury", "property damage" or "personal and advertising injury" arising
out of tanning of human skin, whether by natural or artificial means.




GA 302 10 01
    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

            EXCLUSION - ACCESS OR DISCLOSURE OF
          CONFIDENTIAL OR PERSONAL INFORMATION AND
                 DATA-RELATED LIABILITY - WITH
               LIMITED BODILY INJURY EXCEPTION
This endorsement modifies insurance provided under the following:


    COMMERCIAL GENERAL LIABILITY COVERAGE PART


A. Exclusion 2.s. of Section I - Coverage A -                             ing out of that which is described in
   Bodily Injury and Property Damage Liability                            Paragraph (1) or (2) above.
    is replaced by the following:
                                                                          However, unless Paragraph (1)
    2.   Exclusions                                                       above applies, this exclusion does
                                                                          not apply to damages because of
         This insurance does not apply to:                                "bodily injury".
         s.   Access or Disclosure of Confiden-             B. The following is added to Paragraph 2. Exclu-
              tial or Personal Information and                 sions of Section I - Coverage B - Personal
              Data-Related Liability                           and Advertising Injury Liability:
              Damages arising out of:                            2.   Exclusions
              (1) Any access to or disclosure of                      This insurance does not apply to:
                  any person's or organization's
                  confidential or personal informa-                   Access or Disclosure of Confidential or
                  tion, including patents, trade se-                  Personal Information
                  crets, processing methods, cus-
                  tomer lists, financial information,                 "Personal and advertising injury" arising
                  credit card information, health in-                 out of any access to or disclosure of any
                  formation or any other type of                      person's or organization's confidential or
                  nonpublic information; or                           personal information, including patents,
                                                                      trade secrets, processing methods, cus-
              (2) The loss of, loss of use of, dam-                   tomer lists, financial information, credit
                  age to, corruption of, inability to                 card information, health information or any
                  access, or inability to manipulate                  other type of nonpublic information.
                  electronic data.
                                                                      This exclusion applies even if damages
              This exclusion applies even if dam-                     are claimed for notification costs, credit
              ages are claimed for notification                       monitoring expenses, forensic expenses,
              costs, credit monitoring expenses, fo-                  public relations expenses or any other
              rensic expenses, public relations ex-                   loss, cost or expense incurred by you or
              penses or any other loss, cost or ex-                   others arising out of any access to or dis-
              pense incurred by you or others aris-                   closure of any person's or organization's
                                                                      confidential or personal information.




                                    Includes copyrighted material of Insurance
GA 3024 05 14                        Services Office, Inc., with its permission.
    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                           COSMETOLOGISTS AND BARBERS
                            AMENDATORY ENDORSEMENT
This endorsement modifies insurance provided under the following:


    COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. For insurance provided by this endorsement                                 ning of human skin, whether by
   only, Section I - Coverages is amended as                                  natural or artificial means.
    follows:
                                                                         (5) The use, administration or appli-
    1.   Section I - Coverage A - Bodily Injury                               cation of any dye or coloring to
         And Property Damage Liability, Para-                                 eyelashes or eyebrows.
         graph 2. Exclusions is amended to add:
                                                                         (6) Preparation for, or use, admin-
         This insurance does not apply to:                                    istration or application of, or re-
                                                                              moval of any form of permanent
         a.    Liability included within the "products-                       cosmetic makeup including but
               completed operations hazard" arising                           not limited to micro pigment im-
               out of goods or products manufac-                              plantation and tattooing.
               tured, bottled, rebottled, packaged or
               repackaged by the insured or sold                         (7) The application of chemicals to
               under the insured's label.                                     the skin which is intended to re-
                                                                              move living tissues (skin peel-
         b.    "Bodily injury" or "property damage"                           ing).
               arising out of a "professional inci-
               dent".                                                    (8) The piercing of any part of the
                                                                              human body.
               This exclusion applies even if the
               claims against any insured allege                         (9) The implantation or transplanta-
               negligence or other wrongdoing in the                          tion of hair.
               supervision, hiring, employment,
               training or monitoring of others by            2.    Section I - Coverage B - Personal And
               that insured, if the "occurrence" which              Advertising Injury Liability, Paragraph
               caused the "bodily injury" or "property              2. Exclusions is amended to add:
               damage" involved the rendering of or                 This insurance does not apply to:
               failure to render any "professional
               services".                                           a.   "Personal and advertising injury" aris-
                                                                         ing out of goods or products manu-
         c.    Any liability arising out of:                             factured, bottled, rebottled, packaged
               (1) Services rendered or prepara-                         or repackaged by the insured or sold
                    tions, products, apparatus, or                       under the insured's label.
                    equipment rendered or used in                   b.   "Personal and advertising injury" aris-
                    violation of federal, state, munic-                  ing out of a "professional incident".
                    ipal or other laws or regulations.
                                                                         This exclusion applies even if the
               (2) Plastic surgery, or removal of                        claims against any insured allege
                    warts, moles or other growths.                       negligence or other wrongdoing in the
               (3) The ownership, maintenance,                           supervision, hiring, employment,
                    operation or use of any appa-                        training or monitoring of others by
                    ratus using x-rays or other ioniz-                   that insured, if the offense which
                    ing radiation for removal of hair,                   caused the "personal and advertising
                    or any apparatus using a photo                       injury" involved the rendering of or
                    coagulation technique for remov-                     failure to render any "professional
                    ing of hair.                                         services".

               (4) Weight    reducing treatments,                   c.   Any liability arising out of:
                    body massage, steam baths,                           (1) Services rendered or prepara-
                    saunas, body wrapping, or tan-                            tions, products, apparatus, or
                                                                              equipment rendered or used in

GA 4106 09 17                                                                                            Page 1 of 3
                  violation of federal, state, munic-    pendent contractors" is an in-
                  ipal or other laws or regulations.     sured for:
             (2) Plastic surgery, or removal of          (1) "Bodily injury" or "personal
                  warts, moles or other growths.             and advertising injury":
             (3) The ownership, maintenance,                 (a) To you, to your partners
                  operation or use of any appa-                      or members (if you are
                  ratus using x-rays or other ioniz-                 a partnership or joint
                  ing radiation for removal of hair,                 venture), to your mem-
                  or any apparatus using a photo                     bers (if you are a lim-
                  coagulation technique for remov-                   ited liability company),
                  ing of hair.                                       to a co-"employee" or
                                                                     co-"independent con-
             (4) Weight      reducing treatments,                    tractor" while that co-
                  body massage, steam baths,                         "employee"      or  co-
                  saunas, body wrapping, or tan-                     "independent contrac-
                  ning of human skin, whether by                     tor" is either in the
                  natural or artificial means.                       course of his or her
             (5) The use, administration or appli-                   employment or per-
                  cation of any dye or coloring to                   forming duties related
                  eyelashes or eyebrows.                             to the conduct of your
                                                                     business, or to your
             (6) Preparation for, or use, admin-                     other "volunteer work-
                  istration or application of, or re-                ers" while performing
                  moval of any form of permanent                     duties related to the
                  cosmetic makeup including but                      conduct of your busi-
                  not limited to micro pigment im-                   ness;
                  plantation and tattooing.
                                                             (b) To the spouse, child,
             (7) The application of chemicals to                     parent, brother or sister
                  the skin which is intended to re-                  of that co-"employee",
                  move living tissues (skin peel-                    co-"independent con-
                  ing).                                              tractor" or "volunteer
                                                                     worker" as a conse-
             (8) The piercing of any part of the                     quence of Paragraph
                  human body.                                        (1)(a) above;
             (9) The implantation or transplanta-            (c) For which there is any
                  tion of hair.                                      obligation   to   share
B. For insurance provided by this endorsement                        damages with or repay
   only, Section II - Who Is An Insured is                           someone else who
    amended as follows:                                              must pay damages be-
                                                                     cause of the injury de-
        Paragraph 2.a. is replaced by the follow-                    scribed in Paragraphs
        ing:                                                         (1)(a) or (1)(b) above;
                                                                     or
        2.   Each of the following is also an in-
             sured:                                          (d) Arising out of his or her
                                                                     providing or failing to
             a.   Your "volunteer workers" only                      provide     professional
                  while performing duties related                    health care services.
                  to the conduct of your business,
                  or your "employees" and "inde-         (2) "Property damage" to prop-
                  pendent contractors", other than           erty:
                  either your "executive officers" (if
                  you are an organization other              (a) Owned,         occupied   or
                  than a partnership, joint venture                  used by;
                  or limited liability company) or           (b) Rented to, in the care,
                  your managers (if you are a lim-                   custody or control of, or
                  ited liability company), but only                  over which physical
                  for acts within the scope of their                 control is being exer-
                  employment by you or while per-                    cised for any purpose
                  forming duties related to the                      by;
                  conduct of your business. How-
                  ever, none of these "employees",           you, any of your "employ-
                  "volunteer workers" or "inde-              ees", "volunteer workers",

GA 4106 09 17                                                                    Page 2 of 3
                      "independent contractors",       2.   "Professional incident" means a negligent
                      any partner or member (if             act, error, omission, or malpractice in fur-
                      you are a partnership or              nishing or failing to furnish "professional
                      joint venture), or any mem-           services" as a licensed barber or cos-
                      ber (if you are a limited lia-        metologist.
                      bility company).
                                                       3.   "Professional services" means only those
C. For insurance provided by this endorsement               services legally sanctioned by the barber-
   only, Section V - Definitions is amended as              ing and cosmetology licensing laws or the
    follows:                                                regulations of the jurisdiction in which the
                                                            insured operates, including service as a
    The following definitions are added:                    member or director of a formal accredita-
    1.   "Independent contractor" means a natural           tion, standards review or similar profes-
         person who provides "professional ser-             sional board or committee.
         vices" on your behalf.




GA 4106 09 17                                                                              Page 3 of 3
                       MISSOURI CHANGES
         DUTIES IN THE EVENT OF OCCURRENCE, OFFENSE,
                         CLAIM OR SUIT
This endorsement modifies insurance provided under the following:
    COMMERCIAL GENERAL LIABILITY BROADENED ENDORSEMENT
    COMMERCIAL GENERAL LIABILITY EXTENDED LIABILITY ENDORSEMENT
    CONTRACTORS' COMMERCIAL GENERAL LIABILITY BROADENED ENDORSEMENT
It is agreed that Section C. Coverages,
    1.   Employee Benefit Liability Coverage, d.(1)2.b. Additional Conditions is deleted in its entirety and re-
         placed by the following:
         b.   If a claim is made or "suit" is brought against any insured, you must see that we are notified as
              soon as practicable of the claim or "suit".




GA 4150 MO 02 02
    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                     MISSOURI CHANGES
This endorsement modifies insurance provided under the following:
    Commercial General Liability Coverage Form
    Contractors' Limited Pollution Liability Coverage Form
    Owners and Contractors Protective Liability Coverage Form - Coverage For Operations of
     Designated Contractor
    Railroad Protective Liability Coverage Form
In this Coverage Form, the definition of "Pollutants" is amended to add the following:
    The definition of "pollutants" applies whether or not such irritant or contaminant has any function in or on
    your business, operations, premises, site or location.




                                    Includes copyrighted material of Insurance
GA 4287 MO 08 08                     Services Office, Inc., with its permission.
     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                                 CinciPak™
              COMMERCIAL GENERAL LIABILITY AMENDATORY
                           ENDORSEMENT
This endorsement modifies insurance provided under the following:
     COMMERCIAL GENERAL LIABILITY COVERAGE PART

I.   SECTION I - COVERAGES, COVERAGE A.                                      tents of such premises, rented to you
     BODILY INJURY AND PROPERTY DAMAGE                                       for a period of 7 or fewer consecutive
     LIABILITY, Paragraph 2. Exclusions is                                   days, for which the amount we will
     amended as follows:                                                     pay is limited to the Damage To
                                                                             Premises Rented To You Limit as
     A. Exclusion j. Damage to Property is de-                               described in SECTION III - LIMITS
         leted in its entirety and replaced by the fol-                      OF INSURANCE.
         lowing:
                                                                             Paragraph (2) of this exclusion does
         j.    Damage to Property                                            not apply if the premises are "your
               "Property damage" to:                                         work" and were never occupied,
                                                                             rented or held for rental by you.
               (1) Property you own, rent or oc-
                   cupy, including any costs or ex-                          Paragraphs (3), (4), (5) and (6) of this
                   penses incurred by you, or any                            exclusion do not apply to liability as-
                   other person, organization or en-                         sumed under a sidetrack agreement.
                   tity, for repair, replacement, en-                        Paragraph (6) of this exclusion does
                   hancement, restoration or main-                           not apply to "property damage" in-
                   tenance of such property for any                          cluded in the "products-completed
                   reason, including prevention of                           operations hazard".
                   injury to a person or damage to
                   another's property;                              B. The last Paragraph of 2. Exclusions is
                                                                        deleted in its entirety and replaced by the
               (2) Premises you sell, give away or                      following:
                   abandon, if the "property dam-
                   age" arises out of any part of                       Exclusions c. through q. do not apply to
                   those premises;                                      "property damage" by fire, explosion,
                                                                        lightning, smoke, soot or water to prem-
               (3) Property loaned to you;                              ises while rented to you or temporarily oc-
               (4) Personal property in the care,                       cupied by you with permission of the
                   custody or control of an insured;                    owner, for which the amount we will pay is
                                                                        limited to the Damage to Premises
               (5) That particular part of real prop-                   Rented To You Limit as described in
                   erty on which you or any contrac-                    SECTION III - LIMITS OF INSURANCE.
                   tors or subcontractors working
                   directly or indirectly on your be-         II.   SECTION I - COVERAGES, SUPPLEMEN-
                   half are performing operations, if               TARY PAYMENTS - COVERAGES A AND B,
                   the "property damage" arises out                 is amended as follows:
                   of those operations; or                          A. Paragraph 2. is deleted in its entirety and
               (6) That particular part of any prop-                    replaced by the following:
                   erty that must be restored, re-                      2.   Up to $1,000 for cost of bail bonds
                   paired or replaced because "your                          required because of accidents or traf-
                   work" was incorrectly performed                           fic law violations arising out of the
                   on it.                                                    use of any vehicle to which the Bodily
               Paragraphs (1), (3) and (4) of this ex-                       Injury Liability Coverage applies. We
               clusion do not apply to "property                             do not have to furnish these bonds.
               damage" (other than damage by fire,                  B. Paragraph 4. is deleted in its entirety and
               explosion, lightning, smoke, soot or                     replaced by the following:
               water) to premises, including the con-

                                       Includes copyrighted material of Insurance
GCP 201 05 11                           Services Office, Inc. with its permission.                     Page 1 of 2
         4.   All reasonable expenses incurred by                 Insurance Paragraph b.(1)(b) is deleted in its
              the insured at our request to assist us             entirety and replaced by the following:
              in the investigation or defense of the
              claim or "suit", including actual loss of           (b) That is Fire, Explosion, lightning, smoke,
              earnings up to $500 a day because of                     soot or Water Damage insurance for
              time off from work.                                      premises rented to you or temporarily oc-
                                                                       cupied by you with permission of the own-
III. SECTION III - LIMITS OF INSURANCE,                                er;
     Paragraph 6. is deleted in its entirety and re-
    placed by the following:                                 V. SECTION V. - DEFINITIONS, Definition 12.
                                                                "Insured contract" Paragraph a. is deleted in
    6.   Subject to 5. above, the Damage to Prem-                 its entirety and replaced by the following:
         ises Rented to You Limit is the most we
         will pay under COVERAGE A. BODILY                        a.   A contract for a lease of premises. How-
         INJURY AND PROPERTY DAMAGE LI-                                ever, that portion of the contract for a
         ABILITY for damages because of "prop-                         lease of premises that indemnifies any
         erty damage" to any one premises, while                       person or organization for "property dam-
         rented to you, or in the case of damage by                    age" by fire, explosion, lightning, smoke,
         fire, explosion, lightning, smoke, soot or                    soot or water to premises while rented to
         water, while rented to you or temporarily                     you or temporarily occupied by you with
         occupied by you with permission of the                        permission of the owner is not an "insured
         owner.                                                        contract";

IV. SECTION IV - COMMERCIAL GENERAL LI-
    ABILITY CONDITIONS, Condition 5. Other




                                      Includes copyrighted material of Insurance
GCP 201 05 11                          Services Office, Inc. with its permission.                     Page 2 of 2
                    THE CINCINNATI                           CASUALTY COMPANY
                  COMMERCIAL UMBRELLA LIABILITY COVERAGE
                           PART DECLARATIONS
                                            Previous Policy Number
 Attached t o and forming part of POLICY NUMBER ECP 050 41 58                      Effective Date: 09-08-2018
 NAMED INSURED is the same as it appears in the Common Policy Declarations unless another entry is made here.



 LIMITS OF INSURANCE
 $       2 ,000,000 Each Occurrence Limit                $         2 ,000,000 Aggregate Limit
 ADVANCE PREMIUM $             1,000
 Applicable to Premium, if box is checked:
   ¨
   X Subject to Annual Adjustment
   ¨ Subject to Audit (see Premium Computation Endorsement for Rating Basis)
                                        SCHEDULE OF UNDERLYING INSURANCE
 Insurer, Policy Number & Period:           Underlying Insurance:                               Underlying Limits:

(a)                                         Employer's Liability                  Bodily Injury by Accident:
                                                                                  $                        Each Accident
                                                                                  Bodily Injury by Disease:
                                                                                  $                        Each Employee
                                                                                  Bodily Injury by Disease:
                                                                                  $                        Policy Limit

(b) CINCINNATI CAS. CO.                     ¨
                                            X Commercial General Liability        Bodily Injury and Property Damage Liability:
      ECP 050 41 58                           Including:                          $       1,000,000 Each Occurrence Limit
      09-08-2018 TO 09-08-2021                ¨
                                              X Products-Completed Opera-         $       2,000,000 General Aggregate Limit
                                                tions Coverage                    $       2,000,000 Products-Completed
                                                                                                        Operations Aggregate
                                              ¨ Cemetery Professional                                   Limit
                                              ¨ Druggist Professional
                                              ¨ Funeral Service Provider
                                              ¨ Pedorthists Professional
                                                             or                   Personal and Advertising Injury Limit:
                                                                                  $      1,000,000 Any One Person or
                                            ¨ Business Liability Including:                            Organization
                                             ¨ Funeral Service Provider
                                             ¨ Druggist Professional

(c) CINCINNATI CAS. CO.                     Automobile Liability                  Bodily Injury Liability Limit:
      EBA 050 41 58                         Including:                            $                         Each Person
      09-08-2018 TO 09-08-2021               ¨Owned Autos                         $                         Each Occurrence
                                             ¨
                                             X Non-Owned Autos                    Property Damage Liability Limit:
                                             ¨
                                             X Hired Autos                        $                         Each Occurrence
                                             ¨Any Auto                                            or
                                                                                  Bodily Injury Liability and / or Property Damage
                                                                                  Liability or Both Combined Limit:
                                                                                  $         1,000,000 Each Occurrence




       USQ513 05 10                                      ECP 050 41 58                                      Page 1 of 2
 (d) CINCINNATI CAS. CO.         Professional                   $       1,000,000    Each Professional Incident
      ECP 050 41 58              COSMETOLOGISTS AND             $       2,000,000    Aggregate
      09-08-2018 TO 09-08-2021   BARBERS




(e) CINCINNATI CAS. CO.          Employee Benefit Liability         $     1,000,000 Each Employee Limit
      ECP 050 41 58                                                 $     3,000,000 Aggregate Limit
      09-08-2018 TO 09-08-2021
(f)                              Liquor Liability                   $                Each Common Cause Limit
                                                                    $                Aggregate Limit

 Other




 FORMS AND / OR ENDORSEMENTS APPLICABLE TO THIS COVERAGE PART:
 US101UM      12/04   COMMERCIAL UMBRELLA - TABLE OF CONTENTS
 CU2624       04/05   MISSOURI CHANGES - GUARANTY ASSOCIATION
 US302        12/04   POLLUTANT EXCLUSION - OTHER THAN AUTO
 US304        12/04   AUTO EXCLUSION
 US3067MO     02/09   MISSOURI CHANGES - POLLUTANT - OTHER THAN AUTO EXCLUSION
 US3093       05/14   EXCLUSION - ACCESS OR DISCLOSURE OF CONFIDENTIAL OR PERSONAL
                      INFORMATION AND DATA-RELATED LIABILITY - WITH LIMITED BODILY INJURY
                      EXCEPTION
 US376        12/04   TANNING EXCLUSION
 US4027       12/04   COSMETOLOGIST AND BARBERS AMENDATORY ENDORSEMENT
 US405        12/04   PROFESSIONAL LIABILITY COVERAGE
 US4062       11/05   MOBILE EQUIPMENT SUBJECT TO MOTOR VEHICLE INSURANCE LAWS -
                      LIMITATION
 US407        12/04   EMPLOYEE BENEFIT LIABILITY
 US4076MO     08/08   MISSOURI CHANGES
 US4098       04/10   OFFICE OF FOREIGN ASSETS CONTROL (OFAC) COMPLIANCE ENDORSEMENT




       USQ513 05 10                             ECP 050 41 58                            Page 2 of 2
                COMMERCIAL UMBRELLA - TABLE OF CONTENTS
Coverage Part Provision:                                                                                                                           Begins on Page:
Preamble ................................................................................................................................................................. 3
SECTION I - COVERAGE: ...................................................................................................................................... 3
       A.     Insuring Agreement ................................................................................................................................ 3
       B.     Exclusions:............................................................................................................................................... 4
              1.     Asbestos ............................................................................................................................................ 4
              2.     Breach of Contract, Failure to Perform, Wrong Description and
                     Violation of Another's Rights ............................................................................................................. 4
              3.     Contractual Liability ........................................................................................................................... 4
              4.     Damage to Impaired Property or Property Not Physically Injured................................................... 4
              5.     Damage to Property .......................................................................................................................... 4
              6.     Damage to Your Product................................................................................................................... 4
              7.     Damage to Your Work....................................................................................................................... 4
              8.     Distribution of Material in Violation of Statutes ................................................................................. 5
              9.     Electronic Chatrooms or Bulletin Boards.......................................................................................... 5
              10.    Electronic Data................................................................................................................................... 5
              11.    Employer's Liability Limitation ........................................................................................................... 5
              12.    Employment-Related Practices......................................................................................................... 5
              13.    Expected or Intended Injury .............................................................................................................. 5
              14.    Falsity, Prior Publication, Criminal Act and Media and Internet Type Businesses ......................... 6
              15.    Infringement of Copyright, Patent, Trademark or Trade Secret ...................................................... 6
              16.    Pollutant - Auto .................................................................................................................................. 6
              17.    Pollutant - Other Than Auto............................................................................................................... 7
              18.    Recall of Products, Work or Impaired Property................................................................................ 9
              19.    Unauthorized Use of Another's Name or Product............................................................................ 9
              20.    Uninsured / Underinsured Motorist................................................................................................... 9
              21.    War ..................................................................................................................................................... 9
              22.    Workers' Compensation .................................................................................................................... 9
       C.     Defense and Supplementary Payments............................................................................................... 9
SECTION II - WHO IS AN INSURED .................................................................................................................... 10
SECTION III - LIMITS OF INSURANCE................................................................................................................ 11
SECTION IV - CONDITIONS:................................................................................................................................ 12
       1.     Appeals.................................................................................................................................................... 12
       2.     Audit......................................................................................................................................................... 13
       3.     Bankruptcy............................................................................................................................................... 13
       4.     Duties in the Event of Occurrence, Claim or Suit .................................................................................. 13
       5.     First Named Insured................................................................................................................................ 13
       6.     Legal Action Against Us and Loss Payments........................................................................................ 13
       7.     Liberalization ........................................................................................................................................... 14
       8.     Maintenance of Underlying Insurance ................................................................................................... 14
       9.     Other Insurance ...................................................................................................................................... 14
       10.    Premium .................................................................................................................................................. 14
       11.    Representations ...................................................................................................................................... 14
       12.    Separation of Insureds............................................................................................................................ 14
       13.    Transfer of Rights of Recovery Against Others to Us ........................................................................... 15
       14.    When We Do Not Renew........................................................................................................................ 15
SECTION V - DEFINITIONS:................................................................................................................................. 15
       1.     "Advertisement"....................................................................................................................................... 15
       2.     "Authorized representative" .................................................................................................................... 15
       3.     "Auto" ....................................................................................................................................................... 15
       4.     "Bodily injury"........................................................................................................................................... 16
       5.     "Coverage term"...................................................................................................................................... 16
       6.     "Coverage territory"................................................................................................................................. 16
                                                            Includes copyrighted material of ISO
US 101 UM 12 04                                              Properties, Inc., with its permission.                                                      Page 1 of 22
Coverage Part Provision:                                                                                                                       Begins on Page:
    7.    "Electronic data" ...................................................................................................................................... 16
    8.    "Employee" .............................................................................................................................................. 16
    9.    "Executive officer" ................................................................................................................................... 16
    10.   "Hostile fire" ............................................................................................................................................. 16
    11.   "Impaired property" ................................................................................................................................. 16
    12.   "Insured contract".................................................................................................................................... 16
    13.   "Leased worker" ...................................................................................................................................... 17
    14.   "Loading or unloading"............................................................................................................................ 17
    15.   "Mobile equipment" ................................................................................................................................. 18
    16.   "Occurrence" ........................................................................................................................................... 18
    17.   "Personal and advertising injury"............................................................................................................ 18
    18.   "Pollutants" .............................................................................................................................................. 19
    19.   "Products-completed operations hazard" .............................................................................................. 19
    20.   "Property damage".................................................................................................................................. 19
    21.   "Subsidiary" ............................................................................................................................................. 19
    22.   "Suit" ........................................................................................................................................................ 19
    23.   "Temporary worker" ................................................................................................................................ 20
    24.   "Ultimate net loss" ................................................................................................................................... 20
    25.   "Underlying insurance" ........................................................................................................................... 20
    26.   "Underlying limit" ..................................................................................................................................... 20
    27.   "Workplace" ............................................................................................................................................. 20
    28.   "Your product" ......................................................................................................................................... 20
    29.   "Your work".............................................................................................................................................. 20
NUCLEAR ENERGY LIABILITY EXCLUSION ENDORSEMENT ....................................................................... 21




                                                         Includes copyrighted material of ISO
US 101 UM 12 04                                           Properties, Inc., with its permission.                                                     Page 2 of 22
      COMMERCIAL UMBRELLA LIABILITY COVERAGE FORM
Various provisions in this Coverage Part restrict                           that the "personal and advertising
this insurance. Read the entire Coverage Part                               injury" offense had been committed
carefully to determine rights, duties and what is                           or had begun to be committed, in
and is not covered.                                                         whole or in part.
Throughout this Coverage Part the words "you"                     3.   "Bodily injury" or "property damage"
and "your" refer to the Named Insured shown in                         which:
the Declarations, and any other person or organi-
zation qualifying as a Named Insured under this                        a.   Occurs during the "coverage term";
Coverage Part. The words "we", "us" and "our"                               and
refer to the Company providing this insurance.                         b.   Was not, prior to the "coverage
The word "insured" means any person or organi-                              term", known by you, per Paragraph
zation qualifying as such under SECTION II - WHO                            5. below, to have occurred;
IS AN INSURED.                                                         includes any continuation, change or re-
Other words and phrases that appear in quotation                       sumption of that "bodily injury" or "prop-
marks have special meaning. Refer to SECTION                           erty damage" after the end of the "cover-
V - DEFINITIONS.                                                       age term" in which it first became known
                                                                       by you.
SECTION I - COVERAGE
                                                                  4.   "Personal and advertising injury" caused
A.   Insuring Agreement                                                by an offense which:
     1.   We will pay on behalf of the insured the                     a.   Was committed during the "coverage
          "ultimate net loss" which the insured is                          term"; and
          legally obligated to pay as damages for
          "bodily injury", "personal and advertising                   b.   Was not, prior to the "coverage
          injury" or "property damage" to which this                        term", known by you, per Paragraph
          insurance applies:                                                5. below, to have been committed;

          a.   Which is in excess of the "underlying                   includes any continuation, change or re-
               insurance"; or                                          sumption of that "personal and advertis-
                                                                       ing injury" offense after the end of the
          b.   Which is either excluded or not in-                     "coverage term" in which it first became
               sured by "underlying insurance".                        known by you.
     2.   This insurance applies to "bodily injury",              5.   You will be deemed to know that "bodily
          "personal and advertising injury" or                         injury" or "property damage" has oc-
          "property damage" only if:                                   curred, or that a "personal and advertis-
                                                                       ing injury" offense has been committed at
          a.   The "bodily injury", "personal and                      the earliest time when any "authorized
               advertising injury" or "property dam-                   representative":
               age" is caused by an "occurrence"
               that takes place in the "coverage ter-                  a.   Reports all, or any part, of the "bodily
               ritory"; and                                                 injury", "personal and advertising in-
                                                                            jury" or "property damage" to us or
          b.   The "bodily injury" or "property dam-                        any other insurer;
               age" occurs during the policy period
               shown in the Declarations; or                           b.   Receives a written or verbal demand
                                                                            or claim for damages because of the
          c.   The "personal and advertising injury"                        "bodily injury", "personal and adver-
               results from an "occurrence" that                            tising injury" or "property damage";
               takes place during the policy period
               shown in the Declarations; and                          c.   First observes, or reasonably should
                                                                            have first observed, the "bodily in-
          d.   Prior to the "coverage term" in which                        jury" or "property damage", or the
               "bodily injury" or "property damage"                         offense that caused the "personal
               occurs, or a "personal and advertis-                         and advertising injury";
               ing injury" offense is committed, you
               did not know, per Paragraph 5. be-                      d.   Becomes aware, or reasonably
               low, that the "bodily injury" or "prop-                      should have become aware, by any
               erty damage" had occurred or had                             means, other than as described in c.
               begun to occur, in whole or in part, or                      above, that "bodily injury" or "prop-

                                        Includes copyrighted material of ISO
US 101 UM 12 04                          Properties, Inc., with its permission.                      Page 3 of 22
               erty damage" had occurred or had                          and advertising injury" or "property dam-
               begun to occur, or that the "personal                     age":
               and advertising injury" offense had
               been committed or had begun to be                         a.   That the insured would have in the
               committed; or                                                  absence of the contract or agree-
                                                                              ment; or
          e.   Becomes aware, or reasonably
               should have become aware, of a                            b.   Assumed in a contract or agreement
               condition from which "bodily injury",                          that is an "insured contract", pro-
               "personal and advertising injury" or                           vided the "bodily injury", "personal
               "property damage" is substantially                             and advertising injury" or "property
               certain to occur.                                              damage" occurs subsequent to the
                                                                              execution of the contract or agree-
     6.   The amount we will pay for damages is                               ment.
          limited as described in SECTION III -
          LIMITS OF INSURANCE.                                      4.   Damage to Impaired Property or Prop-
                                                                         erty Not Physically Injured
     No other obligation or liability to pay sums or
     perform acts or services is covered, unless                         "Property damage" to "impaired property"
     expressly provided for under SECTION I -                            or property that has not been physically
     COVERAGE, C. Defense and Supplemen-                                 injured, arising out of:
     tary Payments.                                                      a.   A defect, deficiency, inadequacy or
B.   Exclusions                                                               dangerous condition in "your prod-
                                                                              uct" or "your work"; or
     This insurance does not apply to:
                                                                         b.   A delay or failure by you or anyone
     1.   Asbestos                                                            acting on your behalf to perform a
                                                                              contract or agreement in accordance
          Any liability arising out of, attributable to                       with its terms.
          or any way related to asbestos in any
          form or transmitted in any manner.                             This exclusion does not apply to the loss
                                                                         of use of other property arising out of
     2.   Breach of Contract, Failure to Perform,                        sudden and accidental physical injury to
          Wrong Description and Violation of                             "your product" or "your work" after it has
          Another's Rights                                               been put to its intended use.
          "Personal and advertising injury":                        5.   Damage to Property
          a.   Arising out of breach of contract, ex-                    "Property damage" to property owned by
               cept an implied contract to use an-                       any insured, including any costs or ex-
               other's advertising idea in your "ad-                     penses incurred by you, or any other
               vertisement";                                             person, organization or entity, for repair,
          b.   Arising out of the failure of goods,                      replacement, enhancement, restoration
               products or services to conform with                      or maintenance of such property for any
               any statement of quality or perform-                      reason, including prevention of injury to a
               ance made in your "advertisement";                        person or damage to another's property.

          c.   Arising out of the wrong description                 6.   Damage to Your Product
               of the price of goods, products or                        "Property damage" to "your product"
               services stated in your "advertise-                       arising out of it or any part of it.
               ment"; or
                                                                    7.   Damage to Your Work
          d.   Caused by or at the direction of the
               insured with the knowledge that the                       "Property damage" to "your work" arising
               act would violate the rights of an-                       out of it or any part of it and included in
               other and would inflict "personal and                     the "products-completed operations haz-
               advertising injury".                                      ard".
     3.   Contractual Liability                                          This exclusion does not apply if the dam-
                                                                         aged work or the work out of which the
          Any liability for which the insured is obli-                   damage arises was performed on your
          gated to pay damages by reason of the                          behalf by a subcontractor.
          assumption of liability in a contract or
          agreement. This exclusion does not ap-
          ply to liability for "bodily injury", "personal

                                          Includes copyrighted material of ISO
US 101 UM 12 04                            Properties, Inc., with its permission.                    Page 4 of 22
   8.   Distribution of Material in Violation of                       would have been provided by such listed
        Statutes                                                       "underlying insurance" except for the ex-
                                                                       haustion by payment of claims of its limits
        Any liability arising directly or indirectly                   of insurance, and then only for such haz-
        out of any action or omission that violates                    ards for which coverage is provided by
        or is alleged to violate:                                      such "underlying insurance", unless oth-
        a.   The Telephone Consumer Protection                         erwise excluded by this Coverage Part.
             Act (TCPA), including any amend-                     12. Employment-Related Practices
             ment of or addition to such law;
                                                                       Any liability arising from any injury to:
        b.   The CAN-SPAM Act of 2003, includ-
             ing any amendment of or addition to                       a.   A person arising out of any:
             such law; or
                                                                            (1) Refusal to employ that person;
        c.   Any statute, ordinance or regulation,
             other than the TCPA or CAN-SPAM                                (2) Termination of       that person's
             Act of 2003, that prohibits or limits                              employment; or
             the sending, transmitting, communi-                            (3) Other employment-related prac-
             cating or distribution of material or                              tices, policies, acts or omissions
             information.                                                       including but not limited to coer-
   9.   Electronic     Chatrooms       or    Bulletin                           cion,      criticism,    demotion,
        Boards                                                                  evaluation, failure to promote,
                                                                                reassignment, discipline, defa-
        "Personal and advertising injury" arising                               mation, harassment, humiliation
        out of an electronic chatroom or bulletin                               or discrimination directed at that
        board the insured hosts, owns, or over                                  person; or
        which the insured exercises control.
                                                                       b.   The spouse, child, parent, brother or
   10. Electronic Data                                                      sister of that person as a conse-
                                                                            quence of any injury to that person at
        Damages arising out of the loss of, loss                            whom any of the employment-related
        of use of, damage to, corruption of, in-                            practices described in Paragraphs
        ability to access, or inability to manipulate                       (1), (2), or (3) above is directed.
        "electronic data".
                                                                       This exclusion applies:
   11. Employer's Liability Limitation
                                                                       a.   Whether the insured may be liable
        Any liability arising from any injury to:                           as an employer or in any other ca-
        a.   An "employee" of the insured sus-                              pacity; and
             tained in the "workplace";                                b.   To any obligation to share damages
        b.   An "employee" of the insured arising                           with or repay someone else who
             out of the performance of duties re-                           must pay damages because of the
             lated to the conduct of the insured's                          injury.
             business; or                                         13. Expected or Intended Injury
        c.   The spouse, child, parent, brother or                     "Bodily injury" or "property damage"
             sister of that "employee" as a conse-                     which may reasonably be expected to re-
             quence of a. or b. above.                                 sult from the intentional or criminal acts of
        This exclusion applies:                                        the insured or which is in fact expected or
                                                                       intended by the insured, even if the injury
        a.   Whether the insured may be liable                         or damage is of a different degree or type
             as an employer or in any other ca-                        than actually intended or expected.
             pacity; and
                                                                       However, this exclusion does not apply
        b.   To any obligation to share damages                        to:
             with or repay someone else who
             must pay damages because of the                           a.   "Bodily injury" resulting from the use
             injury.                                                        of reasonable force to protect per-
                                                                            sons or property; or
        This exclusion does not apply when such
        insurance is provided by valid and col-                        b.   "Bodily injury" or "property damage"
        lectible "underlying insurance" listed in                           resulting from the use of reasonable
        the Schedule of Underlying Insurance, or                            force to prevent or eliminate danger

                                        Includes copyrighted material of ISO
US 101 UM 12 04                          Properties, Inc., with its permission.                      Page 5 of 22
            in the operation of "autos" or water-              16. Pollutant - Auto
            craft.
                                                                    a.   "Bodily injury" or "property damage"
   14. Falsity, Prior Publication, Criminal Act                          arising out of the actual, alleged or
       and Media and Internet Type Busi-                                 threatened discharge, dispersal,
       nesses                                                            seepage, migration, release, emis-
                                                                         sion or escape of "pollutants":
       "Personal and advertising injury":
                                                                         (1) That are, or that are contained in
       a.   Arising out of oral or written publica-                          any property that is:
            tion of material, if done by or at the
            direction of the insured with knowl-                               (a) Being transported or towed
            edge of its falsity;                                                   by, handled, or handled for
                                                                                   movement into, onto or
       b.   Arising out of oral or written publica-                                from, an "auto" that an in-
            tion of material whose first publica-                                  sured owns, hires, borrows,
            tion took place before the later of the                                rents, leases, or that is op-
            following:                                                             erated on their behalf in any
            (1) The inception of this Coverage                                     other fashion;
                Part; or                                                       (b) Otherwise in the course of
            (2) The "coverage term" in which                                       transit by or on behalf of the
                insurance coverage is sought;                                      insured; or

       c.   Arising out of a criminal act commit-                              (c) Being stored, disposed of,
            ted by or at the direction of the in-                                  treated or processed in or
            sured; or                                                              upon an "auto" that an in-
                                                                                   sured owns, hires, borrows,
       d.   Committed by an insured whose                                          rents, leases, or that is op-
            business is:                                                           erated on their behalf in any
                                                                                   other fashion;
            (1) Advertising, broadcasting, pub-
                lishing or telecasting;                                  (2) Before the "pollutants" or any
                                                                             property in which the "pollutants"
            (2) Designing or determining con-                                are contained are moved from
                tent of web-sites for others; or                             the place where they are ac-
            (3) An Internet search, access,                                  cepted by the insured for
                content or service provider.                                 movement into or onto an "auto"
                                                                             that an insured owns, hires, bor-
            However, Paragraph d. does not                                   rows, rents, leases, or that is
            apply to Paragraphs 17.a., b., c., d.                            operated on their behalf in any
            and i. of "personal and advertising                              other fashion; or
            injury" under SECTION V - DEFINI-
            TIONS.                                                       (3) After the "pollutants" or any
                                                                             property in which the "pollutants"
            For the purposes of Paragraph d.,                                are contained are moved from
            the placing of frames, borders or                                an "auto" that an insured owns,
            links, or advertising, for you or oth-                           hires, borrows, rents, leases, or
            ers anywhere on the Internet, is not                             that is operated on their behalf
            by itself, considered the business of                            in any other fashion to the place
            advertising, broadcasting, publishing                            where they are finally delivered,
            or telecasting.                                                  disposed of or abandoned by
                                                                             the insured.
   15. Infringement of Copyright,           Patent,
       Trademark or Trade Secret                                         Paragraph (1) above does not apply
                                                                         to "bodily injury" or "property dam-
       "Personal and advertising injury" arising                         age" arising from fuels, lubricants, or
       out of the infringement of copyright, pat-                        other operating fluids, exhaust gases
       ent, trademark, trade secret or other in-                         or other similar "pollutants" that are
       tellectual property rights.                                       needed for or result from the normal
       However, this exclusion does not apply to                         electrical, hydraulic or mechanical
       infringement in your "advertisement", of                          functioning of an "auto" that an in-
       copyright, trade dress or slogan.                                 sured owns, hires, borrows, rents,
                                                                         leases, or that is operated on their


                                     Includes copyrighted material of ISO
US 101 UM 12 04                       Properties, Inc., with its permission.                      Page 6 of 22
            behalf in any other fashion or its                           (1) At or from any premises, site or
            parts, if:                                                       location which is or was at any
                                                                             time owned or occupied by, or
            (a) The "pollutants" escape, seep,                               rented or loaned to, any insured.
                migrate, or are discharged, dis-
                persed or released directly from                               However, Paragraph a.(1) of this
                an "auto" part designed by its                                 exclusion does not apply to the
                manufacturer to hold, store, re-                               following if such liability is cov-
                ceive or dispose of such "pollut-                              ered by "underlying insurance"
                ants"; and                                                     listed in the Schedule of Under-
                                                                               lying Insurance, but only to the
            (b) The "bodily injury" or "property                               extent insurance is provided at
                damage" does not arise out of                                  the "underlying limit" specified in
                the operation of any equipment                                 the Schedule of Underlying In-
                listed in Paragraphs f.(2) and (3)                             surance for the "underlying in-
                of the definition of "mobile                                   surance" listed and subject to all
                equipment".                                                    its terms, limitations and condi-
            However, this exception to Para-                                   tions:
            graph (1) does not apply if the fuels,                             (a) "Bodily injury", if sustained
            lubricants, or other operating fluids,                                 within a building and
            exhaust gases or other similar "pol-                                   caused by smoke, fumes,
            lutants" are intentionally discharged,                                 vapor or soot produced by
            dispersed, emitted or released.                                        or originating from equip-
            Paragraphs (2) and (3) above do not                                    ment that is used to heat,
            apply to an "occurrence" that occurs                                   cool or dehumidify the
            away from premises owned by or                                         building, or equipment that
            rented to an insured with respect to                                   is used to heat water for
            "pollutants" not in or upon an "auto"                                  personal use by the build-
            that an insured owns, hires, borrows,                                  ing's occupants or their
            rents, leases, or that is operated on                                  guests;
            their behalf in any other fashion if:                              (b) "Bodily injury" or "property
            (a) The "pollutants" or any property                                   damage" for which you may
                in which the "pollutants" are                                      be held liable, if you are a
                contained are upset, overturned                                    contractor, and the owner
                or damaged as a result of the                                      or lessee of such premises,
                maintenance or use of an "auto"                                    site or location has been
                that an insured owns, hires, bor-                                  added to your "underlying
                rows, rents, leases, or that is                                    insurance" as an additional
                operated on their behalf in any                                    insured with respect to your
                other fashion; and                                                 ongoing operations or "your
                                                                                   work" performed for that
            (b) The discharge, dispersal, seep-                                    additional insured at that
                age, migration, release, emis-                                     premises, site or location
                sion or escape of the "pollut-                                     and such premises, site or
                ants" is caused directly by such                                   location is not and never
                upset, overturn or damage.                                         was owned or occupied by,
                                                                                   or rented or loaned to, any
       b.   Any liability caused by "pollutants"                                   insured, other than that ad-
            and arising from the operation,                                        ditional insured; or
            maintenance, use, "loading or un-
            loading" of an "auto", for which in-                               (c) "Bodily injury" or "property
            surance coverage is excluded by                                        damage" arising out of heat,
            "underlying insurance".                                                smoke or fumes from a
                                                                                   "hostile fire";
   17. Pollutant - Other Than Auto
                                                                         (2) At or from any premises, site or
       a.   "Bodily injury" or "property damage"                             location which is or was at any
            arising out of the actual, alleged or                            time used by or for any insured
            threatened discharge, dispersal,                                 or others for the handling, stor-
            seepage, migration, release, emis-                               age, disposal, processing or
            sion or escape of "pollutants":                                  treatment of waste;


                                     Includes copyrighted material of ISO
US 101 UM 12 04                       Properties, Inc., with its permission.                       Page 7 of 22
           (3) Which are or were at any time                                         such insured, contractor or
               transported, handled, stored,                                         subcontractor;
               treated, disposed of, or proc-
               essed as waste by or for any in-                                  (b) "Bodily injury" or "property
               sured or any person or organi-                                        damage" sustained within a
               zation for whom you may be le-                                        building and caused by the
               gally responsible;                                                    release of gases, fumes or
                                                                                     vapors      from    materials
           (4) At or from any premises, site or                                      brought into that building in
               location on which any insured or                                      connection with operations
               any contractors or subcontrac-                                        being performed by you or
               tors working directly or indirectly                                   on your behalf by a con-
               on any insured's behalf are                                           tractor or subcontractor; or
               performing operations, if the
               "pollutants" are brought on or to                                 (c) "Bodily injury" or "property
               the premises, site or location in                                     damage" arising out of heat,
               connection with such operations                                       smoke or fumes from a
               by such insured, contractor or                                        "hostile fire"; or
               subcontractor.                                              (5) At or from any premises, site or
                  However, Paragraph a.(4) of this                             location on which any insured or
                  exclusion does not apply to the                              any contractors or subcontrac-
                  following if such liability is cov-                          tors working directly or indirectly
                  ered by "underlying insurance"                               on any insured's behalf are
                  listed in the Schedule of Under-                             performing operations, if the op-
                  lying Insurance, but only to the                             erations are to test for, monitor,
                  extent insurance is provided at                              clean up, remove, contain, treat,
                  the "underlying limit" specified in                          detoxify or neutralize, or in any
                  the Schedule of Underlying In-                               way respond to or assess the
                  surance for the "underlying in-                              effects of, "pollutants".
                  surance" listed and subject to all                  b.   "Personal and advertising injury"
                  its terms, limitations and condi-                        arising out of the actual, alleged or
                  tions:                                                   threatened discharge, dispersal,
                  (a) "Bodily injury" or "property                         seepage, migration, release, escape
                      damage" arising out of the                           or emission of "pollutants" at any
                      escape of fuels, lubricants                          time.
                      or other operating fluids                       c.   Any loss, cost or expense arising out
                      which are needed to per-                             of any:
                      form the normal electrical,
                      hydraulic or mechanical                              (1) Request, demand, order or
                      functions necessary for the                              statutory or regulatory require-
                      operation of "mobile equip-                              ment that any insured or others
                      ment" or its parts, if such                              test for, monitor, clean up, re-
                      fuels, lubricants or other                               move, contain, treat, detoxify or
                      operating fluids escape                                  neutralize, or in any way re-
                      from a vehicle part de-                                  spond to, or assess the effects
                      signed to hold, store or re-                             of, "pollutants"; or
                      ceive them. This exception
                      does not apply if the "bodily                        (2) Claim or suit by or on behalf of a
                      injury" or "property damage"                             governmental authority for dam-
                      arises out of the intentional                            ages because of testing for,
                      discharge, dispersal or re-                              monitoring, cleaning up, remov-
                      lease of the fuels, lubricants                           ing, containing, treating, detoxi-
                      or other operating fluids, or                            fying or neutralizing, or in any
                      if such fuels, lubricants or                             way responding to, or assessing
                      other operating fluids are                               the effects of, "pollutants".
                      brought on or to the prem-                           However, this Paragraph c. does not
                      ises, site or location with the                      apply to liability for damages be-
                      intent that they be dis-                             cause of "property damage" that the
                      charged, dispersed or re-                            insured would have in the absence
                      leased as part of the opera-                         of such request, demand, order or
                      tions being performed by                             statutory or regulatory requirement,

                                       Includes copyrighted material of ISO
US 101 UM 12 04                         Properties, Inc., with its permission.                     Page 8 of 22
             or such claim or "suit" by or on behalf             22. Workers' Compensation
             of a governmental authority.
                                                                      Any liability or obligation of the insured
       d.    Any liability caused by "pollutants",                    under any workers' compensation, un-
             for which insurance coverage is ex-                      employment compensation, disability
             cluded by "underlying insurance".                        benefits or similar law. However, this ex-
                                                                      clusion does not apply to liability of others
   18. Recall of Products, Work or Impaired                           assumed by you under an "insured con-
       Property                                                       tract" in existence at the time of "occur-
       Any liability or damages claimed for any                       rence".
       loss, cost or expense incurred by you or             C.   Defense and Supplementary Payments
       others for the loss of use, withdrawal, re-
       call, inspection, repair, replacement, ad-                1.   We will have the right and duty to defend
       justment, removal or disposal of:                              the insured against any "suit" seeking
                                                                      damages because of "bodily injury", "per-
       a.    "Your product";                                          sonal and advertising injury" or "property
       b.    "Your work"; or                                          damage" to which this insurance applies.
                                                                      We will have no duty to defend the in-
       c.    "Impaired Property";                                     sured against any "suit" seeking dam-
                                                                      ages for "bodily injury", "personal and ad-
       if such product, work or property is with-                     vertising injury" or "property damage" to
       drawn or recalled from the market or from                      which this insurance does not apply. We
       use by any person or organization be-                          may, at our discretion, investigate any
       cause of a known or suspected defect,                          "occurrence" and settle any claim or "suit"
       deficiency, inadequacy or dangerous                            that may result when:
       condition in it.
                                                                      a.   The applicable limits of the "underly-
   19. Unauthorized Use of Another's Name                                  ing insurance" and any other insur-
       or Product                                                          ance have been exhausted by pay-
       "Personal and advertising injury" arising                           ment of claims; or
       out of the unauthorized use of another's                       b.   Damages are sought for "bodily in-
       name or product in your e-mail address,                             jury", "personal and advertising in-
       domain name or metatag or any other                                 jury" or "property damage" which are
       similar tactics to mislead another's poten-                         not covered by "underlying insur-
       tial customers.                                                     ance" or other insurance.
   20. Uninsured / Underinsured Motorist                         2.   Our right and duty to defend ends when
       Any liability or obligation to any insured or                  the applicable Limits of Insurance, as
       anyone else under any uninsured motor-                         stated in the Declarations, has been ex-
       ist, underinsured motorist, automobile no-                     hausted by payment of claims.
       fault or first party personal injury law.                 3.   We have no duty to investigate, settle or
   21. War                                                            defend any claim or "suit" other than
                                                                      those circumstances described in Para-
       Any liability, however caused, arising di-                     graph C.1. However, we do have the
       rectly or indirectly, out of:                                  right to participate in the investigation,
                                                                      settlement or defense of any claim or
       a.    War, including undeclared or civil                       "suit" to which this insurance applies. If
             war;                                                     we exercise this right, we will do so at our
       b.    Warlike action by a military force, in-                  expense.
             cluding action in hindering or de-                  4.   If there is no underlying insurer or other
             fending against an actual or ex-                         insurance obligated to do so, we will pay
             pected attack by any government,                         the following when we provide a defense:
             sovereign or authority using military
             personnel or other agents; or                            a.   All expenses we incur.
       c.    Insurrection, rebellion, revolution,                     b.   The cost of bail bonds up to $3,000.
             usurped power or action taken by                              We do not have to furnish these
             governmental authority in hindering                           bonds.
             or defending against any of these.
                                                                      c.   The cost of bonds to appeal a judg-
                                                                           ment or award in any claim or "suit"
                                                                           we defend and the cost of bonds to

                                      Includes copyrighted material of ISO
US 101 UM 12 04                        Properties, Inc., with its permission.                       Page 9 of 22
             release attachments, but only for              SECTION II - WHO IS AN INSURED
             bond amounts within the applicable
             Limits of Insurance. We do not have            1.   Except for liability arising out of the ownership,
             to furnish these bonds.                             maintenance, occupancy or use of an "auto":

        d.   Reasonable expenses incurred by                     a.   If you are designated in the Declarations
             the insured at our request to assist                     as:
             us in the investigation or defense of                    (1) An individual, you and your spouse
             the claim or "suit", including the ac-                       are insureds, but only with respect to
             tual loss of earnings.                                       the conduct of a business of which
        e.   All costs taxed against the insured in                       you are the sole owner.
             the "suit".                                              (2) A partnership or joint venture, you
   5.   If there is no underlying insurer obligated                       are an insured.      Your members,
        to do so, we will pay the following for an                        partners and their spouses are also
        "occurrence" to which this insurance ap-                          insureds, but only with respect to the
        plies, even if we have no duty to provide                         conduct of your business.
        a defense:                                                    (3) A limited liability company, you are
        a.   Prejudgment       interest     awarded                       an insured. Your members are also
             against the insured on that part of                          insureds, but only with respect to the
             the judgment we become obligated                             conduct of your business.        Your
             to pay and which falls within the ap-                        managers are insureds, but only with
             plicable Limit of Insurance. If we                           respect to their duties as your man-
             make an offer to pay the applicable                          agers.
             Limits of Insurance, we will not pay                     (4) An organization other than a part-
             any prejudgment interest based on                            nership, joint venture, or limited li-
             the period of time after the offer.                          ability company, you are an insured.
        b.   All interest awarded against the in-                         Your "executive officers" and direc-
             sured on the full amount of any                              tors are insureds, but only with re-
             judgment that accrues:                                       spect to their duties as your officers
                                                                          or directors. Your stockholders are
             (1) After entry of the judgment; and                         also insureds, but only with respect
                                                                          to their liability as stockholders.
             (2) Before we have paid, offered to                          Each of the following is also a
                 pay or deposited in court the                            Named Insured:
                 part of the judgment that is
                 within the applicable Limit of In-                       (a) Any "subsidiary" company of
                 surance.                                                     such organization, including any
                                                                              "subsidiary" of such "subsidi-
   6.   The payments described in Paragraphs                                  ary":
        4. and 5. above will not reduce the Limits
        of Insurance provided by this Coverage                                  1)   Existing at the inception of
        Part when defense or supplementary                                           this Coverage Part; or
        payments provided by the "underlying in-
        surance" do not reduce their Limits of In-                              2)   Formed or acquired on or
        surance. However, when defense or                                            after the inception of this
        supplementary payments provided by the                                       Coverage Part.
        "underlying insurance" reduce their Limits                        (b) Any other company controlled
        of Insurance then such expense pay-                                   and actively managed by such
        ments paid by us will reduce the Limits of                            organization or any "subsidiary"
        Insurance provided by this Coverage                                   thereof:
        Part.
                                                                                1)   At the inception of this Cov-
   7.   If we are prevented by law or otherwise                                      erage Part; or
        from carrying out any of the provisions of
        SECTION I - COVERAGE, C. Defense                                        2)   If the control and active
        and Supplementary Payments, we will                                          management thereof is ac-
        pay any expense incurred with our written                                    quired on or after the incep-
        consent.                                                                     tion of this Coverage Part.
                                                                      (5) A trust, you are an insured. Your
                                                                          trustees are also insureds, but only


                                      Includes copyrighted material of ISO
US 101 UM 12 04                        Properties, Inc., with its permission.                     Page 10 of 22
              with respect to their duties as trus-                         (b) The "bodily injury" or "property
              tees.                                                             damage" is sustained by a co-
                                                                                "employee" of such "employee".
     b.   Each of the following is also an insured:
                                                                        (3) Someone using an "auto" while he or
          (1) Any "employee" of yours while acting                          she is working in a business of sell-
              within the scope of their duties as                           ing, servicing, repairing, parking or
              such.                                                         storing "autos", unless that business
          (2) Any person or organization while                              is yours.
              acting as your real estate manager.                       (4) Anyone other than your "employ-
          (3) Any person or organization having                             ees", partners (if you are a partner-
              proper temporary custody of your                              ship), members (if you are a limited
              property if you die, but only:                                liability company), or a lessee or bor-
                                                                            rower or any of their "employees",
              (a) With respect to liability arising                         while moving property to or from an
                  out of the maintenance or use of                          "auto".
                  that property; and
                                                                   c.   Anyone liable for the conduct of an in-
              (b) Until your legal representative                       sured described in Paragraphs 2.a. and
                  has been appointed.                                   b. above is also an insured, but only if
                                                                        they are provided insurance coverage for
          (4) Your legal representative if you die,                     such liability by valid and collectible "un-
              but only with respect to duties as                        derlying insurance" listed in the Schedule
              such.                                                     of Underlying Insurance and then only for
2.   Only with respect to liability arising out of the                  such hazards for which coverage is pro-
     ownership, maintenance, occupancy or use of                        vided by such "underlying insurance".
     an "auto":                                               3.   At your option and subject to the terms of this
     a.   You are an insured.                                      insurance, any additional insureds not ad-
                                                                   dressed by Paragraphs 1. and 2. above cov-
     b.   Anyone else while using with your per-                   ered in the "underlying insurance" listed in the
          mission an "auto" you own, hire or borrow                Schedule of Underlying Insurance are also in-
          is also an insured except:                               sureds, but only to the extent that insurance is
                                                                   provided for such additional insureds there-
          (1) The owner or any other person or                     under.
              organization (except your "executive
              officers" or principals) from whom              No person or organization is an insured with re-
              you hire or borrow an "auto", unless            spect to the conduct of any current or past part-
              such persons or organizations are               nership, joint venture, or limited liability company
              insureds in your "underlying insur-             that is not shown as a Named Insured in the Dec-
              ance" listed in the Schedule of Un-             larations.
              derlying Insurance, and then only for
              such hazards for which coverage is              SECTION III - LIMITS OF INSURANCE
              provided by such "underlying insur-             1.   The Limits of Insurance shown in the Declara-
              ance". This exception does not ap-                   tions and the rules below fix the most we will
              ply if the "auto" is a trailer or semi-              pay regardless of the number of:
              trailer connected to an "auto" you
              own.                                                 a.   Insureds;
          (2) Your "employee", if the "auto" is                    b.   Claims made or "suits" brought; or
              owned by that "employee" or a
              member of his or her household,                      c.   Persons or organizations making claims
              unless:                                                   or bringing "suits".

              (a) Such "employee" is an insured               2.   The Aggregate Limit is the most we will pay
                  with respect to that "auto" in the               for all damages:
                  "underlying insurance" listed in                 a.   Included in the "products-completed op-
                  the Schedule of Underlying In-                        erations hazard";
                  surance, and then only for such
                  hazards for which coverage is                    b.   Because of "bodily injury" by disease
                  provided by such "underlying in-                      sustained by your "employees" arising
                  surance"; or                                          out of and in the course of their employ-
                                                                        ment by you; or


                                        Includes copyrighted material of ISO
US 101 UM 12 04                          Properties, Inc., with its permission.                     Page 11 of 22
     c.   Because of "bodily injury", "personal and                           ongoing improvements, alterations,
          advertising injury" or "property damage"                            installation, demolition or mainte-
          not included within a. or b. above. How-                            nance work performed by you or on
          ever, this Aggregate Limit will not apply to                        your behalf at the same location for
          damages which are not subject to an Ag-                             the same persons or entities, no
          gregate Limit in the "underlying insur-                             matter how often or under how many
          ance".                                                              different contracts, will be deemed to
                                                                              be a single construction project.
     The Aggregate Limit applies separately to a.,
     b. and c. The Aggregate Limit described in c.             4.   Subject to the limits described in 2. and 3.
     will apply only to damages not subject to a. or                above, the Each Occurrence Limit is the most
     b. above.                                                      we will pay for the "ultimate net loss":
3.   Subject to the Limit of Insurance described in                 a.   In excess of the applicable limits of "un-
     2.c. above:                                                         derlying insurance"; or
     a.   Only in the event that "underlying insur-                 b.   If an "occurrence" is not covered by "un-
          ance" specifically listed in the Schedule of                   derlying insurance", but covered by the
          Underlying Insurance provides an annual                        terms and conditions of this Coverage
          Aggregate Limit of Insurance for dam-                          Part,
          ages that would not be subject to 2.a. or
          b. above that is applicable separately to                 Because of all "bodily injury", "personal and
          each:                                                     advertising injury" and "property damage"
                                                                    arising out of any one "occurrence".
          (1) Location owned by, or rented or
              leased to you solely with respect to                  We will not pay more than the Limit of Insur-
              damages which are the result of a                     ance shown in this Coverage Part's Declara-
              claim or "suit" for "bodily injury" or                tions for each "occurrence" because any Per-
              "property damage" which can be at-                    sonal Umbrella Liability Policy(ies) is / are at-
              tributed to operations at only a single               tached to this policy.
              location, then the Aggregate Limit               5.   Subject to the limits described in 2., 3. and 4.
              described in 2.c. above applies                       above and to the terms and conditions of the
              separately to each location owned                     "underlying insurance":
              by, or rented or leased to you.
                                                                    a.   If the limits of "underlying insurance"
          (2) Of your construction projects solely                       have been reduced by payment of
              with respect to damages which are                          claims, this Coverage Part will continue in
              the result of a claim or "suit" for "bod-                  force as excess of the reduced "underly-
              ily injury" or "property damage"                           ing insurance"; or
              which can be attributed only to on-
              going operations and only at a single                 b.   If the limits of "underlying insurance"
              construction project, then the Aggre-                      have been exhausted by payment of
              gate Limit described in 2.c. above                         claims, this Coverage Part will continue in
              applies separately to each of your                         force as "underlying insurance".
              construction projects.
                                                               6.   The Limits of Insurance of this Coverage Part
     b.   Only with respect to the application of                   apply separately to each "coverage term".
          Limits of Insurance described in 3.a.
          above, the following terms location and              SECTION IV - CONDITIONS
          construction project will have the follow-           1.   Appeals
          ing meanings:
                                                                    If the insured or any insurer who provides the
          (1) Location means premises involving                     applicable "underlying insurance" elects not to
              the same or connecting lots, or                       appeal a judgment which exceeds the "un-
              premises whose connection is inter-                   derlying limit", we may elect to do so at our
              rupted only by a street, roadway,                     own expense. We shall be liable for the tax-
              waterway or right-of-way of a rail-                   able costs and disbursements and interest in-
              road.                                                 cidental thereto, but in no event shall this pro-
          (2) Construction project means a loca-                    vision increase our liability beyond:
              tion you do not own, rent or lease                    a.   Our applicable Limits of Insurance for all
              where ongoing improvements, al-                            "ultimate net loss";
              terations, installation, demolition or
              maintenance work is performed by                      b.   Our applicable Defense and Supple-
              you or on your behalf. All connected                       mentary Payments as described in SEC-

                                         Includes copyrighted material of ISO
US 101 UM 12 04                           Properties, Inc., with its permission.                    Page 12 of 22
          TION I - COVERAGE, C. Defense and                        b.   If a claim is made or "suit" is brought
          Supplementary Payments; and                                   against any insured that is likely to in-
                                                                        volve this Coverage Part, you must:
     c.   The expense of such appeal.
                                                                        (1) Immediately record the specifics of
2.   Audit                                                                  the claim or "suit" and the date re-
     If this Coverage Part is subject to Audit, as in-                      ceived; and
     dicated in the Declarations, then the following                    (2) Notify us as soon as practicable.
     Condition applies:
                                                                        This requirement will not be considered
     a.   The premium shown in the Premium                              breached unless the breach occurs after
          Computation Endorsement as Advance                            such claim or "suit" is known to an
          Premium is a deposit premium. At the                          "authorized representative".
          close of each audit period, we will com-
          pute the earned premium for that period.                 c.   You and any other involved insured must:
          If:
                                                                        (1) Immediately send us copies of any
          (1) The earned premium is less than the                           demands, notices, summonses or
              deposit premium, we will return the                           legal papers received in connection
              excess to the first Named Insured; or                         with the claim or "suit";
          (2) The earned premium is greater than                        (2) Authorize us to obtain records and
              the deposit premium, the difference                           other information;
              will be due and payable to us by the
              first Named Insured upon notice from                      (3) Cooperate with us in the investiga-
              us. The due date for audit and retro-                         tion or settlement of the claim or de-
              spective premiums is the date shown                           fense against the "suit"; and
              as the due date on the bill.                              (4) Assist us, upon our request, in the
          However, in no event will the earned                              enforcement of any right against any
          premium be less than the Minimum Pre-                             person or organization which may be
          mium stated in the Premium Computation                            liable to the insured because of in-
          Endorsement.                                                      jury or damage to which this insur-
                                                                            ance may also apply.
     b.   The first Named Insured must keep rec-
          ords of the information we need for pre-                 d.   No insured will, except at that insured's
          mium computation, and send us copies at                       own cost, voluntarily make a payment,
          such times as we may request.                                 assume any obligation, or incur any ex-
                                                                        pense, other than for first aid, without our
3.   Bankruptcy                                                         consent.
     Bankruptcy or insolvency of the insured or the           5.   First Named Insured
     insured's estate shall not relieve us of any ob-
     ligations under this Coverage Part.                           The person or organization first named in the
                                                                   Declarations will act on behalf of all other in-
4.   Duties in the Event of Occurrence, Claim or                   sureds where indicated in this Coverage Part.
     Suit
                                                              6.   Legal Action Against Us and Loss Pay-
     a.   You must see to it that we are notified as               ments
          soon as practicable of an "occurrence"
          which may result in a claim or "suit". To                a.   No legal action may be brought against
          the extent possible, notice should in-                        us unless there has been full compliance
          clude:                                                        with all the terms of this Coverage Part
                                                                        nor until the amount of the insured's obli-
          (1) How, when and where the "occur-                           gation to pay has been finally determined
              rence" took place;                                        as provided below. No person or organi-
                                                                        zation has any right under this Coverage
          (2) The names and addresses of any                            Part to bring us into any action to deter-
              injured persons and witnesses; and                        mine the liability of the insured.
          (3) The nature and location of any injury                b.   We shall be liable for payment of the "ul-
              or damage arising out of the "occur-                      timate net loss" for any "occurrence" to
              rence".                                                   which this Coverage Part applies:
          This requirement applies only when the                        (1) For "occurrences" not covered by
          "occurrence" is known to an "authorized                           "underlying insurance"; or
          representative".

                                        Includes copyrighted material of ISO
US 101 UM 12 04                          Properties, Inc., with its permission.                     Page 13 of 22
          (2) In excess of the "underlying limit"                  d.   The limits of "underlying insurance" shall
              applicable to the "occurrence" only                       be deemed applicable, regardless of any
              after the insurers who provide the                        defense which the insurer who provides
              applicable "underlying insurance"                         the "underlying insurance" may assert
              have paid or become obligated to                          because of the insured's failure to comply
              pay the amount of the "underlying                         with any Condition of the policy or the in-
              limit" applicable to the "occurrence".                    ability of the insurer to pay by reason of
                                                                        bankruptcy or insolvency.
          Our payment will be made following final
          determination of the amount of the in-              9.   Other Insurance
          sured's obligation to pay either by final
          judgment against the insured or by writ-                 This insurance is excess over, and shall not
          ten agreement with the insured, the                      contribute with any other insurance, whether
          claimant, the underlying insurers and us.                primary, excess, contingent or on any other
                                                                   basis. This condition will not apply to insur-
7.   Liberalization                                                ance specifically written as excess over this
                                                                   Coverage Part.
     If, within 60 days prior to the beginning of this
     Coverage Part or during the policy period, we            10. Premium
     make any changes to any forms or endorse-
     ments of this Coverage Part for which there is                The premium for this Coverage Part shall be
     currently no separate premium charge, and                     as stated in the Declarations. The advance
     that change provides more coverage than this                  and anniversary premiums are not subject to
     Coverage Part, the change will automatically                  adjustment, except as stated in the Declara-
     apply to this Coverage Part at the latter of:                 tions, or as stated in an endorsement issued
                                                                   by us to form a part of this Coverage Part.
     a.   The date we implemented the change in
          your state; or                                           You shall maintain records of such information
                                                                   as is necessary for premium computation, and
     b.   The date this Coverage Part became ef-                   shall, if requested by us, send copies of such
          fective; and                                             records to us at the end of the "coverage
                                                                   term" and at such times during the policy pe-
     Will be considered as included until the end of               riod as we may direct.
     the current policy period. We will make no
     additional premium charge for this additional            11. Representations
     coverage during the interim.
                                                                   a.   By acceptance of this Coverage Part, you
8.   Maintenance of Underlying Insurance                                agree that the statements in the Declara-
                                                                        tions are your agreements and repre-
     a.   While this Coverage Part is in effect, the                    sentations, that this Coverage Part is is-
          insured shall maintain in force the "un-                      sued in reliance upon the truth of such
          derlying insurance" listed in the Schedule                    representations and that this Coverage
          of Underlying Insurance as collectible in-                    Part embodies all agreements existing
          surance. The terms, conditions and en-                        between you and us or any of our agents
          dorsements of "underlying insurance" will                     relating to this insurance.
          not materially change and renewals or
          replacements of "underlying insurance"                   b.   However, to the extent that the following
          will not be more restrictive in coverage.                     applies in the "underlying insurance"
                                                                        listed specifically in the Schedule of Un-
     b.   Limits of "underlying insurance" will not                     derlying Insurance, it will also apply to
          be reduced, except for any reduction or                       this Coverage Part:
          exhaustion in the aggregate limits of in-
          surance due to payment of claims which                        Based on our reliance upon your repre-
          are in accordance with SECTION I -                            sentations as to existing hazards, if un-
          COVERAGE, A. Insuring Agreement,                              intentionally you should fail to disclose all
          Paragraph 2. of this Coverage Part.                           such hazards at the inception date of this
                                                                        Coverage Part, we will not reject cover-
     c.   In the event you fail or neglect to maintain                  age under this Coverage Part based
          "underlying insurance" as required, this                      solely on such failure.
          Coverage Part will apply as though such
          "underlying insurance" was in force and             12. Separation of Insureds
          collectible at the time a claim is presented
          to us which is in accordance with SEC-                   Except with respect to the Limits of Insurance,
          TION I - COVERAGE, A. Insuring                           and any rights or duties specifically assigned
          Agreement, Paragraph 2. of this Cover-                   in this Coverage Part to the first Named In-
          age Part.                                                sured, this insurance applies:

                                        Includes copyrighted material of ISO
US 101 UM 12 04                          Properties, Inc., with its permission.                     Page 14 of 22
   a.   As if each Named Insured were the only               SECTION V - DEFINITIONS
        Named Insured; and
                                                             1.   "Advertisement" means a notice that is broad-
   b.   Separately to each insured against whom                   cast or published to the general public or spe-
        claim is made or "suit" is brought.                       cific market segments about your goods,
                                                                  products or services for the purpose of at-
13. Transfer of Rights of Recovery Against                        tracting customers or supporters. "Adver-
    Others to Us                                                  tisement" includes a publicity article. For the
   a.   If the insured has rights to recover all or               purposes of this definition:
        part of any payment we have made un-                      a.   Notices that are published include mate-
        der this Coverage Part, those rights are                       rial placed on the Internet or on similar
        transferred to us. The insured must do                         electronic means of communication; and
        nothing after loss to impair them. At our
        request, the insured will bring "suit" or                 b.   Regarding web-sites, only that part of a
        transfer those rights to us and help us                        web-site that is about your goods, prod-
        enforce them.                                                  ucts or services for the purposes of at-
                                                                       tracting customers or supporters is con-
   b.   Any recoveries shall be applied as fol-                        sidered an "advertisement".
        lows:
                                                             2.   "Authorized representative" means:
        (1) First, we will reimburse anyone, in-
            cluding the insured, the amounts                      a.   If you are:
            actually paid by them that were in
            excess of our payments;                                    (1) An individual, you and your spouse
                                                                           are "authorized representatives".
        (2) Next, we will be reimbursed to the
            extent of our actual payment; and                          (2) A partnership or joint venture, your
                                                                           members, your partners, and their
        (3) Lastly, any amounts left after meet-                           spouses are "authorized representa-
            ing the obligations outlined in (1) and                        tives".
            (2) above will be distributed to any-
            one else known to us at the time a                         (3) A limited liability company, your
            recovery is made and who is legally                            members and your managers are
            entitled to such recovery.                                     "authorized representatives".

        Expenses incurred in the recovery shall                        (4) An organization other than a part-
        be apportioned among all interests in the                          nership, joint venture or limited liabil-
        ratio of their respective recoveries as fi-                        ity company, your "executive offi-
        nally settled. If there is no recovery as a                        cers" and directors are "authorized
        result of our attempts, we shall bear all of                       representatives". Provided you are
        the recovery expenses.                                             not a publicly traded organization,
                                                                           your stockholders are also "author-
   c.   If prior to an "occurrence" to which this                          ized representatives".
        Coverage Part would apply, you and the
        issuer of your applicable "underlying in-                      (5) A trust, your trustees are "authorized
        surance" listed specifically in the Sched-                         representatives".
        ule of Underlying Insurance waive any                     b.   Your "employees" assigned to manage
        right of recovery against a person or or-                      your insurance program, or assigned to
        ganization for injury or damage, we will                       give or receive notice of an "occurrence",
        also waive any rights we may have                              claim or "suit" are also "authorized repre-
        against such person or organization.                           sentatives".
14. When We Do Not Renew                                     3.   "Auto" means:
   If we decide not to renew this Coverage Part,                  a.   Any land motor vehicle, trailer or semi-
   we will mail or deliver to the first Named In-                      trailer designed for travel on public roads;
   sured shown in the Declarations written notice                      or
   of the nonrenewal not less than 30 days be-
   fore the expiration date.                                      b.   Any other land vehicle that is subject to a
                                                                       compulsory or financial responsibility law
   If notice is mailed, proof of mailing will be suf-                  or other motor vehicle insurance law
   ficient proof of notice.                                            where it is licensed or principally ga-
                                                                       raged.
                                                                  "Auto" does not include "mobile equipment".

                                       Includes copyrighted material of ISO
US 101 UM 12 04                         Properties, Inc., with its permission.                     Page 15 of 22
4.   "Bodily injury" means bodily harm or injury,                  a.   It incorporates "your product" or "your
     sickness, disease, disability, humiliation,                        work" that is known or thought to be de-
     shock, fright, mental anguish or mental injury,                    fective, deficient, inadequate or danger-
     including care, loss of services or death re-                      ous; or
     sulting from any of these at any time.
                                                                   b.   You have failed to fulfill the terms of a
5.   "Coverage term" means the following individ-                       contract or agreement,
     ual increment, or if a multi-year policy period,
     increments, of time, which comprise the policy                if such property can be restored to use by:
     period of this Coverage Part:                                 a.   The repair, replacement, adjustment or
     a.   The year commencing on the Effective                          removal of "your product" or "your work";
          Date of this Coverage Part at 12:01 AM                        or
          standard time at your mailing address                    b.   Your fulfilling the terms of the contract or
          shown in the Declarations, and if a multi-                    agreement.
          year policy period, each consecutive an-
          nual period thereafter, or portion thereof if        12. "Insured contract" means:
          any period is for a period of less than 12
          months, constitute individual "coverage                  a.   A contract for a lease of premises. How-
          terms". The last "coverage term" ends at                      ever, that portion of the contract for a
          12:00 AM standard time at your mailing                        lease of premises that indemnifies any
          address shown in the Declarations on the                      person or organization for "property
          earlier of:                                                   damage" by fire or explosion to premises
                                                                        while rented to you or temporarily occu-
          (1) The day the policy period shown in                        pied by you with permission of the owner
              the Declarations ends; or                                 is not an "insured contract";
          (2) The day the policy to which this Cov-                b.   A sidetrack agreement;
              erage Part is attached is terminated
              or cancelled.                                        c.   Any easement or license agreement, ex-
                                                                        cept in connection with construction or
     b.   However, if after the issuance of this                        demolition operations on or within 50 feet
          Coverage Part, any "coverage term" is                         of a railroad;
          extended for an additional period of less
          than 12 months, that additional period of                d.   An obligation, as required by ordinance,
          time will be deemed to be part of the last                    to indemnify a municipality, except in
          preceding "coverage term".                                    connection with work for a municipality;

6.   "Coverage territory" means anywhere.                          e.   An elevator maintenance agreement;

7.   "Electronic data" means information, facts or                 f.   That part of any other contract or agree-
     programs stored as or on, created or used on,                      ment pertaining to your business, other
     or transmitted to or from computer software,                       than a contract or agreement pertaining
     including systems and applications software,                       to the rental or lease of any "auto", (in-
     hard or floppy disks, CD-ROMS, tapes, drives,                      cluding an indemnification of a municipal-
     cells, data processing devices or any other                        ity in connection with work performed for
     media which are used with electronically con-                      a municipality) under which you assume
     trolled equipment.                                                 the tort liability of another party to pay for
                                                                        "bodily injury", "property damage" or
8.   "Employee" includes a "leased worker". "Em-                        "personal and advertising injury" to a third
     ployee" does not include a "temporary                              person or organization.          Tort liability
     worker".                                                           means a liability that would be imposed
                                                                        by law in the absence of any contract or
9.   "Executive officer" means a person holding                         agreement; or
     any of the officer positions created by your
     charter, constitution, by-laws or any similar                 g.   That part of any contract or agreement
     governing document.                                                entered into, as part of your business,
                                                                        pertaining to the rental or lease, by you or
10. "Hostile fire" means one that becomes un-                           any of your "employees", of any "auto".
    controllable or breaks out from where it was                        However, such contract or agreement
    intended to be.                                                     shall not be considered an "insured con-
11. "Impaired property" means tangible property,                        tract" to the extent that it obligates you or
    other than "your product" or "your work", that                      any of your "employees" to pay for "prop-
    cannot be used or is less useful because:                           erty damage" to any "auto" rented or
                                                                        leased by you or any of your "employ-
                                                                        ees".
                                         Includes copyrighted material of ISO
US 101 UM 12 04                           Properties, Inc., with its permission.                     Page 16 of 22
       Paragraphs f. and g. do not include that                          sulting firm, assumes liability for
       part of any contract or agreement:                                "personal and advertising injury"
                                                                         arising out of the insured's rendering
       (1) That indemnifies a railroad for "bodily                       or failure to render professional
           injury", "property damage" or "per-                           services, including those services
           sonal and advertising injury" arising                         listed in Paragraph (4), above;
           out of construction or demolition op-
           erations, within 50 feet of any rail-                    (6) That indemnifies a web-site designer
           road property and affecting any rail-                        or content provider, or Internet
           road bridge or trestle, tracks, road-                        search, access, content or service
           beds, tunnel, underpass or crossing.                         provider for injury or damage arising
           However, if such liability is insured by                     out of the planning, execution or fail-
           valid and collectible "underlying in-                        ure to execute Internet services.
           surance" as listed in the Schedule of                        Internet Services include but are not
           Underlying Insurance, this Para-                             limited to design, production, distri-
           graph (1) shall not apply for such                           bution, maintenance and administra-
           hazards for which insurance cover-                           tion of web-sites and web-banners;
           age is afforded by such "underlying                          hosting web-sites; registering do-
           insurance";                                                  main names; registering with search
                                                                        engines; marketing analysis; and
       (2) That indemnifies an architect, engi-                         providing access to the Internet or
           neer or surveyor for injury or damage                        other similar networks;
           arising out of:
                                                                    (7) Under which the insured, if a web-
           (a) Preparing, approving or failing to                       site designer or content provider, or
               prepare or approve maps, shop                            Internet search, access, content or
               drawings, opinions, reports, sur-                        service provider, assumes liability for
               veys, field orders, change or-                           injury or damage arising out of the
               ders or drawings and specifica-                          insured's rendering or failure to ren-
               tions; or                                                der Internet services, including those
           (b) Giving directions or instructions,                       listed in Paragraph (6), above;
               or failing to give them, if that is                  (8) That pertains to the loan, lease     or
               the primary cause of the injury                          rental of an "auto" to you or any    of
               or damage;                                               your "employees", if the "auto"      is
       (3) Under which the insured, if an archi-                        loaned, leased or rented with         a
           tect, engineer or surveyor, assumes                          driver; or
           liability for injury or damage arising                   (9) That holds a person or organization
           out of the insured's rendering or fail-                      engaged in the business of trans-
           ure to render professional services,                         porting property by "auto" for hire
           including those listed in Paragraph                          harmless for your use of an "auto"
           (2) above and supervisory, inspec-                           over a route or territory that person
           tion, architectural or engineering ac-                       or organization is authorized to serve
           tivities;                                                    by public authority.
       (4) That indemnifies an advertising, pub-           13. "Leased worker" means a person leased to
           lic relations or media consulting firm              you by a labor leasing firm under an agree-
           for "personal and advertising injury"               ment between you and the labor leasing firm
           arising out of the planning, execution              to perform duties related to the conduct of
           or failure to execute marketing com-                your business. "Leased worker" includes su-
           munications programs. Marketing                     pervisors furnished to you by the labor leasing
           communications programs include                     firm. "Leased worker" does not include a
           but are not limited to comprehensive                "temporary worker".
           marketing campaigns; consumer,
           trade and corporate advertising for             14. "Loading or unloading" means the handling of
           all media; media planning, buying,                  property:
           monitoring and analysis; direct mail;
           promotion; sales materials; design;                 a.   After it is moved from the place where it is
           presentations; point-of-sale materi-                     accepted for movement into or onto an
           als; market research; public relations                   aircraft, watercraft or "auto";
           and new product development;                        b.   While it is in or on an aircraft, watercraft
       (5) Under which the insured, if an adver-                    or "auto"; or
           tising, public relations or media con-

                                     Includes copyrighted material of ISO
US 101 UM 12 04                       Properties, Inc., with its permission.                    Page 17 of 22
    c.   While it is being moved from an aircraft,                    (2) Cherry pickers and similar devices
         watercraft or "auto" to the place where it                       mounted on automobile or truck
         is finally delivered;                                            chassis and used to raise or lower
                                                                          workers; and
    but "loading or unloading" does not include
    the movement of property by means of a me-                        (3) Air compressors, pumps and gen-
    chanical device, other than a hand truck, that                        erators, including spraying, welding,
    is not attached to the aircraft, watercraft or                        building cleaning, geophysical explo-
    "auto".                                                               ration, lighting and well servicing
                                                                          equipment.
15. "Mobile equipment" means any of the follow-
    ing types of land vehicles, including any at-                However, "mobile equipment" does not in-
    tached machinery or equipment:                               clude any land vehicles that are subject to a
                                                                 compulsory or financial responsibility law or
    a.   Bulldozers, farm machinery, forklifts and               other motor vehicle insurance law in the state
         other vehicles designed for use princi-                 where it is licensed or principally garaged.
         pally off public roads;                                 Land vehicles subject to a compulsory or fi-
    b.   Vehicles maintained for use solely on or                nancial responsibility law or other motor vehi-
         next to premises you own or rent;                       cle insurance law are considered "autos".

    c.   Vehicles that travel on crawler treads;             16. "Occurrence" means:

    d.   Vehicles, whether self-propelled or not,                a.   An accident, including continuous or re-
         maintained primarily to provide mobility to                  peated exposure to substantially the
         permanently mounted:                                         same general harmful conditions, that re-
                                                                      sults in "bodily injury" or "property dam-
         (1) Power cranes, shovels, loaders, dig-                     age"; or
             gers or drills; or
                                                                 b.   An offense that results in "personal and
         (2) Road construction or resurfacing                         advertising injury".
             equipment such as graders, scrap-
             ers or rollers;                                          All damages arising from the same acci-
                                                                      dent, continuous or repeated exposure to
    e.   Vehicles not described in a., b., c. or d.                   substantially the same general harmful
         above that are not self-propelled and are                    conditions, act or offense shall be
         maintained primarily to provide mobility to                  deemed to arise from one "occurrence"
         permanently attached equipment of the                        regardless of:
         following types:
                                                                      (1) The frequency of repetition;
         (1) Air compressors, pumps and gen-
             erators, including spraying, welding,                    (2) The number or kind of media used;
             building cleaning, geophysical explo-                        or
             ration, lighting and well-servicing                      (3) The number of claimants.
             equipment; or
                                                             17. "Personal and advertising injury" means in-
         (2) Cherry pickers and similar devices                  jury, including "bodily injury", arising out of
             used to raise or lower workers;                     one or more of the following offenses:
    f.   Vehicles not described in a., b., c. or d.              a.   False arrest, detention or imprisonment;
         above maintained primarily for purposes
         other than the transportation of persons                b.   Malicious prosecution;
         or cargo.
                                                                 c.   Abuse of process;
         However, self-propelled vehicles with the
         following types of permanently attached                 d.   The wrongful eviction from, wrongful entry
         equipment are not "mobile equipment"                         into, or invasion of the right of private oc-
         but will be considered "autos":                              cupancy of a room, dwelling or premises
                                                                      that a person occupies, committed by or
         (1) Equipment designed primarily for:                        on behalf of its owner, landlord or lessor;
             (a) Snow removal;                                   e.   Defamation of character, including oral or
                                                                      written publication, in any manner, of
             (b) Road maintenance, but not con-                       material that slanders or libels a person
                 struction or resurfacing; or                         or organization or disparages a person's
             (c) Street cleaning;                                     or organization's goods, products or
                                                                      services;

                                       Includes copyrighted material of ISO
US 101 UM 12 04                         Properties, Inc., with its permission.                    Page 18 of 22
    f.   Oral or written publication, in any manner,                              contractor   or   subcontractor
         of material that violates a person's right of                            working on the same project.
         privacy;
                                                                            Work that may need service, main-
    g.   The use of another's advertising idea in                           tenance, correction, repair or re-
         your "advertisement";                                              placement, but which is otherwise
                                                                            complete, will be treated as com-
    h.   Infringing upon another's copyright, trade                         pleted.
         dress or slogan in your "advertisement";
         or                                                       b.   Does not include "bodily injury" or "prop-
                                                                       erty damage" arising out of:
    i.   Discrimination, unless insurance cover-
         age therefor is prohibited by law or stat-                    (1) The transportation of property, un-
         ute.                                                              less the injury or damage arises out
                                                                           of a condition in or on a vehicle not
18. "Pollutants" mean any solid, liquid, gaseous,                          owned or operated by you, and that
    or thermal irritant or contaminant, including                          condition was created by the "load-
    smoke, vapor, soot, fumes, acids, alkalis,                             ing or unloading" of that vehicle by
    chemicals, petroleum, petroleum products                               any insured; or
    and petroleum by-products, and waste.
    Waste includes materials to be recycled, re-                       (2) The existence of tools, uninstalled
    conditioned or reclaimed. "Pollutants" in-                             equipment or abandoned or unused
    clude, but are not limited to, substances which                        materials.
    are generally recognized in industry or gov-
    ernment to be harmful or toxic to persons,                20. "Property damage" means:
    property or the environment regardless of                     a.   Physical injury to or destruction of tangi-
    whether the injury or damage is caused di-                         ble property including all resulting loss of
    rectly or indirectly by the "pollutants" and                       use.     All such loss of use shall be
    whether:                                                           deemed to occur at the time of the physi-
    a.   The insured is regularly or otherwise en-                     cal injury or destruction that caused it; or
         gaged in activities which taint or degrade               b.   Loss of use of tangible property that is
         the environment; or                                           not physically injured. All such loss of
    b.   The insured uses, generates or produces                       use shall be deemed to occur at the time
         the "pollutant".                                              of the "occurrence" that caused it.

19. "Products-completed operations hazard":                       For the purposes of this insurance, "electronic
                                                                  data" is not tangible property.
    a.   Includes all "bodily injury" and "property
         damage" occurring away from premises                 21. "Subsidiary" means any organization in which
         you own or rent and arising out of "your                 more than 50% of the outstanding securities
         product" or "your work" except:                          or voting rights representing the present right
                                                                  to vote for election of directors is owned or
         (1) Products that are still in your physical             controlled, directly or indirectly, in any combi-
             possession; or                                       nation, by one or more of the Named In-
                                                                  sureds.
         (2) Work that has not yet been com-
             pleted or abandoned.         However,            22. "Suit" means a civil proceeding in which
             "your work" will be deemed com-                      money damages because of "bodily injury",
             pleted at the earliest of the following              "personal and advertising injury" or "property
             times:                                               damage" to which this insurance applies are
                                                                  alleged. "Suit" includes:
             (a) When all of the work called for in
                 your contract has been com-                      a.   An arbitration proceeding in which such
                 pleted.                                               money damages are claimed and to
                                                                       which the insured must submit or does
             (b) When all of the work to be done                       submit with our consent;
                 at the site has been completed,
                 if your contract calls for work at               b.   Any other alternative dispute resolution
                 more than one site.                                   proceeding in which such money dam-
                                                                       ages are claimed and to which the in-
             (c) When that part of the work done                       sured submits with our consent; or
                 at a job site has been put to its
                 intended use by any person or                    c.   An appeal of a civil proceeding.
                 organization other than another


                                        Includes copyrighted material of ISO
US 101 UM 12 04                          Properties, Inc., with its permission.                    Page 19 of 22
23. "Temporary worker" means a person who is                          (1) Any goods or products, other than real
    furnished to you to:                                                  property, manufactured, sold, han-
                                                                          dled, distributed or disposed of by:
    a.   Substitute for a permanent "employee"
         on leave; or                                                      (a)    You;
    b.   Meet seasonal or short-term workload                              (b)    Others trading    under    your
         conditions.                                                              name; or
24. "Ultimate net loss" means the sum actually                             (c)    A person or organization whose
    paid or payable in the settlement or satisfac-                                business or assets you have
    tion of the insured's legal obligation for dam-                               acquired; and
    ages, covered by this insurance, either by
    adjudication or compromise. "Ultimate net                         (2) Containers (other than vehicles), ma-
    loss" does not include Defense and Supple-                            terials, parts or equipment furnished in
    mentary Payments as described in SECTION                              connection with such goods or prod-
    I - COVERAGE, C. Defense and Supplemen-                               ucts.
    tary Payments of this Coverage Part.                         b.   Includes:
25. "Underlying insurance" means the insurance                        (1) Warranties or representations made
    listed in the Schedule of Underlying Insurance                        at any time with respect to the fit-
    and the insurance available to the insured                            ness, quality, durability, performance
    under all other insurance policies applicable                         or use of your product; and
    to the "occurrence". "Underlying insurance"
    also includes any type of self-insurance or                       (2) The providing of or failure to provide
    alternative method by which the insured ar-                           warnings or instructions.
    ranges for funding of legal liabilities that af-
    fords coverage that this Coverage Part cov-                  c.   Does not include vending machines or
    ers.                                                              other property rented to or located for the
                                                                      use of others but not sold.
26. "Underlying limit" means the total of the appli-
    cable limits of all "underlying insurance" less          29. "Your work":
    the amount, if any, by which the applicable                  a.   Means:
    limit of the applicable policy listed in the
    Schedule of Underlying Insurance has been                         (1) Work or operations performed by
    reduced solely by payment of loss resulting                           you or on your behalf; and
    from claims which are in accordance with
    SECTION I - COVERAGE, A. Insuring                                 (2) Materials, parts or equipment fur-
    Agreement, Paragraph 2. of this Coverage                              nished in connection with such work
    Part.                                                                 or operations.

27. "Workplace" means that place and during                      b.   Includes:
    such hours to which the "employee" sustain-                       (1) Warranties or representations made
    ing injury was assigned by you, or any other                          at any time with respect to the fit-
    person or entity acting on your behalf, to work                       ness, quality, durability, performance
    on the date of "occurrence".                                          or use of "your work"; and
28. "Your product":                                                   (2) The providing of or failure to provide
    a.   Means:                                                           warnings or instructions.




                                       Includes copyrighted material of ISO
US 101 UM 12 04                         Properties, Inc., with its permission.                     Page 20 of 22
     NUCLEAR ENERGY LIABILITY EXCLUSION ENDORSEMENT
This endorsement modifies insurance provided under the following:
     COMMERCIAL UMBRELLA LIABILITY COVERAGE PART

A.   SECTION I - COVERAGE, B. Exclusions is                                    such facility is located within the
     modified to add the following:                                            United States of America, its territo-
                                                                               ries or possessions or Canada, this
     This insurance does not apply to:                                         Exclusion c. applies only to "property
     1.   Any liability:                                                       damage" to such "nuclear facility"
                                                                               and any property thereat.
          a.   With respect to which an insured un-
               der the policy is also an insured un-            B.   SECTION V - DEFINITIONS is hereby modi-
               der a nuclear energy liability policy                 fied to add the following definitions:
               issued by Nuclear Energy Liability                    1.   "Hazardous properties" include radioac-
               Insurance     Association,       Mutual                    tive, toxic or explosive properties;
               Atomic Energy Liability Underwriters
               or Nuclear Insurance Association of                   2.   "Nuclear material" means "source mate-
               Canada, or any of their successors,                        rial", "special nuclear material" or "by-
               or would be an insured under any                           product material";
               such policy but for its termination
               upon exhaustion of its limit of liability;            3.   "Source material", "special nuclear mate-
               or                                                         rial" and "by-product material" have the
                                                                          meanings given them in the Atomic En-
          b.   Resulting from the "hazardous prop-                        ergy Act of 1954 or in any law amenda-
               erties" of "nuclear material" and with                     tory thereof;
               respect to which (1) any person or
               organization is required to maintain                  4.   "Spent fuel" means any fuel element or
               financial protection pursuant to the                       fuel component, solid or liquid, which has
               Atomic Energy Act of 1954, or any                          been used or exposed to radiation in a
               law amendatory thereof, or (2) the                         "nuclear reactor";
               insured is, or had this policy not                    5.   "Waste" means any waste material (a)
               been issued would be, entitled to in-                      containing "by-product material" other
               demnity from the United States of                          than the tailings or wastes produced by
               America, or any agency thereof, un-                        the extraction or concentration of uranium
               der any agreement entered into by                          or thorium from any ore processed pri-
               the United States of America, or any                       marily for its "source material" content,
               agency thereof, with any person or                         and (b) resulting from the operation by
               organization.                                              any person or organization of any "nu-
     2.   Any liability resulting from the "hazardous                     clear facility" included under the first two
          properties" of "nuclear material", if                           paragraphs of the definition of "nuclear
                                                                          facility".
          a.   The "nuclear material" (1) is at any
               "nuclear facility" owned by, or oper-                 6.   "Nuclear facility" means:
               ated by or on behalf of, an insured or                     a.   Any "nuclear reactor";
               (2) has been discharged or dis-
               persed therefrom,                                          b.   Any equipment or device designed
                                                                               or used for (1) separating the iso-
          b.   The "nuclear material" is contained in                          topes of uranium or plutonium, (2)
               "spent fuel" or "waste" at any time                             processing or utilizing "spent fuel",
               possessed, handled, used, proc-                                 (3) or handling, processing or pack-
               essed, stored, transported or dis-                              aging "waste";
               posed of by or on behalf of an in-
               sured; or                                                  c.   Any equipment or device used for
                                                                               the processing, fabricating or alloy-
          c.   The injury or damage arises out of                              ing of "special nuclear materials", if
               the furnishing by an insured of serv-                           at any time the total amount of such
               ices, materials, parts or equipment in                          material in the custody of the insured
               connection with the planning, con-                              at the premises where such equip-
               struction, maintenance, operation or                            ment or device is located consists of
               use of any "nuclear facility", but if                           or contains more than 25 grams of

                                          Includes copyrighted material of ISO
US 101 UM 12 04                            Properties, Inc., with its permission.                       Page 21 of 22
            plutonium or uranium 233 or any                       ducted on such site and all premises
            combination thereof, or more than                     used for such operations;
            250 grams of uranium 235;
                                                             7.   "Nuclear reactor" means any apparatus
       d.   Any structure, basin, excavation,                     designed or used to sustain nuclear fis-
            premises or place prepared or used                    sion in a self-supporting chain reaction or
            for the storage or disposal of                        to contain a critical mass of fissionable
            "waste";                                              material;
       and includes the site on which any of the             8.   "Property damage" includes all forms of
       foregoing is located, all operations con-                  radioactive contamination of property.




                                   Includes copyrighted material of ISO
US 101 UM 12 04                     Properties, Inc., with its permission.                   Page 22 of 22
     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

            MISSOURI CHANGES - GUARANTY ASSOCIATION
This endorsement modifies insurance provided under the following:
     COMMERCIAL LIABILITY UMBRELLA COVERAGE PART
MISSOURI PROPERTY AND CASUALTY INSUR-                                   2.    Payments made by the Association for
ANCE GUARANTY ASSOCIATION COVERAGE                                            covered claims will include only that
LIMITATIONS                                                                   amount of each claim which is less
                                                                              than $300,000.
A.   Subject to the provisions of the Missouri Prop-
     erty and Casualty Insurance Guaranty Asso-                               However, the Association will not:
     ciation Act (to be referred to as the Act), if we
     are a member of the Missouri Property and                                (1) Pay an amount in excess of the
     Casualty Insurance Guaranty Association (to                                  applicable limit of insurance of the
     be referred to as the Association), the Associa-                             policy from which a claim arises;
     tion will pay claims covered under the Act if we                             or
     become insolvent.                                                        (2) Return to an insured any un-
B.   The Act contains various exclusions, conditions                              earned premium in excess of
     and limitations that govern a claimant's eligibil-                           $25,000.
     ity to collect payment from the Association and          These limitations have no effect on the coverage we
     affect the amount of any payment. The follow-            will provide under this policy.
     ing limitations apply subject to all other provi-
     sions of the Act:
     1.   Claims covered by the Association do not
          include a claim by or against an insured of
          an insolvent insurer, if the insured has a
          net worth of more than $25 million on the
          later of the end of the insured's most re-
          cent fiscal year or the December thirty-first
          of the year next preceding the date the in-
          surer becomes insolvent; provided that an
          insured's net worth on such date shall be
          deemed to include the aggregate net worth
          of the insured and all of its affiliates as cal-
          culated on a consolidated basis.




CU 26 24 04 05                               ©   ISO Properties, Inc., 2004
     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

              POLLUTANT EXCLUSION - OTHER THAN AUTO
This endorsement modifies insurance provided under the following:
     COMMERCIAL UMBRELLA LIABILITY COVERAGE PART
     PROFESSIONAL UMBRELLA LIABILITY COVERAGE PART
     PROFESSIONAL UMBRELLA LIABILITY COVERAGE PART - CLAIMS-MADE
SECTION I - COVERAGE, B. Exclusions (and in                            (b) If insurance is provided to the in-
the Professional Umbrella Liability Coverage Part                          sured by "underlying insurance"
and the Professional Umbrella Liability Coverage                           specifically listed in the Schedule of
Part - Claims-Made only: Subparagraph 1.) is                               Underlying Insurance at the "under-
modified as follows:                                                       lying limit" scheduled, but only to the
                                                                           extent "bodily injury" or "property
Exclusion 17. Pollutant - Other Than Auto (Ex-                             damage" coverage is provided by
clusion 1.q. in the Professional Umbrella Liability                        that "underlying insurance" specifi-
Coverage Part and the Professional Umbrella Li-                            cally listed in the Schedule of Un-
ability Coverage Part - Claims-Made) is hereby                             derlying Insurance and subject to all
deleted and replaced by the following:                                     its terms and conditions.
Pollutant - Other Than Auto                                       (5) At or from any premises, site or location
This insurance does not apply to:                                     on which any insured or any contractors
                                                                      or subcontractors working directly or indi-
a.   "Bodily injury" or "property damage" arising                     rectly on any insured's behalf are per-
     out of the actual, alleged or threatened dis-                    forming operations if the operations are to
     charge, dispersal, seepage, migration, re-                       test for, monitor, clean up, remove, con-
     lease, emission or escape of "pollutants":                       tain, treat, detoxify or neutralize, or in any
                                                                      way respond to or assess the effects of,
     (1) At or from any premises, site or location                    "pollutants".
         which is or was at any time owned or oc-
         cupied by, or rented or loaned to, any in-          b.   "Personal and advertising injury" arising out of
         sured.                                                   the actual, alleged or threatened discharge,
                                                                  dispersal, seepage, migration, release, es-
     (2) At or from any premises, site or location                cape emission of "pollutants" at any time.
         which is or was at any time used by or for
         any insured or others for the handling,             c.   Any loss, cost or expense arising out of any:
         storage, disposal, processing or treat-
         ment of waste;                                           (1) Request, demand, order or statutory or
                                                                      regulatory requirement that any insured
     (3) Which are or were at any time trans-                         or others test for, monitor, clean up, re-
         ported, handled, stored, treated, dis-                       move, contain, treat, detoxify or neutral-
         posed of, or processed as waste by or for                    ize, or in any way respond to, or assess
         any insured or any person or organiza-                       the effects of, "pollutants"; or
         tion for whom you may be legally respon-
         sible; or                                                (2) Claim or "suit" by or on behalf of a gov-
                                                                      ernmental authority for damages be-
     (4) At or from any premises, site or location                    cause of testing for, monitoring, cleaning
         on which any insured or any contractors                      up, removing, containing, treating, de-
         or subcontractors working directly or indi-                  toxifying or neutralizing, or in any way re-
         rectly on any insured's behalf are per-                      sponding to, or assessing the effects of,
         forming operations if the "pollutants" are                   "pollutants".
         brought on or to the premises, site or lo-
         cation in connection with such operations                However, this paragraph does not apply to li-
         by such insured, contractor or subcon-                   ability for damages because of "property
         tractor.                                                 damage" that the insured would have in the
                                                                  absence of such request, demand, order or
     Subparagraphs a.(1) and a.(4) do not apply:                  statutory or regulatory requirement, or such
                                                                  claim or "suit" by or on behalf of a govern-
         (a) To "bodily injury" or "property dam-                 mental authority.
             age" arising out of heat, smoke or
             fumes from a "hostile fire"; or                      d.   Any liability caused by "pollutants" ex-
                                                                       cluded by "underlying insurance".


                                       Includes copyrighted material of ISO
US 302 12 04                            Properties, Inc., with its permission.
    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                        AUTO EXCLUSION
This endorsement modifies insurance provided under the following:
    COMMERCIAL UMBRELLA LIABILITY COVERAGE PART
    PROFESSIONAL UMBRELLA LIABILITY COVERAGE PART
    PROFESSIONAL UMBRELLA LIABILITY COVERAGE PART - CLAIMS-MADE
SECTION I - COVERAGE, B. Exclusions (and in the Professional Umbrella Liability Coverage Part and the
Professional Umbrella Liability Coverage Part - Claims-Made only: Subparagraph 1.) is modified to add the
following:
This insurance does not apply to:
Any liability arising out of the ownership, maintenance, occupancy, operation, use, "loading or unloading" of
any "auto" that is owned by, leased to, rented to, borrowed by or regularly provided for the use of any insured.
However, this exclusion does not apply to "bodily injury" or "property damage" arising out of the operation of
machinery or equipment that is on, attached to, or part of, a land vehicle that would qualify under the definition
of “mobile equipment” if it were not subject to a compulsory or financial responsibility law or other motor vehi-
cle insurance law in the state where it is licensed or principally garaged.




US 304 12 04
    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

               MISSOURI CHANGES - POLLUTANT - OTHER
                      THAN AUTO EXCLUSION
This endorsement modifies insurance provided under the following:
    COMMERCIAL UMBRELLA LIABILITY COVERAGE FORM
    PROFESSIONAL UMBRELLA LIABILITY COVERAGE FORM
    PROFESSIONAL UMBRELLA LIABILITY COVERAGE FORM - CLAIMS-MADE
SECTION I - COVERAGE, B. Exclusions (and in the Professional Umbrella Liability Coverage Part and the
Professional Umbrella Liability Coverage Part - Claims-Made only: Subparagraph 1.) is modified to add the
following:
This Pollutant Exclusion applies even if such irritant or contaminant has a function in your business,
operations, premises, site or location.




                                     Includes copyrighted material of ISO
US 3067 MO 02 09                      Properties, Inc., with its permission.
    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

  EXCLUSION - ACCESS OR DISCLOSURE OF CONFIDENTIAL
 OR PERSONAL INFORMATION AND DATA-RELATED LIABILITY
        - WITH LIMITED BODILY INJURY EXCEPTION
This endorsement modifies insurance provided under the following:


    COMMERCIAL UMBRELLA LIABILITY COVERAGE PART
    PROFESSIONAL UMBRELLA LIABILITY COVERAGE PART
    PROFESSIONAL UMBRELLA LIABILITY COVERAGE PART - CLAIMS-MADE

SECTION I - COVERAGE, B. Exclusions (and in the Professional Umbrella Liability Coverage Part and the
Professional Umbrella Liability Coverage Part - Claims-Made only: Subparagraph 1.) is modified to delete
Exclusion 10. Electronic Data in its entirety and replace it with the following:
This insurance does not apply to:
10. Access or Disclosure of Confidential or Personal Information and Data-Related Liability
    Any liability arising out of:
    a.   Any access to or disclosure of any person's or organization's confidential or personal information,
         including patents, trade secrets, processing methods, customer lists, financial information, credit card
         information, health information or any other type of nonpublic information; or
    b.   The loss of, loss of use of, damage to, corruption of, inability to access, or inability to manipulate
         "electronic data".
    This exclusion applies even if damages are claimed for notification costs, credit monitoring expenses,
    forensic expenses, public relations expenses or any other loss, cost or expense incurred by you or others
    arising out of that which is described in Paragraph a. or b. above.
    However, this exclusion does not apply:
         (1) To damages because of "bodily injury", unless Paragraph a. above applies; and
         (2) When such insurance is provided by valid and collectible "underlying insurance" listed in the
              Schedule of Underlying Insurance, or would have been provided by such listed "underlying
              insurance" except for the exhaustion by payment of claims of its limits of insurance, and then only
              for such hazards for which coverage is provided by such "underlying insurance", unless otherwise
              excluded by this Coverage Part.




                                    Includes copyrighted material of Insurance
US 3093 05 14                        Services Office, Inc., with its permission.
    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                     TANNING EXCLUSION
This endorsement modifies insurance provided under the following:
    COMMERCIAL UMBRELLA LIABILITY COVERAGE PART
    PROFESSIONAL UMBRELLA LIABILITY COVERAGE PART
    PROFESSIONAL UMBRELLA LIABILITY COVERAGE PART - CLAIMS-MADE
SECTION I - COVERAGE, B. Exclusions (and in the Professional Umbrella Liability Coverage Part and the
Professional Umbrella Liability Coverage Part - Claims-Made only: Subparagraph 1.) is modified to add the
following:
This insurance does not apply to:
Any liability arising out of the tanning of human skin, whether by natural or artificial means.




US 376 12 04
     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

           COSMETOLOGISTS AND BARBERS AMENDATORY
                       ENDORSEMENT
This endorsement modifies insurance provided under the following
     COMMERCIAL UMBRELLA LIABILITY COVERAGE PART
     PROFESSIONAL UMBRELLA LIABILITY COVERAGE PART
     PROFESSIONAL UMBRELLA LIABILITY COVERAGE PART - CLAIMS-MADE

SECTION I - COVERAGE, B. Exclusions (and in                   (6) Preparation for; or use, administration or
the Professional Umbrella Liability Coverage Part                 application of; or removal of any form of
and the Professional Umbrella Liability Coverage                  permanent cosmetic makeup including
Part - Claims-Made only: Subparagraph 1.) is                      but not limited to micro pigment implanta-
modified to add the following:                                    tion and tattooing.
This insurance does not apply to:                             (7) The application of chemicals to the skin
                                                                  which is intended to remove living tissues
a.   Liability included within the "products-                     (skin peeling).
     completed operations hazard" or "personal
     and advertising injury" arising out of goods or          (8) The piercing of any part of the human
     products manufactured, bottled, rebottled,                   body.
     packaged or repackaged by the insured or
     sold under the insured's label.                          (9) The implantation or transplantation of
                                                                  hair.
b.   Any liability arising out of:
                                                        II.   SECTION II - WHO IS AN INSURED is
     (1) Services rendered or preparations, prod-             amended to add the following under para-
         ucts, apparatus, or equipment rendered               graph 1.b.:
         or used in violation of federal, state, mu-
         nicipal or other laws or regulations.                Any "independent contractor" of yours, but
     (2) Plastic surgery; or removal of warts,                only to the extent they are deemed to be an
         moles or other growths.                              insured by valid and collectible "underlying in-
                                                              surance" listed in the Schedule of Underlying
     (3) The ownership, maintenance, operation                Insurance, and then only for such hazards for
         or use of any apparatus using x-rays or
         other ionizing radiation for removal of              which coverage is provided by such "under-
         hair, or any apparatus using a photo co-             lying insurance".
         agulation technique for removing of hair,
         unless such liability is covered by valid      III. SECTION V - DEFINITIONS is amended to
         and collectible "underlying insurance" as           add the following definitions:
         listed in the Schedule of Underlying In-
         surance, and then for such hazards for               A.   "Independent contractor" means a natu-
         which coverage is afforded by such "un-                   ral person who provides "professional
         derlying insurance".                                      services" on your behalf.
     (4) Weight reducing treatments, body mas-                B.   "Professional services" means only those
         sage, steam baths, saunas, body wrap-                     services legally sanctioned by the bar-
         ping, or tanning of human skin, whether
         by natural or artificial means.                           bering and cosmetology licensing laws or
                                                                   the regulations of the jurisdiction in which
     (5) The use, administration or application of                 the insured operates, including service as
         any dye or coloring to eyelashes or eye-                  a member or director of a formal ac-
         brows.                                                    creditation, standards review or similar
                                                                   professional board or committee.




US 4027 12 04
    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

         MOBILE EQUIPMENT SUBJECT TO MOTOR VEHICLE
                 INSURANCE LAWS - LIMITATION
This endorsement modifies insurance provided under the following:
    COMMERCIAL UMBRELLA LIABILITY COVERAGE PART
    PROFESSIONAL UMBRELLA LIABILITY COVERAGE PART
    PROFESSIONAL UMBRELLA LIABILITY COVERAGE PART - CLAIMS-MADE
SECTION I - COVERAGE, B. Exclusions (and in the Professional Umbrella Liability Coverage Part and the
Professional Umbrella Liability Coverage Part - Claims-Made only: Subparagraph 1.) is modified to add the
following:
This insurance does not apply to:
Any liability arising out of the ownership, maintenance, occupancy, operation, use, "loading or unloading" of
any land vehicle that would qualify under the definition of "mobile equipment" if it were not subject to a com-
pulsory or financial responsibility law or other motor vehicle insurance law, unless such liability is covered by
valid and collectible "underlying insurance" as listed in the Schedule of Underlying Insurance, and then only
for such hazards for which coverage is afforded by such "underlying insurance", unless otherwise excluded
by this Coverage Part.




                                  Includes copyrighted material of Insurance
US 4062 11 05                       Services Office, Inc., with its permission
      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                             EMPLOYEE BENEFIT LIABILITY
This endorsement modifies insurance provided under the following:
      COMMERCIAL UMBRELLA LIABILITY COVERAGE PART
      PROFESSIONAL UMBRELLA LIABILITY COVERAGE PART
      PROFESSIONAL UMBRELLA LIABILITY COVERAGE PART - CLAIMS-MADE
This policy is modified to add the following:
I.    SECTION I - COVERAGE, A. Insuring Agreement(s) is modified to add the following:
      EMPLOYEE BENEFIT LIABILITY:
      We will pay on behalf of the insured the "ultimate net loss" which the insured is legally obligated to pay as
      damages because of any negligent act, error or omission of the insured or any other person for whose
      acts the insured is legally liable arising out of the administration of the insured's employee benefit pro-
      grams.
      This insurance applies only to negligent acts, errors or omissions:
      a.   Whose damages are in excess of the "underlying insurance" provided by an Employee Benefit Li-
           ability policy listed in the Schedule of Underlying Insurance; and
      b.   Which occur during the policy period.
II.   SECTION I - COVERAGE, B. Exclusions (and in the Professional Umbrella Liability Coverage Part and
      the Professional Umbrella Liability Coverage Part - Claims-Made only: Subparagraph 1.) is modified to
      add the following exclusion:
      This insurance does not apply to:
      Any liability arising out of employee benefit programs unless such liability is covered by valid and collecti-
      ble "underlying insurance" as listed in the Schedule of Underlying Insurance, and then only for such haz-
      ards for which coverage is afforded by such "underlying insurance".




US 407 12 04
    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                     MISSOURI CHANGES
This endorsement modifies insurance provided under the following:
    Commercial Umbrella Liability Coverage Form
    Professional Umbrella Liability Coverage Form
    Professional Umbrella Liability Coverage Form - Claims-Made
In this Coverage Form, the definition of "Pollutants" is amended to add the following:
    The definition of "pollutants" applies whether or not such irritant or contaminant has any function in or on
    your business, operations, premises, site or location.




                                    Includes copyrighted material of Insurance
US 4076 MO 08 08                     Services Office, Inc., with its permission.
    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

            OFFICE OF FOREIGN ASSETS CONTROL (OFAC)
                    COMPLIANCE ENDORSEMENT
This endorsement modifies insurance provided under the following:
    COMMERCIAL UMBRELLA LIABILITY COVERAGE PART
    PROFESSIONAL UMBRELLA LIABILITY COVERAGE PART
    PROFESSIONAL UMBRELLA LIABILITY COVERAGE PART - CLAIMS-MADE

SECTION - IV CONDITIONS is amended to include the following:
Office of Foreign Assets Control (OFAC) Compliance
Whenever insurance coverage provided by this policy would be in violation of any United States economic or
trade sanctions, such insurance coverage shall be null and void.




US 4098 04 10
                rights with   respect     to   such                     (6) Cooperate with us in the investi-
                "claim".                                                     gation of the "personal data
                                                                             compromise" or settlement of
       c.   In the event of a "personal data com-                            the "loss".
            promise" covered under Insuring
            Agreement A - Response Expenses,                            (7) If you intend to continue your
            you must see that the following are                              business, you must resume all or
            done:                                                            part of your operations as quickly
                                                                             as possible.
            (1) Notify the police if a law may
                have been broken.                                       (8) Make no statement that will as-
                                                                             sume any obligation or admit any
            (2) Notify us as soon as practicable,                            liability, for any loss for which we
                but in no event more than a rea-                             may be liable, without our prior
                sonable period of time after the                             written consent.
                "personal data compromise". In-
                clude a description of any prop-                        (9) Promptly send us any legal pa-
                erty involved.                                               pers or notices received con-
                                                                             cerning the "personal data com-
            (3) As soon as possible, give us a                               promise" or "loss".
                description of how, when and
                where the "personal data com-                      d.   We may examine any "insured" un-
                promise" occurred.                                      der oath, while not in the presence of
                                                                        any other "insured" and at such times
            (4) As often as may be reasonably                           as may be reasonably required,
                required, permit us to:                                 about any matter relating to this in-
                (a) Inspect the property proving                        surance or the "claim" or "loss", in-
                     the "personal data compro-                         cluding an "insured's" books and rec-
                     mise";                                             ords. In the event of an examination,
                                                                        an "insured's" answers must be
                (b) Examine your books, rec-                            signed.
                     ords, electronic media and
                     records and hardware;                         e.   No "insured" may, except at their own
                                                                        cost, voluntarily make a payment, as-
                (c) Take samples of damaged                             sume any obligation, or incur any ex-
                    and undamaged property for                          pense without our prior written con-
                    inspection, testing and anal-                       sent.
                    ysis; and
                                                          C. SECTION IV - CONDITIONS, 5. Legal Action
                (d) Make    copies from your                 Against Us, paragraph b.(3) is deleted and
                     books, records, electronic                replaced with the following:
                     media and records and
                     hardware.                                 (3) Unless brought within 10 years from the
                                                                   date you reported the "claim" or "loss" to
            (5) Send us signed, sworn proof of                     us.
                loss containing the information
                we request to investigate the             D. The following is added to Definition 6. "Data
                "personal data compromise".                  compromise liability" in SECTION VI - DEFI-
                You must do this within a rea-               NITIONS:
                sonable period of time after our               Punitive damages are insurable in Missouri.
                request. We will supply you with
                the necessary forms.




                                  Includes copyrighted material of Insurance
HC 469 MO 12 17                    Services Office, Inc., with its permission.                     Page 2 of 2
